    Case 1:17-cv-03887-GBD-SN          Document 1         Filed 05/23/17   Page 1 of 159


                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



In re Terrorist Attacks on September 11, 2001       As relates to: 03 MDL 1570 (GBD)(SN)

EDGAR ABARCA AND MARGOTH
ABARCA; JUAN ABREU; JOHN
ACCETTURI AND JOAN ACCETTURI;                       Civil Docket Number:
MARCO ACEVEDO AND MRIAN
ACEVEDO; JULIAN ACOSTA AND
HILMA ACOSTA; JUAN ADAMES AND
JUANA F ADAMES; ALLEN J. ADAMS                      SHORT FORM COMPLAINT AND
AND SUSAN ADAMS; COREY ADAMS                        DEMAND FOR TRIAL BY JURY
AND DEBRA ADAMS; JAMES ADAMS
AND EVELYN B ADAMS; LEE ADDISON
AND BEVERLY ADDISON; LAHISSI                        ECF CASE
ADETAYO; GASTON ADRIEN AND
REBECCA ADRIEN; JOHN AGOSTA
AND MICHELLE AGOSTA; EMMANUAL
AGOSTINI; CARMELO AGRO AND
LORRAINE AGRO; JULIO AGRON AND
ROSELYN AGRON; GLADYS AGUDELO;
INDERPAUL AHLUWALIA AND
MANJEET AHLUWALIA; ROBERT
AIELLO AND LAUREN AIELLO; JOHN
AKOS AND GINA AKOS; RICHARD ALA
AND BETH A ALA; SALVATORE
ALAIMO AND SERAFINA ALAIMO;
DAMIAN ALBARANO; ANDREW
ALBATE AND STEPHANIE ALBATE;
SALVATORE ALBERGO AND PAT
ALBERGO; KURT ALBERTSON AND
TERESA ALBERTSON; PABLO
ALCANTARA AND KARINA ROSARIO;
MICHAEL ALCAZAR; KARIMA ALFRED,
AS ADMINISTRATRIX OF THE ESTATE
OF CLOVIS ALFRED, AND KARIMA
ALFRED INDIVIDUALLY; JAMES
ALGERIA; CARLOS ALI; NAZEEM ALI
AND BIBI N ALI; MARIA ALICK; JOSEPH
ALLEN AND FAZIA ALLEN; ROBERT
ALLEN AND CHRISTINE ALLEN;
MARIO ALLEVA AND MARYANN
ALLEVA; CARLOS ALMONTE AND
SONIA OCASIO-ALMONTE; GAIL
ALTARO AND RALPH A ALTARO;
DAVID ALVARADO AND XIOMARA
ISAAC; BRUCE ALVAREZ AND LYNN


                                                1
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 2 of 159


ALVAREZ; FRANKIE ALVAREZ AND
ANNA ALVAREZ; JENNIFER ALVAREZ;
RICHARD ALVAREZ; ROLANDO
ALVAREZ AND JOSEFA LIDIA
ALVAREZ; SAUL ALVAREZ AND ANA L
ALVAREZ; ROBERT ALVERSON AND
KRISTEN ALVERSON; ANTHONY
AMABILE, JR.; MELBA L AMAYA;
ANTHONY AMBROSINO AND DEBRA
AMBROSINO; GREGORY AMIRA; JORGE
ANCHALUISA AND ALEXANDRA
ANCHALUESA; LOUIS ANCONA;
JOSEPH ANDERSON AND ANDREA
ANDERSON; YOLANDA N ANDERSON
AND COURTNEY ANDERSON;
ALBERTO ANDRADE; RALPH
ANDREOTTI AND ANTONIA
ANDREOTTI; JASON ANDREULA;
BRIAN ANDREWS AND LIZA
ANDREWS; JEROME ANDREWS AND
CYNTHIA ANDREWS; ERNEST
ANEMONE AND PATRICIA ANEMONE;
MICHAEL ANSPACH, AS
ADMINISTRATOR OF THE ESTATE OF
STEWART ANSPACH, AND MICHAEL
ANSPACH INDIVIDUALLY; JOHN
ANTIARIS; PETER ANTINE AND
EVANIE ANTINE; CAROLYN ANTOINE
AND DAVID ANTOINE; MICHAEL
ANTONUCCI AND DEBBRA
ANTONUCCI; ROBERT ANZALONE
AND ANN MARIE ANZALONE; JAMES
APOSTOLOU; ANTHONY ARATO AND
DONNA ARATO; FABIO ARBELAEZ;
KEITH ARCE AND DARLENE ARCE;
JOSE ARCHILLA AND ROBERTA
ARCHILLA; ROBERT ARCHUL AND
JOLEEN ARCHUL; JOHN ARCIUOLO
AND CELIA ARCIUOLO; KAREN
ARENA-MULLADY AND MICHAEL
MULLADY; JULIO ARIAS; VICTOR
ARIMONT; AMPARRO ARISTIZABAL;
DAGOBERTO ARISTIZABAL AND
ALEXANDRA ARISTIZABAL; MICHAEL
ARMOCIDA; JOSEPH ARONSEN AND
BEGONA ARONSEN; PAUL ARRIGO;
GUILLERMO ARRUBLA AND JENNIFER
M ARRUBLA; KWAME ASANTE AND
PAULETTE V JOHNSON; CARLOS
ASMAL; CARLOS G ASMAL; VILMA
   Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 3 of 159


ASPIAZU; MARTHA ATEHORTUA;
THEO ATHANASSIOU AND HELEN
ATHANASSIOU; JOHN AUDETTE AND
TIFFANY AUDETTE; FRANK
AUDITORE AND MICHELLE
AUDITORE; BRIAN AUER AND LINDA
E AUER; HOWARD AUERBACH AND
LINDA AUERBACH; ATHANASIOS
AUGOUSTATOS; DANIEL C AUSTIN
AND ELENA AUSTIN; ROBERT
AVEZZANO AND EVA AVEZZANO;
CESAR AVILA; HIDALGO AVILA;
NOLBERTO AVILA AND BRIGIDA
AVILA; NORBERTO AVILA AND NELLY
AVILA; RICHARD AVILA; WASHINGTON
AVILA AND YVETTE AVILA; CARLOS
AVILES AND WANDA AVILES; FRED
AVIS; JASON AYALA AND SEMRA B
AYALA; ROSA J AZCARATE-SOLANO;
VICTOR AZUBIKE; FRANK S BABIN
AND PATRICIA A BABIN; JOHN
BABOOLAL AND NELLIE BABOOLAL;
NELLIE BABOOLAL AND JOHN
BABOOLAL; GRANTLEY BACCHUS AND
HAZEL BACCHUS; CAROLINE BACON;
MICHAEL BADAGLIACCA AND
CHRISTINA BADAGLIACCA; JOHN M
BADYNA; ANGELO BAEZ; FABIOLA
BAEZ AND RUFINO BAEZ; MIGUEL A
BAEZ AND MARITZA I BAEZ; NELSON
BAEZ AND BENERANDA BAEZ; JAMES
BAHREY AND LAURANNE BAHREY;
ANTHONY BAICICH AND ROSEMARY C
BAICICH; JASON BAILEY; MICHAEL
BAILEY AND KATHLEEN BAILEY;
WILLIAM BAILEY; PETER B BAILON;
DAVID B BAKER, AS ADMINISTRATOR
OF THE ESTATE OF JANICE L. BAKER,
AND DAVID B BAKER INDIVIDUALLY;
REYAAD BAKSH AND AMY BAKSH;
CHRIS BALABOUS; HECTOR
BALAGUER; JOSE BALAREZO;
ROSANNE BALDO; RYAN BALDWIN
AND RHEAT BALDWIN; STEVEN
BALSON AND CORINNE BALSON; IVAN
BANDA AND MARTHA REINOSO;
NESTOR BANDA AND GEORGINA
BANDA; NESTOR BANDA, JR.;
ANTHONY BANKS AND YVETTE
BANKS; JOSE BARAHONA AND
   Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 4 of 159


DOMENICA BARAHONA; JOSEPH
BARBERA AND NANCY BARBERA;
SYBIL BAREFIELD, AS
ADMINISTRATRIX OF THE ESTATE OF
ROY BAREFIELD, AND SYBIL
BAREFIELD INDIVIDUALLY; DAVID
BARKER; MICHAEL BARKER AND
LORNA BARKER; WILLIE BARNES;
MIGUEL BARONA AND MARIA
SUCUZHANYAY; DEAN BARONE AND
AMIE BARONE; JOSEPH BAROSA AND
BARBARA BAROSA; EDWARD BARRETT;
JACKSON BARRETT AND CHRISTINE
BARRETT; LUIS BARROS AND BEATRIZ
BARROS; CEDRIC BARROW AND
ALISON BARROW; DONNA BARROW;
DEAN BARTELUCCI AND DONNA M
BARTELOCCI; HECTOR BARTOLOMEI
AND JULIE BARTOLOMEI; FREDERICK
BARTZ AND JANA BARTZ; GALO
BARZOLA; WILBERT BASCOM AND
SETNA BASCOM; ANTHONY BASILE;
JULIO BASTIDAS; SPIRO BATSEDIS;
LINDA BATTLE; PAUL BAVARO AND
CAROLYN BAVARO; WILLIAM BEAURY
AND EILEEN BEAURY; LANCE BECCA
AND DELIA BECCA; PAUL BECK; MARY
BECKMAN; SIME BEGONJA AND SILVIA
BEGONJA; DADY BELFORT; ISACAH
BELL, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
PERRY BELL, AND ISACAH BELL
INDIVIDUALLY; ROBERT BELL AND
ANNLEE BELL; LUIS BELLAPIANTA;
TIMOTHY BELLEW AND KATHLEEN A
BELLEW; JOSEPH BELLISSIMO;
JOSEPH BELLOMO AND TAMARA
BELLONO; ALBERTO BELLOT AND
STELLA M BELLOT; CARMINE
BELMONTE; VINCENTE BENAVIDEZ
AND FLORINDA JOSTINA; TODD
BENEDICT; MONICA BENFANTE AND
ANTHONY BENFANTE; JOSE BENITEZ
AND MONICA BENITEZ; LUIS
BENITEZ AND AMPARO BENITEZ;
CARLOS BENNETT AND DONNA
BENNETT; LARRY BENNETT AND
EDNA E BENNETT; SHARON BENSON,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF SAMMIE BENSON,
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 5 of 159


AND SHARON BENSON
INDIVIDUALLY; ELIZABETH
BERBERICH AND GARY E BERBERICH;
MICHAEL BERGEN AND LORRAINE
BERGEN; PETER BERGIN AND SUSAN
BERGIN; ANA BERMEO AND IDALGO
ENCALADA; SANTIAGO BERMUDEZ, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF SANTY BERMUDEZ, AND
SANTIAGO BERMUDEZ
INDIVIDUALLY; ANGEL BERNABE
AND JACQUELINE BERNABE;
WILLIAM BERNARD AND LISA
BERNARD; JOHN BERRIOS; BENITO
BERRIOS JR.; KEVIN BERRY AND
MONICA BERRY; RENEE BERRY;
CHRIS BERTINELLI AND CAROLYN
BERTINELLI; KEVIN BETANCOURT
AND BONNIE BETANCOURT; LOUIS
BETRO AND ANN BETRO; EVELYN
BETSO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JAMES A BETSO, AND EVELYN BETSO
INDIVIDUALLY; STEPHEN BEYAR AND
BLANCA BEYAR; MARIA BIAGINI;
JOHN BIANCANIELLO; ARTHUR
BIANCHINI AND VICTORIA
BIANCHINI; VITO BIANCO; JOHN
BICOCCHI AND VALERIE BICOCCHI;
ROY BIEDERMAN AND ELIZABETH
BIEDERMAN; JAN BIERYLO AND
DANOTA BIERYLO; ROMAN BIKOWSKI
AND NELLA BIKOWSKA; VINCENT
BILELLA AND THERESA BILELLA;
LAWRENCE BILICKI AND NANCY
BILICKI; PETER BISHUN AND
ELIZABETH BISHUN; KAREN
BITCHATCHI; RICHARD BITTLES;
MAUDE BIVONA, AS ADMINISTRATRIX
OF THE ESTATE OF FRANK BIVONA,
AND MAUDE BIVONA INDIVIDUALLY;
CHRISTOPHER BLAICH; ALVARO
BLAKE; LORENZO BLANCO; CHARLES
BLANDINO AND ANTOINETTE
BLANDINO; YEHOSHUA BLISKO AND
CINDY BLISKO; MACARTHUR BOBBITT
AND MARIA MUNOZ; KEITH BOBE;
DAVID BOEHM AND DANA BOEHM;
CHARLES BOLGIANI AND MONIIQUE
BOLGANI; NICHOLAS P BOLOBANIC
   Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 6 of 159


AND JOY H BOLOBANIC; THOMAS
BOMEISL AND LOURDES BOMEISL;
ANTHONY BONANNO AND
STEPHANIE BONANNO; VICKIE
BONANNO, AS ADMINISTRATRIX OF
THE ESTATE OF DANIEL BONANNO,
AND VICKIE BONANNO
INDIVIDUALLY; SYLVIA BONE;
VINCENT BONEY; SUSANA BONIFAZ;
FELIX BONILLA; LUIS BONILLA;
MILTON BONILLA AND AMPARA
BONILLA; PAUL BONILLA; MARIE
BONTEMPS; PAUL BOOTH AND JULIE
BOOTH; PAUL BORDENCA AND GAIL
BORDENCA; ANGELA BORDIES;
ANDRZEJ BORKOWSKI AND JOANNA H
BORKOWSKA; IRIS CORDOVA, AS
EXECUTRIX OF THE ESTATE OF
NICHOLAS BOSCAINO, AND IRIS
CORDOVA INDIVIDUALLY; BRIAN
BOURKE AND LORI BOURKE; THOMAS
BOURNE AND JOANN BOURNE;
ANTHONY BOVE AND THERESA
BOVE; GERARD BOWDEN AND JANINE
M BOWDEN; MICHAEL E BOWRY AND
WAVNEY BOWRY; GREGORY BOYCE
AND TARA J BOYCE; CARLOS BOYKIN;
MARTIN BOYLE; KEVIN BRADLEY AND
JENNIFER BRADLEY; HUGH
BRADSHAW; ROBERT BRADY AND
LORRAINE BRADY; JOHN BRAISTED
AND ELIZABETH BRAISTED; MICHAEL
BRANNAN AND KAREN BRANNAN;
JENNIFER BRAUER; RICHARD
BREECE AND GISELA BREECE;
EDWARD BREEN AND JEANNINE
BREEN; JOSEPH BRENNAN; THOMAS
BRENNER AND TRACEY S BRENNER;
PETER BRESCIA AND LINDA BRESCIA;
RANDOLPH BREWSTER; DAVID
BREYFOGLE AND JENNIFER
BREYFOGLE; THOMAS BRICK; JOANN
BRIGHT, AS ADMINISTRATRIX OF THE
ESTATE OF ROBERT BRIGHT, AND
JOANN BRIGHT INDIVIDUALLY;
MIGUEL BRITO AND NELLY BRITO;
MICHAEL BROCCOLO; PETER
BRODOWSKI AND SHARON
BRODOWSKI; ALEKSANDR BRODSKIY
AND ANNA BRODSKAYA; MARK
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 7 of 159


BROOKS; TONYA BROOKS; GEORGE
BROSNAN AND PATRICIA BROSNAN;
CHARLES BROWN; CHRIS BROWN AND
KENYA BROWN; MICHAEL BROWN
AND CATHERINE BROWN; ROGER
BROWN AND TONYA RIECHE BROWN;
THOMAS BROWN AND KATARZYNA
BROWN; THOMAS BROWN AND ROSE
MARIE BROWN; TREVOR BROWN AND
ANITA M BROWN; BERNARD BROWNE
AND MARIA LORES-BROWNE; GERARD
BRUEN AND MARY BRUEN; ADAM
BRUNO AND TINA MARIE BRUNO;
FRANC BRUNO AND JOANNE BRUNO;
THOMAS BRUNO AND JULIE BRUNO;
THOMAS D. BRUSCA, SR. AND LOIS
BRUSCA; MARION BRYANT; JEFFREY
BRYDEN AND VALERIE BRYDEN;
WARREN BUB; JAMES BUCHER AND
ALLISON A BUCHER; LIZBETH BUCK,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF BRIAN BUCK, AND
LIZBETH BUCK INDIVIDUALLY;
JOHNATHAN BUCKLEY; HECTOR
BUESTAN AND LUCRECIA SIBRI;
ROBERT BUETE AND CHRISTINE
BUETE; JAMES BUGLINO; FLOR
BUNAY; TERESA BUNAY AND
ALFONSO CABRERA; JOHN A. BURGOS
AND LAURA BURGOS; LEOPOLDO
BURGOS; RANDOLPH BURGOS AND
NOEMI BURGOS; DAVID BURKE AND
DENISE BURKE; RALSTON BURNETT
AND TRACEY BURNETT; WILLIAM
BURNEYKO AND GAIL A BURNEYKO;
KEVIN BURNS AND THERESE BURNS;
JACQUELINE BURTON AND WINSTON
WEATHERS; JOHN BUSACCA AND
SUSAN BUSACCA; WAVERLY T BUSBY
AND SHARON BUSBY; CHARLES BUSER
AND DONNA BUSER; DENNIS BUSH
AND JASMINE BUSH; CHARLES
BUSTAMANTE; JOSEPH BUTERA AND
DAWN BUTERA; MARIO BUTLER, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF JULIO BUTLER, AND
MARIO BUTLER INDIVIDUALLY;
MARTIN BUTLER; STEPHEN
BUTTERBRODT AND ROBIN
BUTTERBROOT; THOMAS BUZZITTA
   Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 8 of 159


AND ALCIDA BUZZITTA; DENNIS
BYRNE AND JOANNE P BYRNE; RUDY
N CABA; IRVIN K CABARRIS AND
ROBIN CABARRIS; CARMEN CABBELL;
RICARDO CABRERA; STEPHEN
CACACE AND GENEVIEVE CACACE;
JOHN CACCAVALE AND TERESA
CACCAVALE; ANDREA CACIOPPO AND
DORI ANN CACIOPPO; ORNELL
CAESAR AND ROSAMOND ORNELL;
DANIEL T CAFFREY AND PATRICIA
CAFFREY; HAMIDE CAGATAY AND
ZEBIULLAH CAGATAY; ZEBIULLAH
CAGATAY AND HAMIDE CAGATAY;
CLAUDIO CAGNINA AND SABINA
CAGNINA; SEGUNDO CAGUANA AND
CARMEN CAGUAN; BRIAN CAIOLA;
JOSEPH CAIOZZO AND PATRICIA
CAIOZZO; BOLIVAR CAIVINAGUA;
JUAN CAIVINAGUA; COLLIN CALDER
AND WINSOME CALDER; JOSEPH
CALECA AND DIANNE CALECA; JOHN
CALHOUN; JENNIFER CALISE-WELSH
AND JOSEPH WELSH; THOMAS A
CALLAHAN AND PATRICIA CALLAHAN;
MARIA ROCIO CALLE; WILSON CALLE;
JACK CAMBRIA; MATTHEW CAMERA;
CARMELLA CAMERON AND STEVE
CAMERON; ANGEL CAMILO AND ANA
MARIA CAMILO; DOMINICK CAMINITI
AND DONNA CAMINITI; VINCENT
CAMMARASANA AND GAIL
CAMMARASANA; PHILIP CAMMARATA
AND ROSALIE CAMMARATA; LAUREN
A CAMPAGNA, AS ADMINISTRATRIX OF
THE ESTATE OF RONALD CAMPAGNA,
AND LAUREN A CAMPAGNA
INDIVIDUALLY; ARNOLD CAMPBELL
AND NADINE CAMPBELL; HENRY
CAMPBELL; HOWARD CAMPBELL AND
KARLEN CAMPBELL; HASAN CAN AND
DIANE CAN; MAXIMO CANELA AND
DEYANIRA CANELA; JOHN
CANGIARELLA AND ELLA
CANGIARELLA; JAMES CANTORE AND
HELEN CANTORE; ANIBAL CANTOS
AND MARIA ; THOMAS CAPO AND
MICHELLE CAPO; FRANK
CAPOGROSSO AND JAQUELINE
CAPOGROSSO; FRANK CAPONE AND
   Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 9 of 159


BARBARA CAPONE; JEAN CAPONIGRO;
ROBERT CAPOZZOLI AND ADELE
CAPOZZOLI; FRANK P CAPUTO; JOSE
CARABALLO; JOSEPH CARADONNA
AND PHYLLIS CARADONNA; VITO
CARBONARA AND PATRICIA
CARBONARA; ROBERT CARBONE;
VINCENT CARDIERI; ALFRED
CARDONA AND EILEEN CARDONA;
KEN CARDONA AND ANDREA
CARDONA; MICHAEL CARDONA AND
TINA CARDONA; PAUL CARIFI AND
LINDA B CARIFI; RUI CARINHA AND
ROSA CARINHA; RICHARD CARINO;
WILLIAM A CARLINO AND VINCENZA
CARLINO; MICHAEL CARLISI; PIETRO
CARLUZZO AND MARIA CARLUZZO;
DAWN CARLUZZO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ROSARIO CARLUZZO, AND DAWN
CARLUZZO INDIVIDUALLY; ROBERT
CARLYLE AND KATHY CARLYLE; FRED
CAROPRESE; PAUL CARPENITO; JAIME
CARPIO; ANDREW CARRARO; ROBERT
CARRINGTON AND MALOMA
CARRINGTON; MICHAEL CARROLL
AND TAMMY A CARROLL; NEIL
CARROLL; JAMES CARRON AND
MICHELE CARRON; PATRICK CARRON
AND LORI CARRON; RONALD CARSON;
MELVIN CARTER, JR; SAL CARUCCI
AND ANGELA CARUCCI; LIZETTE
CARVAJAL; CHARLES CASABIANCA
AND KAREN CASABIANCA; FRANK
CASCELLO AND DAISY CASCELLO;
FRANK CASERTA AND CATHY
CASERTA; JOHN CASEY AND
CONSTANCE CASEY; FRED G CASSEL;
JOSEPH CASSIDY AND HELENA
CASSIDY; CARLOS CASTANO AND
BEATRIZ CASTANO; FRANK
CASTELLANO AND SERENA L JONES;
LANTIE CASTELLO; FRANCISCO
CASTILLO AND COURINE CASTILLO;
NANCY CASTILLO AND CRUZ
GALIANO; SILVIA CASTILLO AND
SEGUNDO SIGUENCIA; DOUGLAS
CASTLE AND COLEEN CASTLE;
CARLOS CASTRO AND PAULA M
CASTRO; GUY CASTRO AND VICKI
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 10 of 159


CASTRO; MYRIAM CASTRO; CHAD
CATALANO AND CRYSTAL CATALAN;
GINA CATOGGIO; DAVE CAVALIERE;
MARIO CAVALOTTI AND MICHELE
CAVALOTTI; SHAWN CAVANAGH AND
CHRISTINE CAVANAGH; DANIEL
CELANO AND DEIDRE CELANO;
FRANK CENTRONE AND JOSEPHINE
CENTRONE; GUY CERBONE AND
DEBBIE CERBONE; ARMANDO
CERON; GEORGE CERVONE; ELAINE
CESTA, AS ADMINISTRATRIX OF THE
ESTATE OF MONTE CESTA, AND
ELAINE CESTA INDIVIDUALLY;
WILLIAM CESTARO AND NINA
CESTARO; ROSA CHAIN; HORACIO
CHALEN AND MARIA CHALEN;
MICHAEL CHAMBERS AND PATRICIA
CHAMBERS; MICHAEL CHAMPION
AND MARGHERITA CHAMPION;
MICHAEL CHARLES; NOEL E.
CHARLES AND WINNIFRED ; BYRON
CHAVES; EDIZON CHAVEZ AND
MARTHA L CHAVEZ; THOMAS W
CHELL; CARMEN CHICLANA AND
ROLANDO ROJAS-SANDOVAL; MARTIN
CHIFFRILLER AND NICOLE
CHIFFRILLER; RODNEY CHILES;
CRAIG CHILLEMI AND PATRICIA
CHILLEMI; KAI CHIN; WALTER CHIPE;
MANUEL CHIQUE AND ELSA CHALCO;
LUIS CHIRINOS; PAWEL
CHMIELOWSKI AND LUIZA
CHMIELOWSKI; FAISAL CHOUDHURY
AND RAHAT CHOUDHURY; PAUL
CHRISTENSEN AND PATRICIA
CHRISTENSEN; CHARLES CHURCHILL
AND MARYANN T CHURCHILL;
STANISLAW CHWIECKO AND DANUTA
CHWIECKO; EMIL CHYNN; PHILIP
CIAMBRIELLO AND TONI-ANN
CIAMBRIELLO; DONNA CIANCIO;
HENRY CIBOROWSKI AND BARBARA
CIBOROWSKI; LOUIS CICCOTTO AND
DONNA CICCOTTO; MARIA DEL PILAR
CIFUENTES; ROBERT CINA AND AURA
THEODORAKATOS; YOLANDA
CINTRON; VICTOR CIPULLO; JAMES
CIRULLI AND DORA CIRULLI; ROBERT
CITKO AND MARIA B CITKO; JOHN
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 11 of 159


CIVELIA; RAYMOND CLAIR; LISA
CLARK, AS ADMINISTRATRIX OF THE
ESTATE OF CHARLES CLARK, AND
LISA CLARK INDIVIDUALLY; EDWARD
CLARK AND DEBRA CLARK; MICHAEL
CLARK AND ANNE R CLARK; ROBERT
CLARK AND ROBYN CLARK; MICHAEL
J CLARKE AND VIENNA CLARKE;
DENNIS CLASSI; FRANK T CLASSI AND
JOAN CLASSI; JOSEPH CLEARY AND
CECILIA CLEARY; JAMES T
CLEMENTE; JOSEPH CLERICI AND
DIANE CLERICI; ROBERT CLINE AND
JAMI LYNN CLINE; NORMAN
CLOUDEN AND FAITH CLOUDEN;
ANGEL COBOS; RICHARD COCCA;
ROBERT COCHERO AND DORIS
COCHERO; EDWARD COCHRAN AND
CECELIA COCHRAN; RICHARD
COLACINO AND SHERRY-ANN
COLACINO; DOMENICO COLAVITO
AND JACQUELINE COLAVITO;
ROBERT COLE AND VIRGINIA COLE;
FELICE COLELLA AND VICTORIA
COLELLA; ANTHONY COLELLO AND
KELLY J COLELLO; EDWARD
COLEMAN; ROBERT COLETTI AND
PHYLIS COLETTI; RUSSELL COLLEIN
AND ADRIENNE COLLEIN; GERALD
COLLIGAN AND BETH COLLIGAN;
MAUREEN COLLINS AND MICHAEL E
COLLINS; MICHAEL COLLINS; JOSEPH
COLOMBO AND LORI COLOMBO;
VICTOR COLON AND PAPSY COLON;
CHRISTOPHER COLUCCI AND KELLY
COLUCCI; JOHN COMBOS AND DONNA
COMBOS; ANDREW COMITO AND
VINCENZA COMITO; ANTHONY
COMPONO AND SHEILA COMPONO;
BEATRIZ CONCEPCION; DAVID
CONCEPCION AND JOANN
CONCEPCION; HENRY CONDE AND
BRENDA CONDE; ANGELO CONETTA
AND LAURIE A CONETTA; DAVID
CONLEY AND SONIA CONLEY; BRIAN
CONLON AND JANE CONLON;
MAUREEN CONMY, AS
ADMINISTRATRIX OF THE ESTATE OF
JOHN CONMY, AND MAUREEN
CONMY INDIVIDUALLY; JOHN
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 12 of 159


CONNOLLY AND SHARON
CONNOLLY; SUZANNE CONROY, AS
EXECUTRIX OF THE ESTATE OF
DANIEL CONROY, AND SUZANNE
CONROY INDIVIDUALLY; RONALD A
CONTE AND MICHELE D CONTE;
RAYMOND CONTORNO AND
MAUREEN CONTORNO; RICHARD
CONWAY; WILLIAM COOK; BRIAN
COONEY; JEANNETTA R TURAY, AS
ADMINISTRATRIX OF THE ESTATE OF
MELVIN COOPER, AND JEANNETTA R
TURAY INDIVIDUALLY; JOSEPH
COPPOLA AND LAURA COPPOLA;
FREDDY CORDERO AND GLENDA
CORDERO; JAIRO CORDERO; HECTOR
CORDOVA; JOSEPH CORIO AND
HEATHER M ; DAVID CORNIER AND
SANDRA MARCELINO; GONZALO
CORREDOR-TORRES AND MARCIA
CORREDOR; JOSE M CORREIA AND
ROSANNA A CORREIA; LUIS CORREIA
AND MONICA CORREIA; FREDERICK
CORRUBIA; FRANCISCO CORTES AND
MARIA YAMBO; KIM CORTESE; JORGE
E CORTEZ; JOHN COSENZA AND
JANEEN COSENZA; PATRICK
COSGROVE AND MARY W COSGROVE;
MANUEL COSME; DOMINICK
COSOLITO AND JODI A COSOLITO;
JOSEPH COSTA AND ADRIANA COSTA;
EMILIO COSTANTINO; GARY
COSTANZA AND KATHLEEN
COSTANZA; DENISE COSTANZO, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF JOSEPH COSTANZO, AND
DENISE COSTANZO INDIVIDUALLY;
THOMAS COSTELLO AND THERESA
COSTELLO; MICHAEL COTRONE AND
MARIA COTRONE; MARIE COTTON, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF RAYMOND COTTON, AND
MARIE COTTON INDIVIDUALLY; VERA
COTTON, AS ADMINISTRATOR OF THE
ESTATE OF THOMAS COTTON, AND
VERA COTTON INDIVIDUALLY; JOHN
COUSINS AND TRACY COUSINS;
JESSICA COWAN; DARRELL COX AND
JESSICA COX; KENNETH CRANDELL,
AS ADMINISTRATOR OF THE ESTATE
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 13 of 159


OF ALEXANDER CRANDELL, AND
KENNETH CRANDELL
INDIVIDUALLY; RICHARD CRAVELLO
AND TERESA WINTERS; BERNARD
CREAVEN AND MARY CREAVEN; JOSE
CRIOLLO AND MARIA CRIOLLO;
NANCY CRIOLLO AND LAWRENCE
ZENTEINO; JOHN CRISCI; FREDERICO
CRISPINO AND ANNMARIE CRISPINO;
JAMES CRONIN AND GINAMARIE
CRONIN; GEORGE CROSWELL;
DENNIS CROWE AND DEANNA MARIE
KLEINE-CROWE; ALEXANDER CRUZ
AND MARTHA CRUZ; JOE CRUZ AND
DIANA CRUZ; PABLO CRUZ; PEDRO
CRUZ AND ZAIDA CRUZ; ZUNILDA
CRUZ; ISAIAH CRUZ JR. AND CYNTHIA
CRUZ; YOLANDA CUADRADO;
WILFREDO CUASCUT AND JASMNINE
CUASCUT; PATRICIA CUBAS AND MARK
PERRY; CARMEN CUBERO; JULIO
CUEVAS AND MARITZA CUEVAS;
MARTIN CUEVAS AND MARITZA
CUEVAS; ROSA CULCAY; LAWRENCE
CUMMINGS; SEAN CUNNIFFE AND
DORIANT CUNNIFFE; ELLEN
CUNNINGHAM AND MICHAEL
CUNNINGHAM; RICHARD CUNZO;
ANTHONY CUOMO AND JANINE
CUOMO; ANGELO CUOZZO AND
ROSEMARY CUOZZO; SANTO
CURATOLO AND ELENA CURATOLO;
PETER CURCIO AND DEBRA CURCIO;
BRIAN CURLEY; ALICE CURRAN-WALL
AND RICHARD WALL; COLLEEN
CURRIE-DILLON AND DENIS DILLON;
JOSEPH CUSUMANO AND
MARIAGRAZIA CUSUMANO; JOSEPH
CUTRONE; CONTE CUTTINO AND
SONYA CUTTINO; ROBIN DAAL;
STUART DACCUS; JOHN DADABO AND
LORRAINE DADABO; JOSEPH DALEO
AND DOROTHY DALEO; ARTHUR
D'ALESSANDRO AND CHRISTINE
D'ALESSANDRO; DAVID DALL AND
MICHELLE DALL; KEVIN DALLAS AND
KATHLEEN DALLAS; PATRICK
D'ALLIEGRO; JEAN R DAMAS AND
YANICK DAMAS; DAVID DAMICO AND
ROBERTA DAMICO; MARY
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 14 of 159


DANDRIDGE; FRANK DANETRA;
LAMONT DANIEL AND SUSAN
DANIEL; CHRISTOPHER DANIELLO
AND ROSEANN DANIELLO; DAVID
DANIELLO; DEBRA DANIELLO AND
DAVID S DANIELLO; RALPH DANISE;
JOHN DANKO AND FRANCES DANKO;
PAUL DANNENHOFFER;
CHRISTOPHER DANYO; JOHN A
DAPKINS AND ANGEL SICOLA-
DAPKINS; MANUEL DASILVA; BARRY
DASKAL AND JESSICA DASKAL; JOHN
D'ATTORE AND ROSEMARIE A
D'ATTORE; FLORA B DAVILA;
ORLANDO DAVILA; OSCAR DAVILA
AND ELIZABETH DAVILA; WILMAR
DAVILA AND MARIA DAVILA;
KIMBERLY L SHAPIRO, AS
ADMINISTRATRIX OF THE ESTATE OF
FLOYD DAVIS, AND KIMBERLY L
SHAPIRO INDIVIDUALLY; JAMES
DAVIS; JEROME DAVIS AND GAIL
DAVIS; JIMMIE DAVIS AND ELLA
DAVIS; PYRON DAVIS AND SHERRY
DAVIS; THOMAS DAVIS; COLIN
DAWSON; MARIA DE LA CRUZ; JOHN M
DE ROSA AND JOYCE L DEROSA; FIDEL
DE VIVO AND ELIZABETH DE VIVO;
JAMES DEADY; ANTHONY DEAGRESTA
AND FRANCINE DEAGRESTA; ALBERT
DEANGELIS; DONATO DEANGELIS;
ASIM DEEN AND KHALIDA DEEN;
JOHN DEFANO; MICHAEL DEFILIPPO
AND MICHELLE DEFILIPPO; DERRICK
DEFREITAS; RICHARD DEFRESCO AND
CHRISTINE DEFRESCO; KEITH
DEGIORGIO AND TINA DEGIORGIO;
GILBERTO DEJESUS; ISAAC DEJESUS;
JORGE DEJESUS; JOSE DEJESUS; JOSE
DEJESUS AND ANNA DEJESUS; ELSA
DELACRUZ; MICHAEL DELANEY;
PATRICK DELANEY AND ELIZABETH
DELANEY; DINO DELANY AND
MICHELE DELANY; PHYLLIS C
ESPOSITO, AS ADMINISTRATRIX OF
THE ESTATE OF JAMES DELAPENA,
AND PHYLLIS C ESPOSITO
INDIVIDUALLY; BRIAN DELAURENTIS
AND VALERIE DELAURENTIS; ELVIS
DELGADO AND JOANNA DELGADO;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 15 of 159


NIDIA DELGADO AND RICHARD
DELGADO, SR.; WILLIAM DELGADO
AND SONJA DELGADO; ROCCO DELIO;
JOSEPH DELLAIRA AND ROSE
DELLAIRA; DENNIS DELLAVALLE AND
MARIA DELLAVALLE; AMATO
DELLIGATTI AND MAUREEN
DELLIGATTI; LUCIANO DELORBE;
TONI-LYNN DELORENZO; ARTHUR
DELPRETE AND MELISSA DELPRETE;
ARTHUR DELPRETE, SR. AND DIANE
DELPRETE; JOSEPH DELUCA AND
ANNA MARIE DELUCA; JOSEPH
DELUCA AND ELIZABETH DELUCA;
LOUIS DELVALLE AND ELBA
DELVALLE; MARK DEMARCO AND
PHYLLIS K DEMARCO; STEVEN
DEMARCO; ALLISON DEMARINIS, AS
ADMINISTRATRIX OF THE ESTATE OF
CHRISTOPHER DEMARINIS, AND
ALLISON DEMARINIS INDIVIDUALLY;
KRYSTALENIA DEMASI, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
NICHOLAS DEMASI, AND
KRYSTALENIA DEMASI
INDIVIDUALLY; CHARLES DEMATTEO
AND LISA DEMATTEO; EVANGELOS
DEMETRIOU AND VAKINA
DEMETRIOU; JOHN DEMSAK AND
JULIA DEMSAK; KEVIN DENAME;
DAVID DENIZARD AND TANYA
DENIZARD; MARK DENNIS; STEVE
DENUNZIO AND LUCILLE DENUNZIO;
BABY DEO; JOHN DEODATO; KEVIN
DEPROSPO; MICHAEL DEROSA;
VINCENT DESANTIS AND JAMIE
DESANTIS; ANTHONY DESANTO AND
LESLIE DESANTO; ROBERT DESMOND
AND LORI DESMOND; JAMES
DESTHERS AND JACQUELYN
DESTHERS; JOSEPHINE DETEMPLE
AND WARREN DETEMPLE; ROBERT
DEVITO; RICHARD P DEVOE AND
PATRICIA DEVOE; FERNANDO DIAS
AND SANDRA DIAS; CHARLY DIAZ AND
MARTHA DIAZ; FLORA DIAZ; JULIO
DIAZ; MOUSSA DIAZ AND ERICKA
DIAZ; VINCENT DIBARI AND
VINCENZA DIBARI; NICHOLAS
DIBONO; THOMAS DICAMPLI; JOSEPH
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 16 of 159


DIGREGORIO AND TINA DIGREGORIO;
VITO DIIENNA, AS ADMINISTRATOR
OF THE ESTATE OF ALBERT DIIENNA,
AND VITO DIIENNA INDIVIDUALLY;
RAFAEL DILONE AND MARIBEL
DILONE; VINCENT DILUCA; JAMES
DIMARTINO AND XIOMARA
DIMARTINO; LEONARD DIMEGLIO
AND NINA TUDOR; ANTHONY
DIMINO AND JOAN DIMINO; DANIEL
DINAN; NICHOLAS DINATALE AND
AGATA DINATALE; THERESA DIORIO
AND RONALD DIORIO; JOHN DIPALO
AND JANE DIPALO; ANDREW DIPPOLD
AND VICTORIA DIPPOLD; NICHOLAS
DIRUBBO, AS ADMINISTRATOR OF
THE ESTATE OF LEO DIRUBBO, AND
NICHOLAS DIRUBBO INDIVIDUALLY;
NICHOLAS DIRUBBO; CHRIS DIRUSSO;
JOSEPH DISANTO AND VICTORIA
DISANTO; PAT DISPIGNA; ROBERT D
DITO AND DEBORAH DITO; MICHAEL
DIVIRGILIO AND PHYLLIS
DIVIRGILIO; BRIAN DIVIS AND
BARBARA DIVIS; EDWARD DOBSON;
KEVIN DOHERTY AND JEAN
DOHERTY; MARY CHRISTINE
DOHERTY; LAWRENCE DOLAN AND
ALLISON DOLAN; FRANK DOLCE AND
JAYNE C DOLCE; JOSEPH
DOLCIMASCOLO AND VERNA
DOLCIMASCOLO; MICHAEL DOLPHIN;
MARGARITA DOMINGUEZ AND
FRANCISCO DOMINGUEZ; KEVIN
DONNELLY; PATRICK DONNELLY
AND CHRISTINE DONNELLY;
DONALD DONOHUE; JOHN JUDGE, AS
EXECUTOR OF THE ESTATE OF GUY
DONOHUE, AND JOHN JUDGE
INDIVIDUALLY; JAMES DONOVAN
AND YOLANDA DONOVAN; MICHAEL
DONOVAN AND MINDY DONOVAN;
CARVER DOTTIN AND ALTHEA
DOTTIN; NICK DOUSMANIS AND
DENISE DOUSMANIS; JOSEPH DOUSO
AND JILL E DOUSO; BRIAN DOWD AND
JEANNE DOWD; DWAYNE DOWE AND
ALINA GRIFFIN-DOWE; ROBERT
DOWNES AND PATRICIA DOWNES;
JOHN DOWNEY AND CHRISTINA M
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 17 of 159


DOWNEY; CHARLES DOYLE AND
PATRICIA DOYLE; THOMAS DOYLE
AND CATHERINE DOYLE; WILLIAM
DOYLE AND JOANN DOYLE; ARLENE
DRAGO, AS ADMINISTRATRIX OF THE
ESTATE OF JAMES DRAGO, AND
ARLENE DRAGO INDIVIDUALLY;
JOHN DRAGOTTA AND DIANE
DRAGOTTA; JESSE DRAKE AND SUSAN
DRAKE; SHANE DRESSER;
CHRISTOPHER DREW; KEVIN
DRISCOLL; BOGDAN DROZD AND
ANNA DROZD; RICHARD A.
DRUMMOND AND ANGELA
DRUMMOND; ROBERT DUANE AND
KAREN A DUANE; STEVEN DUBESTER
AND MARIE DUBESTER; ALEX
DUBINSKY AND G DUBINSKY; LUZ
DUCHE AND EDGARD DUCHE; ANGEL
DUCHITANGA; MANUEL
DUCHITANGA AND MONICA
CHILLOGALLI; ROSALINO
DUCHITANGA AND ROSA
DUCHITANGA; NORMANDA DUDEN
AND THOMAS DUDEN; JOANN DUFFY,
AS ADMINISTRATRIX OF THE ESTATE
OF JOHN J DUFFY, AND JOANN DUFFY
INDIVIDUALLY; ANDREY DUGAYEV;
TANYA DUHANEY-SANDURO AND
ALFRED SANDURO; JOANNE DUNN, AS
ADMINISTRATRIX OF THE ESTATE OF
PATRICK DUNN, AND JOANNE DUNN
INDIVIDUALLY; EDWARD DUNNIGAN;
CHARLES DURHAM; JAMES DURKIN
AND CHRISTA CENTINEO; DAVID
DURLER AND NANCI DURLER;
RICHARD J DURSO; ELVIA DUTAN AND
WILFREDO DUTAN; DWIGHT D
DUVOLL AND VANESSA DUVOLL;
MICHAEL DWYER; PATRICK DWYER;
DAVID DZADOVSKY AND ELIZABETH
DZADOVSKY; RICHARD DZIUBELA;
KEVIN EARNEST AND STACEY D
EARNEST; BEVERLY G EATON AND
CURTIS R EATON; RONALD ECKARDT
AND PATRICIA ECKARDT; KEITH
ECKERT AND TAMI ECKERT; NEIL
ECKERT; IRWIN EDELSTEIN AND
HELEN EDELSTEIN; CHRISTOPHER
EDWARDS; JAMES J EDWARDS;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 18 of 159


ROBERT EDWARDS; GREGORY
ELEFTHERIADES AND ANNA
ELEFTHERIADES; RONALD ELLIOTT
AND HELEN ELLIOTT; CIRILO
ENCALADA; LUIS K ENCALADA;
DOUGLAS ENCARNACION AND
TORREY ENCARNACION; STEVEN
ENDERLEY AND ROSANA ENDERLEY;
DAVID ENDERS; MARK
ENGELBRECHT AND ANNE
ENGELBRECHT; ANNMARIE ENNIS
AND PETER ENNIS; PHILIP
ERCOLANO; RICHARD ERLER AND
BARBARA ERLER; JOSE ESPADA AND
ELIZABETH ESPADA; ADOLFO
ESPINOZA; ANTHONY ESPOSITO AND
ANNA M ESPOSITO; GLENN ESPOSITO;
PAUL ESPOSITO; PATRICK ESTELLE
AND GINA SETELLE; JULIAN
ETIENNE; MICHAEL ETTINGER;
DONALD EVANS AND ELMAY EVANS;
JOSEPH EWALD, JR. AND ANGELA
EWALD; CHRISTINE FABER AND
LANCE FABER; HECTOR FABERLLE
AND CECELIA FABERLLE; MICHAEL
FAGEL AND PATRICIA M FAGEL; JOHN
FAILLA; ROBERT FAILLA AND
BARBARA FAILLA; FRANK FAIVRE AND
MARYELLEN FAIVRE; JOSE FAJARDO;
BLANCA F FALCONES AND PEDRO Y
FALCONES; STEPHEN FALKOWSKI
AND KAREN FALKOWSKI; ROBERT
FANELLI; ROBERT FANESI AND JODY
A FANESI; MORTON FARBER AND
OKSANA FARBER; MANUEL FARES;
THOMAS FARINO AND CARISSA
FARINO; BRIAN FARRELL AND DEBRA
BLASI-FARRELL; EAMON FARRELL;
HENRY FARRELL AND JENNIFER
FARRELL; PETER FARRELL AND
PATRICIA FARRELL; FRANK FARRUGIA
AND KAREN FARRUGIA; JOHN
FASANARO AND EVELYN FASANARO;
BRADLEY FASSETT AND LORRAINE
JACKSON-FASSETT; DERRICK FAULK;
ERIC FAWCETT AND SHAHEEDA
FAWVCETT; CHRISTIAN FEBRILLET;
ANNE FEIT AND WALTER S FEIT;
JOHN FELCI; STEVEN FELDMAN AND
PATRICIA FELDMAN; ANGEL
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 19 of 159


FELICIANO AND SANDRA FELICIANO;
THORNAIL R FELTON; SALVATORE
FEMIA AND JOANN FEMIA; ROBERT L
FENWICK; GERALD FEOLA AND
ARLENE FEOLA; ED FERINGTON, JR.
AND KAREN FERINGTON; CELESTINO
FERNANDEZ AND CYNTHIA
FERNANDEZ; ROBERT FERNANDEZ
AND JENNIFER FERNANDEZ;
MICHAEL FERRADO; FRANK FERRARA
AND ANNALISE FERRARA; JOSEPH
FERRARO AND STEPHANIE FERRARO;
ROBERT FERREIRO AND DAYNA
FERREIRO; ROLANDO FERRERAS;
ALBERT FERRO; WASHINGTON
FERRUZOLA AND LUZ RAMOS;
ROBERT FESTA AND LINDA FESTA;
DAVID FIGUEROA AND HEIDI
FIGUEROA; NOEL FIGUEROA; DEBRA
FILAN; ANTHONY FILLBRUNN;
MICHAEL FINER AND KAREN H
FINER; DONALD FINNELLI AND
CAROLYN FINNELLI; RAY FIORE;
JOSEPH FIORELLO; GREGORY FISCO
AND NICOLE FISCO; PAUL FISHER
AND DEBRA ANN FISHER; LOUIS
FISHMAN AND LISA FISHMAN;
BEVERLY FITZGERALD; GLEN
FIUMANO AND NANCY L FIUMANO;
JOSEPH FIUMANO; SALVATORE
FIUMEFREDDO AND THERESA
FIUMEFREDDO; PATRICK FLAHERTY
AND LAURA ANN FLAHERTY; SCOTT
FLAUM AND PHYLIIS J FLAUM; ALLAN
FLAXMAN AND LAURA FLAXMAN;
ANDREW FLEARY AND CECELIA
FLEARY; RAYMOND FLOOD AND
CARLA FLOOD; DANIEL FLOODY AND
DIANE R FLOODY; RICHARD
FLORENTINO AND ANGELINA
FLORENTINO; DANILSA FLORES;
TALIA FLORES; JOSEPH J FLYNN;
THOMAS FLYNN AND HANNAH I
FLYNN; DANIEL FOLEY; VINCENT
FONDACARO AND YVONNE
FONDACARO; DULCIE FORBES, AS
ADMINISTRATRIX OF THE ESTATE OF
EZEKIEL FORBES, AND DULCIE
FORBES INDIVIDUALLY; GEORGE F
FORELLI AND VICTORIA FORELLI;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 20 of 159


JOSEPH FORLENZA AND NORA
FORLENZA; JULES FORMEL AND
BETTY FORMEL; KRUYTHOFF
FORRESTER; MYRNA FORSTER, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF CARL FORSTER, AND
MYRNA FORSTER INDIVIDUALLY;
JOSEPH FORTE AND CAROL FORTE;
JEFFREY FOSELLO AND LISA
FOSELLO; IAN FOX; RAPHEAL C
FRAGOLA; SYLVAN FRANCIS AND
CHERYL FRANCIS; LUIS FRANCO;
DOMINIC FRANGELLA AND MARIA
FRANGELLA; KENNETH FRANZ; FRED
FRATAR AND KATHLEEN L FRATAR;
PATRICK FRAWLEY AND SALLY P
FRAWLEY; RANDY C FREEDMAN;
JANINA FRELAS; WILLIAM A.
FRICKENSTEIN; DAPHNE FRIEND, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF DENNIS FRIEND, AND
DAPHNE FRIEND INDIVIDUALLY;
DELORIS FRIERSON; GREGORY
FRIERSON; TERRANCE FRONTIS; JOSE
FUENTES; LAZARO FUENTES AND
WENDY DEMARCO-FUENTES; RAY
FULLER AND DEBORAH FULLER;
DAVID FUNK; RAYMOND FUSCALDO;
JOSEPH FUSCO AND DEBRA A FUSCO;
HARALD GABRIELSEN AND DEBI
GABRIELSEN; FRANK GAETANO AND
KATHLEEN GAETANO; ALFRED
GAILLARD; JOHN GALASSO AND
KAREN GALASSO; LAWRENCE
GALASSO AND NINA GALASSO;
MARICELA GALINDEA; CHRISTOPHER
GALLAGHER AND ELIZABETH
GALLAGER; DAVID GALLAGHER AND
ANN M GALLAGHER; VINCENT
GALLAGHER AND MONA GALLAGHER;
NORBERTO GALLARDO; VICTOR
GALLEGOS AND TERESA NARVAEZ;
WALTER GALLEGOS; EDWARD
GALLETTI; DIANA GALLI AND
CLAUDIO GALLI; CORI GALLO AND
MAGDALENA GALLO; TIMOTHY
GALLOWAY AND ELIZABETH
GALLOWAY; ROBERT GALVIN AND
BARBARA RAMSHORN-GALVIN;
ALBERT GAMBARDELLA AND MARY
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 21 of 159


GAMBARDELLA; ANTHONY
GAMBARDELLA AND LORETTA
GAMBARDELLA; STEVEN
GAMBARDELLA AND PATRICIA
GAMBARDELLA; WIESLAW
GANDURSKI; SEGUNDO GARCES;
CARLOS GARCIA AND EDILMA GARCIA;
ENRIQUE GARCIA; JOSEPH GARCIA;
LADISLAO GARCIA; LUIS V GARCIA
AND TAMARA DOMINGUEZ; RAFAEL
GARCIA AND LUZ GARCIA; VICTOR
GARCIA AND CHRISTINE A GARCIA;
ANTHONY GARIFO AND KAREN
GARIFO; GREGORY GARLAND AND
NANCY GARLAND; JEFF GARNER AND
CINDI GARNER; MICHAEL
GARRITANO; JOHN GARVEY AND
MARY GARVEY; MARIA GARZON;
FRANK GATO AND CYNTHIA GATO;
JOE GATTO; PAUL GATTO AND
MONIKA GATTO; BARRY GAUSE AND
ROSILYN GAUSE; ALYSON GAVIN;
LEONARD GAWIN AND MIROSLAWA
GAWIN; JOHN F GAWLEY AND
MARGARET M GAWLEY; JOHN
GAYNOR AND KAREN GAYNOR;
EDWARD GEARY AND ALLYSON J
GEARY; EUGENE GEE; ROOSEVELT
GEE; LYNDA GEER, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
WILLIAM GEER, AND LYNDA GEER
INDIVIDUALLY; WILLIAM GEERLINGS
AND CATHERINE GEERLINGS; JAMES
GEISSLER AND DANIELA GEISSLER;
SALVATORE GEMMA; MANES GENEUS;
JOHN GENGO; RONALD GENTILE
AND ARLENE GENTILE; ROSEMARIE
GEORGE; STEPHEN GEOSITS III;
JAMES GERACI AND CAROL ANN
GERACI; ANNA V GERENA; DANIEL
GERRITY AND TERESA GERRITY;
DONALD GESSNER AND MARYJEAN
GESSNER; FRANK GIACALONE AND
EMANUELA GIACALONE; JAMES
GIACALONE AND LORIE GIACALONE;
RICHARD GIALLANZO; RONALD
GIALLANZO AND ELIZABETH
GIALLANZO; THOMAS GIAMPORTONE;
FRANK GIGANTE; ANDREI
GIGLEVITCH AND KERRY
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 22 of 159


GIGLEVITCH; VICTOR H GIL AND
ANNA GOMEZ- GIL; SAMUEL GILFORD;
KENNETH GILL AND CYNTHIA GILL;
PAUL GILL; SHIRLEY GILL AND
MIGUEL GILL; JAMES GILMORE;
DANIEL GILROY AND MAUREEN
GILROY; NEIL GIMPEL AND PAULA
GIMPEL; RAFAEL GIORDANI AND
BETTY GIORDANI; ANTHONY
GIORDANO AND MARISA GIORDANO;
RICHARD GIORDANO; RALPH
GIOVACCO; ROBERT GIPSON; DEYCER
GIRALDO; JAIME GIRALDO AND
GLORIA VILLADA; JOHN GIRALDO
AND SARAYA GIRALDO; ANTHONY
GIRAND; GIUSEPPE GIUCA; ANTHONY
GIUSTRA AND ALLISON GIUSTRA;
DANIEL GLATZ AND DANIELLA A
GLATZ; LESLIE GLENN; ARTHUR
GNECCO AND SARAH GNECCO;
MICHAEL J GODFREY JR.; GLEN
GODINO AND JOAN GODINO;
DOMENICK GOFFREDO AND ELAINE
GOFFREDO; PATRICK GOGAN AND
BARBARA GOGAN; LAURENCE
GOLDBERG; EDWARD GOLDEN AND
DAWNA GOLDEN; PATRICK GOLDRICK
AND CYNTHIA GOLDRICK; MARK
GOLDWASSER AND RACHELLE
GOLDWASSER; STEVEN GOLUB AND
CHRISTINE GOLUB; CARLOS GOMEZ;
EDWARD GOMEZ AND LISSETTE
GOMEZ; GILDARDO GOMEZ; RICHARD
GOMEZ; RUBEN GOMEZ;
ALBERDESTON GONZALEZ; EDWIN
GONZALEZ; GERARD GONZALEZ;
GISSELLE GONZALEZ; JIMMY
GONZALEZ AND JERRYLYNN
GONZALEZ; JOHN GONZALEZ AND
MIGDALIA GONZALEZ; RAUL E
GONZALEZ; ROBERTA GONZALEZ;
DERRICK GOODE AND MONICA
GOODE; RAYMOND GOODNESS AND
FRANCES MARIE GOODNESS; EDWARD
GORA AND EWA RYNCZAK-GORA;
ADAM GORDON; ANTHONY GORDON
AND GWEN GORDAN; LEROY
GORDON AND CLARICE DIXON;
GLENN GORECKI AND JEAN GORECKI;
ALBERTO GORIS AND TERESA
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 23 of 159


SALCEDO; GEORGE F GORMAN AND
LORI GORMAN; MARISA GORMAN AND
JOHN GORMAN; VICTOR GORMAN;
ROBERT GOULD AND CARMEN M
GOULD; ROBERT GOULD AND
SVETLANA GOULD; ABDON GRAGEDA;
JOSEPH GRANATA AND JULIEANN
GRANATA; KEVIN GRANGER AND
KRISTINE GRANGER; ARTURO GRANT;
JOHN GRANT AND DIANE GRANT;
PAUL GRATTAN AND ISABEL
GRATTAN; ROBERT GRAWIN AND
ROBIN GRAWIN; DANIEL GRAZIANO
AND YANG YANG; FREDERICK
GRAZIANO AND JOANN V GRAZIANO;
ERIN GREANEY, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOHN GREANEY, AND ERIN GREANEY
INDIVIDUALLY; JOHN E GREANEY;
CHRIS GRECO; DEBORAH GRECO;
ANTHONY D GREEN; KARL J GREEN
AND MARY B GREEN; JUSTIN GREENE;
YANTI M GREENE; MATTHEW
GRENNAN AND JANET GRENNAN;
RICHARD GRIFFIN AND KRISTA
GRIFFIN; ANGELO F GRILLO AND
LAURA GRILLO; RICHARD GRONBERG
AND DARIA GRONBERG; JAMES
GROTHEER AND ELLEN GROTHEER;
ANTHONY GROTTO AND KRISTEN A
GROTTO; SLAWOMIR GRYSZKIEWICZ;
GUIDO GUALLPA AND ANGELA
GUALLPA; JORGE GUALOTUNA;
GREGORY GUARNERI AND KAREN
GUARNERI; MICHAEL GUARNIERI
AND LISA M GUARNIERI; STANISLAW
GUDANOWSKI AND TERESA
GUDANOWSKA; SALVATORE GUERCIO
AND VINCENZA GUERCIO;
FRANCISCO GUERRERO AND ARELIS
GUERRERO; RODOLFO GUEVARA;
JOSEPH GUINEY AND JULIANA A
GUINEY; NICHOLAS GULLO; JOHN
GUNTHER, AS EXECUTOR OF THE
ESTATE OF ROBERT GUNTHER, AND
JOHN GUNTHER INDIVIDUALLY;
MICHAL GURGOL AND ANDREA
GURGOL; DAVID GUTH; RAFAEL
GUTIERREZ AND DIANA V
GUTIERTEZ; ARMANDO GUZMAN;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 24 of 159


DOMINICK GUZMAN; FELIX E
GUZMAN; MARIA GUZMAN; SALMA P
GUZMAN; RICHARD GWILLYM;
ZBIGNIEW GWOZDZ AND ZUZANNA
GWORDZ; ADRIAN GYURO; JEFFREY G
HAAS; SCOTT HAAS AND CELESTE
HAAS; ROBIN HABBERSHAW, AS
ADMINISTRATRIX OF THE ESTATE OF
DANIEL W HABBERSHAW, AND ROBIN
HABBERSHAW INDIVIDUALLY;
MICHAEL HAFFNER; KENNETH
HAGEL AND STEPHANY HAGEL;
JAMES HALEY; L. VERONICA HALL;
MICHAEL HALL AND BERNADETTE
HALL; THADDEUS HALL AND
KARLENE HALL; JEFFREY HAMILTON
AND DAWN P HAMILTON; THERESA
HANDLER; CHRISTOPHER HANLEY
AND EILEEN HANLEY; JOSEPH
HANLEY AND PATRICIA A HANLEY;
CHRYSTEL HANNON-DESPOSATI AND
CONSTANTINO DESPOSATI; JEFFREY
HANSEN AND CHRISTINA HANSEN;
KENNETH HANSEN; WILLIAM HAPPE
AND ESTRELLA HAPPE; MICHAEL
HARDMAN AND MARY HARDMAN;
TERRANCE HARDY AND DENISE
HARDY; KEVIN HARE AND MICHELE
HARE; VISHNUDAT HARILAL AND
SABRINA HARILAL; BRADFORD
HARMON AND TARA HARMON; LLOYD
HARMON AND MARIA HARMON;
CAROLINE HARRIGAN; DARYL HARRIS
AND SHANDA HARRIS; EUGENE
HARRIS; JOHN HARRIS AND SAHAR
MARLOWE-HARRIS; STEPHEN HARRIS;
THERESA HARRIS; GLENN
HARTFIELD AND ROXANNE
HARTFIELD; THEDDUS HARTLEY
AND KIMBERLY A HARTLEY; CONNIE
HARTMAN-WILHELM AND RICHARD
WILHEIM; NEIL HARTNETT AND LISA
HARTNETT; EDWARD HARTRICK AND
LOURDES VILLANUEVA; FRANK
HARVEY AND NANCY HARVEY;
ERROLL HASSELL; BRIAN HASSETT
AND PATRICIA H HASSETT; RALPH L
HATWOOD; ROGER HAUGHTON AND
MELISSA HAUGHTON; THOMAS
HAYES AND VICTORIA HAYES;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 25 of 159


WARREN HAYES AND TALTHEA M
HAYES; WILLIAM HEALY; WILLIAM J
HEALY AND BARBARA HEALY;
GEORGE HEENAN AND DONNA
HEENAN; GREGORY HEFFERAN;
BARBARA HEIM; WILLIAM HEISER
AND KIM HEISER; EMANUEL HELLEN
AND DIANE J HELLEN; WILLIAM
HENDERSON; DAVID HENDRICK;
MARSHA HENDRICKSON-SLACK; SEAN
HENIHAN AND IRMA G HENIHAN;
JEFFREY HENKEL; JEFFREY HENKEL;
RAYMOND HENNESSY AND
ADRIENNE RAYMOND; JULIO
HENRIQUEZ AND ANA HENRIQUEZ;
VICTOR HENRIQUEZ AND
ELIZABETH HENRIQUEZ; NOEL
HENRY AND BRENDA A HENRY;
KAZMIR HEPP AND KATHY SUCIC;
DICK HERNANDEZ AND MIRIAM
HERNANDEZ; FELIX HERNANDEZ;
HAROLD HERNANDEZ AND MARIE
HERNANDEZ; JAIME HERNANDEZ;
ROBERT HERNANDEZ; STEVEN
HESSE, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ALISTAIR HESSE, AND STEVEN HESSE
INDIVIDUALLY; PETER HICKEY;
RAYMOND HICKEY AND TANA M
HICKEY; JOHN HIEBENDAHL AND
MARGARET HIEBENDAHL; JAMES
HIGGINS; JOSEPH HIGGINS AND
JENNIFER HIGGINS; PATRICK
HIGGINS; ROBERT HIGGINS AND
LINDA HIGGINS; WILLIAM
HIGHTOWER AND ELEONORA
HIGHTOWER; CATHERINE HILL, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ROBERT HILL, AND
CATHERINE HILL INDIVIDUALLY;
THERESA HILLS, AS ADMINISTRATRIX
OF THE ESTATE OF HENRY HILLS,
AND THERESA HILLS INDIVIDUALLY;
JAMES HIPPLE JR.; EUGENE HIPSMAN
AND KATHLEEN HIPSMAN; DAVID
HOBBS AND NAWANNA HOBBS;
SHAWN HOBSON AND MELANIE
HOBSON; THOMAS HOEY AND
XIOMARAM HOEY; KEVIN HOGAN
AND VERONICA HOGAN; WILLIAM
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 26 of 159


HOGAN AND DEBRA HOGAN;
KIMBERLY HOLLIER AND ICOMA
HOLLIER; DEREK HOLLOWAY AND
TAKISHA REID-HOLLOWAY; SELENA
HOLMES; ERIC HONE AND ANNA
HONE; NORMAN HOROWITZ AND
ANITA HOROWITZ; JUNE L HOSFORD,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF RAYMOND HOSFORD,
AND JUNE L HOSFORD
INDIVIDUALLY; JASON HOULIHAN
AND ADRIANA HOULIHAN; JAMES
HOWARD; VICTOR M HOWELL;
WILLIAM HOWLEY AND MARY T
MCDERMOTT; ANGEL HUALPA AND
ROSA HUALPA; WAYNE HUGGINS;
EDMUND G HUGHES AND GAIL
HUGHES; JOSEPH HUGHES AND
LAURA HUGHES; LARRY HUGHES AND
YVETTE HUGHES; THOMAS HUGHES;
ROBERT HULL AND KELLY MARIE
HULL; WILLIAM HUMPHREY AND
DIANE C HUMPHREY; WILLIAM
HUNTER AND DEBORAH HUNTER;
MEREDITH HUNTLEY, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
EDWIN J HUNTLEY, AND MEREDITH
HUNTLEY INDIVIDUALLY; NEIL
HURLEY; JHON HURTADO; JULIO
HURTADO AND ELDA MONICA
MONTES; NABIL HUSSAIN; GLENDA
HUTCHINSON; BIAGIO IACONO AND
ANCA IACONO; ANDREW IADEVAIO
AND TERESA IADEVAIO; STEVE
IANNUCCI AND LINDA IANNUCCI;
VINCENT IAVARONI AND JOANN
IAVARONI; EDGAR IDROVO AND
GLADYS MACEDO; MANUEL IDROVO;
BRIAN ILUND AND CAROL ILUND;
ROBERT IMBESI AND MAUREEN T
IMBESI; JEFFREY IMSHO AND LAURA
ANN IMSHO; LUIS INGA AND CARMEN
FLORES; MARY INGARGIOLA AND
THOMAS INGARGIOLA; PHILIP INTOCI
AND MYRA INTOCI; MICHEAL IRWIN;
THOMAS IRWIN; PIOTR IWANSKI;
JOZEF JABLONSKI AND AGNIESZKA
JABLONSKA; KIMBERLY JACKSON;
JOSEPH JACOBS AND CHARLEEN
JACOBS; BRIAN JACOBSEN AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 27 of 159


CHRISTINE JACOBSEN; JANUSZ
JAKUBOWSKI AND KRYSTYNA
KARPINSKA; JUAN JARA; JONAS
JARAMILLO AND BLANCA JARAMILLO;
ONORATO JELOVCIC; DOUGLAS
JENKINS AND MONALISA JENKINS;
WILLIS JENKINS AND LINDA THOMAS-
JENKINS; PAMELA JENNINGS, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF FREDERICK JENNINGS,
AND PAMELA JENNINGS
INDIVIDUALLY; SHANE JENNINGS;
ROBERT JERSEY AND CAROLYN
JERSEY; MICHAEL JESSIE AND CAROL
F DAVIS; FERNANDO JIMENEZ;
MARISOL YALLICO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
FRANCISCO JIMENEZ, AND MARISOL
YALLICO INDIVIDUALLY; RAUL
JIMENEZ; PATRICIA A JIRAK; MARK
JOHN AND JACQUELINE JOHN;
MICHAEL JOHN AND RENEE JOHN;
ALFRED JOHNSON; BRENDAN
JOHNSON AND JANE JOHNSON;
CHARLES JOHNSON AND RITAY
JOHNSON; COLUMBUS JOHNSON AND
GENEVA JOHNSON; DARRELL K
JOHNSON AND RHONDA JOHNSON;
DON M JOHNSON AND DONIQUE
JOHNSON; JAMES R JOHNSON AND
ANGLEA JOHNSON; JOHN JOHNSON;
JOHN JOHNSON; RITA JOHNSON;
WILLIAM JOHNSON AND MARYANN
JOHNSON; ROBERT JOHNSON, SR.
AND ANNETTE JOHNSON; FRANCIS
JOHNSTON AND RENE JOHNSTON;
NANCY JOKIPII, AS EXECUTRIX OF
THE ESTATE OF TURE JOKIPII, AND
NANCY JOKIPII INDIVIDUALLY; JAMES
C JONES AND PATRICIA JONES; JOE
JONES AND PRISCILLA JONES;
SERENA JONES AND FRANK
CASTELLANO; THOMAS C JORDAN
AND JACQUELINE ; PAUL JOSEFSON
AND DIANE L JOSEFSON; DANNY
JOSEPH; MICHAEL JOSEPH; MICHAEL
JOY AND JOANNE K JOY; DENNIS W
JOYCE AND HELLEN JOYCE; KERRY
JOYCE AND DAWN JOYCE; KEVIN
JOYCE; RICHARD JOYCE AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 28 of 159


BELINDA SINGH; JAN JOZEFOWICZ
AND IRENA JOZEFOWICZ; HENRYK
JOZWIAK; PHILIP JUDE AND DIANNE
JUDE; GEORGE JUSTI AND MARIJA
JUSTI; JOZEF KACZYNSKI AND
MAREZENA KSCZYNSKI; VAL KAGANAS
AND MIRA SHERER; CHRISTOPHER
KAGENAAR AND AILEEN H
KAGENAAR; MICHAEL KALAB AND
DEBORAH KALAB; MICHAEL KANE;
ANNIE CAPUTO, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
STEVEN KAPCZAK, AND ANNIE
CAPUTO INDIVIDUALLY; SLAWOMIR
KARPINSKI AND DOROTA KARPINSKI;
MARIAN KARUS AND BARBARA KARUS;
SLAWOMIR KARWOWSKI AND LUCJA
KARWOWSKI; PAULA RICHARDSON, AS
EXECUTRIX OF THE ESTATE OF GARY
KAVAKOS, AND PAULA RICHARDSON
INDIVIDUALLY; ANDREW KAY AND
LYSSA OLSEN-KAY; JOHN J KEAR; BILL
KEEGAN; KEVIN KEENAN AND GINA
M KEENAN; TIMOTHY KELLAM AND
PAMELA KELLAM; RAYMOND KELLER
AND SHARON J KELLER; ROBERT
KELLNER AND GINA A KELLNER;
DENNIS KELLY; HERMAN KELLY;
JAMES F KELLY; PATRICK KELLY; PAUL
KELLY; PETER J KELLY AND DIANE
KELLY; PETER KELLY AND
ELIZABETH KELLY; ROGER KELLY;
JOHN KELSO AND JANET KELSO;
MELISSA KENEALLY AND TIMOTHY
KENEALLY; DONALD KENNEDY AND
SUZANNE KENNEDY; PATRICK
KENNEDY AND JACQUELINE
KENNEDY; WILLIAM J KENNEDY AND
KAREN M KENNEDY; PATRICK KENNY
AND LIZ KENNY; JOSEPH C. KESSLER
AND DOLORES KESSLER; MITCHELL
KESSLER; KEVIN KEUCHLER AND
KAREN KEUCHLER; YASHA KHAIMOV
AND SEVIAY KHAIMOV; MIKHAIL
KHAYKIN AND MARINA KHAYKIN;
DUDLEY L KING AND AGNETTA KING;
JOSEPH KING AND ROSEANN KING;
MARK A. KING AND BRIDGET KING;
WILLIAM KINGSTON; MICHAEL
KINLOCH; FRANZ KIPPES; ANN
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 29 of 159


KIRDAHY; LAWRENCE KIRWIN AND
MARY SEIFERHELD; ANDRZEJ KIRYK
AND URSZULA KIRYK; JOHN KISSANE
AND VICTORIA KISSANE; DAVID
KLEIMAN, AS ADMINISTRATOR OF
THE ESTATE OF JEFF KLEIMAN, AND
DAVID KLEIMAN INDIVIDUALLY; JOEL
KLEIN AND BARBARA UHLAND;
MICHAEL KLIMUK AND MARJORIE
KLIMUK; TIMOTHY KLOBUS AND JODI
A KLOBUS; DENNIS KNUCKLE AND
DOROTHY E KNUCKLE; ANDREW
KOEHLER AND MICHELLE KOEHLER;
PATRICIA MANSFIELD, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ROBERT KOETH, JR., AND PATRICIA
MANSFIELD INDIVIDUALLY; JOHN
KOGLER; ANDRZEJ KOLANO AND EWA
KOLANO; FRANK KOLANOVIC;
MICHAL KOPCZA AND DANUTA
KOPCZA; DENISE KOPISKE AND
WALTER C KOPISKE; ALEXANDER
KORONEC; GREG KOSAREK AND MARY
KOSAREK; IGOR KOSIV; ADAM
KOWALCZYK AND SABINA
KOWALCZYK; DEAN KOWALSKI AND
ANN-MARIE KOWALSKI; WALTER
KRAMER, JR. AND NANCY J KRAMER;
JOSEPH KRASKO; CHARLES KRASS AND
CAROL J KRASS; ANTOINETTE
KRAUSE, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOHN KRAUSE, AND ANTOINETTE
KRAUSE INDIVIDUALLY; ALEKSANDR
KRAYNIY AND SVETLANA
KHRAPUNSKAYA; SANDRA KRINGDON
AND FELIPE RODRIGUEZ; KENNETH
KRUG; MICHAEL KRUS; MARIAN
KUCZAJ; YOSEF KUDMAN AND LEAH
KUDMAN; STEVEN KUEFNER AND
KRISTINA KUEFNER; THOMAS
KURILENKO; ANDREW KURPAT; HANI
KUTTEH AND JOANN KUTTEH; MARK
D KWALWASSER AND DEIRDRE
MCMORROW; BOGUSLAW KWASNIAK
AND MALGORZATA KWASNIAK;
EDWARD LA MOTTE; IGNATIUS
LABARBERA; ANTHONY LABARCA, JR.;
MICHAEL LABATE AND CHERYL
LABATE; HEROLD LABISSIERE;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 30 of 159


ROBERT LACONTI AND ROXANNE
LACONTI; MICHAEL LADAGANA;
MELVIN LADNER; JOHN LAFFERTY;
JUAN LAFRANQUE; TROY LAGNER;
RICHARD LAGNESE AND NICOLE
LAGNESE; WILLIAM LAHAM AND
DEBRA LAHAM; FAN KING LAI AND
CATHLEEN CAO; MATHEW LAIRD
AND MARGIE LAIRD; ALEXANDER
LAKHTARNIK AND LINA G
LAKHTARNIK; NEHRU LALL AND
SHIREEN LALL; JOHN LAM AND
SANDY LAM; JUAN LAM AND QUEENIE
C CHIU; SHAUN LAMBERTI AND
CATHERINE LAMBERTI; FRANTZ
LAMOTHE AND ANNE MARIE
LAMOTHE; ROBERT LAMPITELLI;
KEITH LANDAU AND DIANE LANDAU;
WILLIAM LANDON AND IRENE
LANDON; WALTER LANE; KARL B
LANFRIT AND CHRISTINA LANFRIT;
RALPH LANOCE AND MARY LANOCE;
STEPHANIE LANUTO, AS
ADMINISTRATRIX OF THE ESTATE OF
ROBERT LANUTO, AND STEPHANIE
LANUTO INDIVIDUALLY; JOHN
LAPIERRE AND DONNA LAPIERRE;
MANUEL LARA AND NYDIA LARA;
BRIAN LARUSSA AND JEAN LA RUSSA;
MICHAEL LASALANDRA; CARLOS
LASCANO; FERNANDO LASCANO AND
ISABEL LASCANO; NOE LASSO;
VINCENT LATERRA AND ELLEN
LATERRA; HOWARD LATIMER AND
ELAINE LATIMER; JOSEPH LAUER, JR
AND AILEEN LAUER; FRANK LAURA
AND ROSEMARIE LAURA; WAYNE
LAURENZANO AND DENISE
LAURENZANO; ROBERT LAURI; JAMES
LAVELLE AND PATRICIA LAVELLE;
JAMES LAVIN AND LAUREN LAVIN;
GIUSEPPE LAVORE; CHRISTOPHER J
LAWRENCE AND TINA LAWRENCE;
EDWARD LAYNE; GEORGE LAYNE;
TURHAN LAZARUS AND ARRIEFAH
LAZARUS; MARK LAZINA AND ARLENE
LAZINA; JOHN LEACH AND EVELYN
LEACH; SUZANNE LEACOCK-
SINGLETON AND RONALD
SINGLETON; JACQUELINE LEAHY
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 31 of 159


AND MICHAEL LEAHY; MICHAEL
LEAHY AND JACQUELINE LEAHY;
PATRICK LEAHY AND JUDY LEAHY;
ANNETTE LEARY; MARK LEBRINI
AND JAINA LEBRINI; GENOWEFA
KALETA-LECH, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
LESZEK LECH, AND GENOWEFA
KALETA-LECH INDIVIDUALLY; JAMES
R LECHMANSKI AND HELEN T
LECHMANSKI; FRANKLIN LECHNER
AND CARMEN LECHNER; FABIO
LECOCHE AND JACQUELINE LE
COCHE; HORACIO LEDESMA; CORA
LEE AND HAROLD LEE; DAVID LEE;
MICHAEL LEE; RICKY LEE; ALAN
LEIFER AND RANDI LEIFER; FINBARR
LEIGHTON; JAMES LEISCHNER; JASON
LEITERMAN AND JANINE M
LIETERMAN; JOHN LEMA AND
CHERYL R LEMA; JOSE LEMOS; PAIGE
LENER; KURT LENIO; KEVIN LENNON
AND ROSEMARY LENNON; MARY
LENNON-CRAIG AND LEONARD
CRAIG; THOMAS LENZO; FERNANDO
LEON; PASCUAL LEON; SEGUNDO
LEON; THOMAS LEONARD AND
LAURIE LEONARD; DANIELLE
LEONARDI, AS EXECUTOR OF THE
ESTATE OF EILEEN LEONARDI, AND
DANIELLE LEONARDI INDIVIDUALLY;
DOMENICO LEONE AND ISABELLA C
LEONE; NATALE LEONE AND DEBBY
LEONE; DOMINICK LEPORE AND
PATRICIA LEPORE; SCOTT LEPRE;
DAVID LERICH; ERIC LERNER AND
CAROLINE LERNER; CLEMENT
LESPINASSE AND DIANE PATTERSON;
WILLIAM LEVERTON AND FLORINDA
LEVERTON; SAMUEL LEWIS AND OPAL
LEWIS; STEPHEN LEWIS AND DORIS
LEWIS; STEPHEN W LEWIS AND
PATRICIA LEWIS; WILLIAM LEWIS;
MICHAEL LEWY AND MONICA LEWY;
CHAICHARN LIANGSIRI AND SHELIA
LIANGSIRI; ANTHONY LICATA AND
CHRISTINE LICATA; JOHN A LICHOTA
AND BRIGID E LICHOTA; SEAN
LICHOTA AND JESSICA LICHOTA;
DAVID LICHTENSTEIN AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 32 of 159


CHRISTINA LICHTENSTEIN; KEN
LIGRECI; ROBERT LINK; JOHN
LINSTROM AND TRACI LINSTROM;
GEORGE LIROPOULOS AND LISSETTE
LIROPOULOS; ANTHONY LISI AND
STEPHANIE LISI; MANUEL LITUMA;
STUART LITWIN AND BRUNILDA
LITWIN; EMMA LLAURADO; WILLIAM
LLOYD AND BARBARA LLOYD; MARK
LOBEL AND DEBORAH LOBEL;
SALVATORE LOBELLO AND ANNA
LOBELLO; CHRIS LOCKEL AND
VANESSA C LOCKEL; BRENDA
LOCKHART-RIVERA; WINSTON
LODGE; DANIEL LOEN; WILLIAM
LOENING AND JOANN PATRICIA
LOENING; KENNETH LOFARO AND
MERYL LOFARO; RITA LOGIUDICE;
JOSE LOJA AND LIVIA MARIA
DURAZNO; NICHOLAS LOMBARDI;
JOSEPH LONGO AND LAURA ANN
LONGO; JOHN LONNBORG; AGUSTIN
C LOPEZ AND NELLY LOPEZ; MARIA
SANCHEZ-LOPEZ, AS
ADMINISTRATRIX OF THE ESTATE OF
ANTONIO LOPEZ, AND MARIA
SANCHEZ-LOPEZ INDIVIDUALLY;
ARNALDO LOPEZ AND CECELIA
LOPEZ; GREGG LOPEZ AND SUSAN
LOPEZ; JAMIE D LOPEZ; MILTON
LOPEZ AND GEORGINA L LOPEZ;
OSWALDO LOPEZ AND LORENO V
LOPEZ; RENE LOPEZ AND JULIENNE
LOPEZ; RICARDO LOPEZ AND YVETTE
PAGAN; ROLANDO LOPEZ; TULIO
LOPEZ; WILBER LOPEZ AND
ARACELLY GONZALES; LAURA
LOPRESTI AND PETER LOPRESI;
PETER LOPRESTI AND LAURA
LOPRESTI; ANDREA LORA; NICHOLAS
LORUSSO AND DEANA LORUSSO;
TYRONE LOTT; JOHN LOUGHERY
AND KERRY E LOUGHERY; DESMOND
LOUGHRAN AND HELEN LOUGHRAN;
BRIAN LOUISA, AS ADMINISTRATOR
OF THE ESTATE OF GARY LOUISA,
AND BRIAN LOUISA INDIVIDUALLY;
STEVE LOVERGINE AND CHRISTINE
LOVERGINE; JOZEF LUBIARZ AND
JOLANIA LUBIARZ; LIONEL LUCAS
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 33 of 159


AND ANTOINETTE LUCAS; JOSEPH
LUCCHESE AND JOELLEN LUCCHESE;
LIGIA LUENGAS; DANIEL LUFFMAN
AND MICHELLE J LUFFMAN; JOHN
PATRICK LUFFMAN AND DARLENE
LUFFMAN; ROBERT LUIZZI AND
JOSEPHINE LUIZZI; EDWARD LUKE
AND DIANA LUKE; ROLANDO LUNA;
MARISSA LUNDQUIST AND JAMES F
LUNDQUIST; ALESSANDRO
LUPARELLO AND FLORENCE N
LUPARELLO; STEVEN LUPO; WILLIAM
A LUTZ AND LISA M GORNAY-LUTZ;
RAFAEL LUYANDO AND IVELIZ
LUYANDO; JAMES LYNAGH AND
SANDRA LYNAGH; MICHAEL LYNCH
AND DOLORES LYNCH; THOMAS
LYNCH AND CHARLOTTE LYNCH;
GARY LYNN AND SUSAN LYNN; KELLY
LYON AND JENNIFER LYON;
CHARLES LYONS; JOHN MACALUSO
AND JESSICA MACALUSO; VERONICA
MACAS; VERNON MACK; ROBERT
MADONNA; ANTHONY MAFFATORE
AND KATHERINE MAFFATORE;
LYUDMILA MAGDYUK, AS
ADMINISTRATRIX OF THE ESTATE OF
VALERIY MAGDYUK, AND LYUDMILA
MAGDYUK INDIVIDUALLY; DEBRA
MAGGIANI; THOMAS MAHER;
DEXTON MAHONEY AND ANETTE
MAHONEY; MARGARET MAKOC AND
MARK MAKOC; VITALIY MAKSYMETS
AND ANGELA MAKSYMETS; JOHN
MALAFRONTE AND RAETHERESA
MALAFRONTE; DARWIN
MALDONADO; FELIX MALDONADO;
JOSE MALDONADO; MARIANA
MALDONADO; SCOTT MALKOFF AND
IRINA MALKOFF; BERNARD MALONE
AND RITA M MALONE; JAMES
MALONE; PHILIP MALTAGHATI AND
MADELINE MALTAGHATI; JOSEPH G
MALVINO AND MARILYN MALVINO;
LANCE MALY AND JOANNE MALY;
EDWARD MAMET; FRANK MANCUSO
AND ANN MANCUSO; CARMINE
MANDRAGONA; MARIA MANETTA, AS
ADMINISTRATRIX OF THE ESTATE OF
RICHARD MANETTA, AND MARIA
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 34 of 159


MANETTA INDIVIDUALLY; REGINA
MANGHAM; RICHARD MANION;
DENNIS MANKOWSKI; GREGORY
MANNING AND CHRISTINE
MANNING; R. DELIA MANNIX AND
RICHARD V FERRO; FRANCESCO
MANNO; SEBASTIAN MANNUZZA;
TIGRAN MANUKYAN AND GAYANE
HAKOBYAN; KEVIN MARAGLIO AND
BONNIE MARAGLIO; NICHOLAS
MARCHESE AND MARLENE
MARCHESE; CATHLEEN S
MARCHETTI, AS ADMINISTRATRIX OF
THE ESTATE OF JOSEPH MARCHETTI,
AND CATHLEEN S MARCHETTI
INDIVIDUALLY; ROBERT MARCHI
AND COLLEEN MARCHI; PHYLLIS
MARCHIONE; STEPHEN MARCHIONE
AND GAETANA MARCHIONE; THOMAS
MARCHLEWSKI AND CATHY
MARCHLEUSKI; ANGEL MARENGO;
FRANCIS MARGRAF; INDIRA MARINE;
DEAN MARINO; RAYMOND MARINO
AND SUZANNE MARINO; VIRGILIO
MARMOLEJO AND OLGA C RIVERA;
ERIC MARRERO AND MICHELLE
MARRERO; ERNESTO MARRERO;
DONNA MARSHALL; RICHARD
MARTIN AND CATHY E RUSH;
THOMAS MARTIN AND MEGANN
MARTIN; AUGUSTINO MARTINELLO
AND FRANCES MARTINIELLO; ALEX
MARTINEZ; MERCEDES MARTINEZ, AS
ADMINISTRATRIX OF THE ESTATE OF
ALFREDO MARTINEZ, AND
MERCEDES MARTINEZ
INDIVIDUALLY; DOMINGO
MARTINEZ; EDWIN MARTINEZ AND
EILEEN MARTINEZ; GEORGE
MARTINEZ; JOFFRE MARTINEZ AND
JESSICA CABRERA; MARCOS
MARTINEZ AND DEBBIE A MARTINEZ;
NANCY MARTINEZ AND KEVIN
MARTINEZ; MICAH MARTINO; JOANN
MARZOCCHI, AS EXECUTRIX OF THE
ESTATE OF WILLIAM MARZOCCHI,
AND JOANN MARZOCCHI
INDIVIDUALLY; RAFAEL MASABANDA;
TRINA MASON; DIANNE
TANNARIELLO, AS EXECUTRIX OF
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 35 of 159


THE ESTATE OF MATTHEW
MASSERIA, AND DIANNE
TANNARIELLO INDIVIDUALLY;
ELEODORO MATA AND IVIS
RODRIGUEZ-MATA; DANIEL MATERA
AND MARIE L MATERA; PERUMAL
MATHEW AND LEELAMMA PERUMAL;
JOSE MATIAS; CHRISTOPHER
MATISHEK AND KARYN A MATISHEK;
MANUEL MATOS AND MARIA MATOS;
ALLEN MATTHEWS; MARK MAUPIN;
JOSEPH MAURINO AND ANITA
MAURINO; GREGORY M. MAXWELL
AND RENEE L MAXWELL; EDWARD
MAY; KEONI MAY; NOEL MAYNARD
AND LUCILLE MAYNARD; PHILIP
MAYOTT; CAMILLA MAZARESE, AS
ADMINISTRATRIX OF THE ESTATE OF
JOHN MAZARESE, AND CAMILLA
MAZARESE INDIVIDUALLY; GARY
MAZIARZ; JUAN MAZLYMIAN AND
JULIA MAZLYMIAN; JOSEPH A MAZZA;
JAMES MCALEVEY AND GENEVEIVE
MCALEVEY; BRIAN MCALLISTER; GINA
MCAUSLAND, AS ADMINISTRATRIX OF
THE ESTATE OF THOMAS
MCAUSLAND, AND GINA MCAUSLAND
INDIVIDUALLY; DERRICK MCBEAN;
JOHN MCBRIDE; THOMAS MCBRIDE
AND INGRID MCBRIDE; JAMES
MCCABE AND NANCY MCCABE; JAMES
MCCABE AND RITAMARY MCCABE;
JEFFREY MCCABE AND TAMMY
MCCABE; DANIEL MCCANN; DANIEL
MCCANN; MICHAEL MCCANN AND
DEIRDRE H MCCANN; ROBERT
MCCARREN JR AND CHRISTINE
MCCARREN; DANIEL MCCARTHY;
LYNN MCCARTHY AND EUGENE
SENESE; WILLIAM A MCCARTHY AND
KAREN MCCARTHY; ROBERT
MCCASKEY AND PATRICE MCCASKEY;
SUSAN MCCONNELL; THOMAS
MCCORMICK AND LYNNE
MCCORMICK; AGNES MCCOY, AS
ADMINISTRATRIX OF THE ESTATE OF
THOMAS MCCOY, AND AGNES MCCOY
INDIVIDUALLY; THOMAS MCCOY AND
VERONICA A MCCOY; LAWRENCE
MCCRORY; JOSEPH MCCUE AND JANE
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 36 of 159


MCCUE; MICHAEL MCDANIEL AND
SHARON MCDANIEL; SEAN
MCDERMOTT AND EILEEN
MCDERMOTT; THOMAS MCDERMOTT
AND NANCY MCDERMOTT; THOMAS
MCDONALD AND LORRAINE
MCDONALD; CURTIS P MCDOWALD;
BRYAN MCELWAIN AND FELICIA
MCELWAIN; PATRICIA A MCENIRY;
BRIAN MCFARLAND; KENNETH
MCFARLANE; BRIAN MCGEEVER AND
ILEANA MCGEEVER; SHAUN MCGILL
AND TRACEY L MCGILL; PETER
MCGINN; JAMES MCGINNIS AND
BARBARA MCGINNIS; MICHAEL
MCGIVNEY AND BARBARA MCGIVNEY;
PETER MCGOVERN AND ELIZABETH
MCGOVERN; MATTHEW MCGRATH
AND THERESA MCGRATH; BRIAN
MCGUINNESS AND MARY
MCGUINNESS; LAWRENCE J MCGURK;
HUGH MCHUGH; SANDRA MCKAY;
EVELYN MCKEE; BRIAN MCKENNA
AND LINDA MCKENNA; DANIEL
MCKENNA; DOREEN MCLARNEY, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF DENIS MCLARNEY, AND
DOREEN MCLARNEY INDIVIDUALLY;
HARRIET MCLAUGHLIN, AS
EXECUTRIX OF THE ESTATE OF
KEVIN MCLAUGHLIN, AND HARRIET
MCLAUGHLIN INDIVIDUALLY; SEAN
MCLAUGHLIN AND MARY
MCLAUGHLIN; THOMAS
MCLAUGHLIN AND STASIA
MCLAUGHLIN; ALAN MCLAURIN;
DENNIS J. MCLOUGHLIN AND ANNE G
MCLOUGHLIN; JIM MCLOUGHLIN
AND VICTORIA MCLOUGHLIN;
DENNIS MCMAHON AND COLLEEN
MCMAHON; KEVIN MCMAHON AND
NOREEN MCMAHON; MICHAEL
MCMAHON; DENNIS MCMORROW
AND PAMELA MCMORROW; MICHAEL
MCNAIR AND MARY ANNE MCNAIR;
BRIAN MCNULTY; GERARD MCNULTY
AND DOROTHY MCNULTY; MATTHEW
MCNULTY AND CYNTHIA MCNULTY;
WILLIAM MCNULTY AND KAREN
MCNULTY; BARRY MEADE;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 37 of 159


TERRENCE MEANEY AND ELIZABETH
MEANEY; MAUREEN MEANEY-KEANE
AND JOHN KEANE; RAYMOND
MEDINA AND KAREN M MEDINA;
VILMA MEDINA; SALVADOR
MEDRANO AND TRINIDAD MEDRANO;
TRINIDAD MEDRANO AND SALVADOR
L MEDRANO; JOHN MEE AND LINDA A
MEE; JACQUELINE MEGE; EDILIO
MEJIA; HILARIO MEJIA AND
MERCEDES H MEDRANO; MARK
MEKLER AND MARGARET MEKLER;
JAVIER MELENDEZ AND TARA
MELENDEZ; RAFAEL MELENDEZ;
LOUIS MELISI; GREGORY MELITA AND
ELIZABETH MELITA; ROBERT
MELLINA AND LORI ELLEN MELLINA;
ALEX MENDEZ; FRANCISCO MENDEZ
AND DEBORAH MENDEZ; MICHAEL
MENDEZ; PATRICIO MENDEZ AND
GIOVANNA LOPEZ; NELSON MENDEZ,
JR. AND SUNNY S COSTA-MENDEZ;
GUSTAVO MENDOZA AND HADA
MENDOZA; DIANE MENIG AND JOHN
MENIG; LUIS MERCADO; CARLOS
MERCHAN; MERCEDES MERCHAN
AND CARLOS ZAMORA; VANCE
MERRICK; JOHN MERRY AND
WIESLAWA A MERRY; LUIS MESORANA;
LLOYD MESQUITA; ANGELO MESSINA
AND DANIELLE MESSINA; GAETANO
MESSINA AND MARIA MESSINA; JOHN
MESSINA AND MARIA MESSINA;
ALEXANDER METRO AND TONI
LACENTRA; HUGO MEZA AND SILVIA
MEZA; JEROME MIDDLETON; JOSEPH
MIDDLETON AND DIANNE
MIDDLETON; MICHAEL MIELE AND
DIANA T MIELE; MICHAEL MIGLIORE
AND TINA MIGLIORE; JOSEPH
MILLER; RICHARD MILLER AND
GRETA MILLER; SAMUEL MILLER AND
MICHELLE MILLER; SCOTT MILLER
AND AMY MILLER; TAIWO MILLER;
JOSEPH MILLS AND ELAINE MILLS;
ROBERT MILMORE AND SHERRIE L
MILMORE; DOMENICK MINEO AND
ROSALIE MINEO; JUDITH MINISSALI,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF RICHARD MINISSALI,
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 38 of 159


AND JUDITH MINISSALI
INDIVIDUALLY; CHRISTOPHER
MINOGUE; HAROLD MIRANDA AND
SONIA MIRANDA; RICHARD MIRANDA
AND NOELIA MIRANDA; FRANK MISA
AND JENNIFER MISA; JOHN MISA AND
WENDY MISA; BRUCE MITCHELL AND
CAROLYN MITCHELL; LINDA
MITCHELL; MICHAEL MITCHELL AND
DARLENE MITCHELL; SOLOMON
MITCHELL AND VICTORIA MITCHELL;
STEVE MIZRAHI AND CAMILLE
MIZRAHI; ROBERT MOCKLER AND
ANN MARIE MOCKLER; JOSEPH
MODAWAR AND FRANCESCA
MODAWAR; ZBIGNIEW MODELSKI
AND WANDA MODELSKI; TIMOTHY
MOELLER AND CAMILLE MOELLER;
JOHN MOGLIA; EFRAIN MOJICA AND
GLADYS MOJICA; ROSA L MOLINA;
NOEL MOLONEY AND HELEN
MOLONEY; KENNETH MONAHAN
AND DENISE MONAHAN; STEVEN
MONCUR AND DOROTHY MONCUR;
CHRIS MONEK; PETER MONGELLO
AND DEBRA MONGELLO; ANTHONY
MONTALBANO AND DOREEN
MONTALBANO; DAVID MONTALVO
AND JENNIFER MONTALVO; EDWIN
MONTALVO AND ELIZABETH
MONTALVO; FELIX W MONTALVO
AND ANA I MONTALVO; LOUIS
MONTALVO, JR.; RUBEN
MONTENEGRO; MICHELLE
MONTGOMERY AND THOMAS M
MONTGOMERY; ANGEL MONZANT;
DANIEL MOONEY; EDWARD MOORE
AND RUTH MOORE; DAVID MORALES
AND ANNA CASTRO; DELVIS MORALES
AND MARITZA MORALES; ISRAEL
MORALES; JULIO MORALES; MICHAEL
MORALES AND CLARIBEL MORALES;
SILVIA MORALES, AS EXECUTRIX OF
THE ESTATE OF MICHAEL MORALES,
AND SILVIA MORALES INDIVIDUALLY;
NICHOLAS MORALES AND JENNIFER
MORALES; PETER MORALES AND
SONIA MORALES; XIOMAR MORALES;
JOSEPH MORAN AND MARIA MORAN;
LEROY MORAN; LUIS MORAN AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 39 of 159


KETTY MORAN; PATRICK MORANT
AND DANA MORANT; MICHAEL J
MORDECI AND DOROTHY MORDECI;
ENRIQUE MORENO; ADRIAN
MORETA; JOHN MORETTI AND
KAREN MORETTI; GARY MORGAN;
JACQUELINE MORGAN AND EUGENE
DEGANNES; MICHAEL MORGAN AND
SUZANNE MORGAN; RAYMOND
MORGAN; THOMAS MORIARTY; BRIAN
MORNINGSTAR; RAHIM MORRIS AND
SINDY L MORRIS; ROBERT MORRIS
AND MICHELLE MORRIS; RODNEY
MORRIS AND LENA MORRIS;
FREDERICK MORRONE AND NINA
MORRONE; ALAN MORTENSEN AND
ELIZABETH MORTENSEN; MICHAEL
MOSCATO; SALVATORE MOSCATO
AND PATRICIA MOSCATO; WILLIAM
MOSCATO; MICHAEL MOSCHELLA
AND MICHELE MOSHELLA; LINDER
MOSQUERA; FRANCES MOTTOLA;
CHRIS MOY; JOE MOYA; LUIS MOYA
AND MONICA MOYA; DERRICK MOYER
AND ANDREA CICOGNA; KEVIN
MOYLAN AND MICHELLE MOYLAN;
PATRICK MOYNIHAN; JACEK MROZEK
AND MARIA MROZEK; RICHARD
MUELLER AND RUBENE MUELLER;
DORIS WIGGINS-MUHAMMED, AS
ADMINISTRATRIX OF THE ESTATE OF
SALIYM MUHAMMAD, AND DORIS
WIGGINS-MUHAMMED
INDIVIDUALLY; IAN MULLAN; DANIEL
MULLANE AND KAREN MULLANE;
REGIS MULLANEY AND PATRICIA
MULLANEY; ADA MULLER, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF CARL MULLER, AND ADA
MULLER INDIVIDUALLY; DEREK
MULNARD AND LISA NATAL; DANIEL
MULVANERTY; LEONARD MUNDA
AND JEANETTE MUNDA; EDWARD
MUNDY AND SANDRA MUNDY;
ROBERT MUNIER AND LOURDES
MUNIER; JANETH MUNOZ AND
JAVIER MUNOZ; JAVIER MUNOZ AND
JANETH MUNOZ; MICHAEL MURPHY;
MICHAEL MURPHY; MICHAEL
MURPHY AND ANDREA MURPHY;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 40 of 159


SHAWN MURPHY; TIMOTHY MURPHY
AND ANNMARIE MURPHY; BRIDGET
MURRAY; JAMES MURRAY AND JOANN
MURRAY; DOMINIC MUSSILLO AND
FRANCES MUSSILLO; MICHAEL
MUSTILLO AND DORA MUSTILLO;
CHARLES J MUSTO AND KATHLEEN
MUSTO; HARRY MYERS AND SOPHIA
MYERS; MICHAEL MYERS AND
LEANNE S MYERS; RANDY NACHMAN;
RAYMOND NAFEY AND HEATHER
NAFEY; JOHN NAPOLI; RICHARD
NAPOLITANO AND BETH
NAPOLITANO; ADOLFO NARANJO
AND DORIS ALCIVAR; JORGE NARANJO
AND ROSA NARANJO; LEONARDO
NARANJO AND NUBE ANGAMARCA;
LUIS NARANJO AND ELVIA
SARMIENTO; LUIS NARANJO AND
ROSA NARANJO; FRANCISCO NAREA;
MIECZYSLAW NARTOWICZ; CARLOS
NARVAEZ; JULIA NARVAEZ; RENE
NARVAEZ; ROSA NARVAEZ; KENNETH
NASH; EDWARD NAU AND RHONDA M
NAU; NELLI NAVARRO AND JORGE
CRUZ; NELLY NAVARRO AND JORGE
CRUZ; PAUL NEAL AND KIMBERLY A
NEAL; STEPHEN NEGERSMITH AND
GINA NEGERSMITH; HERBERT
NEGRON; ELI NEGRON, JR; ELI
NEGRON, SR. AND RUTH FIGUEROA;
LAWRENCE NEIDIG AND ALICE
NEIDIG; PETER NELLIGAN AND
GIUSEPPINA NELLIGAN; JOSEPH
NELSON AND PATRICE NELSON; PAUL
NELSON; ROY NELSON; SANDRA
SUWEIDAN-NEMEH, AS EXECUTRIX
OF THE ESTATE OF STEVEN NEMEH,
AND SANDRA SUWEIDAN-NEMEH
INDIVIDUALLY; RICARDO NENADICH
AND CHRISTINE M NENADICH;
VELMIR NESTOROVIC AND STANKA
NESTOROVIC; MADELEINE NETROSIO
AND STEVEN BELICH; GLENN
NEUMAN AND KATHLEEN NEUMAN;
TIMOTHY C NEVINS AND KAREN
NEVINS; BRIAN NICHOLS; TERENCE
NICKELSON AND PATRICIA
NICKELSON; STEVEN NICOLETTI;
LEO NIEMCZYK AND DENISE
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 41 of 159


NIEMCZYK; GISELA NIEVES; STEVEN
NIEVES AND DENISE NIEVES; ULISES
NIEVES AND NOEMI NIEVES; STEVEN
NIGGEMEIER AND CATHERINE
NIGGEMEIER; ANTHONY NIGRO AND
PATRICIA NIGRO; DAVID NISKANEN;
JOHN J NOCE; WILLIAM NOESGES
AND DENISE NOESGES; THOMAS
NOFER; DANIEL NOLAN AND
ANNMARIE NOLAN; DENIS NOLAN
AND CATHY NOLAN; JOSEPH NOLAN
AND LANA NOLAN; RICHARD NOLAN
AND STEPHANIE NOLAN; DANIEL A
NOLAN, JR. AND PATRICIA NOLAN;
FRANK NORKEVICH AND ALICE
NORKEVICH; REGINALD NORRIS AND
KATHY NORRIS; JOHN NORTON AND
THERESA NORTON; MATTHEW
NOVELLO AND CYNTHIA NOVELLO;
JOSEPH NOYA; THOMAS NUCCIO, AS
ADMINISTRATOR OF THE ESTATE OF
ANTHONY NUCCIO, AND THOMAS
NUCCIO INDIVIDUALLY; MARIUSZ
NUCKOWSKI AND MARIA EMBER;
CARLOS NUNEZ AND ROSA PEREZ;
DIVINA NUNEZ; EDDIE NUNEZ AND
ANGELICA NUNEZ; JAUNEZ NUNEZ;
MARILIN NUNEZ AND ANTHONY
VILLANUEVA; RICARDO NUNEZ;
MICHAEL NUNN AND JACQUIE
NUNN; GRACE NUZZOLO; THOMAS O
CONNOR; ROBERT O NEILL AND
GINA O'NEIL; SEAN O NEILL AND
IMELDA O NEILL; JEFFREY OBERDIER
AND CHARITY OBERDIER; MICHAEL
O'BRIEN AND DEBORAH O'BRIEN;
MICHAEL O'BRIEN AND JEAN
O'BRIEN; TIMOTHY G O'BRIEN;
KEVIN O'CALLAHAN; JOSEPH OCASIO
AND CYNTHIA L OCASIO; MARCO
OCASIO AND AIDA OCASIO; JEREMIAH
O'CONNELL; SEAN O'CONNELL AND
CAROLE O'CONNELL; CARY
OCONNOR; DENIS O'CONNOR AND
MARGRET O'CONNER; JOHN
O'CONNOR; JOHN O'CONNOR AND
JANET ANN O'CONNOR; JOHN
O'CONNOR AND WENDYE R KNIE-
O'CONNOR; MAUREEN O'CONNOR, AS
ADMINISTRATOR OF THE ESTATE OF
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 42 of 159


STEPHEN O'CONNOR, AND MAUREEN
O'CONNOR INDIVIDUALLY;
SALVATORE ODDO AND ROSALIE
ODDO; JOHN O'DEA AND KRISTINE
O'DEA; FRANK O'DONNELL; MICHAEL
ODRECHOWSKI AND VIRGINIA C
ODRECHOWSKI; LENHARD
OECHSNER AND RAQUEL OECHSNER;
WILLIAM OETTING AND MICHELE
OETTING; MATTHEW O'FARRELL;
JOSEPH OGGERI AND NELLY OGGERI;
MARGARET O'KEEFE; GEANINA BELU,
AS ADMINISTRATRIX OF THE ESTATE
OF TIFANI OLARU, AND GEANINA
BELU INDIVIDUALLY; MICHAEL
O'LEARY AND DONNA O'LEARY; JOHN
OLEWNICKI; WAYNE OLIVEIRA;
FRANK OLIVERI AND TARA S OLIVERI;
PILAR OLIVO; MARY-CATHERINE
O'LOUGHLIN, AS EXECUTRIX OF THE
ESTATE OF MICHAEL O'LOUGHLIN,
AND MARY-CATHERINE O'LOUGHLIN
INDIVIDUALLY; DARREN ONDOCIN
AND ADELE ONDOCIN; ALEXANDER
O'NEAL AND MAUREEN O'NEAL;
MICHAEL O'NEAL AND JENNIFER
O'NEAL; DANIEL O'NEILL; TIMOTHY
O'NEILL AND MICHELLE LAMBERT;
JOYCE O OTTENG, AS
ADMINISTRATRIX OF THE ESTATE OF
EVANS OPPONG, AND JOYCE O
OTTENG INDIVIDUALLY; KETTY
ORELLANA; THOMAS O'RIORDAN AND
MARY C O'RIORDAN; LUIS ORSINI;
EDGAR ORTEGA AND JANETH
ORTEGA; DAISY ORTIZ AND EDWIN
ORTIZ; ROBERTO ORTIZ AND ERICA
ORTIZ; PATRICK O'SHAUGHNESSY
AND CHRISTA O'SHAUGHNESSY;
ALICIA OSORIO; LEWIS OSTRANDER
AND DOROTHY OSTRANDER;
WLADYSLAW OSTRZYCKI AND
WIESLAWA OSTRZYCKA; FRANK
OTERO AND LILLIAN M OTERO;
VICTOR OTERO AND JACQUELIN
OTERO; CLAYTON OTHIOSSINIR;
JOSEPH OTTILO; CHRISTOPHER
OUTHOUSE AND THERESA
OUTHOUSE; MARY OWENS AND JERRY
M OWENS; WILLIAM J OWENS AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 43 of 159


LORI OWENS; BLANCA OYERVIDE
AND MARCOS A HINCHALA; JAIME
OZORIA AND CARMEN OZORIA;
MIGUEL PACHO AND MERCEDES Y
PACHO; RICHARD PADGETT AND
FRANCES PADGETT; NOEL LORENZO,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF CARMEN PADILLA,
AND NOEL LORENZO INDIVIDUALLY;
RICHARD PADILLA AND RAQUEL
PADILLA; ANTHONY PADULA AND
MAREE PADULA; JOSE PAGAN AND
JEANNE PAGAN; CHARLES PAGANO
AND MARILYN PAGANO; CHRISTINE
PAGLIUCA AND JOSEPH PAGLIUCA;
JOSEPH PAGLIUCA AND CHRISTINE
PAGLIUCA; JOSEPH PALACINO AND
ROSE PALACINO; ROSA PALAGUACHI
AND RIGOBERTO QUITO; JOSEPH
PALASCIANO; GUY PALLADINO AND
MARILYNN PALLADINO; MICHAEL
PALLOTTO AND LISA POLLOTO;
ARNOLD PALMER AND MARGARET
PALMER; TONYA PALMER; JOSEPH
PALMIERI AND BONNIE PALMIERI;
STEVEN PAMBELLO; MIGUEL PANISS
AND SONJA PANISS; CZESLAW
PANKIEWICZ AND MARIA
PANKIEWICZ; RAY PANNELL AND
LORETTA PANNELL; FRANK PANTOJA;
ANTHONY PAPAGNI; FRANCIS
PAPPALARDO; ANTHONY
PAPPALARDO, AS ADMINISTRATOR OF
THE ESTATE OF PHILIP PAPPALARDO,
AND ANTHONY PAPPALARDO
INDIVIDUALLY; MARIO PARADISO;
PETER PARAMITHIS AND SANDRA
PARAMITHIS; JOEL PAREDES AND LUZ
MARIA PAREDES; WALBERTO
PAREDES; STEVEN K PARHAM AND
JUANITA PARHAM; FREDERICK
PARKER AND DIANE PARKER; FELIX
PARRA; LEYDI PARRA; MAURICIO C
PARRA; BRIAN PARRISH AND VICKI R
PARRISH; LISA PASKEWITZ;
THAKOORDYAL PASRAM AND MARCIA
PASRAM; ZOILA PASTUIZACA AND LUIS
F PASTUIZACA; JOSEPH PATRICIELLO
AND MARIA PATRICIELLO; PAUL
PATTI AND JEAN PATTI; REINA
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 44 of 159


PAUCAR AND EDGAR PAUCAR; JOHN
PAULSEN; ROB PAULSEN; TIMOTHY
PAYDEN AND YRIS PAYDEN;
GREGORY PAYNE AND DEBRA PAYNE;
GRECIA PAZMINO AND WILSON VACA;
RICHARD PCHOLA; ROBERT
PECORARO AND DEBBIE A
PECORARO; FRANK PEDERSEN; MARIA
PEKHNIK, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ZINOVII PEKHNIK, AND MARIA
PEKHNIK INDIVIDUALLY; ROLANDO
PELAEZ AND MONICA VILLAMARIN;
STEPHEN PELAN AND CHRISTINE
PELAN; CHARLES PELLEGRINO;
JOSEPH PELLEGRINO; RAFAEL PENA
AND COROLINA PENA; THOMAS J
PENA AND ANGELA PENA;
JACQUELINE PENDER; THOMAS PEPE
AND CATHLEEN PEPE; KENNETH
PEPPER AND RHONDA PEPPER;
RAFAEL ANTONIO PERALTA AND
DINORAH PERALTA; EDDIE PEREZ
AND GINA PEREZ; IRMA PEREZ; JOSE
A PEREZ AND BRENDA PEREZ;
JOSEPH PEREZ AND ROSA PETEZ;
RAUL PEREZ AND MARISOL PEREZ;
TITO PEREZ AND ADELINE PEREZ;
MARIA PERKINS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
WILLIAM PERKINS, AND MARIA
PERKINS INDIVIDUALLY; WILLIE J
PERKINS; TADEUSZ PERKO; FRED
PERLIN AND ELYSE PERLIN; ANDREW
PERRELLA AND DANA PERRELLA;
FRANK PERROTTA AND JOANN
PERROTTA; LADERRICK PERRY;
DIARAM PERSAUD; SLAWOMIR PESKI
AND JANINA PESKA; EDWARD PETERS;
HERMAN PETERS AND ROSEMARY
PETERS; JUNIE PETERS; STEPHEN
PETERS AND TAMMY PETERS; PAT
PETITO AND THERESA PETITO;
WILLIAM PETRAGLIA; IVAN PETTERS;
NEIL PETTIT AND MEGAN PETTIT;
CRAIG PETTWAY AND MARILYN
PETTWAY; MARCELLO PEVIDA AND
ALEXANDRA PEVIDA; MARIA
IANNARELLI, AS ADMINISTRATRIX OF
THE ESTATE OF PETER PHIEFFER,
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 45 of 159


AND MARIA IANNARELLI
INDIVIDUALLY; KURT PHILBERT AND
VIELINE PHILBERT; SERIN PHILIP;
HARRY PHILLIPS AND MARY
PHILLIPS; JOHN M PHILLIPS AND
HARRIETTE PHILLIPS; MARJORIE
PHILLIPSON-THOMPSON; JOSEPH
PICA AND THERESA PICA; CAROL
PICARELLO, AS ADMINISTRATRIX OF
THE ESTATE OF ROBERT PICARELLO,
AND CAROL PICARELLO
INDIVIDUALLY; STEVEN PICCININI;
RICHARD PICCIOCHI AND
CATHERINE PICCIOCHI; JOHN J
PICCOLO AND ANN PICCOLO; FRANK
PICIULLO AND NANCY PICIULLO;
HANNA PIECZYNSKA; DANIEL
PIETRANICO; JOSEPH PIGNATARO
AND MARIA PIGNATARO; RICHARD
PIGNATARO AND PAULA PIGNATARO;
PEDRO PILARTE AND MARIA PILARTE;
JOSE L. PINANJOTA AND INGRID
PINANJOTA; GEOVANNI PINEDA AND
LILIA PINEDA; HERNAN PINEDA AND
SARITA ZAMBRANO; JACK PINTO AND
LORI PINTO; JOSEPH PIPITONE;
MIRIAM PIRETTI AND PETER PIRETTI;
JAMES PIRRELLO AND ROBYN
PIRRELLO; RODNEY PITT; FRANK
PIZZUTO AND TARA-ANN PIZZUTO;
SEGUNDO PLUAS; ZBIGNIEW
PLUCINSKI AND TEODORA
PLUCINSKA; FRANCISCO POBLET;
HAROLD POGEWEIT AND VIRGINIA S
POGEWEIT; PAUL POGOZELSKI AND
KAREN POGOZELSKI; EDGAR
POLANCO; FRANK POLITO AND
PATRICIA A POLITO; RICHARD
POLIZZI; THOMAS POLLOCK;
FRANCESCO POMILLA; JAMES B
POOLT; DAVID POPE; GREGG POPICK
AND LEE POPICK; GIOVANNI
PORCELLI AND RUTH PORCELLI;
BRETT PORIGOW; PIOTR POROWSKI
AND MALGORZATA POROWSKI;
ANTHONY PORRATA AND MARITZA
PORRATA; DARYL PORTI AND
DOROTHY PORTI; BRIAN PORZAK;
JEAN POTTER AND DAN J POTTER;
DOROTHY POWELL, AS PERSONAL
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 46 of 159


REPRESENTATIVE OF THE ESTATE OF
MILES POWELL, AND DOROTHY
POWELL INDIVIDUALLY; MONTY
POWELL; MICHAEL POWER AND
MARIANNE POWER; BRIAN POWERS
AND MAUREEN GILROY; JAMES
POWERS; JERE POWERS AND
CONSTANCE POWERS; MICHAEL
POZOLANTE AND BETH POZOLANTE;
HERIBERTO PRATTS; BRUCE
PRESCOD AND YVONNE PRESCOD;
STEPHEN PRESUTO; THOMAS
PREZIOSI AND KETHLEEN PREZIOSI;
WAYNE PRICE AND SOLEDAD PRICE;
HENRY PRIMUS AND SHARON
PRIMUS; ANTHONY PRIOLEAU AND
KEENA MARIE PRIOLEAU; GLINDA
PRIOLEAU AND DAINNE PRIOLEAU;
ELIO PROCACCIO; JOHN
PRODROMAKIS AND HEATHER A
PRODROMAKIS; REGINA PRUS, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF ANDRZEJ PRUS, AND
REGINA PRUS INDIVIDUALLY;
ANTHONY PUCCIARELLI; VINCENT
PUGLIESE AND DEBRA PUGLIESE;
JEROME PUIDOKAS AND DEANA
PUIDOKAS; IGNAZIO PULEO AND
TARA PULEO; FRED PULICE AND
MICHELLE PULICE; SALVATORE
PULIZZOTTO AND BESS C
PULIZZOTTO; ROBERT PULTORAK
AND VIOLET M PULTORAK; JOSEPH
PUMA; HAMDAT PURANDAT AND
MEKHRAGIE PURANNDAT; DAN
PURCELL AND CORRY BETH
PURCELL; GERALDINE PURDY AND
HARRY PURDY; MARIA M. PYRCZ;
KENNETH QUEST AND SUSAN QUEST;
WENDELL QUIDLEY AND LESLIE
QUIDLEY; JAMES QUILLIAM AND
ERIKA QUILLIAM; JAMES QUILTY AND
KATHLEEN QUILTY; SCOTT QUINLAN;
WILLIAM QUINLAN AND BERTHA
QUINLAN; JAMES QUINN AND ANN
MARIE QUINN; JAMES QUINN AND
LYNN QUINN; NELSON QUINONES
AND EMILY QUINONES; ROY
QUINTANA AND BARBARA QUINTANA;
EFRAIN QUINTERO; JONATHAN
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 47 of 159


QUINTERO AND DEBORA QUINERO;
JAMES QUIRK; SYLVESTER RADCLIFFE
AND THELMA RADCLIFFE; DAVID
RADI AND MYRNA RADI; JOHN R
RADOIAN; MARK RAFANIELLO AND
OLIMPIA RAFANIELLO; JOHN
RAFFERTY AND JEAN CLARKE;
STEPHEN J RAFT AND LAURA A RAFT;
JOSEPH RAIMONDI; ROBERT R
RAINEY AND DIANE RAINEY; SOOSAI
RAJ AND SUSAI RAJ; ANDREW
RAKOWSKY AND ROMA RAKOWSKY;
DANIEL RALEIGH AND JEANNE
RALEIGH; GEORGE RALLO; RAMZE
RAMADAN AND BARBARA RAMADAN;
HAROLD RAMIREZ AND BLANCA L
NOVOA TORRES; MICHAEL RAMIREZ
AND DIANNE D JACKSON; WILLIAM
RAMIREZ; WILLIAM RAMIREZ AND
FABIOLA RAMIREZ; FRANCIS
RAMIREZ-VALENTIN; ANGEL RAMOS;
HELDON RAMOS AND JACQUELYN
RAMOS; JOSE C RAMOS; ELIZABETH
RAMOS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
LUIS RAMOS, AND ELIZABETH RAMOS
INDIVIDUALLY; MANUEL RAMOS AND
MILAGROS RAMOS; ROBERTO RAMOS
AND JANET RAMOS; ANGELICA
RANKIN, AS EXECUTRIX OF THE
ESTATE OF SCOTT RANKIN, AND
ANGELICA RANKIN INDIVIDUALLY;
BRIAN RASA AND REGINA RASA;
LEONID RASHKOVSKY; JOHN READE;
GIGI REECE; ROBERT REED AND
BARBARA REED; DENIS REEN; DENIS
REESE AND CHRISTINE M REESE;
ROBERT REEVES AND DIANNE M
REEVES; BRENDAN REGAN AND
KATHLEEN REGAN; STEVEN J
REGINA; VINCENT REGINA AND
HEATHER SULZER-REGINA;
LAWRENCE REGULA AND DIANA
REGULA; ANDREW REHORN AND
KATHRYN ALEXIS-REHORN;
CAROLYN REID, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
JOSEPH REID, AND CAROLYN REID
INDIVIDUALLY; RAYMOND REID AND
MAUREEN REID; JOSE REILLO AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 48 of 159


ANAGRACIA REILLO; BRENDEN
REILLY AND IRENE REILLY; CHARLES
REILLY AND PATRICIA REILLY; JOHN
REILLY AND NICOLE REILLY; MARK
REILLY AND ANASTASIA REILLY;
VINCENT REILLY AND REGINA
REILLY; GERARD REIMERS AND ANNA
REIMERS; DONNA REINA AND
NICHOLAS REINA; VITERBO REINOSO;
JAN REJMENT AND ANNA REJMENT;
ROLAND RENAUDIN; FRANK
RENDINA AND MARIA RENDINA;
THOMAS RENNES AND SONIA
RENNES; GEORGE REPETTI AND
JOAN REPETTI; MICHAEL RESTAGNO
AND MARIA RESTAGNO; ANGEL
REYES; ANTHONY REYES; MARILAN
REYES; PEDRO REYES AND SANDRA
REYES; KEVIN REYNOLDS AND LISA
REYNOLDS; KEVIN REYNOLDS AND
STEPHANIE REYNOLDS; ROGER
REYNOLDS AND SHEREEN ISAACS-
REYNOLDS; FRANCISCO REYNOSO
AND GLADYS CASTILLO; JOSEPH
RIBEIRO AND SUZANNE J RIBEIRO;
DOROTHY RICCARDI, AS
ADMINISTRATRIX OF THE ESTATE OF
JOSEPH RICCARDI, AND DOROTHY
RICCARDI INDIVIDUALLY; JOHN
RICCIARDI AND SHIRLEY RICCIARDI;
CHARLES RICE AND LOIS RICE; KEITH
RICHARDS; KENNETH RICHARDSON
AND LAUREN RICHARDSON;
GREGORY RICHIE AND MARY JEAN
RICHIE; CHRISTOPHER RICKARD;
AISHA RICKS; GREGORY RICKS; PAUL
RIECKHOFF AND SHARON SIM; ERIC
RIEGER AND LAURA RIEGER; CARLOS
RIERA; MAXIMO RIERA AND FANNY
RIERA; JOHN RING; FABIAN
RINGRISACA; STACY RINK; JOHN RIOS
AND ELBA RIOS; MARQUES A RIOS;
RUBEN RIOS, JR. AND GRICELDA RIOS;
BARBARA RITTENHOUSE; ANTHONY
RIVAS; RAMON RIVAS AND ANTONIA
RIVAS; VICTOR RIVAS AND DIANE
RIVAS; ANTONIO RIVERA AND
LOURDES RIVERA; CARLOS RIVERA
AND IRIS NIEVES; DANIEL RIVERA
AND PATRICIA RIVERA; FERNANDO
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 49 of 159


RIVERA; JOSEPH RIVERA AND JANINE
RIVERA; NORMA RIVERA; NESTOR
RIVERA SR. AND MILAGROS RIVERA;
ISMAEL RIVERA, JR.; MERCEDES
RIVERA-HABIB AND JACOB HABIB;
GREGORY RIVERS; PETER RIVIEZZO
AND BONNIE RIVIEZZO; JOHN RIZZI
AND DEBORAH RIZZI; PATRIZIO RIZZI
AND KAREN RIZZI; ALVIN ROACH;
JOHN ROBAK AND HEIDI ROBAK;
BOBBY ROBERTS; CAROL ROBERTS;
DENIA ROBERTS; GODWIN ROBERTS;
RONALD ROBERTS AND TINA
ROBERTS; SHAUN ROBERTS; CLAUDIA
ROBICHAUD; ARRONIOUS ROBINSON;
HERMAN ROBINSON; JOHN
ROBINSON; ORLANDO ROBINSON
AND DEBORAH ; WILLIAM K
ROBINSON AND CAROL ROBINSON;
MARIA ROBLES; MICHAEL A. ROBLES
AND TILLIE-ANN ROBLES; TIMOTHY
ROCHE AND LORRAINE ROCHE; JOSE
RODAS AND MARIA RODAS; PATRICIO
RODAS; DANA ROGERS, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
CAROLYN RODGERS, AND DANA
ROGERS INDIVIDUALLY; MICHAEL
RODOLICO AND MELISSA RODOLICO;
ANGELO RODRIGUEZ; DOUGLAS
RODRIGUEZ; EUGENIO RODRIGUEZ
AND BLANCA ORTIZ; JAMES
RODRIGUEZ AND LISA RODRIGUEZ;
LINO R RODRIGUEZ AND ILEANA
RODRIGUEZ; LUIS RODRIGUEZ;
MERCEDES RODRIGUEZ AND RENE
RODRIGUEZ; NAPOLEON RODRIGUEZ
AND MARIA LOPEZ; OLGA
RODRIGUEZ; RICHARD RODRIGUEZ
AND JEANETTE RODRIGUEZ; RUBEN
RODRIGUEZ; STANLEY RODRIGUEZ
AND VANESSA A RODRIGUEZ; JAMES
ROEMER; MICHAEL ROGERS; DIANA
ROHAN AND ROBERT EMMETT-
ROHAN; ALEXANDER R ROJAS AND
ELIZABETH ROJAS; RAFAEL ROJAS;
RICHARD ROJAS AND TRICIA ANN
ROJAS; ELIGIO ROLDAN AND GLORIA
ROLDAN; EDDIE ROMAN; FASAR
ROMAN; MIECZYSLAW ROMANIUK;
ANDREW ROMANO; SALVATORE
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 50 of 159


ROMANO AND RAQUEL ROMANO;
DALIA ROMERO AND LUIS ROMERO;
BARBARA RONS AND EDWARD SMITH;
JOHN ROSA AND CHERYL ROSA;
ANGEL ROSADO AND LYDIA ROSADO;
JOEL ROSADO; CESAR ROSALES AND
VILMA ROSALES; MICHAEL ROSANO
AND LILLIAN ROSANO; BRAULIO
ROSARIO AND BEATRIZ ROSARIO;
BOBBY ROSE AND PAMELA ROSE;
DOMINICK ROSELLI AND JENNIFER
ROSELLI; MITCHEL ROSEN AND IRIS
ROSEN; ROBERT ROSEN AND SYLVIA
ROSEN; JASON ROSENTHAL AND
ALISON ROSENTHAL; WAYNE ROSER
AND KATHLEEN ROSER; SANDRA
ROSES, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ESTEBAN ROSES, AND SANDRA ROSES
INDIVIDUALLY; MATTHEW
ROSKWITALSKI; GARY ROUXEL AND
SANDRA J ROUXEL; CLYDE ROWE;
JULIO ROZON AND NANCY ROZON;
JERZY ROZPEDOWSKI; RUTH RUALES;
CRAIG RUDIGER AND DEBBIE
RUDIGER; EDDIE RUGGIERO AND
GINA RUGGIERO; JOHN RUGGIERO;
ARLEY RUIZ; RAFAELA RUIZ; JOSEPH
RUOCCO AND ALINA RUOCCO; MARK
RUOCCO AND KERRY RUOCCO;
RANDY RUOCCO AND NICOLE
RUOCCO; ANTHONY RUSSO AND
KAREN RUSSO; JAMES RUSSO AND
LYNDA RUSSO; THOMAS RUSSO AND
NANCY RUSSO; CHRISTOPHER RYAN
AND ERIN P RYAN; JOSEPH RYAN AND
NORAH M RYAN; ROBERT RYAN AND
DONNA RYAN; TERRENCE RYAN AND
LOLA RYAN; THOMAS RYAN AND
MARIE RYAN; JORGE SAAVEDRA;
GLENN A SABILLON AND ROCIO
SABILLON; CARLOTTA SADLER;
DONALD SADOWY AND KATHLEEN
SADOWY; BLANCA SAETEROS; SUSAN
SALA; VINCENZO SALAMONE; PETER
SALATINO; VICTOR SALAZAR; JOHN A
SALCEDO; CALINDA SALGADO;
EVELYN SALGADO-CLAVIJO, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF LORRAINE SALGADO, AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 51 of 159


EVELYN SALGADO-CLAVIJO
INDIVIDUALLY; SCOT SALIANI, AS
EXECUTOR OF THE ESTATE OF
FRANCIS SALIANI, AND SCOT SALIANI
INDIVIDUALLY; SAM SALIMIAN AND
ANNA MARIE SALIMIAN; ANGELA
SALINAS; JACK SALTARELLA AND
SANDRA SALTARELLA; SOTEREOS
SAMOTHRAKIS AND MARIANNE
SAMOTHRAKIS; CONSUELO SAMPOLL
AND JOSE SAMPOLL; ANTWI SAMUEL;
MABEL SAMUEL; BARBARA A SAN
ROMAN; ELIZABETH SANCHEZ;
JORGE SANCHEZ; JOSE SANCHEZ AND
JOHANA SANCHEZ; JANNY SANCHEZ,
AS PERSONAL REPRESENTATIVE OF
THE ESTATE OF JUAN C SANCHEZ,
AND JANNY SANCHEZ INDIVIDUALLY;
JUAN SANCHEZ AND ELIZABETH
SANCHEZ; LUIS SANCHEZ AND
MARGARET SANCHEZ; MANUEL
SANCHEZ AND PATRICIA SANCHEZ;
MARISOL SANCHEZ; ERIC
SANDHOVEL AND MARIA
SANDHOVEL; HENRY SANDOYA AND
GLORIA ALVAREZ; JOSEPH
SANFILIPPO AND PATRICIA
SANFILIPPO; ROBERT SANGIORGIO
AND MARIE ; RICHARD SANICOLA
AND HILDA SANICOLA; EMANUEL
SANTAMARIA AND BLANCA
SANTAMARIA; MIQUEL SANTANA;
IRENE SANTANA-RIVERA; CHARLES
SANTANTONIO; TAMMY SANTAPAU
AND ENRIQUE CUEVAS; MANUEL
SANTIAGO AND WILMA SANTIAGO;
MARTIN SANTIAGO; NORA SANTIAGO;
WILMA SANTIAGO AND MANUEL
SANTIAGO; MICHAEL SANTORE AND
NICOLE SANTORE; BIENVENIDO
SANTOS AND DOROTHY IAVARONE;
DAVID SANTOS AND IVELISSE
SANTOS; VINCENT SANTUCCI AND
HELEN SANTUCCI; JAMES
SARANDREA; EDWIN SARMIENTO
AND NORA SARMIENTO; GERARDO
SARMIENTO; JOSE SARMIENTO;
MAYDI SARMIENTO; PEDRO
SARMIENTO AND MELANEA
SARMIENTO; ANTONIO SARRA AND
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 52 of 159


ANTOINETTE SARRA; ELIZABETH
TRIPPODO, AS ADMINISTRATRIX OF
THE ESTATE OF CHARLES SASSO, AND
ELIZABETH TRIPPODO
INDIVIDUALLY; MICHAEL SASSON
AND LISA SASSON; RODNEY
SATTERFIELD AND CHERYL
SATTERFIELD; DONALD SAVARESE
AND ROSE ANN SAVARESE; ROBERT
SBARRA; JEANNETTE SBORDONE AND
THOMAS SBORDONE; GIUSEPPE
SCALICI; JOSEPH SCALOGNA; JOHN
SCHAEFER AND MARY SCHAEFER;
DANIEL SCHAFER AND RUTH A
SCHAFER; JOSEPH SCHAFER AND
CINDY SCHAFER; EDWARD
SCHARFBERG AND MARYLEE
SCHARFBERG; CHARLES SCHILLING
AND ANN MARIE SCHILLING; JAMES
SCHIRALDI; ROBERT SCHLOSSBERG
AND JOAN E RUDNER; CHARLES
SCHMIDT; FRED SCHMIDT AND
KAREN SCHMIDT; MICHAEL SCHMIDT
AND DIANA SCHMIDT; ROBERT
SCHMIDT AND EILEEN SCHMIDT;
MARK SCHMITTZEH AND WENDY
SCHMITTZETT; KURT SCHNEEBERG;
ERNEST SCHNEIDER AND
ROSEMARIE SCHNEIDER; MATTHEW
SCHOFFEL; JOHN SCHROEDER; JOHN
SCHRYNEMAKERS AND PAULA T
SCHRYNEMAKERS; ADAM SCHULER
AND DONNA M SCHULER; DALE
SCHULTZ AND CHRISTINE SCHULTZ;
MICHAELENE SCHULTZ; WALTER
SCHUMANN; LAWRENCE SCHUREK
AND FRANCES SCHUREK; JOHN
SCHWARTZ; STEVE SCHWARTZ AND
ROSA SCHWARTZ; EDWARD J
SCHWENDEMANN AND GRACE
SCHWENDEMANN; KENNETH
SCHWICKE AND MARY SCHWICKE;
RONALD SCIMONE AND SUSAN
SCIMONE; STEVEN SCIUTO AND TARA
SCIUTO; DEAN SCLAFANI; DAVID
SCOTT AND KIM MARIE SCOTT; JAMES
SCOTT AND DEBRA A SCOTT; JOSEPH
SCOTTI AND LISA SCOTTI; DIANNA
SCOTTO; DENNIS SCUDERA AND
ANTONIA SCUDERA; CHARLES
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 53 of 159


SCUDERI AND DENSIE SCUDERI;
JOHN SCULLY AND CHARLEEN A
SCULLY; JOHN SEAGRIFF AND PATTY
SEAGRIFF; JAMES SECRETO AND
STEPHAINE SECRETO; MARY
SEIFERHELD AND LAWRENCE
KIRWIN; BRUCE SELJA AND DIANE
SELJA; MARK SEMIDAY AND NILDA
LUZ SEMIDAY; CARLOS SEMIDEY, JR.,
AS ADMINISTRATOR OF THE ESTATE
OF CARLOS SEMIDEY, AND CARLOS
SEMIDEY, JR. INDIVIDUALLY; ADAMS
SEPULVEDA AND MONICA
SEPULVEDA; ALLAN SERPENTI;
JEFFREY SERRA AND PATRICIA SERRA;
ANGEL R SERRANO AND TANNY
SARMIENTO; ANGELLICA MERK-
SERRANO, AS ADMINISTRATRIX OF
THE ESTATE OF EDWIN F SERRANO,
AND ANGELLICA MERK-SERRANO
INDIVIDUALLY; FITZGERALD
SERRANO AND BELZAIDA SERRANO;
JOSE SERRANO; YURY SERY AND
TATYANA SERY; ROBERT SESNY; SYED
S SHAHZAD AND NASREEN AKTAR;
EDWARD SHAKES AND MONIQUE
SHAKES; STANISLAV SHALOMOV AND
VERA SHALOMOVA; VLADIMIR
SHALOMOV AND IRINA SHALOMOVA;
JANINE SHANK; RYAN SHAPIRO AND
KRISTIE A SHAPIRO; PAUL SHARGANI
AND ROSARIO SHARGANI; ROBERT
SHARP AND RENA SHARP; BELINDA M
SHAW; REUBEN SHAW AND DANA
SHAW; DERMOT SHEA AND SERENA
SHEA; WILLIAM SHEA AND
STEPHANIE SHEA; DANIEL SHERIDAN
AND JOYCE A SHERIDAN; FARIJE
SHERIDAN AND THOMAS SHERIDAN;
RALPH SHERLOCK AND NOREEN
MCGUINESS-SHERLOCK; JESSE
SHERROD; STEVEN SHIELDS; ULYSSES
SHINGLES; JAMES SHORT; ROSEANN
SHUBERT CIMINO, AS
ADMINISTRATRIX OF THE ESTATE OF
ANTHONY SHUBERT, AND ROSEANN
SHUBERT CIMINO INDIVIDUALLY;
MARTHA SIBRIAN; DANIEL SICA AND
DAWN SICA; CAROL SICILIATO, AS
EXECUTRIX OF THE ESTATE OF JOHN
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 54 of 159


A SICILIATO, AND CAROL SICILIATO
INDIVIDUALLY; GLENN SIEBER AND
PATRICIA SIEBER; DANIEL SIGUACHI
AND NARCISA Z SIGUACHI; MANUEL
SIGUENCIA; PETER SIKORA AND
JANINA SIKORA; TIMOTHY L SIKORSKI
AND AILEEN SIKORSKI; HENRY SILEO
AND TERESA SILEO; RICHARD SILEO
AND MAUREEN SILEO; MARK SILLARO
AND MONICA SILLARO; CARLOS SILVA
AND MARICELA SILVA; FREDY SILVA
AND MARTHA SILVA; ENRIQUE SILVA
LEAL; STEVEN SILVER; GAETANO
SILVESTRO AND VERONICA
SILVESTRO; LARRY SIMES AND KIM L
SIMES; JASON SIMONE AND CARYN
SIMONE; BASILIO SIMONS AND DORIS
SIMONS; BOBBY SIMPKINS AND
LUCILLE SIMPKINS; CLYDE SIMPSON;
VICTOR SIMPSON AND NAOMI
SIMPSON; WILLIAM SIMPSON AND
KAREN L SIMPSON; FRANCIS SINATRA
AND PATRICIA SINATRA; GEORGE
SINERCO AND THERESA SINERCO;
LAVORN SINGLETON; ROBERT
SINISHTAJ AND JODI M SINISHTAJ;
GEORGE SINOPIDIS; EDWARD
SKORUPA, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
ALBERT SKORUPA, AND EDWARD
SKORUPA INDIVIDUALLY; ROBERT
SKRETKOWICZ AND CAROLIN
SKRETKOWICZ; ROBERT SLAVKOVSKY
AND LORI ANN SLAVKOVSKY; MARION
SLAWINSKI AND MARIE SLAWINSKI;
JOHN SLIVA; MICHAEL SLOAN AND
MARY E SLOAN; TYREE SMALLWOOD
AND CAROLYN SMALLWOOD; CAROL
SMITH; DEBORAH SMITH; ERIC SMITH
AND LISA SMITH; FRANK SMITH; GARY
SMITH AND PATRICIA SMITH; KEVIN
SMITH AND GAIL C SMITH; MELVIN
SMITH AND SEROGE SMITH; OSCAR
SMITH; WARREN SMITH AND
KHADIJAH SMITH; VALERIE
SMITHWICK; MARIE SNADECKY, AS
ADMINISTRATRIX OF THE ESTATE OF
MARK SNADECKY, AND MARIE
SNADECKY INDIVIDUALLY; TIMOTHY
SNICKLES AND MELISSA M SNICKLES;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 55 of 159


THOMAS SNYDER; JERZY SOKOL AND
JADWIGA SOKOL; OSCAR SOLIS;
JOSEPH SOLLECITO; BRUCE
SOLOMON AND GRACE D SOLOMON;
JOHN SONDEY; MICHAEL SONTAG;
RODNEY SOODAN AND NORA
SOODAN; JOHN SORRENTINO AND
LAURIE ANN SORRENTINO; JOSEPH
SORRENTINO AND JOAN
SORRENTINO; VINCENT
SORRENTINO AND MARY
SORRENTINO; AUDIE SOTO AND
MILAGROS SOTO; BEATRIZ SOTO;
MAYIE I SOTO; AMERICO SPAGNUOLO;
CARMINE & MARC SPARACIO, AS
EXECUTOR OF THE ESTATE OF
JOSEPH SPARACIO, AND CARMINE &
MARC SPARACIO INDIVIDUALLY;
ROBERT SPARANO AND THERESA
SPARANO; GARY SPARAPANI AND
BEATRICE SPARAPANI; ROBERT
SPERO, AS ADMINISTRATOR OF THE
ESTATE OF MICHAEL SPERO, AND
ROBERT SPERO INDIVIDUALLY;
STEVE SPERRAZZA AND MARGUERITE
SPERRAZZA; WARREN SPIELBERG
AND RINE SPIELBERG; SALLY SPINOSA
AND RICHARD SPINOSA; DAVID
SPITZER; DAVID SPROUSE; LESTER
SQUIRES AND DIANE SQUIRES;
ROBERT ST. CLAIR AND ROBIN ST.
CLAIR; ZACHARY STAMATAKIS AND
BERNICE STAMATAKIS; FRANK STARK;
ANDREW STECKLER; VICTOR STEELE;
WILLIAM STEFANDEL AND DANILLE
STEFANDEL; PETER STEFFEN;
JOSEPH STEIL; FLORENCE
STEINBRECHER; MARIAN STELMACH;
EDDY STELTER AND GENEVIEVE
STELTER; HOWARD STERINBACH
AND AMY STERINBACH; BASILIO
STEWART AND IRENE STEWART;
LIBOR STIPEK AND SANDRA L STIPEK;
DANA STOCKMAN AND DAVID E
STOCKMAN; JOSEPH W STOLL AND
NAZMOUN STOLL; ROBERT STONE
AND MARIA STONE; ERIC STRAKER
AND CHTISTINE STRAKER; ROBERT
STRAUBE AND LILLA STRAUBE;
ROBERT STROMMER AND LUCILLE
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 56 of 159


STROMMER; LAURA STUART; LOUISA A
STUCK, AS EXECUTRIX OF THE
ESTATE OF FREDERICK STUCK, AND
LOUISA A STUCK INDIVIDUALLY;
HENRY STUCKEN AND FERNANDA
STUCKEN; ISIDRO SUAREZ AND JESSIE
SUAREZ; WIESLAW SUDNIK AND
MARIA BEDNAREKV; MARIA SUMBA;
LAWRENCE SUMMERHILL AND
CYNTHIA SUMMERHILL; DANIEL
SUMPTER AND REGINA SUMPTER;
JAMES SUTTER AND MICHELLE
SUTTER; KARL E SUTTER AND JUDITH
SUTTER; KENNETH SUTTON; ROBERT
SUTTON AND CARMEN SUTTON;
JOHN SWEENEY AND ANN
ANDERSON; DAVID SWENSON AND
KIMBERLY SWENSON; THEODORE
SWIFT AND DEBRA A SWIFT;
STANISLAW SWISTAK AND JAWIGA
SWISTAK; JEFFREY SZALKOWSKI AND
RACHEL E SZALKOWSKI; MIROSLAW
SZPANELEWSKI AND ALEKSANDRA
SZPANELEWSKA; EDWARD SZUBSKI;
ZBIGNIEW SZYNKOWSKI; JANETH
TABARES; KELLY TAFE; JOHN F
TAGGART AND THERESA TAGGART;
SALVATORE TAGLIAMONTE, JR. AND
COLEEN A TAGLIAMONTE; FRANK
TAGLIAVIA AND MARYELLEN
TAGLIAVIA; DERRICK TAITT AND
PAMELA W TAITT; PAKKONG TANG;
CIRO TAORMINA AND CHERYL
TAORMINA; CAROL TAPPEN; JAMES
TARRY AND ROSALIE TARRY;
MICHAEL TAVERAS; FELICIA TAYLOR;
KENNETH G TAYLOR; ROBERT
TAYLOR AND DONNA TAYLOR;
WANDA TAYLOR; ADAM TEGAN AND
PATTIE-ANN TEGAN; ANTHONY
TENAGLIA AND ANN MARIE
TENAGLIA; ROBERT TEXIDOR; ERIC
THEISS AND FRANCES SCHWAB
THEISS; KEVIN THOMAS AND
SHERILLA THOMAS; VALRIE THOMAS
AND STEADMAN BROWN; MARY ANN
THOMPSON, AS EXECUTRIX OF THE
ESTATE OF VICTOR THOMPSON, AND
MARY ANN THOMPSON
INDIVIDUALLY; JEANNE THORPE;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 57 of 159


CHARLES THUILOT AND CLAUDINE
THUILOT; BRIAN P TIERNEY AND
DENISE TIERNEY; DANIEL TIERNEY;
JUDITH TIRADO; MIGUEL TOBAR;
BRENDAN TOBIN AND SHEILA TOBIN;
MARIBEL TOBON; WILLIAM
TOELSTEDT AND NAN P WILLIAM;
JORGE TOLEDO; ROSALIA TOLEDO;
VICTOR TOLEDO AND DILIA CANAR;
ARACELY M TOLEDO NARANJO;
CECILIA TOMALA; DARIUSZ TOMCZYK
AND JOANNA TOMCZYK; RAPHAEL
TOMICH AND FRANCINE TOMICH;
KENNETH TOMLINSON AND
JOSEPHINE TOMLINSON; BRIAN
TOOHEY AND TARA TOOHEY; CLAIR
TOPPINS; AIDA TORRES AND BOLIVAR
TORRES; LILI TORRES; LIONEL
TORRES AND LUCY TORRES; MOSES
TORRES AND IVETTE M ZELAYA;
ROBERTO TORRES; LEONARDO
TORTORICI AND LISA TORTORICI;
ADAM TRAINA AND SANDRA TRAINA;
MICHAEL TRANCE AND EVELYN
TRANCE; JOHN TRAPANI; JOHN
TRAVAGLIA; BRIAN TRAYNOR; WAYNE
TREIBISH AND KATHY TREIBISH;
ESPERANZA TREJOS; MARIA
TREMBONE, AS ADMINISTRATRIX OF
THE ESTATE OF JOSEPH TREMBONE,
AND MARIA TREMBONE
INDIVIDUALLY; EDWARD
TRENTACOSTA; ROBERT TRIGILI AND
LISA K TRIGILI; EDICTOR TRINIDAD
AND DIANA TRINIDAD; ALBERT
TROCHE AND ISABEL TROCHE;
JOSEPH TROINA; PHILIP TROPP;
JOSEPH TROTTA; JOSEPH TRUGLIO
AND SARA TRUGLIO; STEVEN
TRUGLIO AND ALEKSANDRA
TRUGLIO; BLAIR TRUJILLO AND
NANCY TRUJILLO; MAREK
TRUSKOLASKI; TIMOTHY TRYPUC
AND VICTORIA INGRAM; PETER TSE;
KATHLEEN TUBRIDY, AS
ADMINISTRATRIX OF THE ESTATE OF
EAMON TUBRIDY, AND KATHLEEN
TUBRIDY INDIVIDUALLY; BOBBY
TUCKER AND MARGO TUCKER; JOSE A
TUD AND ANTONIETA B TUD;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 58 of 159


THOMAS TURITTO; STEVE TUZZO
AND DEBORAH F TUZZO; KENNETH
TYMECK AND ROSALIE TYMECK;
CYRIL TYSON AND KIMBERLEY A
TYSON; CHARLES UNGER AND
LORETTA UNGER; MADELINE URENA
AND JOHN URENA; LUIS URGILEZ;
FRANK URRICO AND SONJA URRICO;
MANUEL UZHCA; MIGUEL UZHCA
AND ESPERANZA CABRERA; JOHN
VACCARELLA; FRANK VACCHIO;
ALBERT M VAJDA AND ELIZABETH
VAJDA; GAETANO VALASTRO AND
LETTY VALASTRO; ROSA VALDEZ AND
ANDRES MORA; AIDA VALDIVIEZO-
NIETO; JOSEPH VALDORA; JOSEPH
VALENTIN; WILLIAM VALENTIN AND
XAOMARA PENA; JOHNNY
VALENTINE; JOSE VALERA, AS
ADMINISTRATOR OF THE ESTATE OF
LUIS VALERA, AND JOSE VALERA
INDIVIDUALLY; VINCENT VALERIO
AND PATRICIA VALERIO; RAINEL
VALLADARES; JAMES VANACORE AND
GERALYN VANACORE; MARK
VANBELLE; MICHAEL VANROTEN
AND DIANNE VANROTEN; JAMES
VARGA AND ALIZA VARGA; EDWIN
VARGAS; RICHARD VARIPAPA AND
JOANNE VARIPPA; ANDRES VASQUEZ
AND SONIA VASQUEZ; CAMILO
VASQUEZ AND ROSE ORTEGA; JOSE
VASQUEZ AND LILIANA G VASQUEZ;
JOSEPH VASQUEZ; KLEVER VASQUEZ
AND BLANCA ; NANCY VASQUEZ;
VINCENT VASTA AND BIAGIA G VASTA;
SENICE VAUGHAN; LORETTA
VAUGHAN-WALSH AND GLEN R
WALSH; ANDY VAZQUEZ AND
BARBARA VAZQUEZ; ANGEL R
VAZQUEZ AND CARMEN VAZQUEZ;
EDGARDO VAZQUEZ AND PAMELA
VAZQUEZ; EDWIN VAZQUEZ; FELIX
VAZQUEZ AND MILAGROS VAZQUEZ;
FRANCISCO VAZQUEZ; GRACE
VAZQUEZ; KATTIA VAZQUEZ AND
PETER VAZQUEZ; PETER VAZQUEZ;
PETER VAZQUEZ AND KATTIA
VAZQUEZ; ROBERT VAZQUEZ AND
BERNICE VAZQUEZ; JEFFREY
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 59 of 159


VECCHIONE AND DEBRA
VECCHIONE; SHEILA VEERAPEN AND
SEAN VEERAPEN; ARMANDO VEGA;
HENRY VEGA; JOSE VEGA AND
CARMEN VEGA; MYRIAM VEGA;
ORLANDO VEGA AND LUZ VEGA;
JORGE VELASQUEZ AND SUSAN
TUCCILLO; JOSE VELASQUEZ;
RICARDO VELASQUEZ; RICARDO
VELASQUEZ AND JUANA VELASQUEZ;
JOSE VELESACA AND MARCIOLINA
QUISHPE; DAVID VELEZ; JOSE VELEZ
AND CATHERINE VELEZ; LUCRECIA
VELEZ; NELSON VELEZ AND JUDITH
VELEZ; PHILLIP VELEZ; WILFREDO
VELEZ; WILLIAM VELEZ; LOUIS VENA
AND ELEANOR VENA; ANTHONY
VENEZIA; FRANK VENTIMIGLIA AND
MARIE VENTIMIGLIA; ROBERT
VENTURELLA, JR. AND KAREN
VENTURELLA; EMILIO VERA AND
BRENDA VERA; BRIAN VERARDI AND
JENNIFER VERARDI; VIRGEN VERAS;
JUAN VERDESOTO; VINCENT W
VERDISCO AND JOSEPHINE ANN
VERDISCO; VIVIANA VERGARA AND
VERTER VERGARA; ROBERT J
VERHELST AND KRISTA VERHELST;
JOHN VERME; JAMES VERNICEK;
ISRAEL VICENTE, JR. AND VIRGINIA
VICENTE; ERIC VICTOR; MARTIN
VIERA AND DALILA E VIERA; WALLY
VILA AND EUSEBIO PEREZ; JOHN
VILLANOVA; HAROLD VILLARROEL;
SEGUNDO VILLARROEL AND MARTHA
L VILLARROEL; ERIC VINCENT AND
DOROTHY D VINCENT; JOHN
VINCIGUERRA AND LEEANN
VINCIGUERRA; ROSALIA VINTIMILLA
AND VICENTE CAMPOVERDE;
THOMAS VINTON AND NERY
VINTON; ARTHUR VIOLETTA AND
DIANE VIOLETTA; ROBERT VISAKAY;
PEDRO VISCAINO AND DIANA
VISCAINO; JOHN VITALE; MICHAEL
VITALE; ANDREW VITIELLO AND
SYLVIA D VITIELLO; LOUIS J VITO;
BRIAN VITTORINI; THOMAS
VITULANO AND MARITZA VITULANO;
ROSA VIVAR AND CHALCO RODAS;
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 60 of 159


CATHERINE VIVERITO; PATRICK
VOGT; PETER VOLPE AND ADRIANA
VOLPE; KENNETH VON WERNE AND
ANN VON WERNE; JOHN VORNFETT;
DEBRA WAGNER; BERNARD WAITES;
ARTHUR WALDHELM AND JOAN
WALDHELM; EMERALD JOHNSON-
WALKER, AS ADMINISTRATRIX OF
THE ESTATE OF DONALD WALKER,
AND EMERALD JOHNSON-WALKER
INDIVIDUALLY; JAMES WALKER;
MICHAEL J WALKER AND LORRAINE
M WALKER; GLEN WALLACE; CLIFF
WALLING AND KIM WALLING;
GEORGE WALSH; KEVIN WALSH AND
KATHLEEN WALSH; KEVIN WALSH
AND SUSAN WALSH; MARK WALSH
AND LISA WALSH; THOMAS WALSH;
BONNIE WAN; TERRANCE WANSLEY
AND LISA WANSLEY; JAMES WARD
AND CAROLE WARD; GEORGE WARE
AND MAUREEN B WARE; RICHARD
WARE AND KATHLEEN WARE; JOHN
WARREN AND SHERYL WARREN;
IRENE WASHINGTON; MANNIX
WASHINGTON; RUDY WASHINGTON
AND DEBORAH WASHINGTON;
WILLIAM WASHINGTON; NICHOLAS
WASLYN AND DIANE WASLYN; JOSEPH
WATERS AND LUCY WATERS;
CARLTON WATSON AND ALEXIS
WATSON; JOSEPH J WATSON AND JOY
WATSON; ROY WAYSON; ERIC WEBER;
WILLIAM WEBER; THOMAS WEBSTER
AND MICHELLE J WEBSTER;
ANTHONY WEEKES AND AUDRA L
WEEKES; GERALD WEIMER AND
CHRISTINE WEIMER; EVAN
WEINBERG; MICHAEL WEISER AND
THERESA DUNN; STACY WEISS;
THEOPHILUS WELLS III; JOSEPH
WELSH AND JENNIFER WELSH;
RICHARD WENDELKEN AND
MARIANNE WENDELKEN; RICHARD
WERNER AND KELLY WERNER;
MARIUSZ WESTFAL AND ZAMIA
WESTFAL; DAVID WHELAN AND
ROSEMARIE WHELAN; JAMES
WHELAN AND NANCY WHELAN; GARY
WHITE; JAMES WHITE AND NICCOLE
  Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 61 of 159


M WHITE; JOSEPH WHITE AND LISA
WHITE; SYDNEY WHITE AND GAIL J
WHITE; ALPHIUS WHYTE; ROMUALD
WIELICZKO AND KRYSTYNA
KAMINSKA; DAVID WILDNER AND
ANNA WILDNER; EDWARD
WILKOWSKI AND KATHY WILKOWSKI;
JOSEPH WILLETT AND LORI WILLET;
DRUSILLA WILLIAMS; EDWARD
WILLIAMS AND LISA WILLIAMS;
EZEKIEL WILLIAMS AND YVETTE Y
WILLIAMS; GLEN WILLIAMS; JAMES
WILLIAMS AND KAREN WILLIAMS;
LISA WILLIAMS; MARTIN WILLIAMS
AND CRYSTAL WILLIAMS; STEPHEN
WILLIAMS AND GERMOY WILLIAMS;
TERRENCE WILLIAMS AND RAMONA
WILLIAMS; KENNETH WILLISCH AND
COLLEEN WILLISCH; ALLEGRA
WILSON AND DOUGLAS WILSON;
CLARICE WILSON; CLEATE R WILSON;
NANCY WILSON, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
DOUGLAS WILSON, AND NANCY
WILSON INDIVIDUALLY; TIMOTHY
WILSON; WILLIAM WILSON AND
SHERRI A WILSON; CHEVALO
WILSONDEBRIANO AND MONIQUE
WILSONDEBRIANO; GWENDOLYN
WILSON-PHILLIPS AND PERRY
PHILLIPS; DAVID WITTMAN AND
STACIE L WITTMAN; STANLEY WOJIS
AND MATILDE WOJIS; JAN
WOLKOWICZ AND GRACE
WOLKOWICZ; CLIFFORD WOODS AND
TINA WOODS; BARRINGTON WOODY;
PAUL WORKER AND JOYCE WORKER;
ADRIENNE WORRELL AND GARVIN
WORRELL; ERETON WORRELL AND
PATRICIA A WORRELL; ISAAC WRIGHT
AND LACI WRIGHT; RICKEY WRIGHT;
RUSSELL WROBLEWSKI AND SABRINA
WROBLEWSKI; MARIAN WRONKOWSKI
AND DANUTA WRONKOWSKA; JAMES
WYNNE AND DENISE WYNNE; DAVID
XAVIER AND SANDRA HESS-XAVIER;
EUGENE YEE AND NARCISA LOSA-
YEE; GIN YEE AND MIRIAM YEE;
MARGIE YEE AND RICHARD SANTA
ANA; YU SING YEE AND SHEN NA SUN;
     Case 1:17-cv-03887-GBD-SN   Document 1   Filed 05/23/17   Page 62 of 159


MARLON YOUNG; DAMON
YOUNGBLOOD; ALCIBAR YUMBLA;
OCTAVIO YUMIGUANO AND CARMEN
BRITO; ANDREW ZABRONI AND
PATRICIA ZABRONI; KENNETH
ZACHAR; JAN ZAJAC AND KRYSTYNA
ZAJAC; RICHARD ZAJAC AND
KATHRYN ZAJAC; JOHN ZAMBITO AND
DAWN MARIE ZAMBITO; RAMON
ZAMBRANA; ROGELIO ZAMBRANA;
GUY ZAMMIT AND DEANNA
ZAMMITT; BOLIVAR ZAMORA AND
FANNY HUIRACOCHA; JAIRO ZAMORA
AND GLORIA PEREZ; CHRISTOPHER
ZAPATA AND DENISE ZAPATA; KARL
ZARR; ZOFIA ZAWADZKI, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF WIESLAW ZAWADZKI, AND
ZOFIA ZAWADZKI INDIVIDUALLY;
LUIS M ZAYAS; BORIS ZAYDFUDIM
AND GALENE ZAYDFIEDIN; RONALD
ZDEB AND LAURA ZDEB; ANGELO
ZECCA AND ANN-MARIE ZECCA;
JORGE ZELAYA AND MARIA ZELAYA;
JEFFREY ZELLI; VALERIE ZEPPELIN;
ROBERT ZERILLI; RAYMOND
ZGALJARDIC; JOSEPH ZICHELLI AND
CHRISTINE ZICHELLI; MAREK ZIEBA
AND INNA ZEIBA; GIL ZIMET AND
IVETT ZIMET; IRIS ZIMMERMAN;
JOSEPH ZIMMERMANN AND
CAROLYN ZIMMERMANN; GERALD
ZINO AND JOANN ZINO; SALVATORE
ZITO AND NANCY ZITO; JOSEPH
ZOGBI AND SUSAN ZOGBI; WILLIAM
ZOLLER AND ROBERTA ZOLLER;
PETRO ZONOVYAK AND NADIYA
ZONOVYAK; MARIO ZOROVIC AND
BIANCA ZOROVIC; MICHAEL
ZUCCARELLO; DARREN ZUIDUMA;
JOHN ZULTANKY; MAURICE T ZUNIGA
AND DENISE ZUNIGA; VINCENT ZUPO
AND JOAN ZUPO; JON ZWEIGBAUM
AND MARIANA ZWEIGBAUM; AND
JERZY ZYGMUNT AND JANINA
ZYGMUNT
                      PLAINTIFFS,

V.
    Case 1:17-cv-03887-GBD-SN               Document 1         Filed 05/23/17       Page 63 of 159


KINGDOM OF SAUDI ARABIA; SAUDI
HIGH COMMISSION FOR RELIEF OF
BOSNIA & HERZEGOVINA

                             DEFENDANTS



           SHORT FORM COMPLAINT AND DEMAND FOR TRIAL BY JURY

        Plaintiff(s) file(s) this Short Form Complaint and Demand for Trial by Jury against Defendants

named herein by and through the undersigned counsel. Plaintiff(s) incorporate(s) by reference the

specific allegations, as indicated below, of Plaintiffs’ Consolidated Amended Complaint as to the

Kingdom of Saudi Arabia (“Kingdom” or “Saudi Arabia”) and the Saudi High Commission for

Relief of Bosnia & Herzegovina (“the SHC”) and Demand for Jury Trial in In Re: Terrorist Attacks on

September 11, 2001, 03 MDL 1570 in the United States District Court for the Southern District of

New York (hereinafter “the CAC”). Plaintiff(s) file(s) this Short Form Complaint and Demand for Jury

Trial as permitted and approved by the Court’s Order of May 3, 2017, ECF No 3543.

        (Notice to Conform, Applicable For Previously Filed Complaints Only): Plaintiff(s) in the previously

filed case styled as LUIS AGUILAR, ET. AL. V. KINGDOM OF SAUDI ARABIA file(s) this Short

Form Complaint to incorporate Plaintiffs’ Consolidated Amended Complaint as to the Kingdom of Saudi

Arabia (“Kingdom” or “Saudi Arabia”) and the Saudi High Commission for Relief of Bosnia &

Herzegovina (“the SHC”), and Demand for Jury Trial (“the CAC”), ECF No. 3463, as permitted and

approved by the Court’s Order of May 3, 2017, ECF No. 3543. Upon filing of this Short Form

Complaint, plaintiffs’ underlying Complaint, ECF No. 1, is deemed amended to include the factual

allegations, jurisdictional allegations, and jury trial demand of the CAC, as well as all causes of action

specified below.     The amendment affected through this Short Form Complaint supplements by

incorporation into, but does not displace, plaintiffs’ underlying Complaint. This Notice to Conform

relates solely to Saudi Arabia and the SHC, and does not apply to any other defendant, as to which

plaintiffs’ underlying Complaint and any amendments thereto are controlling.
    Case 1:17-cv-03887-GBD-SN               Document 1        Filed 05/23/17      Page 64 of 159


                                                VENUE

          1. Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(f)(1), as a

substantial part of the events giving rise to the claims asserted herein occurred in this district. Venue

is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                           JURISDICTION

          2. Jurisdiction, is as asserted in the CAC, and further, jurisdiction of the within Short Form

Complaint is premised upon and applicable to all defendants in this action:

                             28 U.S. C. § 1605(a)(5) (non-commercial tort exception)

                             28 U.S. C. § 1605B (Justice against Sponsors of Terrorism Act)

                             Other: (set forth below the basis of any additional ground for
                             jurisdiction and plead such in sufficient detail as per the FRCP):
                             ________________________________________________________
                              _______________________________________________________
                              _______________________________________________________.

                                        CAUSES OF ACTION

          3. Plaintiff(s) hereby adopt(s) and incorporate(s) by reference, the CAC as if set forth fully

herein.

          4. Furthermore, the following claims and allegations are asserted by Plaintiff(s) and are

herein adopted by reference from the CAC:

                             Aiding and Abetting and Conspiring with al Qaeda to Commit the
                             September 11th Attacks Upon the United States in Violation of 18
                             U.S.C. § 2333(d) (JASTA)

                             Aiding and Abetting and Conspiring with al Qaeda to Commit the
                             September 11th Attacks Upon the United States in Violation of 18
                             U.S.C. § 2333(a)

                             Committing Acts of International Terrorism in Violation of 18 U.S.C. §
                             2333

                             Wrongful Death, as applicable to a claim for such

                             Survival
    Case 1:17-cv-03887-GBD-SN               Document 1        Filed 05/23/17       Page 65 of 159



                             Alien Tort Claims Act

                             Assault and Battery

                             Conspiracy

                             Aiding and Abetting

                             Intentional Infliction of Emotional Distress

                             Liability Pursuant to Restatement (Second) of Torts § 317 and
                             Restatement (Third) of Agency § 7.05: Supervising Employees and
                             Agents

                             Liability Pursuant to Restatement (Second) of Torts § 317 and
                             Restatement (Third) of Agency § 7.05: Hiring, Selecting, and Retaining
                             Employees and Agents

                             18 U.S.C. § 1962(a)-(d) – CIVIL RICO

                             Trespass

                             Punitive Damages

                             Plaintiff assert(s) the following additional theories and/or Causes of
                             Action against the Defendants:
                             ________________________________________________________
                             ________________________________________________________
                             ________________________________________________________

                              IDENTIFICATION OF PLAINTIFFS

        5. The following allegations and information contained herein, is alleged as to each

individual who is bringing this claim, as indicated on Appendix 1 to this Short Form Complaint, and/or

as to each decedent who was injured and who is now deceased, whose claim is brought by the Estate

representative, and as to the survivors of the Estate, herein referred to as “Plaintiffs.”

            a. The citizenship of said Plaintiff is indicated at Appendix 1 to this Short Form

                complaint.

            b. Said Plaintiff is entitled to recover damages on the causes of action set forth in this

                Complaint.
Case 1:17-cv-03887-GBD-SN           Document 1         Filed 05/23/17       Page 66 of 159


     c. As indicated at Appendix 1, said Plaintiff was injured as a result of the terrorist

         attacks of September 11, 2001; is the estate representative of someone who was

         injured as a result of the terrorist attacks of September 11, 2001 and who is now

         deceased, or is a survivor of someone who was injured as a result of the terrorist

         attacks of September 11, 2001 and who is now deceased.

     d. For those plaintiffs with injury claims, as indicated in Appendix 1, on or after

         September 11, 2001, said Plaintiff was present at the Pentagon and/or the World

         Trade Center site and/or its surroundings and/or lower Manhattan and/or at an area

         wherein he/she was exposed to toxins as a result of the terrorist attacks and was

         exposed to toxins from the attacks, and/or was otherwise injured, and/or as

         otherwise alleged: ______________________________.

     e. As a direct, proximate and foreseeable result of Defendants’ actions or inactions,

         Plaintiff suffered bodily injury and/or death, and consequently economic and other

         losses, including but not limited to pain and suffering, emotional distress,

         psychological injuries, and loss of enjoyment of life, and as otherwise described in

         the CAC, and/or as otherwise may be specified in subsequent discovery proceedings,

         and/or as otherwise alleged herein: ___________________________.

     f. The name, relationship to the injured 9/11 victim, residency, nationality, and the

         general nature of the claim for each plaintiff is listed on the attached Exhibit 1, and is

         incorporated herein as allegations, with all allegations of the within Short Form

         Complaint deemed alleged as to each plaintiff.

                     IDENTIFICATION OF THE DEFENDANTS

  6. The following entities are Defendants herein:

                     Kingdom of Saudi Arabia

                     Saudi High Commission for Relief of Bosnia & Herzegovina
    Case 1:17-cv-03887-GBD-SN                Document 1        Filed 05/23/17       Page 67 of 159


        Plaintiffs’ constituent case, if applicable, and this Short Form Complaint shall be deemed

subject to any motion to dismiss the CAC or Answer to the CAC filed by Saudi Arabia or the

SHC. By way of filing this Short Form Complaint, plaintiffs shall not be deemed to have adopted

any class-action allegations set forth in the CAC or waived any right to object to class certification or

opt out of any certified class. This Short Form Complaint also does not serve as a request for exclusion

from any class that the Court may certify.


        WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants as set forth in

the CAC as appropriate.

                                             JURY DEMAND

        Plaintiff(s) hereby demand(s) a trial by jury as to the claims in this action.



Dated: May 23, 2017                 Respectfully Submitted,


                                                         /s/ Christopher R. LoPalo
                                                         Christopher R. LoPalo, Esq. (CL-6466)
                                                         Paul J. Napoli, Esq. (PN-8845)
                                                         Jaquay Felix (JF-6030)
                                                         NAPOLI SHKOLNIK PLLC
                                                         400 Broadhollow Road, Suite 305
                                                         Melville, NY 1747
                                                         Telephone (212) 397-1000
                                                         clopalo@napolilaw.com
                                                         pnapoli@napolilaw.com
                                                         jfelix@napolilaw.com


                                                         Counsel for Plaintiff(s)




                                         See Appendix 1 Annexed
      Case 1:17-cv-03887-GBD-SN                  Document 1       Filed 05/23/17     Page 68 of 159


                      APPENDIX 1 TO THE SHORT FORM COMPLAINT
                      (EXEMPLAR-ALL NAMES BELOW ARE FICTITIOUS)
 Each line below is deemed an allegation, incorporating the allegations, language and references
 within the Short Form Complaint to which this Appendix is appended, and shall be referenced as
 Allegation 1 of Appendix 1 to the Short Form Complaint, Allegation 2 of Appendix 1 to the Short Form
 Complaint, etc.)

       Plaintiffs Name            Relationship     State of        Citizenship/    General Nature of Claim
       (alphabetically ordered    to Injured       Residency at    Nationality     Asserted (e.g., personal
       by last name of Injured    9/11 Victim      filing          on 9/11/01      injury, wrongful death,
       9/11 Victim)                                                                solatium)
1.     Edgar Abarca and                                                            Personal Injury, Loss of
       Margoth Abarca             Self/Spouse      NJ              US              Consortium
2.     Juan Abreu                 Self             NY              US              Personal Injury
3.     John Accetturi and Joan                                                     Personal Injury, Loss of
       Accetturi                  Self/Spouse      NY              US              Consortium
4.     Marco Acevedo and                                                           Personal Injury, Loss of
       Mrian Acevedo              Self/Spouse      NY              US              Consortium
5.     Julian Acosta and Hilma                                                     Personal Injury, Loss of
       Acosta                     Self/Spouse      NJ              US              Consortium
6.     Juan Adames and Juana F                                                     Personal Injury, Loss of
       Adames                     Self/Spouse      NY              US              Consortium
7.     Allen J. Adams and Susan                                                    Personal Injury, Loss of
       Adams                      Self/Spouse      NY              US              Consortium
8.     Corey Adams and Debra                                                       Personal Injury, Loss of
       Adams                      Self/Spouse      NY              US              Consortium
9.     James Adams and Evelyn                                                      Personal Injury, Loss of
       B Adams                    Self/Spouse      SC              US              Consortium
10.    Lee Addison and Beverly                                                     Personal Injury, Loss of
       Addison                    Self/Spouse      AL              US              Consortium
11.    Lahissi Adetayo            Self             NY              US              Personal Injury
12.    Gaston Adrien and                                                           Personal Injury, Loss of
       Rebecca Adrien             Self/Spouse      NJ              US              Consortium
13.    John Agosta and Michelle                                                    Personal Injury, Loss of
       Agosta                     Self/Spouse      NJ              US              Consortium
14.    Emmanual Agostini          Self             NY              US              Personal Injury
15.    Carmelo Agro and                                                            Personal Injury, Loss of
       Lorraine Agro              Self/Spouse      NY              US              Consortium
16.    Julio Agron and Roselyn                                                     Personal Injury, Loss of
       Agron                      Self/Spouse      NY              US              Consortium
17.    Gladys Agudelo             Self             NY              US              Personal Injury
18.    Inderpaul Ahluwalia and                                                     Personal Injury, Loss of
       Manjeet Ahluwalia          Self/Spouse      NY              US              Consortium
19.    Robert Aiello and Lauren                                                    Personal Injury, Loss of
       Aiello                     Self/Spouse      NY              US              Consortium
20.    John Akos and Gina                                                          Personal Injury, Loss of
       Akos                       Self/Spouse      NJ              US              Consortium
21.    Richard Ala and Beth A                                                      Personal Injury, Loss of
       Ala                        Self/Spouse      NJ              US              Consortium
22.    Salvatore Alaimo and                                                        Personal Injury, Loss of
       Serafina Alaimo            Self/Spouse      NY              US              Consortium
23.    Damian Albarano            Self             NY              US              Personal Injury
24.    Andrew Albate and                                                           Personal Injury, Loss of
       Stephanie Albate           Self/Spouse      NY              US              Consortium
      Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 69 of 159


25.    Salvatore Albergo and Pat                                               Personal Injury, Loss of
       Albergo                     Self/Spouse     PA          US              Consortium
26.    Kurt Albertson and                                                      Personal Injury, Loss of
       Teresa Albertson            Self/Spouse     NY          US              Consortium
27.    Pablo Alcantara and                                                     Personal Injury, Loss of
       Karina Rosario              Self/Spouse     NY          US              Consortium
28.    Michael Alcazar             Self            NY          US              Personal Injury
29.    Karima Alfred, as
       Administratrix of the
       estate of Clovis Alfred,
       and Karima Alfred
       Individually                PR/Spouse       NY          US              Wrongful Death, Solatium
30.    James Algeria               Self            NY          US              Personal Injury
31.    Carlos Ali                  Self            NJ          US              Personal Injury
32.    Nazeem Ali and Bibi N                                                   Personal Injury, Loss of
       Ali                         Self/Spouse     NY          US              Consortium
33.    Maria Alick                 Self            NY          US              Personal Injury
34.    Joseph Allen and Fazia                                                  Personal Injury, Loss of
       Allen                       Self/Spouse     NY          US              Consortium
35.    Robert Allen and                                                        Personal Injury, Loss of
       Christine Allen             Self/Spouse     NY          US              Consortium
36.    Mario Alleva and                                                        Personal Injury, Loss of
       Maryann Alleva              Self/Spouse     NY          US              Consortium
37.    Carlos Almonte and                                                      Personal Injury, Loss of
       Sonia Ocasio-Almonte        Self/Spouse     FL          US              Consortium
38.    Gail Altaro and Ralph A                                                 Personal Injury, Loss of
       Altaro                      Self/Spouse     NY          US              Consortium
39.    David Alvarado and                                                      Personal Injury, Loss of
       Xiomara Isaac               Self/Spouse     NY          US              Consortium
40.    Bruce Alvarez and Lynn                                                  Personal Injury, Loss of
       Alvarez                     Self/Spouse     NY          US              Consortium
41.    Frankie Alvarez and                                                     Personal Injury, Loss of
       Anna Alvarez                Self/Spouse     NY          US              Consortium
42.    Jennifer Alvarez            Self            NY          US              Personal Injury
43.    Richard Alvarez             Self            NY          US              Personal Injury
44.    Rolando Alvarez and                                                     Personal Injury, Loss of
       Josefa Lidia Alvarez        Self/Spouse     NJ          US              Consortium
45.    Saul Alvarez and Ana L                                                  Personal Injury, Loss of
       Alvarez                     Self/Spouse     NY          US              Consortium
46.    Robert Alverson and                                                     Personal Injury, Loss of
       Kristen Alverson            Self/Spouse     NY          US              Consortium
47.    Anthony Amabile, Jr.        Self            NY          US              Personal Injury
48.    Melba L Amaya               Self            NY          US              Personal Injury
49.    Anthony Ambrosino and                                                   Personal Injury, Loss of
       Debra Ambrosino             Self/Spouse     NY          US              Consortium
50.    Gregory Amira               Self            FL          US              Personal Injury
51.    Jorge Anchaluisa and                                                    Personal Injury, Loss of
       Alexandra Anchaluesa        Self/Spouse     NY          US              Consortium
52.    Louis Ancona                Self            NY          US              Personal Injury
53.    Joseph Anderson and                                                     Personal Injury, Loss of
       Andrea Anderson             Self/Spouse     FL          US              Consortium
54.    Yolanda N Anderson and                                                  Personal Injury, Loss of
       Courtney Anderson           Self/Spouse     NY          US              Consortium
55.    Alberto Andrade             Self            NY          US              Personal Injury
      Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 70 of 159


56.    Ralph Andreotti and                                                     Personal Injury, Loss of
       Antonia Andreotti           Self/Spouse     NY          US              Consortium
57.    Jason Andreula              Self            NY          US              Personal Injury
58.    Brian Andrews and Liza                                                  Personal Injury, Loss of
       Andrews                     Self/Spouse     NJ          US              Consortium
59.    Jerome Andrews and                                                      Personal Injury, Loss of
       Cynthia Andrews             Self/Spouse     NJ          US              Consortium
60.    Ernest Anemone and                                                      Personal Injury, Loss of
       Patricia Anemone            Self/Spouse     FL          US              Consortium
61.    Michael Anspach, as
       Administrator of the
       estate of Stewart
       Anspach, and Michael
       Anspach Individually        PR/Spouse       NY          US              Wrongful Death, Solatium
62.    John Antiaris               Self            NY          US              Personal Injury
63.    Peter Antine and Evanie                                                 Personal Injury, Loss of
       Antine                      Self/Spouse     NY          US              Consortium
64.    Carolyn Antoine and                                                     Personal Injury, Loss of
       David Antoine               Self/Spouse     NY          US              Consortium
65.    Michael Antonucci and                                                   Personal Injury, Loss of
       Debbra Antonucci            Self/Spouse     NY          US              Consortium
66.    Robert Anzalone and                                                     Personal Injury, Loss of
       Ann Marie Anzalone          Self/Spouse     NY          US              Consortium
67.    James Apostolou             Self            NY          US              Personal Injury
68.    Anthony Arato and                                                       Personal Injury, Loss of
       Donna Arato                 Self/Spouse     NY          US              Consortium
69.    Fabio Arbelaez              Self            NJ          US              Personal Injury
70.    Keith Arce and Darlene                                                  Personal Injury, Loss of
       Arce                        Self/Spouse     NY          US              Consortium
71.    Jose Archilla and Roberta                                               Personal Injury, Loss of
       Archilla                    Self/Spouse     PA          US              Consortium
72.    Robert Archul and Joleen                                                Personal Injury, Loss of
       Archul                      Self/Spouse     NY          US              Consortium
73.    John Arciuolo and Celia                                                 Personal Injury, Loss of
       Arciuolo                    Self/Spouse     NY          US              Consortium
74.    Karen Arena-Mullady and                                                 Personal Injury, Loss of
       Michael Mullady             Self/Spouse     NY          US              Consortium
75.    Julio Arias                 Self            NY          US              Personal Injury
76.    Victor Arimont              Self            NY          US              Personal Injury
77.    Amparro Aristizabal         Self            NY          US              Personal Injury
78.    Dagoberto Aristizabal                                                   Personal Injury, Loss of
       and Alexandra Aristizabal   Self/Spouse     NY          US              Consortium
79.    Michael Armocida            Self            NY          US              Personal Injury
80.    Joseph Aronsen and                                                      Personal Injury, Loss of
       Begona Aronsen              Self/Spouse     NY          US              Consortium
81.    Paul Arrigo                 Self            NY          US              Personal Injury
82.    Guillermo Arrubla and                                                   Personal Injury, Loss of
       Jennifer M Arrubla          Self/Spouse     AZ          US              Consortium
83.    Kwame Asante and                                                        Personal Injury, Loss of
       Paulette V Johnson          Self/Spouse     NY          US              Consortium
84.    Carlos Asmal                Self            NY          US              Personal Injury
85.    Carlos G Asmal              Self            NY          US              Personal Injury
86.    Vilma Aspiazu               Self            FL          US              Personal Injury
87.    Martha Atehortua            Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                 Document 1   Filed 05/23/17     Page 71 of 159


88.     Theo Athanassiou and                                                   Personal Injury, Loss of
        Helen Athanassiou          Self/Spouse     NY          US              Consortium
89.     John Audette and Tiffany                                               Personal Injury, Loss of
        Audette                    Self/Spouse     PA          US              Consortium
90.     Frank Auditore and                                                     Personal Injury, Loss of
        Michelle Auditore          Self/Spouse     NJ          US              Consortium
91.     Brian Auer and Linda E                                                 Personal Injury, Loss of
        Auer                       Self/Spouse     NY          US              Consortium
92.     Howard Auerbach and                                                    Personal Injury, Loss of
        Linda Auerbach             Self/Spouse     NY          US              Consortium
93.     Athanasios Augoustatos     Self            NY          US              Personal Injury
94.     Daniel C Austin and                                                    Personal Injury, Loss of
        Elena Austin               Self/Spouse     NY          US              Consortium
95.     Robert Avezzano and                                                    Personal Injury, Loss of
        Eva Avezzano               Self/Spouse     NY          US              Consortium
96.     Cesar Avila                Self            CT          US              Personal Injury
97.     Hidalgo Avila              Self            NY          US              Personal Injury
98.     Nolberto Avila and                                                     Personal Injury, Loss of
        Brigida Avila              Self/Spouse     NY          US              Consortium
99.     Norberto Avila and Nelly                                               Personal Injury, Loss of
        Avila                      Self/Spouse     NY          US              Consortium
100.    Richard Avila              Self            NJ          US              Personal Injury
101.    Washington Avila and                                                   Personal Injury, Loss of
        Yvette Avila               Self/Spouse     NY          US              Consortium
102.    Carlos Aviles and Wanda                                                Personal Injury, Loss of
        Aviles                     Self/Spouse     FL          US              Consortium
103.    Fred Avis                  Self            NY          US              Personal Injury
104.    Jason Ayala and Semra B                                                Personal Injury, Loss of
        Ayala                      Self/Spouse     NJ          US              Consortium
105.    Rosa J Azcarate-Solano     Self            CT          US              Personal Injury
106.    Victor Azubike             Self            NY          US              Personal Injury
107.    Frank S Babin and                                                      Personal Injury, Loss of
        Patricia A Babin           Self/Spouse     NY          US              Consortium
108.    John Baboolal and Nellie                                               Personal Injury, Loss of
        Baboolal                   Self/Spouse     NY          US              Consortium
109.    Nellie Baboolal and John                                               Personal Injury, Loss of
        Baboolal                   Self/Spouse     NY          US              Consortium
110.    Grantley Bacchus and                                                   Personal Injury, Loss of
        Hazel Bacchus              Self/Spouse     NY          US              Consortium
111.    Caroline Bacon             Self            NY          US              Personal Injury
112.    Michael Badagliacca and                                                Personal Injury, Loss of
        Christina Badagliacca      Self/Spouse     NY          US              Consortium
113.    John M Badyna              Self            NY          US              Personal Injury
114.    Angelo Baez                Self            NY          US              Personal Injury
115.    Fabiola Baez and Rufino                                                Personal Injury, Loss of
        Baez                       Self/Spouse     NY          US              Consortium
116.    Miguel A Baez and                                                      Personal Injury, Loss of
        Maritza I Baez             Self/Spouse     NY          US              Consortium
117.    Nelson Baez and                                                        Personal Injury, Loss of
        Beneranda Baez             Self/Spouse     NJ          US              Consortium
118.    James Bahrey and                                                       Personal Injury, Loss of
        Lauranne Bahrey            Self/Spouse     NY          US              Consortium
119.    Anthony Baicich and                                                    Personal Injury, Loss of
        Rosemary C Baicich         Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 72 of 159


120.    Jason Bailey                 Self            NY          US              Personal Injury
121.    Michael Bailey and                                                       Personal Injury, Loss of
        Kathleen Bailey              Self/Spouse     NY          US              Consortium
122.    William Bailey               Self            NY          US              Personal Injury
123.    Peter B Bailon               Self            NY          US              Personal Injury
124.    David B Baker, as
        Administrator of the
        estate of Janice L. Baker,
        and David B Baker
        Individually                 PR/Spouse       MO          US              Wrongful Death, Solatium
125.    Reyaad Baksh and Amy                                                     Personal Injury, Loss of
        Baksh                        Self/Spouse     NY          US              Consortium
126.    Chris Balabous               Self            NY          US              Personal Injury
127.    Hector Balaguer              Self            PA          US              Personal Injury
128.    Jose Balarezo                Self            NY          US              Personal Injury
129.    Rosanne Baldo                Self            NY          US              Personal Injury
130.    Ryan Baldwin and Rheat                                                   Personal Injury, Loss of
        Baldwin                      Self/Spouse     NY          US              Consortium
131.    Steven Balson and                                                        Personal Injury, Loss of
        Corinne Balson               Self/Spouse     NY          US              Consortium
132.    Ivan Banda and Martha                                                    Personal Injury, Loss of
        Reinoso                      Self/Spouse     NJ          US              Consortium
133.    Nestor Banda and                                                         Personal Injury, Loss of
        Georgina Banda               Self/Spouse     NJ          US              Consortium
134.    Nestor Banda, Jr.            Self            NJ          US              Personal Injury
135.    Anthony Banks and                                                        Personal Injury, Loss of
        Yvette Banks                 Self/Spouse     SC          US              Consortium
136.    Jose Barahona and                                                        Personal Injury, Loss of
        Domenica Barahona            Self/Spouse     NY          US              Consortium
137.    Joseph Barbera and                                                       Personal Injury, Loss of
        Nancy Barbera                Self/Spouse     NJ          US              Consortium
138.    Sybil Barefield, as
        Administratrix of the
        estate of Roy Barefield,
        and Sybil Barefield
        Individually                 PR/Spouse       NY          US              Wrongful Death, Solatium
139.    David Barker                 Self            NY          US              Personal Injury
140.    Michael Barker and Lorna                                                 Personal Injury, Loss of
        Barker                       Self/Spouse     NY          US              Consortium
141.    Willie Barnes                Self            NJ          US              Personal Injury
142.    Miguel Barona and Maria                                                  Personal Injury, Loss of
        Sucuzhanyay                  Self/Spouse     NY          US              Consortium
143.    Dean Barone and Amie                                                     Personal Injury, Loss of
        Barone                       Self/Spouse     NJ          US              Consortium
144.    Joseph Barosa and                                                        Personal Injury, Loss of
        Barbara Barosa               Self/Spouse     NY          US              Consortium
145.    Edward Barrett               Self            NY          US              Personal Injury
146.    Jackson Barrett and                                                      Personal Injury, Loss of
        Christine Barrett            Self/Spouse     NY          US              Consortium
147.    Luis Barros and Beatriz                                                  Personal Injury, Loss of
        Barros                       Self/Spouse     NY          US              Consortium
148.    Cedric Barrow and Alison                                                 Personal Injury, Loss of
        Barrow                       Self/Spouse     NY          US              Consortium
149.    Donna Barrow                 Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 73 of 159


150.    Dean Bartelucci and                                                     Personal Injury, Loss of
        Donna M Bartelocci          Self/Spouse     NJ          US              Consortium
151.    Hector Bartolomei and                                                   Personal Injury, Loss of
        Julie Bartolomei            Self/Spouse     NY          US              Consortium
152.    Frederick Bartz and Jana                                                Personal Injury, Loss of
        Bartz                       Self/Spouse     NJ          US              Consortium
153.    Galo Barzola                Self            NY          US              Personal Injury
154.    Wilbert Bascom and                                                      Personal Injury, Loss of
        Setna Bascom                Self/Spouse     NY          US              Consortium
155.    Anthony Basile              Self            NY          US              Personal Injury
156.    Julio Bastidas              Self            NY          US              Personal Injury
157.    Spiro Batsedis              Self            NY          US              Personal Injury
158.    Linda Battle                Self            NY          US              Personal Injury
159.    Paul Bavaro and Carolyn                                                 Personal Injury, Loss of
        Bavaro                      Self/Spouse     NJ          US              Consortium
160.    William Beaury and                                                      Personal Injury, Loss of
        Eileen Beaury               Self/Spouse     NY          US              Consortium
161.    Lance Becca and Delia                                                   Personal Injury, Loss of
        Becca                       Self/Spouse     NJ          US              Consortium
162.    Paul Beck                   Self            NY          US              Personal Injury
163.    Mary Beckman                Self            MO          US              Personal Injury
164.    Sime Begonja and Silvia                                                 Personal Injury, Loss of
        Begonja                     Self/Spouse     NY          US              Consortium
165.    Dady Belfort                Self            NY          US              Personal Injury
166.    Isacah Bell, as Personal
        Representative of the
        estate of Perry Bell, and
        Isacah Bell Individually    PR/Daughter     NY          US              Wrongful Death, Solatium
167.    Robert Bell and Annlee                                                  Personal Injury, Loss of
        Bell                        Self/Spouse     NY          US              Consortium
168.    Luis Bellapianta            Self            NY          US              Personal Injury
169.    Timothy Bellew and                                                      Personal Injury, Loss of
        kathleen a bellew           Self/Spouse     PA          US              Consortium
170.    Joseph Bellissimo           Self            FL          US              Personal Injury
171.    Joseph Bellomo and                                                      Personal Injury, Loss of
        Tamara Bellono              Self/Spouse     NY          US              Consortium
172.    Alberto Bellot and Stella                                               Personal Injury, Loss of
        M Bellot                    Self/Spouse     NY          US              Consortium
173.     Carmine Belmonte            Self            NY          US              Personal Injury
174.    Vincente Benavidez and                                                  Personal Injury, Loss of
        Florinda Jostina            Self/Spouse     NY          US              Consortium
175.    Todd Benedict               Self            NY          US              Personal Injury
176.    Monica Benfante and                                                     Personal Injury, Loss of
        Anthony Benfante            Self/Spouse     NY          US              Consortium
177.    Jose Benitez and Monica                                                 Personal Injury, Loss of
        Benitez                     Self/Spouse     NY          US              Consortium
178.    Luis Benitez and Amparo                                                 Personal Injury, Loss of
        Benitez                     Self/Spouse     NY          US              Consortium
179.    Carlos Bennett and                                                      Personal Injury, Loss of
        Donna Bennett               Self/Spouse     NY          US              Consortium
180.    Larry Bennett and Edna                                                  Personal Injury, Loss of
        E Bennett                   Self/Spouse     NC          US              Consortium
181.    Sharon Benson, as
        Personal Representative     PR/Spouse       SC          US              Wrongful Death, Solatium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 74 of 159


        of the estate of Sammie
        Benson, and Sharon
        Benson Individually
182.    Elizabeth Berberich and                                                 Personal Injury, Loss of
        Gary E Berberich            Self/Spouse     NY          US              Consortium
183.    Michael Bergen and                                                      Personal Injury, Loss of
        Lorraine Bergen             Self/Spouse     NY          US              Consortium
184.    Peter Bergin and Susan                                                  Personal Injury, Loss of
        Bergin                      Self/Spouse     NY          US              Consortium
185.    Ana Bermeo and Idalgo                                                   Personal Injury, Loss of
        Encalada                    Self/Spouse     NY          US              Consortium
186.    Santiago Bermudez, as
        Personal Representative
        of the estate of Santy
        Bermudez, and Santiago
        Bermudez Individually       PR/Father       NJ          US              Wrongful Death, Solatium
187.    Angel Bernabe and                                                       Personal Injury, Loss of
        Jacqueline Bernabe          Self/Spouse     NJ          US              Consortium
188.    William Bernard and Lisa                                                Personal Injury, Loss of
        Bernard                     Self/Spouse     PA          US              Consortium
189.    John Berrios                Self            TN          US              Personal Injury
190.    Benito Berrios Jr.          Self            NY          US              Personal Injury
191.    Kevin Berry and Monica                                                  Personal Injury, Loss of
        Berry                       Self/Spouse     NY          US              Consortium
192.    Renee Berry                 Self            NY          US              Personal Injury
193.    Chris Bertinelli and                                                    Personal Injury, Loss of
        Carolyn Bertinelli          Self/Spouse     NY          US              Consortium
194.    Kevin Betancourt and                                                    Personal Injury, Loss of
        Bonnie Betancourt           Self/Spouse     NY          US              Consortium
195.    Louis Betro and Ann                                                     Personal Injury, Loss of
        Betro                       Self/Spouse     AZ          US              Consortium
196.    Evelyn Betso, as Personal
        Representative of the
        estate of James A Betso,
        and Evelyn Betso
        Individually                PR/Spouse       NY          US              Wrongful Death, Solatium
197.    Stephen Beyar and Blanca                                                Personal Injury, Loss of
        Beyar                       Self/Spouse     NY          US              Consortium
198.    Maria Biagini               Self            NY          US              Personal Injury
199.    John Biancaniello           Self            NY          US              Personal Injury
200.    Arthur Bianchini and                                                    Personal Injury, Loss of
        Victoria Bianchini          Self/Spouse     NY          US              Consortium
201.    Vito Bianco                 Self            NY          US              Personal Injury
202.    John Bicocchi and Valerie                                               Personal Injury, Loss of
        Bicocchi                    Self/Spouse     NY          US              Consortium
203.    Roy Biederman and                                                       Personal Injury, Loss of
        Elizabeth Biederman         Self/Spouse     NY          US              Consortium
204.    Jan Bierylo and Danota                                                  Personal Injury, Loss of
        Bierylo                     Self/Spouse     NJ          US              Consortium
205.    Roman Bikowski and                                                      Personal Injury, Loss of
        Nella Bikowska              Self/Spouse     NY          US              Consortium
206.    Vincent Bilella and                                                     Personal Injury, Loss of
        Theresa Bilella             Self/Spouse     FL          US              Consortium
207.    Lawrence Bilicki and                                                    Personal Injury, Loss of
        Nancy Bilicki               Self/Spouse     NJ          US              Consortium
208.    Peter Bishun and                                                        Personal Injury, Loss of
        Elizabeth Bishun            Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 75 of 159


209.    Karen Bitchatchi             Self            NY          US              Personal Injury
210.    Richard Bittles              Self            NY          US              Personal Injury
211.    Maude Bivona, as
        Administratrix of the
        estate of Frank Bivona,
        and Maude Bivona
        Individually                 PR/Spouse       NY          US              Wrongful Death, Solatium
212.    Christopher Blaich           Self            NY          US              Personal Injury
213.    Alvaro Blake                 Self            NY          US              Personal Injury
214.    Lorenzo Blanco               Self            NY          US              Personal Injury
215.    Charles Blandino and                                                     Personal Injury, Loss of
        Antoinette Blandino          Self/Spouse     Fl          US              Consortium
216.    Yehoshua Blisko and                                                      Personal Injury, Loss of
        Cindy Blisko                 Self/Spouse     NY          US              Consortium
217.    MacArthur Bobbitt and                                                    Personal Injury, Loss of
        Maria Munoz                  Self/Spouse     NY          US              Consortium
218.    Keith Bobe                   Self            NY          US              Personal Injury
219.    David Boehm and Dana                                                     Personal Injury, Loss of
        Boehm                        Self/Spouse     NY          US              Consortium
220.    Charles Bolgiani and                                                     Personal Injury, Loss of
        Moniique Bolgani             Self/Spouse     AZ          US              Consortium
221.    Nicholas P Bolobanic and                                                 Personal Injury, Loss of
        Joy H Bolobanic              Self/Spouse     NY          US              Consortium
222.    Thomas Bomeisl and                                                       Personal Injury, Loss of
        Lourdes Bomeisl              Self/Spouse     NY          US              Consortium
223.    Anthony Bonanno and                                                      Personal Injury, Loss of
        Stephanie Bonanno            Self/Spouse     NY          US              Consortium
224.    Vickie Bonanno, as
        Administratrix of the
        estate of Daniel Bonanno,
        and Vickie Bonanno
        Individually                 PR/Spouse       NY          US              Wrongful Death, Solatium
225.    Sylvia Bone                  Self            NY          US              Personal Injury
226.    Vincent Boney                Self            NY          US              Personal Injury
227.    Susana Bonifaz               Self            NY          US              Personal Injury
228.    Felix Bonilla                Self            NY          US              Personal Injury
229.    Luis Bonilla                 Self            NY          US              Personal Injury
230.    Milton Bonilla and                                                       Personal Injury, Loss of
        Ampara Bonilla               Self/Spouse     FL          US              Consortium
231.    Paul Bonilla                 Self            NJ          US              Personal Injury
232.    Marie Bontemps               Self            NY          US              Personal Injury
233.    Paul Booth and Julie                                                     Personal Injury, Loss of
        Booth                        Self/Spouse     NY          US              Consortium
234.    Paul Bordenca and Gail                                                   Personal Injury, Loss of
        Bordenca                     Self/Spouse     NY          US              Consortium
235.    Angela Bordies               Self            NY          US              Personal Injury
236.    Andrzej Borkowski and                                                    Personal Injury, Loss of
        Joanna H Borkowska           Self/Spouse     --          Poland          Consortium
237.    Iris Cordova, as Executrix
        of the estate of Nicholas
        Boscaino, and Iris
        Cordova Individually         PR/Spouse       NY          US              Wrongful Death, Solatium
238.    Brian Bourke and Lori        Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                 Document 1   Filed 05/23/17     Page 76 of 159


        Bourke                                                                 Consortium
239.    Thomas Bourne and                                                      Personal Injury, Loss of
        Joann Bourne               Self/Spouse     NY          US              Consortium
240.    Anthony Bove and                                                       Personal Injury, Loss of
        Theresa Bove               Self/Spouse     NY          US              Consortium
241.    Gerard Bowden and                                                      Personal Injury, Loss of
        Janine M Bowden            Self/Spouse     NY          US              Consortium
242.    Michael E Bowry and                                                    Personal Injury, Loss of
        Wavney Bowry               Self/Spouse     NY          US              Consortium
243.    Gregory Boyce and Tara J                                               Personal Injury, Loss of
        Boyce                      Self/Spouse     NY          US              Consortium
244.    Carlos Boykin              Self            FL          US              Personal Injury
245.    Martin Boyle               Self            NY          US              Personal Injury
246.    Kevin Bradley and                                                      Personal Injury, Loss of
        Jennifer Bradley           Self/Spouse     NY          US              Consortium
247.    Hugh Bradshaw              Self            NY          US              Personal Injury
248.    Robert Brady and                                                       Personal Injury, Loss of
        Lorraine Brady             Self/Spouse     NY          US              Consortium
249.    John Braisted and                                                      Personal Injury, Loss of
        Elizabeth Braisted         Self/Spouse     NJ          US              Consortium
250.    Michael Brannan and                                                    Personal Injury, Loss of
        Karen Brannan              Self/Spouse     LA          US              Consortium
251.    Jennifer Brauer            Self            CA          US              Personal Injury
252.    Richard Breece and                                                     Personal Injury, Loss of
        Gisela Breece              Self/Spouse     NY          US              Consortium
253.    Edward Breen and                                                       Personal Injury, Loss of
        Jeannine Breen             Self/Spouse     NY          US              Consortium
254.    Joseph Brennan             Self            NY          US              Personal Injury
255.    Thomas Brenner and                                                     Personal Injury, Loss of
        Tracey S Brenner           Self/Spouse     NY          US              Consortium
256.    Peter Brescia and linda                                                Personal Injury, Loss of
        brescia                    Self/Spouse     NJ          US              Consortium
257.    Randolph Brewster          Self            NC          US              Personal Injury
258.    David Breyfogle and                                                    Personal Injury, Loss of
        Jennifer Breyfogle         Self/Spouse     NY          US              Consortium
259.    Thomas Brick               Self            NY          US              Personal Injury
260.    JoAnn Bright, as
        Administratrix of the
        estate of Robert Bright,
        and JoAnn Bright
        Individually               PR/Spouse       NY          US              Wrongful Death, Solatium
261.    Miguel Brito and Nelly                                                 Personal Injury, Loss of
        Brito                      Self/Spouse     NJ          US              Consortium
262.    Michael Broccolo           Self            NY          US              Personal Injury
263.    Peter Brodowski and                                                    Personal Injury, Loss of
        Sharon Brodowski           Self/Spouse     NY          US              Consortium
264.    Aleksandr Brodskiy and                                                 Personal Injury, Loss of
        Anna Brodskaya             Self/Spouse     NY          US              Consortium
265.    Mark Brooks                Self            NY          US              Personal Injury
266.    Tonya Brooks               Self            NY          US              Personal Injury
267.    George Brosnan and                                                     Personal Injury, Loss of
        Patricia Brosnan           Self/Spouse     NY          US              Consortium
268.    Charles Brown              Self            NY          US              Personal Injury
269.    Chris Brown and Kenya      Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 77 of 159


        Brown                                                                   Consortium
270.    Michael Brown and                                                       Personal Injury, Loss of
        Catherine Brown             Self/Spouse     NY          US              Consortium
271.    Roger Brown and Tonya                                                   Personal Injury, Loss of
        Rieche Brown                Self/Spouse     NJ          US              Consortium
272.    Thomas Brown and                                                        Personal Injury, Loss of
        Katarzyna Brown             Self/Spouse     NY          US              Consortium
273.    Thomas Brown and Rose                                                   Personal Injury, Loss of
        Marie Brown                 Self/Spouse     NY          US              Consortium
274.    Trevor Brown and Anita                                                  Personal Injury, Loss of
        M Brown                     Self/Spouse     NJ          US              Consortium
275.    Bernard Browne and                                                      Personal Injury, Loss of
        Maria Lores-Browne          Self/Spouse     NY          US              Consortium
276.    Gerard Bruen and Mary                                                   Personal Injury, Loss of
        Bruen                       Self/Spouse     NY          US              Consortium
277.    Adam Bruno and Tina                                                     Personal Injury, Loss of
        Marie Bruno                 Self/Spouse     NY          US              Consortium
278.    Franc Bruno and Joanne                                                  Personal Injury, Loss of
        Bruno                       Self/Spouse     NY          US              Consortium
279.    Thomas Bruno and Julie                                                  Personal Injury, Loss of
        Bruno                       Self/Spouse     NY          US              Consortium
280.    Thomas D. Brusca, Sr.                                                   Personal Injury, Loss of
        and Lois Brusca             Self/Spouse     FL          US              Consortium
281.    Marion Bryant               Self            GA          US              Personal Injury
282.    Jeffrey Bryden and                                                      Personal Injury, Loss of
        Valerie Bryden              Self/Spouse     NY          US              Consortium
283.    Warren Bub                  Self            NY          US              Personal Injury
284.    James Bucher and Allison                                                Personal Injury, Loss of
        A Bucher                    Self/Spouse     NC          US              Consortium
285.    Lizbeth Buck, as Personal
        Representative of the
        estate of Brian Buck, and
        Lizbeth Buck Individually   PR/Spouse       NY          US              Wrongful Death, Solatium
286.    Johnathan Buckley           Self            NY          US              Personal Injury
287.    Hector Buestan and                                                      Personal Injury, Loss of
        Lucrecia Sibri              Self/Spouse     NY          US              Consortium
288.    Robert Buete and                                                        Personal Injury, Loss of
        Christine Buete             Self/Spouse     NY          US              Consortium
289.    James Buglino               Self            NY          US              Personal Injury
290.    Flor Bunay                  Self            NJ          US              Personal Injury
291.    Teresa Bunay and                                                        Personal Injury, Loss of
        Alfonso Cabrera             Self/Spouse     NY          US              Consortium
292.    John A. Burgos and                                                      Personal Injury, Loss of
        Laura Burgos                Self/Spouse     NJ          US              Consortium
293.    Leopoldo Burgos             Self            NJ          US              Personal Injury
294.    Randolph Burgos and                                                     Personal Injury, Loss of
        Noemi Burgos                Self/Spouse     NY          US              Consortium
295.    David Burke and Denise                                                  Personal Injury, Loss of
        Burke                       Self/Spouse     CT          US              Consortium
296.    Ralston Burnett and                                                     Personal Injury, Loss of
        Tracey Burnett              Self/Spouse     NY          US              Consortium
297.    William Burneyko and                                                    Personal Injury, Loss of
        Gail A Burneyko             Self/Spouse     NJ          US              Consortium
298.    Kevin Burns and Therese                                                 Personal Injury, Loss of
        Burns                       Self/Spouse     NY          US              Consortium
299.    Jacqueline Burton and       Self/Spouse     NJ          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 78 of 159


        Winston Weathers                                                          Consortium
300.    John Busacca and Susan                                                    Personal Injury, Loss of
        Busacca                       Self/Spouse     NY          US              Consortium
301.    Waverly T Busby and                                                       Personal Injury, Loss of
        Sharon Busby                  Self/Spouse     NY          US              Consortium
302.    Charles Buser and Donna                                                   Personal Injury, Loss of
        Buser                         Self/Spouse     NY          US              Consortium
303.    Dennis Bush and Jasmine                                                   Personal Injury, Loss of
        Bush                          Self/Spouse     NY          US              Consortium
304.    Charles Bustamante            Self            NJ          US              Personal Injury
305.    Joseph Butera and Dawn                                                    Personal Injury, Loss of
        Butera                        Self/Spouse     NJ          US              Consortium
306.    Mario Butler, as Personal
        Representative of the
        estate of Julio Butler, and
        Mario Butler Individually     PR/Son          NY          US              Wrongful Death, Solatium
307.    Martin Butler                 Self            NY          US              Personal Injury
308.    Stephen Butterbrodt and                                                   Personal Injury, Loss of
        Robin Butterbroot             Self/Spouse     NJ          US              Consortium
309.    Thomas Buzzitta and                                                       Personal Injury, Loss of
        Alcida Buzzitta               Self/Spouse     NY          US              Consortium
310.    Dennis Byrne and Joanne                                                   Personal Injury, Loss of
        P Byrne                       Self/Spouse     NY          US              Consortium
311.    Rudy N Caba                   Self            FL          US              Personal Injury
312.    Irvin K Cabarris and                                                      Personal Injury, Loss of
        Robin Cabarris                Self/Spouse     NY          US              Consortium
313.    Carmen Cabbell                Self            NY          US              Personal Injury
314.    Ricardo Cabrera               Self            NY          US              Personal Injury
315.    Stephen Cacace and                                                        Personal Injury, Loss of
        Genevieve Cacace              Self/Spouse     NY          US              Consortium
316.    John Caccavale and                                                        Personal Injury, Loss of
        Teresa Caccavale              Self/Spouse     NY          US              Consortium
317.    Andrea Cacioppo and                                                       Personal Injury, Loss of
        Dori Ann Cacioppo             Self/Spouse     NY          US              Consortium
318.    Ornell Caesar and                                                         Personal Injury, Loss of
        Rosamond Ornell               Self/Spouse     NY          US              Consortium
319.    Daniel T Caffrey and                                                      Personal Injury, Loss of
        Patricia Caffrey              Self/Spouse     NY          US              Consortium
320.    Hamide Cagatay and                                                        Personal Injury, Loss of
        Zebiullah Cagatay             Self/Spouse     FL          US              Consortium
321.    Zebiullah Cagatay and                                                     Personal Injury, Loss of
        Hamide Cagatay                Self/Spouse     FL          US              Consortium
322.    Claudio Cagnina and                                                       Personal Injury, Loss of
        Sabina Cagnina                Self/Spouse     NY          US              Consortium
323.    Segundo Caguana and                                                       Personal Injury, Loss of
        Carmen Caguan                 Self/Spouse     NY          US              Consortium
324.    Brian Caiola                  Self            NY          US              Personal Injury
325.    Joseph Caiozzo and                                                        Personal Injury, Loss of
        Patricia Caiozzo              Self/Spouse     NY          US              Consortium
326.    Bolivar Caivinagua            Self            NY          US              Personal Injury
327.    Juan Caivinagua               Self            PA          US              Personal Injury
328.    Collin Calder and                                                         Personal Injury, Loss of
        Winsome Calder                Self/Spouse     NY          US              Consortium
329.    Joseph Caleca and                                                         Personal Injury, Loss of
        Dianne Caleca                 Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 79 of 159


330.    John Calhoun                Self            NY          US              Personal Injury
331.    Jennifer Calise-Welsh and                                               Personal Injury, Loss of
        Joseph Welsh                Self/Spouse     NY          US              Consortium
332.    Thomas A Callahan and                                                   Personal Injury, Loss of
        Patricia Callahan           Self/Spouse     NY          US              Consortium
333.    Maria Rocio Calle           Self            NY          US              Personal Injury
334.    Wilson Calle                Self            NY          US              Personal Injury
335.    Jack Cambria                Self            NY          US              Personal Injury
336.    Matthew Camera              Self            NY          US              Personal Injury
337.    Carmella Cameron and                                                    Personal Injury, Loss of
        Steve Cameron               Self/Spouse     NY          US              Consortium
338.    Angel Camilo and Ana                                                    Personal Injury, Loss of
        Maria Camilo                Self/Spouse     NY          US              Consortium
339.    Dominick Caminiti and                                                   Personal Injury, Loss of
        Donna Caminiti              Self/Spouse     NY          US              Consortium
340.    Vincent Cammarasana                                                     Personal Injury, Loss of
        and Gail Cammarasana        Self/Spouse     NY          US              Consortium
341.    Philip Cammarata and                                                    Personal Injury, Loss of
        Rosalie Cammarata           Self/Spouse     NY          US              Consortium
342.    Lauren A Campagna, as
        Administratrix of the
        estate of Ronald
        Campagna, and Lauren A
        Campagna Individually       PR/Daughter     NY          US              Wrongful Death, Solatium
343.    Arnold Campbell and                                                     Personal Injury, Loss of
        Nadine Campbell             Self/Spouse     GA          US              Consortium
344.    Henry Campbell              Self            NY          US              Personal Injury
345.    Howard Campbell and                                                     Personal Injury, Loss of
        Karlen Campbell             Self/Spouse     NY          US              Consortium
346.    Hasan Can and Diane                                                     Personal Injury, Loss of
        Can                         Self/Spouse     NY          US              Consortium
347.    Maximo Canela and                                                       Personal Injury, Loss of
        Deyanira Canela             Self/Spouse     NY          US              Consortium
348.    John Cangiarella and Ella                                               Personal Injury, Loss of
        Cangiarella                 Self/Spouse     NJ          US              Consortium
349.    James Cantore and Helen                                                 Personal Injury, Loss of
        Cantore                     Self/Spouse     NY          US              Consortium
350.                                                                            Personal Injury, Loss of
        Anibal Cantos and Maria     Self/Spouse     NY          US              Consortium
351.    Thomas Capo and                                                         Personal Injury, Loss of
        michelle Capo               Self/Spouse     NY          US              Consortium
352.    Frank Capogrosso and                                                    Personal Injury, Loss of
        Jaqueline Capogrosso        Self/Spouse     SC          US              Consortium
353.    Frank Capone and                                                        Personal Injury, Loss of
        Barbara Capone              Self/Spouse     NY          US              Consortium
354.    Jean Caponigro              Self            NY          US              Personal Injury
355.    Robert Capozzoli and                                                    Personal Injury, Loss of
        Adele Capozzoli             Self/Spouse     NJ          US              Consortium
356.    Frank P Caputo              Self            NY          US              Personal Injury
357.    Jose Caraballo              Self            NY          US              Personal Injury
358.    Joseph Caradonna and                                                    Personal Injury, Loss of
        Phyllis Caradonna           Self/Spouse     CT          US              Consortium
359.    Vito Carbonara and                                                      Personal Injury, Loss of
        Patricia Carbonara          Self/Spouse     NY          US              Consortium
360.    Robert Carbone              Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                 Document 1   Filed 05/23/17     Page 80 of 159


361.    Vincent Cardieri           Self            NJ          US              Personal Injury
362.    Alfred Cardona and                                                     Personal Injury, Loss of
        Eileen Cardona             Self/Spouse     NY          US              Consortium
363.    Ken Cardona and Andrea                                                 Personal Injury, Loss of
        Cardona                    Self/Spouse     NY          US              Consortium
364.    Michael Cardona and                                                    Personal Injury, Loss of
        Tina Cardona               Self/Spouse     NY          US              Consortium
365.    Paul Carifi and Linda B                                                Personal Injury, Loss of
        Carifi                     Self/Spouse     NJ          US              Consortium
366.    Rui Carinha and Rosa                                                   Personal Injury, Loss of
        Carinha                    Self/Spouse     NY          US              Consortium
367.    Richard Carino             Self            NJ          US              Personal Injury
368.    William A Carlino and                                                  Personal Injury, Loss of
        Vincenza Carlino           Self/Spouse     NY          US              Consortium
369.    Michael Carlisi            Self            NY          US              Personal Injury
370.    Pietro Carluzzo and                                                    Personal Injury, Loss of
        Maria Carluzzo             Self/Spouse     NY          US              Consortium
371.    Dawn Carluzzo, as
        Personal Representative
        of the estate of Rosario
        Carluzzo, and Dawn
        Carluzzo Individually      PR/Spouse       NY          US              Wrongful Death, Solatium
372.    Robert Carlyle and Kathy                                               Personal Injury, Loss of
        Carlyle                    Self/Spouse     NY          US              Consortium
373.    Fred Caroprese             Self            NY          US              Personal Injury
374.    Paul Carpenito             Self            NY          US              Personal Injury
375.    Jaime Carpio               Self            NJ          US              Personal Injury
376.    Andrew Carraro             Self            NY          US              Personal Injury
377.    Robert Carrington and                                                  Personal Injury, Loss of
        Maloma Carrington          Self/Spouse     NY          US              Consortium
378.    Michael Carroll and                                                    Personal Injury, Loss of
        Tammy A Carroll            Self/Spouse     NY          US              Consortium
379.    Neil Carroll               Self            NY          US              Personal Injury
380.    James Carron and                                                       Personal Injury, Loss of
        Michele Carron             Self/Spouse     NY          US              Consortium
381.    Patrick Carron and Lori                                                Personal Injury, Loss of
        Carron                     Self/Spouse     NY          US              Consortium
382.    Ronald Carson              Self            NY          US              Personal Injury
383.    Melvin Carter, Jr          Self            NY          US              Personal Injury
384.    Sal Carucci and Angela                                                 Personal Injury, Loss of
        Carucci                    Self/Spouse     NY          US              Consortium
385.    Lizette Carvajal           Self            NY          US              Personal Injury
386.    Charles Casabianca and                                                 Personal Injury, Loss of
        Karen Casabianca           Self/Spouse     NY          US              Consortium
387.    Frank Cascello and Daisy                                               Personal Injury, Loss of
        Cascello                   Self/Spouse     NJ          US              Consortium
388.    Frank Caserta and Cathy                                                Personal Injury, Loss of
        Caserta                    Self/Spouse     NY          US              Consortium
389.    John Casey and                                                         Personal Injury, Loss of
        Constance Casey            Self/Spouse     NY          US              Consortium
390.    Fred G Cassel              Self            NJ          US              Personal Injury
391.    Joseph Cassidy and                                                     Personal Injury, Loss of
        Helena Cassidy             Self/Spouse     NY          US              Consortium
392.    Carlos Castano and         Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                 Document 1   Filed 05/23/17     Page 81 of 159


        Beatriz Castano                                                        Consortium
393.    Frank Castellano and                                                   Personal Injury, Loss of
        Serena L Jones             Self/Spouse     NY          US              Consortium
394.    Lantie Castello            Self            NY          US              Personal Injury
395.    Francisco Castillo and                                                 Personal Injury, Loss of
        Courine Castillo           Self/Spouse     NY          US              Consortium
396.    Nancy Castillo and Cruz                                                Personal Injury, Loss of
        Galiano                    Self/Spouse     NY          US              Consortium
397.    Silvia Castillo and                                                    Personal Injury, Loss of
        Segundo Siguencia          Self/Spouse     NY          US              Consortium
398.    Douglas Castle and                                                     Personal Injury, Loss of
        Coleen Castle              Self/Spouse     NJ          US              Consortium
399.    Carlos Castro and Paula                                                Personal Injury, Loss of
        M Castro                   Self/Spouse     NY          US              Consortium
400.    Guy Castro and Vicki                                                   Personal Injury, Loss of
        Castro                     Self/Spouse     fl          US              Consortium
401.    Myriam Castro              Self            NY          US              Personal Injury
402.    Chad Catalano and                                                      Personal Injury, Loss of
        Crystal Catalan            Self/Spouse     NY          US              Consortium
403.    Gina Catoggio              Self            NY          US              Personal Injury
404.    Dave Cavaliere             Self            NJ          US              Personal Injury
405.    Mario Cavalotti and                                                    Personal Injury, Loss of
        Michele Cavalotti          Self/Spouse     NY          US              Consortium
406.    Shawn Cavanagh and                                                     Personal Injury, Loss of
        Christine Cavanagh         Self/Spouse     NY          US              Consortium
407.    Daniel Celano and Deidre                                               Personal Injury, Loss of
        Celano                     Self/Spouse     NJ          US              Consortium
408.    Frank Centrone and                                                     Personal Injury, Loss of
        Josephine Centrone         Self/Spouse     NY          US              Consortium
409.    Guy Cerbone and Debbie                                                 Personal Injury, Loss of
        Cerbone                    Self/Spouse     NY          US              Consortium
410.    Armando Ceron              Self            NY          US              Personal Injury
411.    George Cervone             Self            NY          US              Personal Injury
412.    Elaine Cesta, as
        Administratrix of the
        estate of Monte Cesta,
        and Elaine Cesta
        Individually               PR/Spouse       NM          US              Solatium
413.    William Cestaro and Nina                                               Personal Injury, Loss of
        Cestaro                    Self/Spouse     NY          US              Consortium
414.    Rosa Chain                 Self            NY          US              Personal Injury
415.    Horacio Chalen and                                                     Personal Injury, Loss of
        Maria Chalen               Self/Spouse     NJ          US              Consortium
416.    Michael Chambers and                                                   Personal Injury, Loss of
        Patricia Chambers          Self/Spouse     NY          US              Consortium
417.    Michael Champion and                                                   Personal Injury, Loss of
        Margherita Champion        Self/Spouse     NY          US              Consortium
418.    Michael Charles            Self            NY          US              Personal Injury
419.    Noel E. Charles and                                                    Personal Injury, Loss of
        Winnifred                  Self/Spouse     NY          US              Consortium
420.    Byron Chaves               Self            NY          US              Personal Injury
421.    Edizon Chavez and                                                      Personal Injury, Loss of
        Martha L Chavez            Self/Spouse     CT          US              Consortium
422.    Thomas W Chell             Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 82 of 159


423.    Carmen Chiclana and                                                     Personal Injury, Loss of
        Rolando Rojas-Sandoval      Self/Spouse     NY          US              Consortium
424.    Martin Chiffriller and                                                  Personal Injury, Loss of
        Nicole Chiffriller          Self/Spouse     NY          US              Consortium
425.    Rodney Chiles               Self            NY          US              Personal Injury
426.    Craig Chillemi and                                                      Personal Injury, Loss of
        Patricia Chillemi           Self/Spouse     NY          US              Consortium
427.    Kai Chin                    Self            NY          US              Personal Injury
428.    Walter Chipe                Self            NY          US              Personal Injury
429.    Manuel Chique and Elsa                                                  Personal Injury, Loss of
        Chalco                      Self/Spouse     NY          US              Consortium
430.    Luis Chirinos               Self            NY          US              Personal Injury
431.    Pawel Chmielowski and                                                   Personal Injury, Loss of
        Luiza Chmielowski           Self/Spouse     NY          US              Consortium
432.    Faisal Choudhury and                                                    Personal Injury, Loss of
        Rahat Choudhury             Self/Spouse     NY          US              Consortium
433.    Paul Christensen and                                                    Personal Injury, Loss of
        Patricia Christensen        Self/Spouse     FL          US              Consortium
434.    Charles Churchill and                                                   Personal Injury, Loss of
        Maryann T Churchill         Self/Spouse     NY          US              Consortium
435.    Stanislaw Chwiecko and                                                  Personal Injury, Loss of
        Danuta Chwiecko             Self/Spouse     NY          US              Consortium
436.    Emil Chynn                  Self            NY          US              Personal Injury
437.    Philip Ciambriello and                                                  Personal Injury, Loss of
        Toni-Ann Ciambriello        Self/Spouse     FL          US              Consortium
438.    Donna Ciancio               Self            NY          US              Personal Injury
439.    Henry Ciborowski and                                                    Personal Injury, Loss of
        Barbara Ciborowski          Self/Spouse     NY          US              Consortium
440.    Louis Ciccotto and                                                      Personal Injury, Loss of
        Donna Ciccotto              Self/Spouse     NY          US              Consortium
441.    Maria del Pilar Cifuentes   Self            NJ          US              Personal Injury
442.    Robert Cina and Aura                                                    Personal Injury, Loss of
        Theodorakatos               Self/Spouse     NY          US              Consortium
443.    Yolanda Cintron             Self            NY          US              Personal Injury
444.    Victor Cipullo              Self            NY          US              Personal Injury
445.    James Cirulli and Dora                                                  Personal Injury, Loss of
        cirulli                     Self/Spouse     SC          US              Consortium
446.    Robert Citko and Maria B                                                Personal Injury, Loss of
        Citko                       Self/Spouse     NY          US              Consortium
447.    John Civelia                Self            NY          US              Personal Injury
448.    Raymond Clair               Self            NY          US              Personal Injury
449.    Lisa Clark, as
        Administratrix of the
        estate of Charles Clark,
        and Lisa Clark
        Individually                PR/Spouse       NY          US              Wrongful Death, Solatium
450.    Edward Clark and Debra                                                  Personal Injury, Loss of
        Clark                       Self/Spouse     NJ          US              Consortium
451.    Michael Clark and Anne                                                  Personal Injury, Loss of
        R Clark                     Self/Spouse     NY          US              Consortium
452.    Robert Clark and Robyn                                                  Personal Injury, Loss of
        Clark                       Self/Spouse     NJ          US              Consortium
453.    Michael J Clarke and                                                    Personal Injury, Loss of
        Vienna Clarke               Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 83 of 159


454.    Dennis Classi               Self            NY          US              Personal Injury
455.    Frank T Classi and Joan                                                 Personal Injury, Loss of
        Classi                      Self/Spouse     NY          US              Consortium
456.    Joseph Cleary and Cecilia                                               Personal Injury, Loss of
        Cleary                      Self/Spouse     FL          US              Consortium
457.    James T Clemente            Self            CA          US              Personal Injury
458.    Joseph Clerici and Diane                                                Personal Injury, Loss of
        Clerici                     Self/Spouse     NY          US              Consortium
459.    Robert Cline and Jami                                                   Personal Injury, Loss of
        Lynn Cline                  Self/Spouse     TX          US              Consortium
460.    Norman Clouden and                                                      Personal Injury, Loss of
        Faith Clouden               Self/Spouse     NY          US              Consortium
461.    Angel Cobos                 Self            NY          US              Personal Injury
462.    Richard Cocca               Self            NJ          US              Personal Injury
463.    Robert Cochero and                                                      Personal Injury, Loss of
        Doris Cochero               Self/Spouse     NY          US              Consortium
464.    Edward Cochran and                                                      Personal Injury, Loss of
        Cecelia Cochran             Self/Spouse     FL          US              Consortium
465.    Richard Colacino and                                                    Personal Injury, Loss of
        Sherry-Ann Colacino         Self/Spouse     NY          US              Consortium
466.    Domenico Colavito and                                                   Personal Injury, Loss of
        Jacqueline Colavito         Self/Spouse     NY          US              Consortium
467.    Robert Cole and Virginia                                                Personal Injury, Loss of
        Cole                        Self/Spouse     FL          US              Consortium
468.    Felice Colella and                                                      Personal Injury, Loss of
        Victoria Colella            Self/Spouse     NY          US              Consortium
469.    Anthony Colello and                                                     Personal Injury, Loss of
        Kelly J Colello             Self/Spouse     NY          US              Consortium
470.    Edward Coleman              Self            NJ          US              Personal Injury
471.    Robert Coletti and Phylis                                               Personal Injury, Loss of
        Coletti                     Self/Spouse     NY          US              Consortium
472.    Russell Collein and                                                     Personal Injury, Loss of
        Adrienne Collein            Self/Spouse     NY          US              Consortium
473.    Gerald Colligan and Beth                                                Personal Injury, Loss of
        Colligan                    Self/Spouse     NJ          US              Consortium
474.    Maureen Collins and                                                     Personal Injury, Loss of
        Michael E Collins           Self/Spouse     NY          US              Consortium
475.    Michael Collins             Self            NY          US              Personal Injury
476.    Joseph Colombo and Lori                                                 Personal Injury, Loss of
        Colombo                     Self/Spouse     NY          US              Consortium
477.    Victor Colon and Papsy                                                  Personal Injury, Loss of
        Colon                       Self/Spouse     NY          US              Consortium
478.    Christopher Colucci and                                                 Personal Injury, Loss of
        Kelly Colucci               Self/Spouse     NJ          US              Consortium
479.    John Combos and Donna                                                   Personal Injury, Loss of
        Combos                      Self/Spouse     NJ          US              Consortium
480.    Andrew Comito and                                                       Personal Injury, Loss of
        Vincenza Comito             Self/Spouse     NY          US              Consortium
481.    Anthony Compono and                                                     Personal Injury, Loss of
        sheila Compono              Self/Spouse     NY          US              Consortium
482.    Beatriz Concepcion          Self            NY          US              Personal Injury
483.    David Concepcion and                                                    Personal Injury, Loss of
        Joann Concepcion            Self/Spouse     CT          US              Consortium
484.    Henry Conde and Brenda                                                  Personal Injury, Loss of
        Conde                       Self/Spouse     NY          US              Consortium
485.    Angelo Conetta and          Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 84 of 159


        Laurie A Conetta                                                         Consortium
486.    David Conley and Sonia                                                   Personal Injury, Loss of
        Conley                       Self/Spouse     NY          US              Consortium
487.    Brian Conlon and Jane                                                    Personal Injury, Loss of
        Conlon                       Self/Spouse     NY          US              Consortium
488.    Maureen Conmy, as
        Administratrix of the
        estate of John Conmy,
        and Maureen Conmy
        Individually                 PR/Spouse       NY          US              Wrongful Death, Solatium
489.    John Connolly and                                                        Personal Injury, Loss of
        Sharon Connolly              Self/Spouse     NJ          US              Consortium
490.    Suzanne Conroy, as
        Executrix of the estate of
        Daniel Conroy, and
        Suzanne Conroy
        Individually                 PR/Spouse       NY          US              Wrongful Death, Solatium
491.    Ronald A Conte and                                                       Personal Injury, Loss of
        Michele D Conte              Self/Spouse     NJ          US              Consortium
492.    Raymond Contorno and                                                     Personal Injury, Loss of
        Maureen Contorno             Self/Spouse     NY          US              Consortium
493.    Richard Conway               Self            FL          US              Personal Injury
494.    William Cook                 Self            NY          US              Personal Injury
495.    Brian Cooney                 Self            NY          US              Personal Injury
496.    Jeannetta R Turay, as
        Administratrix of the
        estate of Melvin Cooper,
        and Jeannetta R Turay
        Individually                 PR/Spouse       NY          US              Wrongful Death, Solatium
497.    Joseph Coppola and                                                       Personal Injury, Loss of
        Laura Coppola                Self/Spouse     NY          US              Consortium
498.    Freddy Cordero and                                                       Personal Injury, Loss of
        Glenda Cordero               Self/Spouse     FL          US              Consortium
499.    Jairo Cordero                Self            NJ          US              Personal Injury
500.    Hector Cordova               Self            NJ          US              Personal Injury
501.    Joseph Corio and                                                         Personal Injury, Loss of
        Heather M                    Self/Spouse     NY          US              Consortium
502.    David Cornier and                                                        Personal Injury, Loss of
        Sandra Marcelino             Self/Spouse     PA          US              Consortium
503.    Gonzalo Corredor-Torres                                                  Personal Injury, Loss of
        and Marcia Corredor          Self/Spouse     NY          US              Consortium
504.    Jose M Correia and                                                       Personal Injury, Loss of
        Rosanna A Correia            Self/Spouse     NY          US              Consortium
505.    Luis Correia and Monica                                                  Personal Injury, Loss of
        Correia                      Self/Spouse     NY          US              Consortium
506.    Frederick Corrubia           Self            NJ          US              Personal Injury
507.    Francisco Cortes and                                                     Personal Injury, Loss of
        Maria Yambo                  Self/Spouse     NY          US              Consortium
508.    Kim Cortese                  Self            NY          US              Personal Injury
509.    Jorge E Cortez               Self            NY          US              Personal Injury
510.    John Cosenza and Janeen                                                  Personal Injury, Loss of
        Cosenza                      Self/Spouse     NY          US              Consortium
511.    Patrick Cosgrove and                                                     Personal Injury, Loss of
        Mary W Cosgrove              Self/Spouse     NY          US              Consortium
512.    Manuel Cosme                 Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 85 of 159


513.    Dominick Cosolito and                                                   Personal Injury, Loss of
        Jodi A Cosolito             Self/Spouse     NY          US              Consortium
514.    Joseph Costa and Adriana                                                Personal Injury, Loss of
        Costa                       Self/Spouse     NJ          US              Consortium
515.    Emilio Costantino           Self            NY          US              Personal Injury
516.    Gary Costanza and                                                       Personal Injury, Loss of
        Kathleen Costanza           Self/Spouse     NY          US              Consortium
517.    Denise Costanzo, as
        Personal Representative
        of the estate of Joseph
        Costanzo, and Denise
        Costanzo Individually       PR/Spouse       NY          US              Wrongful Death, Solatium
518.    Thomas Costello and                                                     Personal Injury, Loss of
        Theresa Costello            Self/Spouse     SC          US              Consortium
519.    Michael Cotrone and                                                     Personal Injury, Loss of
        Maria Cotrone               Self/Spouse     NY          US              Consortium
520.    Marie Cotton, as Personal
        Representative of the
        estate of Raymond
        Cotton, and Marie Cotton
        Individually                PR/Spouse       NY          US              Wrongful Death, Solatium
521.    Vera Cotton, as
        Administrator of the
        estate of Thomas Cotton,
        and Vera Cotton
        Individually                PR/Spouse       OK          US              Wrongful Death, Solatium
522.    John Cousins and Tracy                                                  Personal Injury, Loss of
        Cousins                     Self/Spouse     NY          US              Consortium
523.    Jessica Cowan               Self            NY          US              Personal Injury
524.    Darrell Cox and Jessica                                                 Personal Injury, Loss of
        Cox                         Self/Spouse     NY          US              Consortium
525.    Kenneth Crandell, as
        Administrator of the
        estate of Alexander
        Crandell, and Kenneth
        Crandell Individually       PR/Spouse       NY          US              Solatium
526.    Richard Cravello and                                                    Personal Injury, Loss of
        Teresa Winters              Self/Spouse     NJ          US              Consortium
527.    Bernard Creaven and                                                     Personal Injury, Loss of
        Mary Creaven                Self/Spouse     NY          US              Consortium
528.    Jose Criollo and Maria                                                  Personal Injury, Loss of
        Criollo                     Self/Spouse     NY          US              Consortium
529.    Nancy Criollo and                                                       Personal Injury, Loss of
        Lawrence Zenteino           Self/Spouse     NY          US              Consortium
530.    John Crisci                 Self            NY          US              Personal Injury
531.    Frederico Crispino and                                                  Personal Injury, Loss of
        AnnMarie Crispino           Self/Spouse     NY          US              Consortium
532.    James Cronin and                                                        Personal Injury, Loss of
        GinaMarie Cronin            Self/Spouse     NY          US              Consortium
533.    George Croswell             Self            NY          US              Personal Injury
534.    Dennis Crowe and
        Deanna Marie Kleine-                                                    Personal Injury, Loss of
        Crowe                       Self/Spouse     FL          US              Consortium
535.    Alexander Cruz and                                                      Personal Injury, Loss of
        Martha Cruz                 Self/Spouse     NY          US              Consortium
536.                                                                            Personal Injury, Loss of
        Joe Cruz and Diana Cruz     Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 86 of 159


537.    Pablo Cruz                  Self            NY          US              Personal Injury
538.    Pedro Cruz and Zaida                                                    Personal Injury, Loss of
        Cruz                        Self/Spouse     FL          US              Consortium
539.    Zunilda Cruz                Self            NY          US              Personal Injury
540.    Isaiah Cruz Jr. and                                                     Personal Injury, Loss of
        Cynthia Cruz                Self/Spouse     PA          US              Consortium
541.    Yolanda Cuadrado            Self            NY          US              Personal Injury
542.    Wilfredo Cuascut and                                                    Personal Injury, Loss of
        Jasmnine Cuascut            Self/Spouse     NY          US              Consortium
543.    Patricia Cubas and Mark                                                 Personal Injury, Loss of
        Perry                       Self/Spouse     NY          US              Consortium
544.    Carmen Cubero               Self            NY          US              Personal Injury
545.    Julio Cuevas and Maritza                                                Personal Injury, Loss of
        Cuevas                      Self/Spouse     NY          US              Consortium
546.    Martin Cuevas and                                                       Personal Injury, Loss of
        Maritza Cuevas              Self/Spouse     NY          US              Consortium
547.    Rosa Culcay                 Self            NY          US              Personal Injury
548.    Lawrence Cummings           Self            NY          US              Personal Injury
549.    Sean Cunniffe and                                                       Personal Injury, Loss of
        Doriant Cunniffe            Self/Spouse     NY          US              Consortium
550.    Ellen Cunningham and                                                    Personal Injury, Loss of
        Michael Cunningham          Self/Spouse     NJ          US              Consortium
551.    Richard Cunzo               Self            NY          US              Personal Injury
552.    Anthony Cuomo and                                                       Personal Injury, Loss of
        Janine Cuomo                Self/Spouse     NY          US              Consortium
553.    Angelo Cuozzo and                                                       Personal Injury, Loss of
        Rosemary Cuozzo             Self/Spouse     NY          US              Consortium
554.    Santo Curatolo and Elena                                                Personal Injury, Loss of
        Curatolo                    Self/Spouse     NY          US              Consortium
555.    Peter Curcio and Debra                                                  Personal Injury, Loss of
        Curcio                      Self/Spouse     NY          US              Consortium
556.    Brian Curley                Self            NY          US              Personal Injury
557.    Alice Curran-Wall and                                                   Personal Injury, Loss of
        Richard Wall                Self/Spouse     NY          US              Consortium
558.    Colleen Currie-Dillon and                                               Personal Injury, Loss of
        Denis Dillon                Self/Spouse     NY          US              Consortium
559.    Joseph Cusumano and                                                     Personal Injury, Loss of
        Mariagrazia Cusumano        Self/Spouse     NY          US              Consortium
560.    Joseph Cutrone              Self            FL          US              Personal Injury
561.    Conte Cuttino and Sonya                                                 Personal Injury, Loss of
        Cuttino                     Self/Spouse     NY          US              Consortium
562.    Robin Daal                  Self            NY          US              Personal Injury
563.    Stuart Daccus               Self            NY          US              Personal Injury
564.    John Dadabo and                                                         Personal Injury, Loss of
        Lorraine Dadabo             Self/Spouse     NY          US              Consortium
565.    Joseph DaLeo and                                                        Personal Injury, Loss of
        Dorothy DaLeo               Self/Spouse     NY          US              Consortium
566.    Arthur D'Alessandro and                                                 Personal Injury, Loss of
        Christine D'Alessandro      Self/Spouse     NY          US              Consortium
567.    David Dall and Michelle                                                 Personal Injury, Loss of
        Dall                        Self/Spouse     CT          US              Consortium
568.    Kevin Dallas and                                                        Personal Injury, Loss of
        Kathleen Dallas             Self/Spouse     NY          US              Consortium
569.    Patrick D'Alliegro          Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 87 of 159


570.    Jean R Damas and Yanick                                                  Personal Injury, Loss of
        Damas                        Self/Spouse     NY          US              Consortium
571.    David Damico and                                                         Personal Injury, Loss of
        Roberta Damico               Self/Spouse     NY          US              Consortium
572.    Mary Dandridge               Self            NY          US              Personal Injury
573.    Frank Danetra                Self            NY          US              Personal Injury
574.    Lamont Daniel and Susan                                                  Personal Injury, Loss of
        Daniel                       Self/Spouse     NY          US              Consortium
575.    Christopher Daniello and                                                 Personal Injury, Loss of
        Roseann Daniello             Self/Spouse     NY          US              Consortium
576.    David Daniello               Self            Fl          US              Personal Injury
577.    Debra Daniello and                                                       Personal Injury, Loss of
        David S Daniello             Self/Spouse     FL          US              Consortium
578.    Ralph Danise                 Self            FL          US              Personal Injury
579.    John Danko and Frances                                                   Personal Injury, Loss of
        Danko                        Self/Spouse     NY          US              Consortium
580.    Paul Dannenhoffer            Self            NY          US              Personal Injury
581.    Christopher Danyo            Self            NJ          US              Personal Injury
582.    John A Dapkins and                                                       Personal Injury, Loss of
        Angel Sicola-Dapkins         Self/Spouse     NJ          US              Consortium
583.    Manuel DaSilva               Self            NY          US              Personal Injury
584.    Barry Daskal and Jessica                                                 Personal Injury, Loss of
        Daskal                       Self/Spouse     NY          US              Consortium
585.    John D'Attore and                                                        Personal Injury, Loss of
        Rosemarie A D'Attore         Self/Spouse     NY          US              Consortium
586.    Flora B Davila               Self            NJ          US              Personal Injury
587.    Orlando Davila               Self            NY          US              Personal Injury
588.    Oscar Davila and                                                         Personal Injury, Loss of
        Elizabeth Davila             Self/Spouse     FL          US              Consortium
589.    Wilmar Davila and Maria                                                  Personal Injury, Loss of
        Davila                       Self/Spouse     NJ          US              Consortium
590.    Kimberly L Shapiro, as
        Administratrix of the
        estate of Floyd Davis, and
        Kimberly L Shapiro
        Individually                 PR/Daughter     NY          US              Wrongful Death, Solatium
591.    James Davis                  Self            NJ          US              Personal Injury
592.    Jerome Davis and Gail                                                    Personal Injury, Loss of
        Davis                        Self/Spouse     NY          US              Consortium
593.    Jimmie Davis and Ella                                                    Personal Injury, Loss of
        Davis                        Self/Spouse     NY          US              Consortium
594.    Pyron Davis and Sherry                                                   Personal Injury, Loss of
        Davis                        Self/Spouse     NY          US              Consortium
595.    Thomas Davis                 Self            AZ          US              Personal Injury
596.    Colin Dawson                 Self            NY          US              Personal Injury
597.    Maria De La Cruz             Self            NY          US              Personal Injury
598.    John M De Rosa and                                                       Personal Injury, Loss of
        Joyce L DeRosa               Self/Spouse     NY          US              Consortium
599.    Fidel De Vivo and                                                        Personal Injury, Loss of
        Elizabeth De Vivo            Self/Spouse     NY          US              Consortium
600.    James Deady                  Self            NJ          US              Personal Injury
601.    Anthony DeAgresta and                                                    Personal Injury, Loss of
        Francine DeAgresta           Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 88 of 159


602.    Albert DeAngelis            Self            NJ          US              Personal Injury
603.    Donato DeAngelis            Self            NJ          US              Personal Injury
604.    Asim Deen and Khalida                                                   Personal Injury, Loss of
        Deen                        Self/Spouse     NY          US              Consortium
605.    John DeFano                 Self            NY          US              Personal Injury
606.    Michael DeFilippo and                                                   Personal Injury, Loss of
        Michelle DeFilippo          Self/Spouse     NY          US              Consortium
607.    Derrick Defreitas           Self            NY          US              Personal Injury
608.    Richard DeFresco and                                                    Personal Injury, Loss of
        Christine DeFresco          Self/Spouse     NY          US              Consortium
609.    Keith DeGiorgio and                                                     Personal Injury, Loss of
        Tina DeGiorgio              Self/Spouse     NY          US              Consortium
610.    Gilberto DeJesus            Self            NY          US              Personal Injury
611.    Isaac DeJesus               Self            NY          US              Personal Injury
612.    Jorge DeJesus               Self            NY          US              Personal Injury
613.    Jose DeJesus                Self            NY          US              Personal Injury
614.    Jose DeJesus and Anna                                                   Personal Injury, Loss of
        DeJesus                     Self/Spouse     NY          US              Consortium
615.    Elsa DeLaCruz               Self            NY          US              Personal Injury
616.    Michael Delaney             Self            NY          US              Personal Injury
617.    Patrick Delaney and                                                     Personal Injury, Loss of
        Elizabeth Delaney           Self/Spouse     NY          US              Consortium
618.    Dino Delany and Michele                                                 Personal Injury, Loss of
        Delany                      Self/Spouse     NY          US              Consortium
619.    Phyllis C Esposito, as
        Administratrix of the
        estate of James Delapena,
        and Phyllis C Esposito
        Individually                PR/Spouse       NY          US              Wrongful Death, Solatium
620.    Brian Delaurentis and                                                   Personal Injury, Loss of
        Valerie Delaurentis         Self/Spouse     NC          US              Consortium
621.    Elvis Delgado and Joanna                                                Personal Injury, Loss of
        Delgado                     Self/Spouse     NY          US              Consortium
622.    Nidia Delgado and                                                       Personal Injury, Loss of
        Richard Delgado, Sr.        Self/Spouse     FL          US              Consortium
623.    William Delgado and                                                     Personal Injury, Loss of
        Sonja Delgado               Self/Spouse     NY          US              Consortium
624.    Rocco Delio                 Self            PA          US              Personal Injury
625.    Joseph Dellaira and Rose                                                Personal Injury, Loss of
        Dellaira                    Self/Spouse     FL          US              Consortium
626.    Dennis Dellavalle and                                                   Personal Injury, Loss of
        Maria DellaValle            Self/Spouse     NY          US              Consortium
627.    Amato Delligatti and                                                    Personal Injury, Loss of
        Maureen Delligatti          Self/Spouse     NY          US              Consortium
628.    Luciano Delorbe             Self            NY          US              Personal Injury
629.    Toni-Lynn DeLorenzo         Self            NY          US              Personal Injury
630.    Arthur Delprete and                                                     Personal Injury, Loss of
        Melissa Delprete            Self/Spouse     NY          US              Consortium
631.    Arthur Delprete, Sr. and                                                Personal Injury, Loss of
        Diane Delprete              Self/Spouse     NY          US              Consortium
632.    Joseph DeLuca and Anna                                                  Personal Injury, Loss of
        Marie Deluca                Self/Spouse     NJ          US              Consortium
633.    Joseph DeLuca and                                                       Personal Injury, Loss of
        Elizabeth Deluca            Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 89 of 159


634.    Louis Delvalle and Elba                                                 Personal Injury, Loss of
        Delvalle                    Self/Spouse     NY          US              Consortium
635.    Mark DeMarco and                                                        Personal Injury, Loss of
        Phyllis K DeMarco           Self/Spouse     NY          US              Consortium
636.    Steven DeMarco              Self            NY          US              Personal Injury
637.    Allison DeMarinis, as
        Administratrix of the
        estate of Christopher
        DeMarinis, and Allison
        DeMarinis Individually      PR/Spouse       NY          US              Wrongful Death, Solatium
638.    Krystalenia DeMasi, as
        Personal Representative
        of the estate of Nicholas
        DeMasi, and Krystalenia
        DeMasi Individually         PR/Spouse       NY          US              Wrongful Death, Solatium
639.    Charles DeMatteo and                                                    Personal Injury, Loss of
        Lisa Dematteo               Self/Spouse     SC          US              Consortium
640.    Evangelos Demetriou                                                     Personal Injury, Loss of
        and Vakina Demetriou        Self/Spouse     NY          US              Consortium
641.    John Demsak and Julia                                                   Personal Injury, Loss of
        Demsak                      Self/Spouse     NJ          US              Consortium
642.    Kevin DeName                Self            NY          US              Personal Injury
643.    David Denizard and                                                      Personal Injury, Loss of
        Tanya Denizard              Self/Spouse     FL          US              Consortium
644.    Mark Dennis                 Self            NY          US              Personal Injury
645.    Steve DeNunzio and                                                      Personal Injury, Loss of
        Lucille DeNunzio            Self/Spouse     NY          US              Consortium
646.    Baby Deo                    Self            NY          US              Personal Injury
647.    John Deodato                Self            NY          US              Personal Injury
648.    Kevin DeProspo              Self            NY          US              Personal Injury
649.    Michael Derosa              Self            NY          US              Personal Injury
650.    Vincent DeSantis and                                                    Personal Injury, Loss of
        Jamie DeSantis              Self/Spouse     NJ          US              Consortium
651.    Anthony DeSanto and                                                     Personal Injury, Loss of
        Leslie DeSanto              Self/Spouse     NY          US              Consortium
652.    Robert Desmond and                                                      Personal Injury, Loss of
        Lori Desmond                Self/Spouse     FL          US              Consortium
653.    James Desthers and                                                      Personal Injury, Loss of
        Jacquelyn Desthers          Self/Spouse     NY          US              Consortium
654.    Josephine DeTemple and                                                  Personal Injury, Loss of
        Warren DeTemple             Self/Spouse     NY          US              Consortium
655.    Robert DeVito               Self            NY          US              Personal Injury
656.    Richard P DeVoe and                                                     Personal Injury, Loss of
        Patricia DeVoe              Self/Spouse     MA          US              Consortium
657.    Fernando Dias and                                                       Personal Injury, Loss of
        Sandra Dias                 Self/Spouse     NY          US              Consortium
658.    Charly Diaz and Martha                                                  Personal Injury, Loss of
        Diaz                        Self/Spouse     TN          US              Consortium
659.    Flora Diaz                  Self            NY          US              Personal Injury
660.    Julio Diaz                  Self            NY          US              Personal Injury
661.    Moussa Diaz and Ericka                                                  Personal Injury, Loss of
        Diaz                        Self/Spouse     NY          US              Consortium
662.    Vincent DiBari and                                                      Personal Injury, Loss of
        Vincenza DiBari             Self/Spouse     NY          US              Consortium
663.    Nicholas Dibono             Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 90 of 159


664.    Thomas DiCampli             Self            NY          US              Personal Injury
665.    Joseph DiGregorio and                                                   Personal Injury, Loss of
        Tina DiGregorio             Self/Spouse     NY          US              Consortium
666.    Vito DiIenna, as
        Administrator of the
        estate of Albert DiIenna,
        and Vito DiIenna
        Individually                PR/Spouse       NY          US              Wrongful Death, Solatium
667.    Rafael Dilone and                                                       Personal Injury, Loss of
        Maribel Dilone              Self/Spouse     NY          US              Consortium
668.    Vincent DiLuca              Self            NY          US              Personal Injury
669.    James DiMartino and
        XIOMARA                                                                 Personal Injury, Loss of
        DIMARTINO                   Self/Spouse     TN          US              Consortium
670.    Leonard DiMeglio and                                                    Personal Injury, Loss of
        Nina Tudor                  Self/Spouse     NY          US              Consortium
671.    Anthony Dimino and                                                      Personal Injury, Loss of
        Joan Dimino                 Self/Spouse     NY          US              Consortium
672.    Daniel Dinan                Self            NY          US              Personal Injury
673.    Nicholas Dinatale and                                                   Personal Injury, Loss of
        Agata Dinatale              Self/Spouse     VA          US              Consortium
674.    Theresa Diorio and                                                      Personal Injury, Loss of
        Ronald Diorio               Self/Spouse     NY          US              Consortium
675.    John Dipalo and Jane                                                    Personal Injury, Loss of
        Dipalo                      Self/Spouse     FL          US              Consortium
676.    Andrew Dippold and                                                      Personal Injury, Loss of
        Victoria Dippold            Self/Spouse     NY          US              Consortium
677.    Nicholas DiRubbo, as
        Administrator of the
        estate of Leo DiRubbo,
        and Nicholas DiRubbo
        Individually                PR/Son          FL          US              Wrongful Death, Solatium
678.    Nicholas DiRubbo            Self            FL          US              Personal Injury
679.    Chris DiRusso               Self            NY          US              Personal Injury
680.    Joseph DiSanto and                                                      Personal Injury, Loss of
        Victoria DiSanto            Self/Spouse     NY          US              Consortium
681.    Pat Dispigna                Self            NJ          US              Personal Injury
682.    Robert D Dito and                                                       Personal Injury, Loss of
        Deborah Dito                Self/Spouse     NY          US              Consortium
683.    Michael DiVirgilio and                                                  Personal Injury, Loss of
        Phyllis DiVirgilio          Self/Spouse     NY          US              Consortium
684.    Brian Divis and Barbara                                                 Personal Injury, Loss of
        Divis                       Self/Spouse     PA          US              Consortium
685.    Edward Dobson               Self            NY          US              Personal Injury
686.    Kevin Doherty and Jean                                                  Personal Injury, Loss of
        Doherty                     Self/Spouse     FL          US              Consortium
687.    Mary Christine Doherty      Self            NY          US              Personal Injury
688.    Lawrence Dolan and                                                      Personal Injury, Loss of
        Allison Dolan               Self/Spouse     NY          US              Consortium
689.    Frank Dolce and Jayne C                                                 Personal Injury, Loss of
        Dolce                       Self/Spouse     AZ          US              Consortium
690.    Joseph Dolcimascolo and                                                 Personal Injury, Loss of
        Verna Dolcimascolo          Self/Spouse     NY          US              Consortium
691.    Michael Dolphin             Self            NY          US              Personal Injury
692.    Margarita Dominguez         Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                 Document 1   Filed 05/23/17     Page 91 of 159


        and Francisco                                                          Consortium
        Dominguez
693.    Kevin Donnelly             Self            NY          US              Personal Injury
694.    Patrick Donnelly and                                                   Personal Injury, Loss of
        Christine Donnelly         Self/Spouse     NY          US              Consortium
695.    Donald Donohue             Self            NY          US              Personal Injury
696.    John Judge, as Executor
        of the estate of Guy
        Donohue, and John
        Judge Individually         PR/Spouse       NY          US              Wrongful Death, Solatium
697.    James Donovan and                                                      Personal Injury, Loss of
        Yolanda Donovan            Self/Spouse     NY          US              Consortium
698.    Michael Donovan and                                                    Personal Injury, Loss of
        Mindy Donovan              Self/Spouse     NY          US              Consortium
699.    Carver Dottin and Althea                                               Personal Injury, Loss of
        Dottin                     Self/Spouse     NY          US              Consortium
700.    Nick Dousmanis and                                                     Personal Injury, Loss of
        Denise Dousmanis           Self/Spouse     MO          US              Consortium
701.    Joseph Douso and Jill E                                                Personal Injury, Loss of
        Douso                      Self/Spouse     NY          US              Consortium
702.    Brian Dowd and Jeanne                                                  Personal Injury, Loss of
        Dowd                       Self/Spouse     TX          US              Consortium
703.    Dwayne Dowe and Alina                                                  Personal Injury, Loss of
        Griffin-Dowe               Self/Spouse     NY          US              Consortium
704.    Robert Downes and                                                      Personal Injury, Loss of
        Patricia Downes            Self/Spouse     NY          US              Consortium
705.    John Downey and                                                        Personal Injury, Loss of
        Christina M Downey         Self/Spouse     NY          US              Consortium
706.    Charles Doyle and                                                      Personal Injury, Loss of
        Patricia Doyle             Self/Spouse     NY          US              Consortium
707.    Thomas Doyle and                                                       Personal Injury, Loss of
        Catherine Doyle            Self/Spouse     NY          US              Consortium
708.    William Doyle and Joann                                                Personal Injury, Loss of
        Doyle                      Self/Spouse     NJ          US              Consortium
709.    Arlene Drago, as
        Administratrix of the
        estate of James Drago,
        and Arlene Drago
        Individually               PR/Spouse       NY          US              Wrongful Death, Solatium
710.    John Dragotta and Diane                                                Personal Injury, Loss of
        Dragotta                   Self/Spouse     NJ          US              Consortium
711.    Jesse Drake and Susan                                                  Personal Injury, Loss of
        Drake                      Self/Spouse     NY          US              Consortium
712.    Shane Dresser              Self            OK          US              Personal Injury
713.    Christopher Drew           Self            NY          US              Personal Injury
714.    Kevin Driscoll             Self            NY          US              Personal Injury
715.    Bogdan Drozd and Anna                                                  Personal Injury, Loss of
        Drozd                      Self/Spouse     NY          US              Consortium
716.    Richard A. Drummond                                                    Personal Injury, Loss of
        and Angela Drummond        Self/Spouse     NJ          US              Consortium
717.    Robert Duane and Karen                                                 Personal Injury, Loss of
        A Duane                    Self/Spouse     NJ          US              Consortium
718.    Steven Dubester and                                                    Personal Injury, Loss of
        Marie Dubester             Self/Spouse     NY          US              Consortium
719.    Alex Dubinsky and G                                                    Personal Injury, Loss of
        Dubinsky                   Self/Spouse     NJ          US              Consortium
720.    Luz Duche and Edgard       Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                 Document 1   Filed 05/23/17     Page 92 of 159


        Duche                                                                  Consortium
721.    Angel Duchitanga           Self            NY          US              Personal Injury
722.    Manuel Duchitanga and                                                  Personal Injury, Loss of
        Monica Chillogalli         Self/Spouse     NY          US              Consortium
723.    Rosalino Duchitanga and                                                Personal Injury, Loss of
        Rosa Duchitanga            Self/Spouse     NY          US              Consortium
724.    Normanda Duden and                                                     Personal Injury, Loss of
        Thomas Duden               Self/Spouse     NC          US              Consortium
725.    JoAnn Duffy, as
        Administratrix of the
        estate of John J Duffy,
        and JoAnn Duffy
        Individually               PR/Spouse       NY          US              Wrongful Death, Solatium
726.    Andrey Dugayev             Self            NY          US              Personal Injury
727.    Tanya Duhaney-Sanduro                                                  Personal Injury, Loss of
        and Alfred Sanduro         Self/Spouse     NY          US              Consortium
728.    JoAnne Dunn, as
        Administratrix of the
        estate of Patrick Dunn,
        and JoAnne Dunn
        Individually               PR/Spouse       NJ          US              Wrongful Death, Solatium
729.    Edward Dunnigan            Self            NY          US              Personal Injury
730.    Charles Durham             Self            NY          US              Personal Injury
731.    James Durkin and Christa                                               Personal Injury, Loss of
        Centineo                   Self/Spouse     NY          US              Consortium
732.    David Durler and Nanci                                                 Personal Injury, Loss of
        Durler                     Self/Spouse     MA          US              Consortium
733.    Richard J Durso            Self            FL          US              Personal Injury
734.    Elvia Dutan and Wilfredo                                               Personal Injury, Loss of
        Dutan                      Self/Spouse     NY          US              Consortium
735.    Dwight D Duvoll and                                                    Personal Injury, Loss of
        Vanessa Duvoll             Self/Spouse     NY          US              Consortium
736.    Michael Dwyer              Self            NY          US              Personal Injury
737.    Patrick Dwyer              Self            NY          US              Personal Injury
738.    David Dzadovsky and                                                    Personal Injury, Loss of
        Elizabeth Dzadovsky        Self/Spouse     NY          US              Consortium
739.    Richard Dziubela           Self            NY          US              Personal Injury
740.    Kevin Earnest and Stacey                                               Personal Injury, Loss of
        D Earnest                  Self/Spouse     NY          US              Consortium
741.    Beverly G Eaton and                                                    Personal Injury, Loss of
        Curtis R Eaton             Self/Spouse     MO          US              Consortium
742.    Ronald Eckardt and                                                     Personal Injury, Loss of
        Patricia Eckardt           Self/Spouse     NY          US              Consortium
743.    Keith Eckert and Tami                                                  Personal Injury, Loss of
        Eckert                     Self/Spouse     NY          US              Consortium
744.    Neil Eckert                Self            NY          US              Personal Injury
745.    Irwin Edelstein and                                                    Personal Injury, Loss of
        Helen Edelstein            Self/Spouse     NY          US              Consortium
746.    Christopher Edwards        Self            NY          US              Personal Injury
747.    James J Edwards            Self            NY          US              Personal Injury
748.    Robert Edwards             Self            NY          US              Personal Injury
749.    Gregory Eleftheriades                                                  Personal Injury, Loss of
        and Anna Eleftheriades     Self/Spouse     NY          US              Consortium
750.    Ronald Elliott and Helen   Self/Spouse     FL          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 93 of 159


        Elliott                                                                  Consortium
751.    Cirilo Encalada              Self            NY          US              Personal Injury
752.    Luis K Encalada              Self            NY          US              Personal Injury
753.    Douglas Encarnacion and                                                  Personal Injury, Loss of
        Torrey Encarnacion           Self/Spouse     NY          US              Consortium
754.    Steven Enderley and                                                      Personal Injury, Loss of
        Rosana Enderley              Self/Spouse     PA          US              Consortium
755.    David Enders                 Self            NY          US              Personal Injury
756.    Mark Engelbrecht and                                                     Personal Injury, Loss of
        Anne Engelbrecht             Self/Spouse     NY          US              Consortium
757.    Annmarie Ennis and                                                       Personal Injury, Loss of
        Peter Ennis                  Self/Spouse     NY          US              Consortium
758.    Philip Ercolano              Self            NY          US              Personal Injury
759.    Richard Erler and                                                        Personal Injury, Loss of
        Barbara Erler                Self/Spouse     NY          US              Consortium
760.    Jose Espada and                                                          Personal Injury, Loss of
        Elizabeth Espada             Self/Spouse     NY          US              Consortium
761.    Adolfo Espinoza              Self            NY          US              Personal Injury
762.    Anthony Esposito and                                                     Personal Injury, Loss of
        Anna M Esposito              Self/Spouse     NY          US              Consortium
763.    Glenn Esposito               Self            NY          US              Personal Injury
764.    Paul Esposito                Self            NY          US              Personal Injury
765.    Patrick Estelle and Gina                                                 Personal Injury, Loss of
        Setelle                      Self/Spouse     NY          US              Consortium
766.    Julian Etienne               Self            NY          US              Personal Injury
767.    Michael Ettinger             Self            NY          US              Personal Injury
768.    Donald Evans and Elmay                                                   Personal Injury, Loss of
        Evans                        Self/Spouse     NY          US              Consortium
769.    Joseph Ewald, Jr. and                                                    Personal Injury, Loss of
        Angela Ewald                 Self/Spouse     FL          US              Consortium
770.    Christine Faber and                                                      Personal Injury, Loss of
        Lance Faber                  Self/Spouse     NJ          US              Consortium
771.    Hector Faberlle and                                                      Personal Injury, Loss of
        Cecelia Faberlle             Self/Spouse     NY          US              Consortium
772.    Michael Fagel and Patricia                                               Personal Injury, Loss of
        M Fagel                      Self/Spouse     IL          US              Consortium
773.    John Failla                  Self            NY          US              Personal Injury
774.    Robert Failla and Barbara                                                Personal Injury, Loss of
        Failla                       Self/Spouse     NY          US              Consortium
775.    Frank Faivre and                                                         Personal Injury, Loss of
        Maryellen Faivre             Self/Spouse     NY          US              Consortium
776.    Jose Fajardo                 Self            NY          US              Personal Injury
777.    Blanca F Falcones and                                                    Personal Injury, Loss of
        Pedro Y Falcones             Self/Spouse     NY          US              Consortium
778.    Stephen Falkowski and                                                    Personal Injury, Loss of
        Karen Falkowski              Self/Spouse     NJ          US              Consortium
779.    Robert Fanelli               Self            NY          US              Personal Injury
780.    Robert Fanesi and Jody A                                                 Personal Injury, Loss of
        Fanesi                       Self/Spouse     NY          US              Consortium
781.    Morton Farber and                                                        Personal Injury, Loss of
        Oksana Farber                Self/Spouse     DE          US              Consortium
782.    Manuel Fares                 Self            NY          US              Personal Injury
783.    Thomas Farino and                                                        Personal Injury, Loss of
        Carissa Farino               Self/Spouse     NV          US              Consortium
       Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 94 of 159


784.    Brian Farrell and Debra                                                  Personal Injury, Loss of
        Blasi-Farrell                Self/Spouse     NY          US              Consortium
785.    Eamon Farrell                Self            NY          US              Personal Injury
786.    Henry Farrell and                                                        Personal Injury, Loss of
        Jennifer Farrell             Self/Spouse     NJ          US              Consortium
787.    Peter Farrell and Patricia                                               Personal Injury, Loss of
        Farrell                      Self/Spouse     NY          US              Consortium
788.    Frank Farrugia and Karen                                                 Personal Injury, Loss of
        Farrugia                     Self/Spouse     NY          US              Consortium
789.    John Fasanaro and                                                        Personal Injury, Loss of
        Evelyn Fasanaro              Self/Spouse     NY          US              Consortium
790.    Bradley Fassett and                                                      Personal Injury, Loss of
        Lorraine Jackson-Fassett     Self/Spouse     VA          US              Consortium
791.    Derrick Faulk                Self            NY          US              Personal Injury
792.    Eric Fawcett and                                                         Personal Injury, Loss of
        Shaheeda Fawvcett            Self/Spouse     FL          US              Consortium
793.    Christian Febrillet          Self            NY          US              Personal Injury
794.    Anne Feit and Walter S                                                   Personal Injury, Loss of
        Feit                         Self/Spouse     NY          US              Consortium
795.    John Felci                   Self            NY          US              Personal Injury
796.    Steven Feldman and                                                       Personal Injury, Loss of
        Patricia Feldman             Self/Spouse     NY          US              Consortium
797.    Angel Feliciano and                                                      Personal Injury, Loss of
        Sandra Feliciano             Self/Spouse     FL          US              Consortium
798.    Thornail R Felton            Self            NY          US              Personal Injury
799.    Salvatore Femia and                                                      Personal Injury, Loss of
        Joann Femia                  Self/Spouse     NY          US              Consortium
800.    Robert L Fenwick             Self            NY          US              Personal Injury
801.    Gerald Feola and Arlene                                                  Personal Injury, Loss of
        Feola                        Self/Spouse     NY          US              Consortium
802.    Ed Ferington, Jr. and                                                    Personal Injury, Loss of
        Karen Ferington              Self/Spouse     NY          US              Consortium
803.    Celestino Fernandez and                                                  Personal Injury, Loss of
        Cynthia Fernandez            Self/Spouse     NY          US              Consortium
804.    Robert Fernandez and                                                     Personal Injury, Loss of
        Jennifer Fernandez           Self/Spouse     NY          US              Consortium
805.    Michael Ferrado              Self            NY          US              Personal Injury
806.    Frank Ferrara and                                                        Personal Injury, Loss of
        Annalise Ferrara             Self/Spouse     NY          US              Consortium
807.    Joseph Ferraro and                                                       Personal Injury, Loss of
        Stephanie Ferraro            Self/Spouse     NY          US              Consortium
808.    Robert Ferreiro and                                                      Personal Injury, Loss of
        Dayna Ferreiro               Self/Spouse     NY          US              Consortium
809.    Rolando Ferreras             Self            NY          US              Personal Injury
810.    Albert Ferro                 Self            NJ          US              Personal Injury
811.    Washington Ferruzola                                                     Personal Injury, Loss of
        and Luz Ramos                Self/Spouse     NY          US              Consortium
812.    Robert Festa and Linda                                                   Personal Injury, Loss of
        Festa                        Self/Spouse     NY          US              Consortium
813.    David Figueroa and Heidi                                                 Personal Injury, Loss of
        Figueroa                     Self/Spouse     FL          US              Consortium
814.    Noel Figueroa                Self            FL          US              Personal Injury
815.    Debra Filan                  Self            NY          US              Personal Injury
816.    Anthony Fillbrunn            Self            NY          US              Personal Injury
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 95 of 159


817.    Michael Finer and Karen                                                 Personal Injury, Loss of
        H Finer                     Self/Spouse     NY          US              Consortium
818.    Donald Finnelli and                                                     Personal Injury, Loss of
        Carolyn Finnelli            Self/Spouse     NY          US              Consortium
819.    Ray Fiore                   Self            NY          US              Personal Injury
820.    Joseph Fiorello             Self            NY          US              Personal Injury
821.    Gregory Fisco and Nicole                                                Personal Injury, Loss of
        Fisco                       Self/Spouse     NY          US              Consortium
822.    Paul Fisher and Debra                                                   Personal Injury, Loss of
        Ann Fisher                  Self/Spouse     NJ          US              Consortium
823.    Louis Fishman and Lisa                                                  Personal Injury, Loss of
        Fishman                     Self/Spouse     NY          US              Consortium
824.    Beverly Fitzgerald          Self            CA          US              Personal Injury
825.    Glen Fiumano and Nancy                                                  Personal Injury, Loss of
        L Fiumano                   Self/Spouse     PA          US              Consortium
826.    Joseph Fiumano              Self            NY          US              Personal Injury
827.    Salvatore Fiumefreddo                                                   Personal Injury, Loss of
        and Theresa Fiumefreddo     Self/Spouse     NY          US              Consortium
828.    Patrick Flaherty and                                                    Personal Injury, Loss of
        Laura Ann Flaherty          Self/Spouse     PA          US              Consortium
829.    Scott Flaum and Phyliis J                                               Personal Injury, Loss of
        Flaum                       Self/Spouse     NY          US              Consortium
830.    Allan Flaxman and Laura                                                 Personal Injury, Loss of
        Flaxman                     Self/Spouse     NY          US              Consortium
831.    Andrew Fleary and                                                       Personal Injury, Loss of
        Cecelia Fleary              Self/Spouse     NY          US              Consortium
832.    Raymond Flood and                                                       Personal Injury, Loss of
        Carla Flood                 Self/Spouse     NY          US              Consortium
833.    Daniel Floody and Diane                                                 Personal Injury, Loss of
        R Floody                    Self/Spouse     NY          US              Consortium
834.    Richard Florentino and                                                  Personal Injury, Loss of
        Angelina Florentino         Self/Spouse     NY          US              Consortium
835.    Danilsa Flores              Self            NY          US              Personal Injury
836.    Talia Flores                Self            NY          US              Personal Injury
837.    Joseph J Flynn              Self            NJ          US              Personal Injury
838.    Thomas Flynn and                                                        Personal Injury, Loss of
        Hannah I Flynn              Self/Spouse     NY          US              Consortium
839.    Daniel Foley                Self            NY          US              Personal Injury
840.    Vincent Fondacaro and                                                   Personal Injury, Loss of
        Yvonne Fondacaro            Self/Spouse     NY          US              Consortium
841.    Dulcie Forbes, as
        Administratrix of the
        estate of Ezekiel Forbes,
        and Dulcie Forbes
        Individually                PR/Spouse       NY          US              Wrongful Death, Solatium
842.    George F Forelli and                                                    Personal Injury, Loss of
        Victoria Forelli            Self/Spouse     NY          US              Consortium
843.    Joseph Forlenza and                                                     Personal Injury, Loss of
        Nora Forlenza               Self/Spouse     NY          US              Consortium
844.    Jules Formel and Betty                                                  Personal Injury, Loss of
        Formel                      Self/Spouse     NY          US              Consortium
845.    Kruythoff Forrester         Self            NY          US              Personal Injury
846.    Myrna Forster, as
        Personal Representative
        of the estate of Carl       PR/Spouse       NY          US              Wrongful Death, Solatium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 96 of 159


        Forster, and Myrna
        Forster Individually
847.    Joseph Forte and Carol                                                  Personal Injury, Loss of
        Forte                       Self/Spouse     NY          US              Consortium
848.    Jeffrey Fosello and Lisa                                                Personal Injury, Loss of
        Fosello                     Self/Spouse     NJ          US              Consortium
849.    Ian Fox                     Self            NY          US              Personal Injury
850.    Rapheal C Fragola           Self            NY          US              Personal Injury
851.    Sylvan Francis and Cheryl                                               Personal Injury, Loss of
        Francis                     Self/Spouse     NJ          US              Consortium
852.    Luis Franco                 Self            NJ          US              Personal Injury
853.    Dominic Frangella and                                                   Personal Injury, Loss of
        Maria Frangella             Self/Spouse     NY          US              Consortium
854.    Kenneth Franz               Self            NY          US              Personal Injury
855.    Fred Fratar and Kathleen                                                Personal Injury, Loss of
        L Fratar                    Self/Spouse     TN          US              Consortium
856.    Patrick Frawley and Sally                                               Personal Injury, Loss of
        P Frawley                   Self/Spouse     NJ          US              Consortium
857.    Randy C Freedman            Self            NY          US              Personal Injury
858.    Janina Frelas               Self            NY          US              Personal Injury
859.    William A. Frickenstein     Self            NY          US              Personal Injury
860.    Daphne Friend, as
        Personal Representative
        of the estate of Dennis
        Friend, and Daphne
        Friend Individually         PR/Spouse       FL          US              Wrongful Death, Solatium
861.    Deloris Frierson            Self            NY          US              Personal Injury
862.    Gregory Frierson            Self            NY          US              Personal Injury
863.    Terrance Frontis            Self            NY          US              Personal Injury
864.    Jose Fuentes                Self            NY          US              Personal Injury
865.    Lazaro Fuentes and                                                      Personal Injury, Loss of
        Wendy DeMarco-Fuentes       Self/Spouse     NY          US              Consortium
866.    Ray Fuller and Deborah                                                  Personal Injury, Loss of
        Fuller                      Self/Spouse     NY          US              Consortium
867.    David Funk                  Self            NJ          US              Personal Injury
868.    Raymond Fuscaldo            Self            NY          US              Personal Injury
869.    Joseph Fusco and Debra                                                  Personal Injury, Loss of
        A Fusco                     Self/Spouse     NY          US              Consortium
870.    Harald Gabrielsen and                                                   Personal Injury, Loss of
        Debi Gabrielsen             Self/Spouse     NY          US              Consortium
871.    Frank Gaetano and                                                       Personal Injury, Loss of
        Kathleen Gaetano            Self/Spouse     NY          US              Consortium
872.    Alfred Gaillard             Self            NY          US              Personal Injury
873.    John Galasso and Karen                                                  Personal Injury, Loss of
        Galasso                     Self/Spouse     NY          US              Consortium
874.    Lawrence Galasso and                                                    Personal Injury, Loss of
        Nina Galasso                Self/Spouse     NY          US              Consortium
875.    Maricela Galindea           Self            NY          US              Personal Injury
876.    Christopher Gallagher                                                   Personal Injury, Loss of
        and Elizabeth Gallager      Self/Spouse     NY          US              Consortium
877.    David Gallagher and Ann                                                 Personal Injury, Loss of
        M Gallagher                 Self/Spouse     NY          US              Consortium
       Case 1:17-cv-03887-GBD-SN                 Document 1   Filed 05/23/17     Page 97 of 159


878.    Vincent Gallagher and                                                  Personal Injury, Loss of
        Mona Gallagher             Self/Spouse     NY          US              Consortium
879.    Norberto Gallardo          Self            NJ          US              Personal Injury
880.    Victor Gallegos and                                                    Personal Injury, Loss of
        Teresa Narvaez             Self/Spouse     NY          US              Consortium
881.    Walter Gallegos            Self            NY          US              Personal Injury
882.    Edward Galletti            Self            NY          US              Personal Injury
883.    Diana Galli and Claudio                                                Personal Injury, Loss of
        Galli                      Self/Spouse     NJ          US              Consortium
884.    Cori Gallo and                                                         Personal Injury, Loss of
        Magdalena Gallo            Self/Spouse     NY          US              Consortium
885.    Timothy Galloway and                                                   Personal Injury, Loss of
        Elizabeth Galloway         Self/Spouse     NY          US              Consortium
886.    Robert Galvin and
        Barbara Ramshorn-                                                      Personal Injury, Loss of
        Galvin                     Self/Spouse     NY          US              Consortium
887.    Albert Gambardella and                                                 Personal Injury, Loss of
        Mary Gambardella           Self/Spouse     NY          US              Consortium
888.    Anthony Gambardella                                                    Personal Injury, Loss of
        and Loretta Gambardella    Self/Spouse     NY          US              Consortium
889.    Steven Gambardella and                                                 Personal Injury, Loss of
        Patricia Gambardella       Self/Spouse     NJ          US              Consortium
890.    Wieslaw Gandurski          Self            NY          US              Personal Injury
891.    Segundo Garces             Self            NJ          US              Personal Injury
892.    Carlos Garcia and Edilma                                               Personal Injury, Loss of
        Garcia                     Self/Spouse     NY          US              Consortium
893.    Enrique Garcia             Self            NY          US              Personal Injury
894.    Joseph Garcia              Self            NY          US              Personal Injury
895.    Ladislao Garcia            Self            NY          US              Personal Injury
896.    Luis V Garcia and                                                      Personal Injury, Loss of
        Tamara Dominguez           Self/Spouse     NY          US              Consortium
897.    Rafael Garcia and Luz                                                  Personal Injury, Loss of
        Garcia                     Self/Spouse     NJ          US              Consortium
898.    Victor Garcia and                                                      Personal Injury, Loss of
        Christine A Garcia         Self/Spouse     NY          US              Consortium
899.    Anthony Garifo and                                                     Personal Injury, Loss of
        Karen Garifo               Self/Spouse     NY          US              Consortium
900.    Gregory Garland and                                                    Personal Injury, Loss of
        Nancy Garland              Self/Spouse     NY          US              Consortium
901.    Jeff Garner and Cindi                                                  Personal Injury, Loss of
        Garner                     Self/Spouse     NY          US              Consortium
902.    Michael Garritano          Self            NY          US              Personal Injury
903.    John Garvey and Mary                                                   Personal Injury, Loss of
        Garvey                     Self/Spouse     NY          US              Consortium
904.    Maria Garzon               Self            NJ          US              Personal Injury
905.    Frank Gato and Cynthia                                                 Personal Injury, Loss of
        Gato                       Self/Spouse     NJ          US              Consortium
906.    Joe Gatto                  Self            NY          US              Personal Injury
907.    Paul Gatto and Monika                                                  Personal Injury, Loss of
        Gatto                      Self/Spouse     FL          US              Consortium
908.    Barry Gause and Rosilyn                                                Personal Injury, Loss of
        Gause                      Self/Spouse     SC          US              Consortium
909.    Alyson Gavin               Self            NY          US              Personal Injury
910.    Leonard Gawin and          Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 98 of 159


        Miroslawa Gawin                                                         Consortium
911.    John F Gawley and                                                       Personal Injury, Loss of
        Margaret M Gawley           Self/Spouse     NY          US              Consortium
912.    John Gaynor and Karen                                                   Personal Injury, Loss of
        Gaynor                      Self/Spouse     NY          US              Consortium
913.    Edward Geary and                                                        Personal Injury, Loss of
        Allyson J Geary             Self/Spouse     NY          US              Consortium
914.    Eugene Gee                  Self            NY          US              Personal Injury
915.    Roosevelt Gee               Self            NY          US              Personal Injury
916.    Lynda Geer, as Personal
        Representative of the
        estate of William Geer,
        and Lynda Geer
        Individually                PR/Spouse       NY          US              Solatium
917.    William Geerlings and                                                   Personal Injury, Loss of
        Catherine Geerlings         Self/Spouse     NY          US              Consortium
918.    James Geissler and                                                      Personal Injury, Loss of
        Daniela Geissler            Self/Spouse     NY          US              Consortium
919.    Salvatore Gemma             Self            NY          US              Personal Injury
920.    Manes Geneus                Self            NY          US              Personal Injury
921.    John Gengo                  Self            NY          US              Personal Injury
922.    Ronald Gentile and                                                      Personal Injury, Loss of
        Arlene Gentile              Self/Spouse     NV          US              Consortium
923.    Rosemarie George            Self            NY          US              Personal Injury
924.    Stephen Geosits III         Self            NJ          US              Personal Injury
925.    James Geraci and Carol                                                  Personal Injury, Loss of
        Ann Geraci                  Self/Spouse     NY          US              Consortium
926.    Anna V Gerena               Self            NY          US              Personal Injury
927.    Daniel Gerrity and Teresa                                               Personal Injury, Loss of
        Gerrity                     Self/Spouse     NY          US              Consortium
928.    Donald Gessner and                                                      Personal Injury, Loss of
        MaryJean Gessner            Self/Spouse     FL          US              Consortium
929.    Frank Giacalone and                                                     Personal Injury, Loss of
        Emanuela Giacalone          Self/Spouse     NY          US              Consortium
930.    James Giacalone and                                                     Personal Injury, Loss of
        Lorie Giacalone             Self/Spouse     NY          US              Consortium
931.    Richard Giallanzo           Self            NY          US              Personal Injury
932.    Ronald Giallanzo and                                                    Personal Injury, Loss of
        Elizabeth Giallanzo         Self/Spouse     NY          US              Consortium
933.    Thomas Giamportone          Self            NY          US              Personal Injury
934.    Frank Gigante               Self            NY          US              Personal Injury
935.    Andrei Giglevitch and                                                   Personal Injury, Loss of
        Kerry Giglevitch            Self/Spouse     NY          US              Consortium
936.    Victor H Gil and Anna                                                   Personal Injury, Loss of
        Gomez- Gil                  Self/Spouse     NY          US              Consortium
937.    Samuel Gilford              Self            NY          US              Personal Injury
938.    Kenneth Gill and Cynthia                                                Personal Injury, Loss of
        Gill                        Self/Spouse     NY          US              Consortium
939.    Paul Gill                   Self            PA          US              Personal Injury
940.    Shirley Gill and Miguel                                                 Personal Injury, Loss of
        Gill                        Self/Spouse     NY          US              Consortium
941.    James Gilmore               Self            NY          US              Personal Injury
942.    Daniel Gilroy and           Self/Spouse     NY          US              Personal Injury, Loss of
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 99 of 159


        Maureen Gilroy                                                          Consortium
943.    Neil Gimpel and Paula                                                   Personal Injury, Loss of
        Gimpel                      Self/Spouse     NY          US              Consortium
944.    Rafael Giordani and Betty                                               Personal Injury, Loss of
        Giordani                    Self/Spouse     NY          US              Consortium
945.    Anthony Giordano and                                                    Personal Injury, Loss of
        Marisa Giordano             Self/Spouse     NY          US              Consortium
946.    Richard Giordano            Self            NJ          US              Personal Injury
947.    Ralph Giovacco              Self            NY          US              Personal Injury
948.    Robert Gipson               Self            MO          US              Personal Injury
949.    Deycer Giraldo              Self            NY          US              Personal Injury
950.    Jaime Giraldo and Gloria                                                Personal Injury, Loss of
        Villada                     Self/Spouse     NJ          US              Consortium
951.    John Giraldo and Saraya                                                 Personal Injury, Loss of
        Giraldo                     Self/Spouse     NY          US              Consortium
952.    Anthony Girand              Self            NY          US              Personal Injury
953.    Giuseppe Giuca              Self            NY          US              Personal Injury
954.    Anthony Giustra and                                                     Personal Injury, Loss of
        Allison Giustra             Self/Spouse     NY          US              Consortium
955.    Daniel Glatz and Daniella                                               Personal Injury, Loss of
        A Glatz                     Self/Spouse     NY          US              Consortium
956.    Leslie Glenn                Self            NY          US              Personal Injury
957.    Arthur Gnecco and Sarah                                                 Personal Injury, Loss of
        Gnecco                      Self/Spouse     NY          US              Consortium
958.    Michael J Godfrey Jr.       Self            NY          US              Personal Injury
959.    Glen Godino and Joan                                                    Personal Injury, Loss of
        Godino                      Self/Spouse     NY          US              Consortium
960.    Domenick Goffredo and                                                   Personal Injury, Loss of
        Elaine Goffredo             Self/Spouse     NY          US              Consortium
961.    Patrick Gogan and                                                       Personal Injury, Loss of
        Barbara Gogan               Self/Spouse     NY          US              Consortium
962.    Laurence Goldberg           Self            NY          US              Personal Injury
963.    Edward Golden and                                                       Personal Injury, Loss of
        Dawna Golden                Self/Spouse     WA          US              Consortium
964.    Patrick Goldrick and                                                    Personal Injury, Loss of
        Cynthia Goldrick            Self/Spouse     PA          US              Consortium
965.    Mark Goldwasser and                                                     Personal Injury, Loss of
        Rachelle Goldwasser         Self/Spouse     NY          US              Consortium
966.    Steven Golub and                                                        Personal Injury, Loss of
        Christine Golub             Self/Spouse     NY          US              Consortium
967.    Carlos Gomez                Self            NY          US              Personal Injury
968.    Edward Gomez and                                                        Personal Injury, Loss of
        Lissette Gomez              Self/Spouse     NY          US              Consortium
969.    Gildardo Gomez              Self            NY          US              Personal Injury
970.    Richard Gomez               Self            PA          US              Personal Injury
971.    Ruben Gomez                 Self            NY          US              Personal Injury
972.    Alberdeston Gonzalez        Self            NY          US              Personal Injury
973.    Edwin Gonzalez              Self            NY          US              Personal Injury
974.    Gerard Gonzalez             Self            NY          US              Personal Injury
975.    Gisselle Gonzalez           Self            NY          US              Personal Injury
976.    Jimmy Gonzalez and                                                      Personal Injury, Loss of
        Jerrylynn Gonzalez          Self/Spouse     FL          US              Consortium
       Case 1:17-cv-03887-GBD-SN                  Document 1   Filed 05/23/17     Page 100 of 159


977.    John Gonzalez and                                                       Personal Injury, Loss of
        Migdalia Gonzalez           Self/Spouse     NY           US             Consortium
978.    Raul E Gonzalez             Self            NY           US             Personal Injury
979.    Roberta Gonzalez            Self            NY           US             Personal Injury
980.    Derrick Goode and                                                       Personal Injury, Loss of
        Monica Goode                Self/Spouse     NY           US             Consortium
981.    Raymond Goodness and                                                    Personal Injury, Loss of
        Frances Marie Goodness      Self/Spouse     NY           US             Consortium
982.    Edward Gora and Ewa                                                     Personal Injury, Loss of
        Rynczak-Gora                Self/Spouse     NY           US             Consortium
983.    Adam Gordon                 Self            NY           US             Personal Injury
984.    Anthony Gordon and                                                      Personal Injury, Loss of
        Gwen Gordan                 Self/Spouse     NY           US             Consortium
985.    Leroy Gordon and                                                        Personal Injury, Loss of
        Clarice Dixon               Self/Spouse     NY           US             Consortium
986.    Glenn Gorecki and Jean                                                  Personal Injury, Loss of
        Gorecki                     Self/Spouse     NY           US             Consortium
987.    Alberto Goris and Teresa                                                Personal Injury, Loss of
        Salcedo                     Self/Spouse     NY           US             Consortium
988.    George F Gorman and                                                     Personal Injury, Loss of
        Lori Gorman                 Self/Spouse     NY           US             Consortium
989.    Marisa Gorman and John                                                  Personal Injury, Loss of
        Gorman                      Self/Spouse     FL           US             Consortium
990.    Victor Gorman               Self            NY           US             Personal Injury
991.    Robert Gould and                                                        Personal Injury, Loss of
        Carmen M Gould              Self/Spouse     NY           US             Consortium
992.    Robert Gould and                                                        Personal Injury, Loss of
        Svetlana Gould              Self/Spouse     NJ           US             Consortium
993.    Abdon Grageda               Self            WI           US             Personal Injury
994.    Joseph Granata and                                                      Personal Injury, Loss of
        Julieann Granata            Self/Spouse     NY           US             Consortium
995.    Kevin Granger and                                                       Personal Injury, Loss of
        Kristine Granger            Self/Spouse     NY           US             Consortium
996.    Arturo Grant                Self            NY           US             Personal Injury
997.    John Grant and Diane                                                    Personal Injury, Loss of
        Grant                       Self/Spouse     CA           US             Consortium
998.    Paul Grattan and Isabel                                                 Personal Injury, Loss of
        Grattan                     Self/Spouse     NY           US             Consortium
999.    Robert Grawin and                                                       Personal Injury, Loss of
        Robin Grawin                Self/Spouse     FL           US             Consortium
1000.   Daniel Graziano and                                                     Personal Injury, Loss of
        Yang Yang                   Self/Spouse     NY           US             Consortium
1001.   Frederick Graziano and                                                  Personal Injury, Loss of
        Joann V Graziano            Self/Spouse     NY           US             Consortium
1002.   Erin Greaney, as Personal
        Representative of the
        estate of John Greaney,
        and Erin Greaney
        Individually                PR/Daughter     NY           US             Wrongful Death, Solatium
1003.   John E Greaney              Self            NY           US             Personal Injury
1004.   Chris Greco                 Self            NJ           US             Personal Injury
1005.   Deborah Greco               Self            NJ           US             Personal Injury
1006.   Anthony D Green             Self            NC           US             Personal Injury
1007.   Karl J Green and Mary B                                                 Personal Injury, Loss of
        Green                       Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 101 of 159


1008.   Justin Greene               Self            NY           US             Personal Injury
1009.   Yanti M Greene              Self            NY           US             Personal Injury
1010.   Matthew Grennan and                                                     Personal Injury, Loss of
        Janet Grennan               Self/Spouse     NJ           US             Consortium
1011.   Richard Griffin and                                                     Personal Injury, Loss of
        Krista Griffin              Self/Spouse     NY           US             Consortium
1012.   Angelo F Grillo and                                                     Personal Injury, Loss of
        Laura Grillo                Self/Spouse     NJ           US             Consortium
1013.   Richard Gronberg and                                                    Personal Injury, Loss of
        Daria Gronberg              Self/Spouse     CT           US             Consortium
1014.   James Grotheer and Ellen                                                Personal Injury, Loss of
        Grotheer                    Self/Spouse     NY           US             Consortium
1015.   Anthony Grotto and                                                      Personal Injury, Loss of
        Kristen A Grotto            Self/Spouse     NY           US             Consortium
1016.   Slawomir Gryszkiewicz       Self            NY           US             Personal Injury
1017.   Guido Guallpa and                                                       Personal Injury, Loss of
        Angela Guallpa              Self/Spouse     NY           US             Consortium
1018.   Jorge Gualotuna             Self            NY           US             Personal Injury
1019.   Gregory Guarneri and                                                    Personal Injury, Loss of
        Karen Guarneri              Self/Spouse     NJ           US             Consortium
1020.   Michael Guarnieri and                                                   Personal Injury, Loss of
        Lisa M Guarnieri            Self/Spouse     NY           US             Consortium
1021.   Stanislaw Gudanowski                                                    Personal Injury, Loss of
        and Teresa Gudanowska       Self/Spouse     NY           US             Consortium
1022.   Salvatore Guercio and                                                   Personal Injury, Loss of
        Vincenza Guercio            Self/Spouse     NY           US             Consortium
1023.   Francisco Guerrero and                                                  Personal Injury, Loss of
        Arelis Guerrero             Self/Spouse     NJ           US             Consortium
1024.   Rodolfo Guevara             Self            NY           US             Personal Injury
1025.   Joseph Guiney and                                                       Personal Injury, Loss of
        Juliana A Guiney            Self/Spouse     NY           US             Consortium
1026.   Nicholas Gullo              Self            NY           US             Personal Injury
1027.   John Gunther, as
        Executor of the estate of
        Robert Gunther, and
        John Gunther
        Individually                PR/Sibling      NY           US             Wrongful Death, Solatium
1028.   Michal Gurgol and                                                       Personal Injury, Loss of
        Andrea Gurgol               Self/Spouse     NY           US             Consortium
1029.   David Guth                  Self            NJ           US             Personal Injury
1030.   Rafael Gutierrez and                                                    Personal Injury, Loss of
        Diana V Gutiertez           Self/Spouse     NY           US             Consortium
1031.   Armando Guzman              Self            NY           US             Personal Injury
1032.   Dominick Guzman             Self            NY           US             Personal Injury
1033.   Felix E Guzman              Self            NY           US             Personal Injury
1034.   Maria Guzman                Self            NJ           US             Personal Injury
1035.   Salma P Guzman              Self            NY           US             Personal Injury
1036.   Richard Gwillym             Self            NY           US             Personal Injury
1037.   Zbigniew Gwozdz and                                                     Personal Injury, Loss of
        Zuzanna Gwordz              Self/Spouse     NY           US             Consortium
1038.   Adrian Gyuro                Self            FL           US             Personal Injury
1039.   Jeffrey G Haas              Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 102 of 159


1040.   Scott Haas and Celeste                                                Personal Injury, Loss of
        Haas                      Self/Spouse     NY           US             Consortium
1041.   Robin Habbershaw, as
        Administratrix of the
        estate of Daniel W
        Habbershaw, and Robin
        Habbershaw Individually   PR/Spouse       NY           US             Solatium
1042.   Michael Haffner           Self            NY           US             Personal Injury
1043.   Kenneth Hagel and                                                     Personal Injury, Loss of
        Stephany Hagel            Self/Spouse     NJ           US             Consortium
1044.   James Haley               Self            NY           US             Personal Injury
1045.   L. Veronica Hall          Self            NC           US             Personal Injury
1046.   Michael Hall and                                                      Personal Injury, Loss of
        Bernadette Hall           Self/Spouse     NY           US             Consortium
1047.   Thaddeus Hall and                                                     Personal Injury, Loss of
        Karlene Hall              Self/Spouse     NY           US             Consortium
1048.   Jeffrey Hamilton and                                                  Personal Injury, Loss of
        Dawn P Hamilton           Self/Spouse     NC           US             Consortium
1049.   Theresa Handler           Self            FL           US             Personal Injury
1050.   Christopher Hanley and                                                Personal Injury, Loss of
        Eileen Hanley             Self/Spouse     NY           US             Consortium
1051.   Joseph Hanley and                                                     Personal Injury, Loss of
        Patricia A Hanley         Self/Spouse     NY           US             Consortium
1052.   Chrystel Hannon-
        Desposati and                                                         Personal Injury, Loss of
        Constantino Desposati     Self/Spouse     NY           US             Consortium
1053.   Jeffrey Hansen and                                                    Personal Injury, Loss of
        Christina Hansen          Self/Spouse     NY           US             Consortium
1054.   Kenneth Hansen            Self            NY           US             Personal Injury
1055.   William Happe and                                                     Personal Injury, Loss of
        Estrella Happe            Self/Spouse     NJ           US             Consortium
1056.   Michael Hardman and                                                   Personal Injury, Loss of
        Mary Hardman              Self/Spouse     NY           US             Consortium
1057.   Terrance Hardy and                                                    Personal Injury, Loss of
        Denise Hardy              Self/Spouse     NY           US             Consortium
1058.   Kevin Hare and Michele                                                Personal Injury, Loss of
        Hare                      Self/Spouse     NV           US             Consortium
1059.   Vishnudat Harilal and                                                 Personal Injury, Loss of
        Sabrina Harilal           Self/Spouse     NY           US             Consortium
1060.   Bradford Harmon and                                                   Personal Injury, Loss of
        Tara Harmon               Self/Spouse     KY           US             Consortium
1061.   Lloyd Harmon and Maria                                                Personal Injury, Loss of
        Harmon                    Self/Spouse     NY           US             Consortium
1062.   Caroline Harrigan         Self            NY           US             Personal Injury
1063.   Daryl Harris and Shanda                                               Personal Injury, Loss of
        Harris                    Self/Spouse     NY           US             Consortium
1064.   Eugene Harris             Self            NC           US             Personal Injury
1065.   John Harris and Sahar                                                 Personal Injury, Loss of
        Marlowe-Harris            Self/Spouse     NY           US             Consortium
1066.   Stephen Harris            Self            PA           US             Personal Injury
1067.   Theresa Harris            Self            NY           US             Personal Injury
1068.   Glenn Hartfield and                                                   Personal Injury, Loss of
        Roxanne Hartfield         Self/Spouse     NY           US             Consortium
1069.   Theddus Hartley and                                                   Personal Injury, Loss of
        Kimberly A Hartley        Self/Spouse     NC           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 103 of 159


1070.   Connie Hartman-Wilhelm                                                   Personal Injury, Loss of
        and Richard Wilheim          Self/Spouse     NJ           US             Consortium
1071.   Neil Hartnett and Lisa                                                   Personal Injury, Loss of
        Hartnett                     Self/Spouse     NY           US             Consortium
1072.   Edward Hartrick and                                                      Personal Injury, Loss of
        Lourdes Villanueva           Self/Spouse     NY           US             Consortium
1073.   Frank Harvey and Nancy                                                   Personal Injury, Loss of
        Harvey                       Self/Spouse     NJ           US             Consortium
1074.   Erroll Hassell               Self            NY           US             Personal Injury
1075.   Brian Hassett and Patricia                                               Personal Injury, Loss of
        H Hassett                    Self/Spouse     NY           US             Consortium
1076.   Ralph L Hatwood              Self            NY           US             Personal Injury
1077.   Roger Haughton and                                                       Personal Injury, Loss of
        Melissa Haughton             Self/Spouse     NY           US             Consortium
1078.   Thomas Hayes and                                                         Personal Injury, Loss of
        Victoria Hayes               Self/Spouse     PA           US             Consortium
1079.   Warren Hayes and                                                         Personal Injury, Loss of
        Talthea M Hayes              Self/Spouse     NY           US             Consortium
1080.   William Healy                Self            NY           US             Personal Injury
1081.   William J Healy and                                                      Personal Injury, Loss of
        Barbara Healy                Self/Spouse     NY           US             Consortium
1082.   George Heenan and                                                        Personal Injury, Loss of
        Donna Heenan                 Self/Spouse     NY           US             Consortium
1083.   Gregory Hefferan             Self            NJ           US             Personal Injury
1084.   Barbara Heim                 Self            NY           US             Personal Injury
1085.   William Heiser and Kim                                                   Personal Injury, Loss of
        Heiser                       Self/Spouse     NY           US             Consortium
1086.   Emanuel Hellen and                                                       Personal Injury, Loss of
        Diane J Hellen               Self/Spouse     NY           US             Consortium
1087.   William Henderson            Self            NY           US             Personal Injury
1088.   David Hendrick               Self            NY           US             Personal Injury
1089.   Marsha Hendrickson-
        Slack                        Self            NC           US             Personal Injury
1090.   Sean Henihan and Irma                                                    Personal Injury, Loss of
        G Henihan                    Self/Spouse     NY           US             Consortium
1091.   Jeffrey Henkel               Self            NJ           US             Personal Injury
1092.   Jeffrey Henkel               Self            NY           US             Personal Injury
1093.   Raymond Hennessy and                                                     Personal Injury, Loss of
        Adrienne Raymond             Self/Spouse     NY           US             Consortium
1094.   Julio Henriquez and Ana                                                  Personal Injury, Loss of
        Henriquez                    Self/Spouse     NJ           US             Consortium
1095.   Victor Henriquez and                                                     Personal Injury, Loss of
        Elizabeth Henriquez          Self/Spouse     NY           US             Consortium
1096.   Noel Henry and Brenda                                                    Personal Injury, Loss of
        A Henry                      Self/Spouse     NY           US             Consortium
1097.   Kazmir Hepp and Kathy                                                    Personal Injury, Loss of
        Sucic                        Self/Spouse     NY           US             Consortium
1098.   Dick Hernandez and                                                       Personal Injury, Loss of
        Miriam Hernandez             Self/Spouse     NY           US             Consortium
1099.   Felix Hernandez              Self            NY           US             Personal Injury
1100.   Harold Hernandez and                                                     Personal Injury, Loss of
        Marie Hernandez              Self/Spouse     FL           US             Consortium
1101.   Jaime Hernandez              Self            NY           US             Personal Injury
1102.   Robert Hernandez             Self            FL           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 104 of 159


1103.   Steven Hesse, as Personal
        Representative of the
        estate of Alistair Hesse,
        and Steven Hesse
        Individually                 PR/Son          FL           US             Wrongful Death, Solatium
1104.   Peter Hickey                 Self            NY           US             Personal Injury
1105.   Raymond Hickey and                                                       Personal Injury, Loss of
        Tana M Hickey                Self/Spouse     NY           US             Consortium
1106.   John Hiebendahl and                                                      Personal Injury, Loss of
        Margaret Hiebendahl          Self/Spouse     NC           US             Consortium
1107.   James Higgins                Self            FL           US             Personal Injury
1108.   Joseph Higgins and                                                       Personal Injury, Loss of
        Jennifer Higgins             Self/Spouse     NY           US             Consortium
1109.   Patrick Higgins              Self            NY           US             Personal Injury
1110.   Robert Higgins and Linda                                                 Personal Injury, Loss of
        Higgins                      Self/Spouse     NJ           US             Consortium
1111.   William Hightower and                                                    Personal Injury, Loss of
        Eleonora Hightower           Self/Spouse     NY           US             Consortium
1112.   Catherine Hill, as
        Personal Representative
        of the estate of Robert
        Hill, and Catherine Hill
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
1113.   Theresa Hills, as
        Administratrix of the
        estate of Henry Hills, and
        Theresa Hills Individually   PR/Spouse       NY           US             Wrongful Death, Solatium
1114.   James Hipple Jr.             Self            NY           US             Personal Injury
1115.   Eugene Hipsman and                                                       Personal Injury, Loss of
        Kathleen Hipsman             Self/Spouse     NY           US             Consortium
1116.   David Hobbs and                                                          Personal Injury, Loss of
        Nawanna Hobbs                Self/Spouse     NC           US             Consortium
1117.   Shawn Hobson and                                                         Personal Injury, Loss of
        Melanie Hobson               Self/Spouse     NJ           US             Consortium
1118.   Thomas Hoey and                                                          Personal Injury, Loss of
        Xiomaram Hoey                Self/Spouse     NY           US             Consortium
1119.   Kevin Hogan and                                                          Personal Injury, Loss of
        Veronica Hogan               Self/Spouse     NY           US             Consortium
1120.   William Hogan and                                                        Personal Injury, Loss of
        Debra Hogan                  Self/Spouse     NY           US             Consortium
1121.   Kimberly Hollier and                                                     Personal Injury, Loss of
        Icoma Hollier                Self/Spouse     NY           US             Consortium
1122.   Derek Holloway and                                                       Personal Injury, Loss of
        Takisha Reid-Holloway        Self/Spouse     NY           US             Consortium
1123.   Selena Holmes                Self            NY           US             Personal Injury
1124.   Eric Hone and Anna                                                       Personal Injury, Loss of
        Hone                         Self/Spouse     NY           US             Consortium
1125.   Norman Horowitz and                                                      Personal Injury, Loss of
        Anita Horowitz               Self/Spouse     NY           US             Consortium
1126.   June L Hosford, as
        Personal Representative
        of the estate of Raymond
        Hosford, and June L
        Hosford Individually         PR/Spouse       NJ           US             Wrongful Death, Solatium
1127.   Jason Houlihan and                                                       Personal Injury, Loss of
        Adriana Houlihan             Self/Spouse     NY           US             Consortium
1128.   James Howard                 Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 105 of 159


1129.   Victor M Howell            Self            NY           US             Personal Injury
1130.   William Howley and Mary                                                Personal Injury, Loss of
        T McDermott                Self/Spouse     NY           US             Consortium
1131.   Angel Hualpa and Rosa                                                  Personal Injury, Loss of
        Hualpa                     Self/Spouse     NY           US             Consortium
1132.   Wayne Huggins              Self            NJ           US             Personal Injury
1133.   Edmund G Hughes and                                                    Personal Injury, Loss of
        Gail Hughes                Self/Spouse     FL           US             Consortium
1134.   Joseph Hughes and Laura                                                Personal Injury, Loss of
        Hughes                     Self/Spouse     NY           US             Consortium
1135.   Larry Hughes and Yvette                                                Personal Injury, Loss of
        Hughes                     Self/Spouse     NY           US             Consortium
1136.   Thomas Hughes              Self            NY           US             Personal Injury
1137.   Robert Hull and Kelly                                                  Personal Injury, Loss of
        Marie Hull                 Self/Spouse     NY           US             Consortium
1138.   William Humphrey and                                                   Personal Injury, Loss of
        Diane C Humphrey           Self/Spouse     NJ           US             Consortium
1139.   William Hunter and                                                     Personal Injury, Loss of
        Deborah Hunter             Self/Spouse     NY           US             Consortium
1140.   Meredith Huntley, as
        Personal Representative
        of the estate of Edwin J
        Huntley, and Meredith
        Huntley Individually       PR/Daughter     ME           US             Wrongful Death, Solatium
1141.   Neil Hurley                Self            NY           US             Personal Injury
1142.   Jhon Hurtado               Self            NY           US             Personal Injury
1143.   Julio Hurtado and Elda                                                 Personal Injury, Loss of
        Monica Montes              Self/Spouse     NY           US             Consortium
1144.   Nabil Hussain              Self            NY           US             Personal Injury
1145.   Glenda Hutchinson          Self            NJ           US             Personal Injury
1146.   Biagio Iacono and Anca                                                 Personal Injury, Loss of
        Iacono                     Self/Spouse     NJ           US             Consortium
1147.   Andrew Iadevaio and                                                    Personal Injury, Loss of
        Teresa Iadevaio            Self/Spouse     NY           US             Consortium
1148.   Steve Iannucci and Linda                                               Personal Injury, Loss of
        Iannucci                   Self/Spouse     NJ           US             Consortium
1149.   Vincent Iavaroni and                                                   Personal Injury, Loss of
        Joann Iavaroni             Self/Spouse     NY           US             Consortium
1150.   Edgar Idrovo and Gladys                                                Personal Injury, Loss of
        Macedo                     Self/Spouse     NJ           US             Consortium
1151.   Manuel Idrovo              Self            NJ           US             Personal Injury
1152.   Brian Ilund and Carol                                                  Personal Injury, Loss of
        Ilund                      Self/Spouse     NY           US             Consortium
1153.   Robert Imbesi and                                                      Personal Injury, Loss of
        Maureen T Imbesi           Self/Spouse     NY           US             Consortium
1154.   Jeffrey Imsho and Laura                                                Personal Injury, Loss of
        Ann Imsho                  Self/Spouse     NJ           US             Consortium
1155.   Luis Inga and Carmen                                                   Personal Injury, Loss of
        Flores                     Self/Spouse     NY           US             Consortium
1156.   Mary Ingargiola and                                                    Personal Injury, Loss of
        Thomas Ingargiola          Self/Spouse     NY           US             Consortium
1157.   Philip Intoci and Myra                                                 Personal Injury, Loss of
        Intoci                     Self/Spouse     NY           US             Consortium
1158.   Micheal Irwin              Self            NY           US             Personal Injury
1159.   Thomas Irwin               Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 106 of 159


1160.   Piotr Iwanski                Self            NH           US             Personal Injury
1161.   Jozef Jablonski and                                                      Personal Injury, Loss of
        Agnieszka Jablonska          Self/Spouse     NY           US             Consortium
1162.   Kimberly Jackson             Self            NY           US             Personal Injury
1163.   Joseph Jacobs and                                                        Personal Injury, Loss of
        Charleen Jacobs              Self/Spouse     NY           US             Consortium
1164.   Brian Jacobsen and                                                       Personal Injury, Loss of
        Christine Jacobsen           Self/Spouse     AZ           US             Consortium
1165.   Janusz Jakubowski and                                                    Personal Injury, Loss of
        Krystyna Karpinska           Self/Spouse     NY           US             Consortium
1166.   Juan Jara                    Self            NY           US             Personal Injury
1167.   Jonas Jaramillo and                                                      Personal Injury, Loss of
        Blanca Jaramillo             Self/Spouse     NY           US             Consortium
1168.   Onorato Jelovcic             Self            NY           US             Personal Injury
1169.   Douglas Jenkins and                                                      Personal Injury, Loss of
        Monalisa Jenkins             Self/Spouse     NY           US             Consortium
1170.   Willis Jenkins and Linda                                                 Personal Injury, Loss of
        Thomas-Jenkins               Self/Spouse     NJ           US             Consortium
1171.   Pamela Jennings, as
        Personal Representative
        of the estate of Frederick
        Jennings, and Pamela
        Jennings Individually        PR/Spouse       NY           US             Solatium
1172.   Shane Jennings               Self            NJ           US             Personal Injury
1173.   Robert Jersey and                                                        Personal Injury, Loss of
        Carolyn Jersey               Self/Spouse     NJ           US             Consortium
1174.   Michael Jessie and Carol                                                 Personal Injury, Loss of
        F Davis                      Self/Spouse     NJ           US             Consortium
1175.   Fernando Jimenez             Self            NJ           US             Personal Injury
1176.   Marisol Yallico, as
        Personal Representative
        of the estate of Francisco
        Jimenez, and Marisol
        Yallico Individually         PR/Spouse       VA           US             Wrongful Death, Solatium
1177.   Raul Jimenez                 Self            NY           US             Personal Injury
1178.   Patricia A Jirak             Self            NY           US             Personal Injury
1179.   Mark John and Jacqueline                                                 Personal Injury, Loss of
        John                         Self/Spouse     FL           US             Consortium
1180.   Michael John and Renee                                                   Personal Injury, Loss of
        John                         Self/Spouse     NY           US             Consortium
1181.   Alfred Johnson               Self            NY           US             Personal Injury
1182.   Brendan Johnson and                                                      Personal Injury, Loss of
        Jane Johnson                 Self/Spouse     NY           US             Consortium
1183.   Charles Johnson and                                                      Personal Injury, Loss of
        Ritay Johnson                Self/Spouse     NY           US             Consortium
1184.   Columbus Johnson and                                                     Personal Injury, Loss of
        Geneva Johnson               Self/Spouse     NY           US             Consortium
1185.   Darrell K Johnson and                                                    Personal Injury, Loss of
        Rhonda Johnson               Self/Spouse     NY           US             Consortium
1186.   Don M Johnson and                                                        Personal Injury, Loss of
        Donique Johnson              Self/Spouse     NY           US             Consortium
1187.   James R Johnson and                                                      Personal Injury, Loss of
        Anglea Johnson               Self/Spouse     VA           US             Consortium
1188.   John Johnson                 Self            NY           US             Personal Injury
1189.   John Johnson                 Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 107 of 159


1190.   Rita Johnson                 Self            NY           US             Personal Injury
1191.   William Johnson and                                                      Personal Injury, Loss of
        Maryann Johnson              Self/Spouse     NY           US             Consortium
1192.   Robert Johnson, Sr. and                                                  Personal Injury, Loss of
        Annette Johnson              Self/Spouse     NY           US             Consortium
1193.   Francis Johnston and                                                     Personal Injury, Loss of
        Rene Johnston                Self/Spouse     NY           US             Consortium
1194.   Nancy Jokipii, as
        Executrix of the estate of
        Ture Jokipii, and Nancy
        Jokipii Individually         PR/Spouse       NY           US             Solatium
1195.   James C Jones and                                                        Personal Injury, Loss of
        Patricia Jones               Self/Spouse     NY           US             Consortium
1196.   Joe Jones and Priscilla                                                  Personal Injury, Loss of
        Jones                        Self/Spouse     NY           US             Consortium
1197.   Serena Jones and Frank                                                   Personal Injury, Loss of
        Castellano                   Self/Spouse     NY           US             Consortium
1198.   Thomas C Jordan and                                                      Personal Injury, Loss of
        Jacqueline                   Self/Spouse     NY           US             Consortium
1199.   Paul Josefson and Diane                                                  Personal Injury, Loss of
        L Josefson                   Self/Spouse     NY           US             Consortium
1200.   Danny Joseph                 Self            NY           US             Personal Injury
1201.   Michael Joseph               Self            FL           US             Personal Injury
1202.   Michael Joy and Joanne K                                                 Personal Injury, Loss of
        Joy                          Self/Spouse     FL           US             Consortium
1203.   Dennis W Joyce and                                                       Personal Injury, Loss of
        Hellen Joyce                 Self/Spouse     NY           US             Consortium
1204.   Kerry Joyce and Dawn                                                     Personal Injury, Loss of
        Joyce                        Self/Spouse     NY           US             Consortium
1205.   Kevin Joyce                  Self            NJ           US             Personal Injury
1206.   Richard Joyce and                                                        Personal Injury, Loss of
        Belinda Singh                Self/Spouse     NY           US             Consortium
1207.   Jan Jozefowicz and Irena                                                 Personal Injury, Loss of
        Jozefowicz                   Self/Spouse     NY           US             Consortium
1208.   Henryk Jozwiak               Self            --           Poland         Personal Injury
1209.   Philip Jude and Dianne                                                   Personal Injury, Loss of
        Jude                         Self/Spouse     NY           US             Consortium
1210.   George Justi and marija                                                  Personal Injury, Loss of
        Justi                        Self/Spouse     NY           US             Consortium
1211.   Jozef Kaczynski and                                                      Personal Injury, Loss of
        Marezena Ksczynski           Self/Spouse     NJ           US             Consortium
1212.   Val Kaganas and Mira                                                     Personal Injury, Loss of
        Sherer                       Self/Spouse     NY           US             Consortium
1213.   Christopher Kagenaar                                                     Personal Injury, Loss of
        and Aileen H Kagenaar        Self/Spouse     NY           US             Consortium
1214.   Michael Kalab and                                                        Personal Injury, Loss of
        Deborah Kalab                Self/Spouse     NY           US             Consortium
1215.   Michael Kane                 Self            NY           US             Personal Injury
1216.   Annie Caputo, as
        Personal Representative
        of the estate of Steven
        Kapczak, and Annie
        Caputo Individually          PR/Spouse       NY           US             Wrongful Death, Solatium
1217.   Slawomir Karpinski and                                                   Personal Injury, Loss of
        Dorota Karpinski             Self/Spouse     NY           US             Consortium
1218.   Marian Karus and                                                         Personal Injury, Loss of
        Barbara Karus                Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 108 of 159


1219.   Slawomir Karwowski and                                                   Personal Injury, Loss of
        Lucja Karwowski              Self/Spouse     NY           US             Consortium
1220.   Paula Richardson, as
        Executrix of the estate of
        Gary Kavakos, and Paula
        Richardson Individually      PR/Spouse       NY           US             Wrongful Death, Solatium
1221.   Andrew Kay and Lyssa                                                     Personal Injury, Loss of
        Olsen-Kay                    Self/Spouse     NY           US             Consortium
1222.   John J Kear                  Self            NY           US             Personal Injury
1223.   Bill Keegan                  Self            FL           US             Personal Injury
1224.   Kevin Keenan and Gina                                                    Personal Injury, Loss of
        M Keenan                     Self/Spouse     NY           US             Consortium
1225.   Timothy Kellam and                                                       Personal Injury, Loss of
        Pamela Kellam                Self/Spouse     NY           US             Consortium
1226.   Raymond Keller and                                                       Personal Injury, Loss of
        Sharon J Keller              Self/Spouse     NY           US             Consortium
1227.   Robert Kellner and Gina                                                  Personal Injury, Loss of
        A Kellner                    Self/Spouse     NY           US             Consortium
1228.   Dennis Kelly                 Self            PA           US             Personal Injury
1229.   Herman Kelly                 Self            NY           US             Personal Injury
1230.   James F Kelly                Self            NY           US             Personal Injury
1231.   Patrick Kelly                Self            NJ           US             Personal Injury
1232.   Paul Kelly                   Self            NY           US             Personal Injury
1233.   Peter J Kelly and Diane                                                  Personal Injury, Loss of
        Kelly                        Self/Spouse     NY           US             Consortium
1234.   Peter Kelly and Elizabeth                                                Personal Injury, Loss of
        Kelly                        Self/Spouse     NY           US             Consortium
1235.   Roger Kelly                  Self            NJ           US             Personal Injury
1236.   John Kelso and Janet                                                     Personal Injury, Loss of
        Kelso                        Self/Spouse     NY           US             Consortium
1237.   Melissa Keneally and                                                     Personal Injury, Loss of
        Timothy Keneally             Self/Spouse     NY           US             Consortium
1238.   Donald Kennedy and                                                       Personal Injury, Loss of
        Suzanne Kennedy              Self/Spouse     NY           US             Consortium
1239.   Patrick Kennedy and                                                      Personal Injury, Loss of
        Jacqueline Kennedy           Self/Spouse     NY           US             Consortium
1240.   William J Kennedy and                                                    Personal Injury, Loss of
        Karen M Kennedy              Self/Spouse     NY           US             Consortium
1241.   Patrick Kenny and Liz                                                    Personal Injury, Loss of
        Kenny                        Self/Spouse     NY           US             Consortium
1242.   Joseph C. Kessler and                                                    Personal Injury, Loss of
        Dolores Kessler              Self/Spouse     NY           US             Consortium
1243.   Mitchell Kessler             Self            NY           US             Personal Injury
1244.   Kevin Keuchler and                                                       Personal Injury, Loss of
        Karen Keuchler               Self/Spouse     NY           US             Consortium
1245.   Yasha Khaimov and                                                        Personal Injury, Loss of
        Seviay Khaimov               Self/Spouse     NY           US             Consortium
1246.   Mikhail Khaykin and                                                      Personal Injury, Loss of
        Marina Khaykin               Self/Spouse     NY           US             Consortium
1247.   Dudley L King and                                                        Personal Injury, Loss of
        Agnetta King                 Self/Spouse     NY           US             Consortium
1248.   Joseph King and Roseann                                                  Personal Injury, Loss of
        King                         Self/Spouse     NY           US             Consortium
1249.   Mark A. King and Bridget                                                 Personal Injury, Loss of
        King                         Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 109 of 159


1250.   William Kingston            Self            NY           US             Personal Injury
1251.   Michael Kinloch             Self            NY           US             Personal Injury
1252.   Franz Kippes                Self            NY           US             Personal Injury
1253.   Ann Kirdahy                 Self            NY           US             Personal Injury
1254.   Lawrence Kirwin and                                                     Personal Injury, Loss of
        Mary Seiferheld             Self/Spouse     NJ           US             Consortium
1255.   Andrzej Kiryk and                                                       Personal Injury, Loss of
        Urszula Kiryk               Self/Spouse     NY           US             Consortium
1256.   John Kissane and                                                        Personal Injury, Loss of
        Victoria Kissane            Self/Spouse     NC           US             Consortium
1257.   David Kleiman, as
        Administrator of the
        estate of Jeff Kleiman,
        and David Kleiman
        Individually                PR/Spouse       PA           US             Solatium
1258.   Joel Klein and Barbara                                                  Personal Injury, Loss of
        Uhland                      Self/Spouse     NY           US             Consortium
1259.   Michael Klimuk and                                                      Personal Injury, Loss of
        Marjorie Klimuk             Self/Spouse     NY           US             Consortium
1260.   Timothy Klobus and Jodi                                                 Personal Injury, Loss of
        A Klobus                    Self/Spouse     NY           US             Consortium
1261.   Dennis Knuckle and                                                      Personal Injury, Loss of
        Dorothy E Knuckle           Self/Spouse     NY           US             Consortium
1262.   Andrew Koehler and                                                      Personal Injury, Loss of
        Michelle Koehler            Self/Spouse     NY           US             Consortium
1263.   Patricia Mansfield, as
        Personal Representative
        of the estate of Robert
        Koeth, Jr., and Patricia
        Mansfield Individually      PR/Spouse       NY           US             Wrongful Death, Solatium
1264.   John Kogler                 Self            NY           US             Personal Injury
1265.   Andrzej Kolano and Ewa                                                  Personal Injury, Loss of
        Kolano                      Self/Spouse     NY           US             Consortium
1266.   Frank Kolanovic             Self            NY           US             Personal Injury
1267.   Michal Kopcza and                                                       Personal Injury, Loss of
        Danuta Kopcza               Self/Spouse     NY           US             Consortium
1268.   Denise Kopiske and                                                      Personal Injury, Loss of
        Walter C Kopiske            Self/Spouse     NY           US             Consortium
1269.   Alexander Koronec           Self            NY           US             Personal Injury
1270.   Greg Kosarek and Mary                                                   Personal Injury, Loss of
        Kosarek                     Self/Spouse     PA           US             Consortium
1271.   Igor Kosiv                  Self            NY           US             Personal Injury
1272.   Adam Kowalczyk and                                                      Personal Injury, Loss of
        Sabina Kowalczyk            Self/Spouse     NY           US             Consortium
1273.   Dean Kowalski and Ann-                                                  Personal Injury, Loss of
        Marie Kowalski              Self/Spouse     NJ           US             Consortium
1274.   Walter Kramer, Jr. and                                                  Personal Injury, Loss of
        Nancy J Kramer              Self/Spouse     NJ           US             Consortium
1275.   Joseph Krasko               Self            NY           US             Personal Injury
1276.   Charles Krass and Carol J                                               Personal Injury, Loss of
        Krass                       Self/Spouse     FL           US             Consortium
1277.   Antoinette Krause, as
        Personal Representative
        of the estate of John
        Krause, and Antoinette      PR/Spouse       FL           US             Wrongful Death, Solatium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 110 of 159


        Krause Individually
1278.   Aleksandr Krayniy and                                                  Personal Injury, Loss of
        Svetlana Khrapunskaya      Self/Spouse     NY           US             Consortium
1279.   Sandra Kringdon and                                                    Personal Injury, Loss of
        Felipe Rodriguez           Self/Spouse     NY           US             Consortium
1280.   Kenneth Krug               Self            NY           US             Personal Injury
1281.   Michael Krus               Self            NJ           US             Personal Injury
1282.   Marian Kuczaj              Self            NY           US             Personal Injury
1283.   Yosef Kudman and Leah                                                  Personal Injury, Loss of
        Kudman                     Self/Spouse     NY           US             Consortium
1284.   Steven Kuefner and                                                     Personal Injury, Loss of
        Kristina Kuefner           Self/Spouse     NY           US             Consortium
1285.   Thomas Kurilenko           Self            TX           US             Personal Injury
1286.   Andrew Kurpat              Self            NJ           US             Personal Injury
1287.   Hani Kutteh and Joann                                                  Personal Injury, Loss of
        Kutteh                     Self/Spouse     NY           US             Consortium
1288.   Mark D Kwalwasser and                                                  Personal Injury, Loss of
        Deirdre McMorrow           Self/Spouse     SC           US             Consortium
1289.   Boguslaw Kwasniak and                                                  Personal Injury, Loss of
        Malgorzata Kwasniak        Self/Spouse     NY           US             Consortium
1290.   Edward La Motte            Self            NY           US             Personal Injury
1291.   Ignatius LaBarbera         Self            NY           US             Personal Injury
1292.   Anthony LaBarca, Jr.       Self            NY           US             Personal Injury
1293.   Michael Labate and                                                     Personal Injury, Loss of
        Cheryl Labate              Self/Spouse     NY           US             Consortium
1294.   Herold Labissiere          Self            NY           US             Personal Injury
1295.   Robert Laconti and                                                     Personal Injury, Loss of
        Roxanne Laconti            Self/Spouse     NJ           US             Consortium
1296.   Michael Ladagana           Self            NY           US             Personal Injury
1297.   Melvin Ladner              Self            FL           US             Personal Injury
1298.   John Lafferty              Self            NY           US             Personal Injury
1299.   Juan Lafranque             Self            NY           US             Personal Injury
1300.   Troy Lagner                Self            NY           US             Personal Injury
1301.   Richard Lagnese and                                                    Personal Injury, Loss of
        Nicole Lagnese             Self/Spouse     NY           US             Consortium
1302.   William Laham and                                                      Personal Injury, Loss of
        Debra Laham                Self/Spouse     NY           US             Consortium
1303.   Fan King Lai and                                                       Personal Injury, Loss of
        Cathleen Cao               Self/Spouse     NY           US             Consortium
1304.   Mathew Laird and Margie                                                Personal Injury, Loss of
        Laird                      Self/Spouse     NY           US             Consortium
1305.   Alexander Lakhtarnik and                                               Personal Injury, Loss of
        Lina G Lakhtarnik          Self/Spouse     NY           US             Consortium
1306.   Nehru Lall and Shireen                                                 Personal Injury, Loss of
        Lall                       Self/Spouse     NY           US             Consortium
1307.                                                                          Personal Injury, Loss of
        John Lam and Sandy Lam     Self/Spouse     NY           US             Consortium
1308.   Juan Lam and Queenie C                                                 Personal Injury, Loss of
        Chiu                       Self/Spouse     NY           US             Consortium
1309.   Shaun Lamberti and                                                     Personal Injury, Loss of
        Catherine Lamberti         Self/Spouse     NY           US             Consortium
1310.   Frantz Lamothe and                                                     Personal Injury, Loss of
        Anne Marie Lamothe         Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 111 of 159


1311.   Robert Lampitelli            Self            SC           US             Personal Injury
1312.   Keith Landau and Diane                                                   Personal Injury, Loss of
        Landau                       Self/Spouse     PA           US             Consortium
1313.   William Landon and                                                       Personal Injury, Loss of
        Irene Landon                 Self/Spouse     NY           US             Consortium
1314.   Walter Lane                  Self            NY           US             Personal Injury
1315.   Karl B Lanfrit and                                                       Personal Injury, Loss of
        Christina Lanfrit            Self/Spouse     NY           US             Consortium
1316.   Ralph LaNoce and Mary                                                    Personal Injury, Loss of
        LaNoce                       Self/Spouse     NY           US             Consortium
1317.   Stephanie Lanuto, as
        Administratrix of the
        estate of Robert Lanuto,
        and Stephanie Lanuto
        Individually                 PR/Daughter     NY           US             Wrongful Death, Solatium
1318.   John LaPierre and Donna                                                  Personal Injury, Loss of
        LaPierre                     Self/Spouse     NY           US             Consortium
1319.   Manuel Lara and Nydia                                                    Personal Injury, Loss of
        Lara                         Self/Spouse     NY           US             Consortium
1320.   Brian LaRussa and Jean                                                   Personal Injury, Loss of
        La Russa                     Self/Spouse     FL           US             Consortium
1321.   Michael Lasalandra           Self            NJ           US             Personal Injury
1322.   Carlos Lascano               Self            NY           US             Personal Injury
1323.   Fernando Lascano and                                                     Personal Injury, Loss of
        Isabel Lascano               Self/Spouse     NJ           US             Consortium
1324.   Noe Lasso                    Self            NJ           US             Personal Injury
1325.   Vincent Laterra and Ellen                                                Personal Injury, Loss of
        Laterra                      Self/Spouse     NY           US             Consortium
1326.   Howard Latimer and                                                       Personal Injury, Loss of
        Elaine Latimer               Self/Spouse     PA           US             Consortium
1327.   Joseph Lauer, Jr and                                                     Personal Injury, Loss of
        Aileen Lauer                 Self/Spouse     NY           US             Consortium
1328.   Frank Laura and                                                          Personal Injury, Loss of
        Rosemarie Laura              Self/Spouse     NY           US             Consortium
1329.   Wayne Laurenzano and                                                     Personal Injury, Loss of
        Denise Laurenzano            Self/Spouse     NY           US             Consortium
1330.   Robert Lauri                 Self            NY           US             Personal Injury
1331.   James Lavelle and Patricia                                               Personal Injury, Loss of
        Lavelle                      Self/Spouse     NY           US             Consortium
1332.   James Lavin and Lauren                                                   Personal Injury, Loss of
        Lavin                        Self/Spouse     GA           US             Consortium
1333.   Giuseppe Lavore              Self            NY           US             Personal Injury
1334.   Christopher J Lawrence                                                   Personal Injury, Loss of
        and Tina Lawrence            Self/Spouse     NY           US             Consortium
1335.   Edward Layne                 Self            DE           US             Personal Injury
1336.   George Layne                 Self            NY           US             Personal Injury
1337.   Turhan Lazarus and                                                       Personal Injury, Loss of
        Arriefah Lazarus             Self/Spouse     NY           US             Consortium
1338.   Mark Lazina and Arlene                                                   Personal Injury, Loss of
        Lazina                       Self/Spouse     NY           US             Consortium
1339.   John Leach and Evelyn                                                    Personal Injury, Loss of
        Leach                        Self/Spouse     NY           US             Consortium
1340.   Suzanne Leacock-
        Singleton and Ronald                                                     Personal Injury, Loss of
        Singleton                    Self/Spouse     FL           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 112 of 159


1341.   Jacqueline Leahy and                                                    Personal Injury, Loss of
        Michael Leahy               Self/Spouse     NY           US             Consortium
1342.   Michael Leahy and                                                       Personal Injury, Loss of
        Jacqueline Leahy            Self/Spouse     NY           US             Consortium
1343.   Patrick Leahy and Judy                                                  Personal Injury, Loss of
        Leahy                       Self/Spouse     NY           US             Consortium
1344.   Annette Leary               Self            NY           US             Personal Injury
1345.   Mark Lebrini and Jaina                                                  Personal Injury, Loss of
        Lebrini                     Self/Spouse     NY           US             Consortium
1346.   Genowefa Kaleta-Lech,
        as Personal
        Representative of the
        estate of Leszek Lech,
        and Genowefa Kaleta-
        Lech Individually           PR/Spouse       NY           US             Wrongful Death, Solatium
1347.   James R Lechmanski and                                                  Personal Injury, Loss of
        Helen T Lechmanski          Self/Spouse     NY           US             Consortium
1348.   Franklin Lechner and                                                    Personal Injury, Loss of
        Carmen Lechner              Self/Spouse     NY           US             Consortium
1349.   Fabio Lecoche and                                                       Personal Injury, Loss of
        Jacqueline Le Coche         Self/Spouse     NY           US             Consortium
1350.   Horacio Ledesma             Self            NY           US             Personal Injury
1351.                                                                           Personal Injury, Loss of
        Cora Lee and Harold Lee     Self/Spouse     NM           US             Consortium
1352.   David Lee                   Self            NJ           US             Personal Injury
1353.   Michael Lee                 Self            NY           US             Personal Injury
1354.   Ricky Lee                   Self            NY           US             Personal Injury
1355.   Alan Leifer and Randi                                                   Personal Injury, Loss of
        Leifer                      Self/Spouse     NY           US             Consortium
1356.   Finbarr Leighton            Self            NY           US             Personal Injury
1357.   James Leischner             Self            IL           US             Personal Injury
1358.   Jason Leiterman and                                                     Personal Injury, Loss of
        Janine M Lieterman          Self/Spouse     NY           US             Consortium
1359.   John Lema and Cheryl R                                                  Personal Injury, Loss of
        Lema                        Self/Spouse     NY           US             Consortium
1360.   Jose Lemos                  Self            NY           US             Personal Injury
1361.   Paige Lener                 Self            NY           US             Personal Injury
1362.   Kurt Lenio                  Self            NY           US             Personal Injury
1363.   Kevin Lennon and                                                        Personal Injury, Loss of
        Rosemary Lennon             Self/Spouse     NY           US             Consortium
1364.   Mary Lennon-Craig and                                                   Personal Injury, Loss of
        Leonard Craig               Self/Spouse     NY           US             Consortium
1365.   Thomas Lenzo                Self            NY           US             Personal Injury
1366.   Fernando Leon               Self            NY           US             Personal Injury
1367.   Pascual Leon                Self            NY           US             Personal Injury
1368.   Segundo Leon                Self            NY           US             Personal Injury
1369.   Thomas Leonard and                                                      Personal Injury, Loss of
        Laurie Leonard              Self/Spouse     NJ           US             Consortium
1370.   Danielle Leonardi, as
        Executor of the estate of
        Eileen Leonardi, and
        Danielle Leonardi
        Individually                PR/Daughter     NY           US             Wrongful Death, Solatium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 113 of 159


1371.   Domenico Leone and                                                     Personal Injury, Loss of
        Isabella C Leone           Self/Spouse     NJ           US             Consortium
1372.   Natale Leone and Debby                                                 Personal Injury, Loss of
        Leone                      Self/Spouse     NJ           US             Consortium
1373.   Dominick Lepore and                                                    Personal Injury, Loss of
        Patricia Lepore            Self/Spouse     NJ           US             Consortium
1374.   Scott Lepre                Self            NY           US             Personal Injury
1375.   David Lerich               Self            NY           US             Personal Injury
1376.   Eric Lerner and Caroline                                               Personal Injury, Loss of
        Lerner                     Self/Spouse     NY           US             Consortium
1377.   Clement Lespinasse and                                                 Personal Injury, Loss of
        Diane Patterson            Self/Spouse     NY           US             Consortium
1378.   William Leverton and                                                   Personal Injury, Loss of
        Florinda Leverton          Self/Spouse     NY           US             Consortium
1379.   Samuel Lewis and Opal                                                  Personal Injury, Loss of
        Lewis                      Self/Spouse     NY           US             Consortium
1380.   Stephen Lewis and Doris                                                Personal Injury, Loss of
        Lewis                      Self/Spouse     NY           US             Consortium
1381.   Stephen W Lewis and                                                    Personal Injury, Loss of
        Patricia Lewis             Self/Spouse     SC           US             Consortium
1382.   William Lewis              Self            NY           US             Personal Injury
1383.   Michael Lewy and                                                       Personal Injury, Loss of
        Monica Lewy                Self/Spouse     NY           US             Consortium
1384.   Chaicharn Liangsiri and                                                Personal Injury, Loss of
        Shelia Liangsiri           Self/Spouse     NY           US             Consortium
1385.   Anthony Licata and                                                     Personal Injury, Loss of
        Christine Licata           Self/Spouse     NY           US             Consortium
1386.   John A Lichota and                                                     Personal Injury, Loss of
        Brigid E Lichota           Self/Spouse     FL           US             Consortium
1387.   Sean Lichota and Jessica                                               Personal Injury, Loss of
        Lichota                    Self/Spouse     CO           US             Consortium
1388.   David Lichtenstein and                                                 Personal Injury, Loss of
        Christina Lichtenstein     Self/Spouse     NY           US             Consortium
1389.   Ken LiGreci                Self            NY           US             Personal Injury
1390.   Robert Link                Self            NV           US             Personal Injury
1391.   John Linstrom and Traci                                                Personal Injury, Loss of
        Linstrom                   Self/Spouse     CA           US             Consortium
1392.   George Liropoulos and                                                  Personal Injury, Loss of
        Lissette Liropoulos        Self/Spouse     NY           US             Consortium
1393.   Anthony Lisi and                                                       Personal Injury, Loss of
        Stephanie Lisi             Self/Spouse     NY           US             Consortium
1394.   Manuel Lituma              Self            NY           US             Personal Injury
1395.   Stuart Litwin and                                                      Personal Injury, Loss of
        Brunilda Litwin            Self/Spouse     NY           US             Consortium
1396.   Emma Llaurado              Self            NY           US             Personal Injury
1397.   William Lloyd and                                                      Personal Injury, Loss of
        Barbara Lloyd              Self/Spouse     NY           US             Consortium
1398.   Mark Lobel and Deborah                                                 Personal Injury, Loss of
        Lobel                      Self/Spouse     NC           US             Consortium
1399.   Salvatore Lobello and                                                  Personal Injury, Loss of
        Anna Lobello               Self/Spouse     NY           US             Consortium
1400.   Chris Lockel and Vanessa                                               Personal Injury, Loss of
        C Lockel                   Self/Spouse     NY           US             Consortium
1401.   Brenda Lockhart-Rivera     Self            NY           US             Personal Injury
1402.   Winston Lodge              Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 114 of 159


1403.   Daniel Loen                 Self            NJ           US             Personal Injury
1404.   William Loening and                                                     Personal Injury, Loss of
        Joann Patricia Loening      Self/Spouse     FL           US             Consortium
1405.   Kenneth LoFaro and                                                      Personal Injury, Loss of
        Meryl LoFaro                Self/Spouse     NY           US             Consortium
1406.   Rita LoGiudice              Self            NY           US             Personal Injury
1407.   Jose Loja and Livia Maria                                               Personal Injury, Loss of
        Durazno                     Self/Spouse     NY           US             Consortium
1408.   Nicholas Lombardi           Self            NY           US             Personal Injury
1409.   Joseph Longo and Laura                                                  Personal Injury, Loss of
        Ann Longo                   Self/Spouse     NY           US             Consortium
1410.   John Lonnborg               Self            NY           US             Personal Injury
1411.   Agustin C Lopez and                                                     Personal Injury, Loss of
        Nelly Lopez                 Self/Spouse     NY           US             Consortium
1412.   Maria Sanchez-Lopez, as
        Administratrix of the
        estate of Antonio Lopez,
        and Maria Sanchez-Lopez
        Individually                PR/Spouse       NY           US             Wrongful Death, Solatium
1413.   Arnaldo Lopez and                                                       Personal Injury, Loss of
        Cecelia Lopez               Self/Spouse     NY           US             Consortium
1414.   Gregg Lopez and Susan                                                   Personal Injury, Loss of
        Lopez                       Self/Spouse     PA           US             Consortium
1415.   Jamie D Lopez               Self            NY           US             Personal Injury
1416.   Milton Lopez and                                                        Personal Injury, Loss of
        Georgina L Lopez            Self/Spouse     NJ           US             Consortium
1417.   Oswaldo Lopez and                                                       Personal Injury, Loss of
        Loreno V Lopez              Self/Spouse     NJ           US             Consortium
1418.   Rene Lopez and Julienne                                                 Personal Injury, Loss of
        Lopez                       Self/Spouse     NY           US             Consortium
1419.   Ricardo Lopez and                                                       Personal Injury, Loss of
        Yvette Pagan                Self/Spouse     NY           US             Consortium
1420.   Rolando Lopez               Self            NY           US             Personal Injury
1421.   Tulio Lopez                 Self            NJ           US             Personal Injury
1422.   Wilber Lopez and                                                        Personal Injury, Loss of
        Aracelly Gonzales           Self/Spouse     NY           US             Consortium
1423.   Laura LoPresti and Peter                                                Personal Injury, Loss of
        Lopresi                     Self/Spouse     NJ           US             Consortium
1424.   Peter LoPresti and Laura                                                Personal Injury, Loss of
        LoPresti                    Self/Spouse     NJ           US             Consortium
1425.   Andrea Lora                 Self            NY           US             Personal Injury
1426.   Nicholas Lorusso and                                                    Personal Injury, Loss of
        Deana Lorusso               Self/Spouse     PA           US             Consortium
1427.   Tyrone Lott                 Self            NY           US             Personal Injury
1428.   John Loughery and Kerry                                                 Personal Injury, Loss of
        E Loughery                  Self/Spouse     NY           US             Consortium
1429.   Desmond Loughran and                                                    Personal Injury, Loss of
        Helen Loughran              Self/Spouse     PA           US             Consortium
1430.   Brian Louisa, as
        Administrator of the
        estate of Gary Louisa,
        and Brian Louisa
        Individually                PR/Spouse       NY           US             Wrongful Death, Solatium
1431.   Steve Lovergine and                                                     Personal Injury, Loss of
        Christine Lovergine         Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 115 of 159


1432.   Jozef Lubiarz and Jolania                                               Personal Injury, Loss of
        Lubiarz                     Self/Spouse     NY           US             Consortium
1433.   Lionel Lucas and                                                        Personal Injury, Loss of
        Antoinette Lucas            Self/Spouse     NY           US             Consortium
1434.   Joseph Lucchese and                                                     Personal Injury, Loss of
        Joellen Lucchese            Self/Spouse     NY           US             Consortium
1435.   Ligia Luengas               Self            NY           US             Personal Injury
1436.   Daniel Luffman and                                                      Personal Injury, Loss of
        Michelle J Luffman          Self/Spouse     NY           US             Consortium
1437.   John Patrick Luffman and                                                Personal Injury, Loss of
        Darlene Luffman             Self/Spouse     NY           US             Consortium
1438.   Robert Luizzi and                                                       Personal Injury, Loss of
        Josephine Luizzi            Self/Spouse     NY           US             Consortium
1439.   Edward Luke and Diana                                                   Personal Injury, Loss of
        Luke                        Self/Spouse     NY           US             Consortium
1440.   Rolando Luna                Self            NY           US             Personal Injury
1441.   Marissa Lundquist and                                                   Personal Injury, Loss of
        James F Lundquist           Self/Spouse     NY           US             Consortium
1442.   Alessandro Luparello and                                                Personal Injury, Loss of
        Florence N Luparello        Self/Spouse     NY           US             Consortium
1443.   Steven Lupo                 Self            NY           US             Personal Injury
1444.   William A Lutz and Lisa                                                 Personal Injury, Loss of
        M Gornay-Lutz               Self/Spouse     NY           US             Consortium
1445.   Rafael Luyando and Iveliz                                               Personal Injury, Loss of
        Luyando                     Self/Spouse     NY           US             Consortium
1446.   James Lynagh and Sandra                                                 Personal Injury, Loss of
        Lynagh                      Self/Spouse     NY           US             Consortium
1447.   Michael Lynch and                                                       Personal Injury, Loss of
        Dolores Lynch               Self/Spouse     NY           US             Consortium
1448.   Thomas Lynch and                                                        Personal Injury, Loss of
        Charlotte Lynch             Self/Spouse     NJ           US             Consortium
1449.   Gary Lynn and Susan                                                     Personal Injury, Loss of
        Lynn                        Self/Spouse     NY           US             Consortium
1450.   Kelly Lyon and Jennifer                                                 Personal Injury, Loss of
        Lyon                        Self/Spouse     NY           US             Consortium
1451.   Charles Lyons               Self            NY           US             Personal Injury
1452.   John Macaluso and                                                       Personal Injury, Loss of
        Jessica Macaluso            Self/Spouse     OR           US             Consortium
1453.   Veronica Macas              Self            NY           US             Personal Injury
1454.   Vernon Mack                 Self            NJ           US             Personal Injury
1455.   Robert Madonna              Self            NY           US             Personal Injury
1456.   Anthony Maffatore and                                                   Personal Injury, Loss of
        Katherine Maffatore         Self/Spouse     NY           US             Consortium
1457.   Lyudmila Magdyuk, as
        Administratrix of the
        estate of Valeriy
        Magdyuk, and Lyudmila
        Magdyuk Individually        PR/Spouse       NY           US             Wrongful Death, Solatium
1458.   Debra Maggiani              Self            Fl           US             Personal Injury
1459.   Thomas Maher                Self            NJ           US             Personal Injury
1460.   Dexton Mahoney and                                                      Personal Injury, Loss of
        Anette Mahoney              Self/Spouse     NY           US             Consortium
1461.   Margaret Makoc and                                                      Personal Injury, Loss of
        Mark Makoc                  Self/Spouse     NY           US             Consortium
1462.   Vitaliy Maksymets and       Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 116 of 159


        Angela Maksymets                                                        Consortium
1463.   John Malafronte and                                                     Personal Injury, Loss of
        Raetheresa Malafronte       Self/Spouse     NY           US             Consortium
1464.   Darwin Maldonado            Self            NY           US             Personal Injury
1465.   Felix Maldonado             Self            NY           US             Personal Injury
1466.   Jose Maldonado              Self            NJ           US             Personal Injury
1467.   Mariana Maldonado           Self            NY           US             Personal Injury
1468.   Scott Malkoff and Irina                                                 Personal Injury, Loss of
        Malkoff                     Self/Spouse     NY           US             Consortium
1469.   Bernard Malone and Rita                                                 Personal Injury, Loss of
        M Malone                    Self/Spouse     NY           US             Consortium
1470.   James Malone                Self            NJ           US             Personal Injury
1471.   Philip Maltaghati and                                                   Personal Injury, Loss of
        Madeline Maltaghati         Self/Spouse     NY           US             Consortium
1472.   Joseph G Malvino and                                                    Personal Injury, Loss of
        Marilyn Malvino             Self/Spouse     NJ           US             Consortium
1473.   Lance Maly and Joanne                                                   Personal Injury, Loss of
        Maly                        Self/Spouse     NY           US             Consortium
1474.   Edward Mamet                Self            NY           US             Personal Injury
1475.   Frank Mancuso and Ann                                                   Personal Injury, Loss of
        Mancuso                     Self/Spouse     NY           US             Consortium
1476.   Carmine Mandragona          Self            NY           US             Personal Injury
1477.   Maria Manetta, as
        Administratrix of the
        estate of Richard
        Manetta, and Maria
        Manetta Individually        PR/Spouse       NY           US             Wrongful Death, Solatium
1478.   Regina Mangham              Self            NY           US             Personal Injury
1479.   Richard Manion              Self            NY           US             Personal Injury
1480.   Dennis Mankowski            Self            NY           US             Personal Injury
1481.   Gregory Manning and                                                     Personal Injury, Loss of
        Christine Manning           Self/Spouse     NY           US             Consortium
1482.   R. Delia Mannix and                                                     Personal Injury, Loss of
        Richard v Ferro             Self/Spouse     NY           US             Consortium
1483.   Francesco Manno             Self            NY           US             Personal Injury
1484.   Sebastian Mannuzza          Self            NY           US             Personal Injury
1485.   Tigran Manukyan and                                                     Personal Injury, Loss of
        Gayane Hakobyan             Self/Spouse     NY           US             Consortium
1486.   Kevin Maraglio and                                                      Personal Injury, Loss of
        Bonnie Maraglio             Self/Spouse     NY           US             Consortium
1487.   Nicholas Marchese and                                                   Personal Injury, Loss of
        Marlene Marchese            Self/Spouse     NY           US             Consortium
1488.   Cathleen S Marchetti, as
        Administratrix of the
        estate of Joseph
        Marchetti, and Cathleen S
        Marchetti Individually      PR/Spouse       NY           US             Solatium
1489.   Robert Marchi and                                                       Personal Injury, Loss of
        Colleen Marchi              Self/Spouse     CA           US             Consortium
1490.   Phyllis Marchione           Self            NJ           US             Personal Injury
1491.   Stephen Marchione and                                                   Personal Injury, Loss of
        Gaetana Marchione           Self/Spouse     PA           US             Consortium
1492.   Thomas Marchlewski and                                                  Personal Injury, Loss of
        Cathy Marchleuski           Self/Spouse     NJ           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 117 of 159


1493.   Angel Marengo                Self            NY           US             Personal Injury
1494.   Francis Margraf              Self            NY           US             Personal Injury
1495.   Indira Marine                Self            NY           US             Personal Injury
1496.   Dean Marino                  Self            NY           US             Personal Injury
1497.   Raymond Marino and                                                       Personal Injury, Loss of
        Suzanne Marino               Self/Spouse     GA           US             Consortium
1498.   Virgilio Marmolejo and                                                   Personal Injury, Loss of
        Olga C Rivera                Self/Spouse     NJ           US             Consortium
1499.   Eric Marrero and                                                         Personal Injury, Loss of
        Michelle Marrero             Self/Spouse     FL           US             Consortium
1500.   Ernesto Marrero              Self            NJ           US             Personal Injury
1501.   Donna Marshall               Self            NJ           US             Personal Injury
1502.   Richard Martin and Cathy                                                 Personal Injury, Loss of
        E Rush                       Self/Spouse     NY           US             Consortium
1503.   Thomas Martin and                                                        Personal Injury, Loss of
        MegAnn Martin                Self/Spouse     NY           US             Consortium
1504.   Augustino Martinello and                                                 Personal Injury, Loss of
        Frances Martiniello          Self/Spouse     NY           US             Consortium
1505.   Alex Martinez                Self            NY           US             Personal Injury
1506.   Mercedes Martinez, as
        Administratrix of the
        estate of Alfredo
        Martinez, and Mercedes
        Martinez Individually        PR/Sibling      NY           US             Wrongful Death, Solatium
1507.   Domingo Martinez             Self            NY           US             Personal Injury
1508.   Edwin Martinez and                                                       Personal Injury, Loss of
        Eileen Martinez              Self/Spouse     NY           US             Consortium
1509.   George Martinez              Self            NY           US             Personal Injury
1510.   Joffre Martinez and                                                      Personal Injury, Loss of
        Jessica Cabrera              Self/Spouse     NY           US             Consortium
1511.   Marcos Martinez and                                                      Personal Injury, Loss of
        Debbie A Martinez            Self/Spouse     NY           US             Consortium
1512.   Nancy Martinez and                                                       Personal Injury, Loss of
        Kevin Martinez               Self/Spouse     NY           US             Consortium
1513.   Micah Martino                Self            NY           US             Personal Injury
1514.   JoAnn Marzocchi, as
        Executrix of the estate of
        William Marzocchi, and
        JoAnn Marzocchi
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
1515.   Rafael Masabanda             Self            NJ           US             Personal Injury
1516.   Trina Mason                  Self            NY           US             Personal Injury
1517.   Dianne Tannariello, as
        Executrix of the estate of
        Matthew Masseria, and
        Dianne Tannariello
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
1518.   Eleodoro Mata and Ivis                                                   Personal Injury, Loss of
        Rodriguez-Mata               Self/Spouse     NY           US             Consortium
1519.   Daniel Matera and Marie                                                  Personal Injury, Loss of
        L Matera                     Self/Spouse     TX           US             Consortium
1520.   Perumal Mathew and                                                       Personal Injury, Loss of
        Leelamma Perumal             Self/Spouse     NJ           US             Consortium
1521.   Jose Matias                  Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 118 of 159


1522.   Christopher Matishek and                                               Personal Injury, Loss of
        Karyn A Matishek           Self/Spouse     NY           US             Consortium
1523.   Manuel Matos and Maria                                                 Personal Injury, Loss of
        Matos                      Self/Spouse     NY           US             Consortium
1524.   Allen Matthews             Self            NY           US             Personal Injury
1525.   Mark Maupin                Self            SC           US             Personal Injury
1526.   Joseph Maurino and                                                     Personal Injury, Loss of
        Anita Maurino              Self/Spouse     NY           US             Consortium
1527.   Gregory M. Maxwell and                                                 Personal Injury, Loss of
        Renee L Maxwell            Self/Spouse     SC           US             Consortium
1528.   Edward May                 Self            NY           US             Personal Injury
1529.   Keoni May                  Self            HI           US             Personal Injury
1530.   Noel Maynard and Lucille                                               Personal Injury, Loss of
        Maynard                    Self/Spouse     NY           US             Consortium
1531.   Philip Mayott              Self            NY           US             Personal Injury
1532.   Camilla Mazarese, as
        Administratrix of the
        estate of John Mazarese,
        and Camilla Mazarese
        Individually               PR/Spouse       NY           US             Wrongful Death, Solatium
1533.   Gary Maziarz               Self            CA           US             Personal Injury
1534.   Juan Mazlymian and Julia                                               Personal Injury, Loss of
        Mazlymian                  Self/Spouse     NY           US             Consortium
1535.   Joseph A Mazza             Self            NY           US             Personal Injury
1536.   James McAlevey and                                                     Personal Injury, Loss of
        Geneveive McAlevey         Self/Spouse     NY           US             Consortium
1537.   Brian McAllister           Self            NY           US             Personal Injury
1538.   Gina McAusland, as
        Administratrix of the
        estate of Thomas
        McAusland, and Gina
        McAusland Individually     PR/Spouse       NY           US             Wrongful Death, Solatium
1539.   Derrick McBean             Self            NY           US             Personal Injury
1540.   John McBride               Self            NJ           US             Personal Injury
1541.   Thomas McBride and                                                     Personal Injury, Loss of
        Ingrid McBride             Self/Spouse     NY           US             Consortium
1542.   James McCabe and                                                       Personal Injury, Loss of
        Nancy McCabe               Self/Spouse     NY           US             Consortium
1543.   James McCabe and                                                       Personal Injury, Loss of
        Ritamary McCabe            Self/Spouse     NY           US             Consortium
1544.   Jeffrey McCabe and                                                     Personal Injury, Loss of
        Tammy McCabe               Self/Spouse     NY           US             Consortium
1545.   Daniel McCann              Self            NY           US             Personal Injury
1546.   Daniel McCann              Self            NY           US             Personal Injury
1547.   Michael McCann and                                                     Personal Injury, Loss of
        Deirdre H McCann           Self/Spouse     NY           US             Consortium
1548.   Robert McCarren Jr and                                                 Personal Injury, Loss of
        Christine McCarren         Self/Spouse     NY           US             Consortium
1549.   Daniel McCarthy            Self            NJ           US             Personal Injury
1550.   Lynn McCarthy and                                                      Personal Injury, Loss of
        Eugene Senese              Self/Spouse     NY           US             Consortium
1551.   William A McCarthy and                                                 Personal Injury, Loss of
        Karen McCarthy             Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 119 of 159


1552.   Robert McCaskey and                                                   Personal Injury, Loss of
        Patrice McCaskey          Self/Spouse     CT           US             Consortium
1553.   Susan McConnell           Self            NY           US             Personal Injury
1554.   Thomas McCormick and                                                  Personal Injury, Loss of
        Lynne McCormick           Self/Spouse     NY           US             Consortium
1555.   Agnes McCoy, as
        Administratrix of the
        estate of Thomas McCoy,
        and Agnes McCoy
        Individually              PR/Spouse       NY           US             Wrongful Death, Solatium
1556.   Thomas McCoy and                                                      Personal Injury, Loss of
        Veronica A McCoy          Self/Spouse     NY           US             Consortium
1557.   Lawrence McCrory          Self            NY           US             Personal Injury
1558.   Joseph Mccue and Jane                                                 Personal Injury, Loss of
        Mccue                     Self/Spouse     NY           US             Consortium
1559.   Michael McDaniel and                                                  Personal Injury, Loss of
        Sharon McDaniel           Self/Spouse     NY           US             Consortium
1560.   Sean McDermott and                                                    Personal Injury, Loss of
        Eileen McDermott          Self/Spouse     NY           US             Consortium
1561.   Thomas McDermott and                                                  Personal Injury, Loss of
        Nancy McDermott           Self/Spouse     NY           US             Consortium
1562.   Thomas McDonald and                                                   Personal Injury, Loss of
        Lorraine McDonald         Self/Spouse     NY           US             Consortium
1563.   Curtis P McDowald         Self            NY           US             Personal Injury
1564.   Bryan McElwain and                                                    Personal Injury, Loss of
        Felicia McElwain          Self/Spouse     NY           US             Consortium
1565.   Patricia A McEniry        Self            NY           US             Personal Injury
1566.   Brian McFarland           Self            NJ           US             Personal Injury
1567.   Kenneth McFarlane         Self            NJ           US             Personal Injury
1568.   Brian McGeever and                                                    Personal Injury, Loss of
        Ileana McGeever           Self/Spouse     NY           US             Consortium
1569.   Shaun McGill and Tracey                                               Personal Injury, Loss of
        L McGill                  Self/Spouse     NY           US             Consortium
1570.   Peter McGinn              Self            NY           US             Personal Injury
1571.   James McGinnis and                                                    Personal Injury, Loss of
        Barbara McGinnis          Self/Spouse     NY           US             Consortium
1572.   Michael McGivney and                                                  Personal Injury, Loss of
        Barbara McGivney          Self/Spouse     NY           US             Consortium
1573.   Peter McGovern and                                                    Personal Injury, Loss of
        Elizabeth McGovern        Self/Spouse     NY           US             Consortium
1574.   Matthew McGrath and                                                   Personal Injury, Loss of
        Theresa McGrath           Self/Spouse     NY           US             Consortium
1575.   Brian McGuinness and                                                  Personal Injury, Loss of
        Mary McGuinness           Self/Spouse     NY           US             Consortium
1576.   Lawrence J McGurk         Self            NY           US             Personal Injury
1577.   Hugh McHugh               Self            NY           US             Personal Injury
1578.   Sandra McKay              Self            NY           US             Personal Injury
1579.   Evelyn McKee              Self            NY           US             Personal Injury
1580.   Brian McKenna and                                                     Personal Injury, Loss of
        Linda McKenna             Self/Spouse     NY           US             Consortium
1581.   Daniel McKenna            Self            NJ           US             Personal Injury
1582.   Doreen McLarney, as
        Personal Representative
        of the estate of Denis    PR/Spouse       NY           US             Wrongful Death, Solatium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 120 of 159


        McLarney, and Doreen
        McLarney Individually
1583.   Harriet McLaughlin, as
        Executrix of the estate of
        Kevin McLaughlin, and
        Harriet McLaughlin
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
1584.   Sean Mclaughlin and                                                      Personal Injury, Loss of
        Mary McLaughlin              Self/Spouse     NY           US             Consortium
1585.   Thomas McLaughlin and                                                    Personal Injury, Loss of
        Stasia McLaughlin            Self/Spouse     NY           US             Consortium
1586.   Alan McLaurin                Self            NY           US             Personal Injury
1587.   Dennis J. McLoughlin                                                     Personal Injury, Loss of
        and Anne G McLoughlin        Self/Spouse     NY           US             Consortium
1588.   Jim McLoughlin and                                                       Personal Injury, Loss of
        Victoria McLoughlin          Self/Spouse     NC           US             Consortium
1589.   Dennis McMahon and                                                       Personal Injury, Loss of
        Colleen McMahon              Self/Spouse     NY           US             Consortium
1590.   Kevin McMahon and                                                        Personal Injury, Loss of
        Noreen McMahon               Self/Spouse     NJ           US             Consortium
1591.   Michael McMahon              Self            SC           US             Personal Injury
1592.   Dennis McMorrow and                                                      Personal Injury, Loss of
        Pamela McMorrow              Self/Spouse     NY           US             Consortium
1593.   Michael McNair and                                                       Personal Injury, Loss of
        Mary Anne McNair             Self/Spouse     NY           US             Consortium
1594.   Brian McNulty                Self            NY           US             Personal Injury
1595.   Gerard McNulty and                                                       Personal Injury, Loss of
        Dorothy McNulty              Self/Spouse     NY           US             Consortium
1596.   Matthew McNulty and                                                      Personal Injury, Loss of
        Cynthia McNulty              Self/Spouse     NJ           US             Consortium
1597.   William McNulty and                                                      Personal Injury, Loss of
        Karen McNulty                Self/Spouse     NY           US             Consortium
1598.   Barry Meade                  Self            NY           US             Personal Injury
1599.   Terrence Meaney and                                                      Personal Injury, Loss of
        Elizabeth Meaney             Self/Spouse     NY           US             Consortium
1600.   Maureen Meaney-Keane                                                     Personal Injury, Loss of
        and John Keane               Self/Spouse     NY           US             Consortium
1601.   Raymond Medina and                                                       Personal Injury, Loss of
        Karen M Medina               Self/Spouse     IL           US             Consortium
1602.   Vilma Medina                 Self            NY           US             Personal Injury
1603.   Salvador Medrano and                                                     Personal Injury, Loss of
        Trinidad Medrano             Self/Spouse     NY           US             Consortium
1604.   Trinidad Medrano and                                                     Personal Injury, Loss of
        Salvador L Medrano           Self/Spouse     NY           US             Consortium
1605.   John Mee and Linda A                                                     Personal Injury, Loss of
        Mee                          Self/Spouse     NY           US             Consortium
1606.   Jacqueline Mege              Self            NY           US             Personal Injury
1607.   Edilio Mejia                 Self            NY           US             Personal Injury
1608.   Hilario Mejia and                                                        Personal Injury, Loss of
        Mercedes H Medrano           Self/Spouse     NJ           US             Consortium
1609.   Mark Mekler and                                                          Personal Injury, Loss of
        Margaret Mekler              Self/Spouse     FL           US             Consortium
1610.   Javier Melendez and Tara                                                 Personal Injury, Loss of
        Melendez                     Self/Spouse     NY           US             Consortium
1611.   Rafael Melendez              Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 121 of 159


1612.   Louis Melisi               Self            NY           US             Personal Injury
1613.   Gregory Melita and                                                     Personal Injury, Loss of
        Elizabeth Melita           Self/Spouse     FL           US             Consortium
1614.   Robert Mellina and Lori                                                Personal Injury, Loss of
        Ellen Mellina              Self/Spouse     NY           US             Consortium
1615.   Alex Mendez                Self            NY           US             Personal Injury
1616.   Francisco Mendez and                                                   Personal Injury, Loss of
        Deborah Mendez             Self/Spouse     NJ           US             Consortium
1617.   Michael Mendez             Self            NY           US             Personal Injury
1618.   Patricio Mendez and                                                    Personal Injury, Loss of
        Giovanna Lopez             Self/Spouse     NY           US             Consortium
1619.   Nelson Mendez, Jr. and                                                 Personal Injury, Loss of
        Sunny S Costa-Mendez       Self/Spouse     FL           US             Consortium
1620.   Gustavo Mendoza and                                                    Personal Injury, Loss of
        Hada Mendoza               Self/Spouse     NJ           US             Consortium
1621.   Diane Menig and John                                                   Personal Injury, Loss of
        Menig                      Self/Spouse     NY           US             Consortium
1622.   Luis Mercado               Self            NJ           US             Personal Injury
1623.   Carlos Merchan             Self            NY           US             Personal Injury
1624.   Mercedes Merchan and                                                   Personal Injury, Loss of
        Carlos Zamora              Self/Spouse     NY           US             Consortium
1625.   Vance Merrick              Self            NY           US             Personal Injury
1626.   John Merry and Wieslawa                                                Personal Injury, Loss of
        A Merry                    Self/Spouse     NY           US             Consortium
1627.   Luis Mesorana              Self            TX           US             Personal Injury
1628.   Lloyd Mesquita             Self            NY           US             Personal Injury
1629.   Angelo Messina and                                                     Personal Injury, Loss of
        Danielle Messina           Self/Spouse     NY           US             Consortium
1630.   Gaetano Messina and                                                    Personal Injury, Loss of
        Maria Messina              Self/Spouse     NY           US             Consortium
1631.   John Messina and Maria                                                 Personal Injury, Loss of
        Messina                    Self/Spouse     NY           US             Consortium
1632.   Alexander Metro and                                                    Personal Injury, Loss of
        Toni LaCentra              Self/Spouse     NY           US             Consortium
1633.   Hugo Meza and Silvia                                                   Personal Injury, Loss of
        Meza                       Self/Spouse     NY           US             Consortium
1634.   Jerome Middleton           Self            NY           US             Personal Injury
1635.   Joseph Middleton and                                                   Personal Injury, Loss of
        Dianne Middleton           Self/Spouse     NY           US             Consortium
1636.   Michael Miele and Diana                                                Personal Injury, Loss of
        T Miele                    Self/Spouse     NY           US             Consortium
1637.   Michael Migliore and                                                   Personal Injury, Loss of
        Tina Migliore              Self/Spouse     NY           US             Consortium
1638.   Joseph Miller              Self            NY           US             Personal Injury
1639.   Richard Miller and Greta                                               Personal Injury, Loss of
        Miller                     Self/Spouse     NY           US             Consortium
1640.   Samuel Miller and                                                      Personal Injury, Loss of
        Michelle Miller            Self/Spouse     NY           US             Consortium
1641.   Scott Miller and Amy                                                   Personal Injury, Loss of
        Miller                     Self/Spouse     NY           US             Consortium
1642.   Taiwo Miller               Self            NY           US             Personal Injury
1643.   Joseph Mills and Elaine                                                Personal Injury, Loss of
        Mills                      Self/Spouse     NY           US             Consortium
1644.   Robert Milmore and         Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 122 of 159


        Sherrie L Milmore                                                       Consortium
1645.   Domenick Mineo and                                                      Personal Injury, Loss of
        Rosalie Mineo               Self/Spouse     NY           US             Consortium
1646.   Judith Minissali, as
        Personal Representative
        of the estate of Richard
        Minissali, and Judith
        Minissali Individually      PR/Spouse       NY           US             Wrongful Death, Solatium
1647.   Christopher Minogue         Self            NY           US             Personal Injury
1648.   Harold Miranda and                                                      Personal Injury, Loss of
        Sonia Miranda               Self/Spouse     NY           US             Consortium
1649.   Richard Miranda and                                                     Personal Injury, Loss of
        Noelia Miranda              Self/Spouse     NY           US             Consortium
1650.   Frank Misa and Jennifer                                                 Personal Injury, Loss of
        Misa                        Self/Spouse     NY           US             Consortium
1651.   John Misa and Wendy                                                     Personal Injury, Loss of
        Misa                        Self/Spouse     NY           US             Consortium
1652.   Bruce Mitchell and                                                      Personal Injury, Loss of
        Carolyn Mitchell            Self/Spouse     NY           US             Consortium
1653.   Linda Mitchell              Self            NJ           US             Personal Injury
1654.   Michael Mitchell and                                                    Personal Injury, Loss of
        Darlene Mitchell            Self/Spouse     NY           US             Consortium
1655.   Solomon Mitchell and                                                    Personal Injury, Loss of
        Victoria Mitchell           Self/Spouse     NJ           US             Consortium
1656.   Steve Mizrahi and Camille                                               Personal Injury, Loss of
        Mizrahi                     Self/Spouse     NY           US             Consortium
1657.   Robert Mockler and Ann                                                  Personal Injury, Loss of
        Marie Mockler               Self/Spouse     NY           US             Consortium
1658.   Joseph Modawar and                                                      Personal Injury, Loss of
        Francesca Modawar           Self/Spouse     NY           US             Consortium
1659.   Zbigniew Modelski and                                                   Personal Injury, Loss of
        Wanda Modelski              Self/Spouse     NY           US             Consortium
1660.   Timothy Moeller and                                                     Personal Injury, Loss of
        Camille Moeller             Self/Spouse     NY           US             Consortium
1661.   John Moglia                 Self            NY           US             Personal Injury
1662.   Efrain Mojica and Gladys                                                Personal Injury, Loss of
        Mojica                      Self/Spouse     NY           US             Consortium
1663.   Rosa L Molina               Self            NY           US             Personal Injury
1664.   Noel Moloney and Helen                                                  Personal Injury, Loss of
        Moloney                     Self/Spouse     NY           US             Consortium
1665.   Kenneth Monahan and                                                     Personal Injury, Loss of
        Denise Monahan              Self/Spouse     NY           US             Consortium
1666.   Steven Moncur and                                                       Personal Injury, Loss of
        Dorothy Moncur              Self/Spouse     NJ           US             Consortium
1667.   Chris Monek                 Self            NJ           US             Personal Injury
1668.   Peter Mongello and                                                      Personal Injury, Loss of
        Debra Mongello              Self/Spouse     NY           US             Consortium
1669.   Anthony Montalbano and                                                  Personal Injury, Loss of
        Doreen Montalbano           Self/Spouse     NY           US             Consortium
1670.   David Montalvo and                                                      Personal Injury, Loss of
        Jennifer Montalvo           Self/Spouse     NJ           US             Consortium
1671.   Edwin Montalvo and                                                      Personal Injury, Loss of
        Elizabeth Montalvo          Self/Spouse     NY           US             Consortium
1672.   Felix W Montalvo and                                                    Personal Injury, Loss of
        Ana I Montalvo              Self/Spouse     NY           US             Consortium
1673.   Louis Montalvo, Jr.         Self            FL           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 123 of 159


1674.   Ruben Montenegro             Self            FL           US             Personal Injury
1675.   Michelle Montgomery
        and thomas m                                                             Personal Injury, Loss of
        montgomery                   Self/Spouse     NY           US             Consortium
1676.   Angel Monzant                Self            NY           US             Personal Injury
1677.   Daniel Mooney                Self            NJ           US             Personal Injury
1678.   Edward Moore and Ruth                                                    Personal Injury, Loss of
        Moore                        Self/Spouse     NY           US             Consortium
1679.   David Morales and Anna                                                   Personal Injury, Loss of
        Castro                       Self/Spouse     NY           US             Consortium
1680.   Delvis Morales and                                                       Personal Injury, Loss of
        Maritza Morales              Self/Spouse     NY           US             Consortium
1681.   Israel Morales               Self            NY           US             Personal Injury
1682.   Julio Morales                Self            NY           US             Personal Injury
1683.   Michael Morales and                                                      Personal Injury, Loss of
        Claribel Morales             Self/Spouse     NY           US             Consortium
1684.   Silvia Morales, as
        Executrix of the estate of
        Michael Morales, and
        Silvia Morales
        Individually                 PR/Spouse       NY           US             Solatium
1685.   Nicholas Morales and                                                     Personal Injury, Loss of
        Jennifer Morales             Self/Spouse     Fl           US             Consortium
1686.   Peter Morales and Sonia                                                  Personal Injury, Loss of
        Morales                      Self/Spouse     NY           US             Consortium
1687.   Xiomar Morales               Self            NY           US             Personal Injury
1688.   Joseph Moran and Maria                                                   Personal Injury, Loss of
        Moran                        Self/Spouse     NY           US             Consortium
1689.   LeRoy Moran                  Self            NY           US             Personal Injury
1690.   Luis Moran and Ketty                                                     Personal Injury, Loss of
        Moran                        Self/Spouse     NY           US             Consortium
1691.   Patrick Morant and Dana                                                  Personal Injury, Loss of
        Morant                       Self/Spouse     NY           US             Consortium
1692.   Michael J Mordeci and                                                    Personal Injury, Loss of
        Dorothy Mordeci              Self/Spouse     NY           US             Consortium
1693.   Enrique Moreno               Self            NY           US             Personal Injury
1694.   Adrian Moreta                Self            NJ           US             Personal Injury
1695.   John Moretti and Karen                                                   Personal Injury, Loss of
        Moretti                      Self/Spouse     NJ           US             Consortium
1696.   Gary Morgan                  Self            NY           US             Personal Injury
1697.   Jacqueline Morgan and                                                    Personal Injury, Loss of
        Eugene DeGannes              Self/Spouse     NY           US             Consortium
1698.   Michael Morgan and                                                       Personal Injury, Loss of
        Suzanne Morgan               Self/Spouse     NY           US             Consortium
1699.   Raymond Morgan               Self            NJ           US             Personal Injury
1700.   Thomas Moriarty              Self            NY           US             Personal Injury
1701.   Brian Morningstar            Self            OH           US             Personal Injury
1702.   Rahim Morris and Sindy                                                   Personal Injury, Loss of
        L Morris                     Self/Spouse     NY           US             Consortium
1703.   Robert Morris and                                                        Personal Injury, Loss of
        Michelle Morris              Self/Spouse     NY           US             Consortium
1704.   Rodney Morris and Lena                                                   Personal Injury, Loss of
        Morris                       Self/Spouse     NJ           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 124 of 159


1705.   Frederick Morrone and                                                    Personal Injury, Loss of
        Nina Morrone                 Self/Spouse     NJ           US             Consortium
1706.   Alan Mortensen and                                                       Personal Injury, Loss of
        Elizabeth Mortensen          Self/Spouse     NY           US             Consortium
1707.   Michael Moscato              Self            NJ           US             Personal Injury
1708.   Salvatore Moscato and                                                    Personal Injury, Loss of
        Patricia Moscato             Self/Spouse     NY           US             Consortium
1709.   William Moscato              Self            NJ           US             Personal Injury
1710.   Michael Moschella and                                                    Personal Injury, Loss of
        Michele Moshella             Self/Spouse     NY           US             Consortium
1711.   Linder Mosquera              Self            NY           US             Personal Injury
1712.   Frances Mottola              Self            NY           US             Personal Injury
1713.   Chris Moy                    Self            NY           US             Personal Injury
1714.   Joe Moya                     Self            PR           US             Personal Injury
1715.   Luis Moya and Monica                                                     Personal Injury, Loss of
        Moya                         Self/Spouse     NJ           US             Consortium
1716.   Derrick Moyer and                                                        Personal Injury, Loss of
        Andrea Cicogna               Self/Spouse     NY           US             Consortium
1717.   Kevin Moylan and                                                         Personal Injury, Loss of
        Michelle Moylan              Self/Spouse     NJ           US             Consortium
1718.   Patrick Moynihan             Self            NY           US             Personal Injury
1719.   Jacek Mrozek and Maria                                                   Personal Injury, Loss of
        Mrozek                       Self/Spouse     NY           US             Consortium
1720.   Richard Mueller and                                                      Personal Injury, Loss of
        Rubene Mueller               Self/Spouse     NY           US             Consortium
1721.   Doris Wiggins-
        Muhammed, as
        Administratrix of the
        estate of Saliym
        Muhammad, and Doris
        Wiggins-Muhammed
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
1722.   Ian Mullan                   Self            NJ           US             Personal Injury
1723.   Daniel Mullane and                                                       Personal Injury, Loss of
        Karen Mullane                Self/Spouse     NY           US             Consortium
1724.   Regis Mullaney and                                                       Personal Injury, Loss of
        Patricia Mullaney            Self/Spouse     NY           US             Consortium
1725.   Ada Muller, as Personal
        Representative of the
        estate of Carl Muller, and
        Ada Muller Individually      PR/Spouse       NY           US             Wrongful Death, Solatium
1726.   Derek Mulnard and Lisa                                                   Personal Injury, Loss of
        Natal                        Self/Spouse     NY           US             Consortium
1727.   Daniel Mulvanerty            Self            NY           US             Personal Injury
1728.   Leonard Munda and                                                        Personal Injury, Loss of
        Jeanette Munda               Self/Spouse     NY           US             Consortium
1729.   Edward Mundy and                                                         Personal Injury, Loss of
        Sandra Mundy                 Self/Spouse     NY           US             Consortium
1730.   Robert Munier and                                                        Personal Injury, Loss of
        Lourdes Munier               Self/Spouse     NJ           US             Consortium
1731.   Janeth Munoz and Javier                                                  Personal Injury, Loss of
        Munoz                        Self/Spouse     NY           US             Consortium
1732.   Javier Munoz and Janeth                                                  Personal Injury, Loss of
        Munoz                        Self/Spouse     NY           US             Consortium
1733.   Michael Murphy               Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                   Document 1   Filed 05/23/17     Page 125 of 159


1734.   Michael Murphy            Self            NY           US             Personal Injury
1735.   Michael Murphy and                                                    Personal Injury, Loss of
        Andrea Murphy             Self/Spouse     NY           US             Consortium
1736.   Shawn Murphy              Self            NJ           US             Personal Injury
1737.   Timothy Murphy and                                                    Personal Injury, Loss of
        AnnMarie Murphy           Self/Spouse     NY           US             Consortium
1738.   Bridget Murray            Self            NY           US             Personal Injury
1739.   James Murray and Joann                                                Personal Injury, Loss of
        Murray                    Self/Spouse     NY           US             Consortium
1740.   Dominic Mussillo and                                                  Personal Injury, Loss of
        Frances Mussillo          Self/Spouse     NY           US             Consortium
1741.   Michael Mustillo and                                                  Personal Injury, Loss of
        Dora Mustillo             Self/Spouse     NJ           US             Consortium
1742.   Charles J Musto and                                                   Personal Injury, Loss of
        Kathleen Musto            Self/Spouse     NY           US             Consortium
1743.   Harry Myers and Sophia                                                Personal Injury, Loss of
        Myers                     Self/Spouse     NJ           US             Consortium
1744.   Michael Myers and                                                     Personal Injury, Loss of
        Leanne S Myers            Self/Spouse     NY           US             Consortium
1745.   Randy Nachman             Self            NY           US             Personal Injury
1746.   Raymond Nafey and                                                     Personal Injury, Loss of
        Heather Nafey             Self/Spouse     NY           US             Consortium
1747.   John Napoli               Self            FL           US             Personal Injury
1748.   Richard Napolitano and                                                Personal Injury, Loss of
        Beth Napolitano           Self/Spouse     NY           US             Consortium
1749.   Adolfo Naranjo and                                                    Personal Injury, Loss of
        Doris Alcivar             Self/Spouse     NY           US             Consortium
1750.   Jorge Naranjo and Rosa                                                Personal Injury, Loss of
        Naranjo                   Self/Spouse     NY           US             Consortium
1751.   Leonardo Naranjo and                                                  Personal Injury, Loss of
        Nube Angamarca            Self/Spouse     NY           US             Consortium
1752.   Luis Naranjo and Elvia                                                Personal Injury, Loss of
        Sarmiento                 Self/Spouse     NY           US             Consortium
1753.   Luis Naranjo and Rosa                                                 Personal Injury, Loss of
        Naranjo                   Self/Spouse     NY           US             Consortium
1754.   Francisco Narea           Self            NY           US             Personal Injury
1755.   Mieczyslaw Nartowicz      Self            NY           US             Personal Injury
1756.   Carlos Narvaez            Self            NY           US             Personal Injury
1757.   Julia Narvaez             Self            NY           US             Personal Injury
1758.   Rene Narvaez              Self            NY           US             Personal Injury
1759.   Rosa Narvaez              Self            NY           US             Personal Injury
1760.   Kenneth Nash              Self            NY           US             Personal Injury
1761.   Edward Nau and Rhonda                                                 Personal Injury, Loss of
        M Nau                     Self/Spouse     NC           US             Consortium
1762.   Nelli Navarro and Jorge                                               Personal Injury, Loss of
        Cruz                      Self/Spouse     NY           US             Consortium
1763.   Nelly Navarro and Jorge                                               Personal Injury, Loss of
        Cruz                      Self/Spouse     NY           US             Consortium
1764.   Paul Neal and Kimberly                                                Personal Injury, Loss of
        A Neal                    Self/Spouse     NJ           US             Consortium
1765.   Stephen Negersmith and                                                Personal Injury, Loss of
        Gina Negersmith           Self/Spouse     NY           US             Consortium
1766.   Herbert Negron            Self            ND           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 126 of 159


1767.   Eli Negron, Jr               Self            NY           US             Personal Injury
1768.   Eli Negron, Sr. and Ruth                                                 Personal Injury, Loss of
        Figueroa                     Self/Spouse     NY           US             Consortium
1769.   Lawrence Neidig and                                                      Personal Injury, Loss of
        Alice Neidig                 Self/Spouse     NY           US             Consortium
1770.   Peter Nelligan and                                                       Personal Injury, Loss of
        Giuseppina Nelligan          Self/Spouse     SC           US             Consortium
1771.   Joseph Nelson and                                                        Personal Injury, Loss of
        Patrice Nelson               Self/Spouse     NY           US             Consortium
1772.   Paul Nelson                  Self            NY           US             Personal Injury
1773.   Roy Nelson                   Self            NY           US             Personal Injury
1774.   Sandra Suweidan-Nemeh,
        as Executrix of the estate
        of Steven Nemeh, and
        Sandra Suweidan-Nemeh
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
1775.   Ricardo Nenadich and                                                     Personal Injury, Loss of
        Christine M Nenadich         Self/Spouse     NY           US             Consortium
1776.   Velmir Nestorovic and                                                    Personal Injury, Loss of
        Stanka Nestorovic            Self/Spouse     NY           US             Consortium
1777.   Madeleine Netrosio and                                                   Personal Injury, Loss of
        Steven Belich                Self/Spouse     NY           US             Consortium
1778.   Glenn Neuman and                                                         Personal Injury, Loss of
        Kathleen Neuman              Self/Spouse     NY           US             Consortium
1779.   Timothy C Nevins and                                                     Personal Injury, Loss of
        Karen Nevins                 Self/Spouse     NY           US             Consortium
1780.   Brian Nichols                Self            NY           US             Personal Injury
1781.   Terence Nickelson and                                                    Personal Injury, Loss of
        Patricia Nickelson           Self/Spouse     NY           US             Consortium
1782.   Steven Nicoletti             Self            NY           US             Personal Injury
1783.   Leo Niemczyk and                                                         Personal Injury, Loss of
        Denise Niemczyk              Self/Spouse     FL           US             Consortium
1784.   Gisela Nieves                Self            VA           US             Personal Injury
1785.   Steven Nieves and Denise                                                 Personal Injury, Loss of
        Nieves                       Self/Spouse     NY           US             Consortium
1786.   Ulises Nieves and Noemi                                                  Personal Injury, Loss of
        Nieves                       Self/Spouse     NY           US             Consortium
1787.   Steven Niggemeier and                                                    Personal Injury, Loss of
        Catherine Niggemeier         Self/Spouse     NY           US             Consortium
1788.   Anthony Nigro and                                                        Personal Injury, Loss of
        Patricia Nigro               Self/Spouse     NJ           US             Consortium
1789.   David Niskanen               Self            NY           US             Personal Injury
1790.   John J Noce                  Self            NY           US             Personal Injury
1791.   William Noesges and                                                      Personal Injury, Loss of
        Denise Noesges               Self/Spouse     NJ           US             Consortium
1792.   Thomas Nofer                 Self            NY           US             Personal Injury
1793.   Daniel Nolan and                                                         Personal Injury, Loss of
        AnnMarie Nolan               Self/Spouse     NY           US             Consortium
1794.   Denis Nolan and Cathy                                                    Personal Injury, Loss of
        Nolan                        Self/Spouse     NY           US             Consortium
1795.   Joseph Nolan and Lana                                                    Personal Injury, Loss of
        Nolan                        Self/Spouse     NY           US             Consortium
1796.   Richard Nolan and                                                        Personal Injury, Loss of
        Stephanie Nolan              Self/Spouse     NJ           US             Consortium
1797.   Daniel A Nolan, Jr. and      Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 127 of 159


        Patricia Nolan                                                         Consortium
1798.   Frank Norkevich and                                                    Personal Injury, Loss of
        Alice Norkevich            Self/Spouse     NY           US             Consortium
1799.   Reginald Norris and                                                    Personal Injury, Loss of
        Kathy Norris               Self/Spouse     NJ           US             Consortium
1800.   John Norton and Theresa                                                Personal Injury, Loss of
        Norton                     Self/Spouse     NV           US             Consortium
1801.   Matthew Novello and                                                    Personal Injury, Loss of
        Cynthia Novello            Self/Spouse     NY           US             Consortium
1802.   Joseph Noya                Self            NY           US             Personal Injury
1803.   Thomas Nuccio, as
        Administrator of the
        estate of Anthony
        Nuccio, and Thomas
        Nuccio Individually        PR/Spouse       NY           US             Wrongful Death, Solatium
1804.   Mariusz Nuckowski and                                                  Personal Injury, Loss of
        Maria Ember                Self/Spouse     NY           US             Consortium
1805.   Carlos Nunez and Rosa                                                  Personal Injury, Loss of
        Perez                      Self/Spouse     NJ           US             Consortium
1806.   Divina Nunez               Self            NY           US             Personal Injury
1807.   Eddie Nunez and                                                        Personal Injury, Loss of
        Angelica Nunez             Self/Spouse     NY           US             Consortium
1808.   Jaunez Nunez               Self            NY           US             Personal Injury
1809.   Marilin Nunez and                                                      Personal Injury, Loss of
        Anthony Villanueva         Self/Spouse     NY           US             Consortium
1810.   Ricardo Nunez              Self            NY           US             Personal Injury
1811.   Michael Nunn and                                                       Personal Injury, Loss of
        Jacquie Nunn               Self/Spouse     NJ           US             Consortium
1812.   Grace Nuzzolo              Self            NY           US             Personal Injury
1813.   Thomas O Connor            Self            NY           US             Personal Injury
1814.   Robert O Neill and Gina                                                Personal Injury, Loss of
        O'Neil                     Self/Spouse     GA           US             Consortium
1815.   Sean O Neill and Imelda                                                Personal Injury, Loss of
        O Neill                    Self/Spouse     NJ           US             Consortium
1816.   Jeffrey Oberdier and                                                   Personal Injury, Loss of
        Charity Oberdier           Self/Spouse     NY           US             Consortium
1817.   Michael O'Brien and                                                    Personal Injury, Loss of
        Deborah O'Brien            Self/Spouse     NJ           US             Consortium
1818.   Michael O'Brien and Jean                                               Personal Injury, Loss of
        O'Brien                    Self/Spouse     NY           US             Consortium
1819.   Timothy G O'Brien          Self            NY           US             Personal Injury
1820.   Kevin O'Callahan           Self            NY           US             Personal Injury
1821.   Joseph Ocasio and                                                      Personal Injury, Loss of
        Cynthia L Ocasio           Self/Spouse     NY           US             Consortium
1822.   Marco Ocasio and Aida                                                  Personal Injury, Loss of
        Ocasio                     Self/Spouse     NY           US             Consortium
1823.   Jeremiah O'Connell         Self            NY           US             Personal Injury
1824.   Sean O'Connell and                                                     Personal Injury, Loss of
        Carole O'Connell           Self/Spouse     NY           US             Consortium
1825.   Cary Oconnor               Self            NY           US             Personal Injury
1826.   Denis O'Connor and                                                     Personal Injury, Loss of
        Margret O'Conner           Self/Spouse     NY           US             Consortium
1827.   John O'Connor              Self            NY           US             Personal Injury
1828.   John O'Connor and Janet    Self/Spouse     NJ           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 128 of 159


        Ann O'Connor                                                           Consortium
1829.   John O'Connor and
        Wendye R Knie-                                                         Personal Injury, Loss of
        O'Connor                   Self/Spouse     NY           US             Consortium
1830.   Maureen O'Connor, as
        Administrator of the
        estate of Stephen
        O'Connor, and Maureen
        O'Connor Individually      PR/Spouse       NY           US             Wrongful Death, Solatium
1831.   Salvatore Oddo and                                                     Personal Injury, Loss of
        Rosalie Oddo               Self/Spouse     NY           US             Consortium
1832.   John O'Dea and Kristine                                                Personal Injury, Loss of
        O'Dea                      Self/Spouse     NY           US             Consortium
1833.   Frank O'Donnell            Self            NY           US             Personal Injury
1834.   Michael Odrechowski
        and Virginia C                                                         Personal Injury, Loss of
        Odrechowski                Self/Spouse     NY           US             Consortium
1835.   Lenhard Oechsner and                                                   Personal Injury, Loss of
        Raquel Oechsner            Self/Spouse     NY           US             Consortium
1836.   William Oetting and                                                    Personal Injury, Loss of
        Michele Oetting            Self/Spouse     NY           US             Consortium
1837.   Matthew O'Farrell          Self            NY           US             Personal Injury
1838.   Joseph Oggeri and Nelly                                                Personal Injury, Loss of
        Oggeri                     Self/Spouse     NY           US             Consortium
1839.   Margaret O'Keefe           Self            CA           US             Personal Injury
1840.   Geanina Belu, as
        Administratrix of the
        estate of Tifani Olaru,
        and Geanina Belu
        Individually               PR/Mother       NY           US             Wrongful Death, Solatium
1841.   Michael O'Leary and                                                    Personal Injury, Loss of
        Donna O'Leary              Self/Spouse     NY           US             Consortium
1842.   John Olewnicki             Self            NY           US             Personal Injury
1843.   Wayne Oliveira             Self            NY           US             Personal Injury
1844.   Frank Oliveri and Tara S                                               Personal Injury, Loss of
        Oliveri                    Self/Spouse     CT           US             Consortium
1845.   Pilar Olivo                Self            NY           US             Personal Injury
1846.   Mary-Catherine
        O'Loughlin, as Executrix
        of the estate of Michael
        O'Loughlin, and Mary-
        Catherine O'Loughlin
        Individually               PR/Spouse       NJ           US             Wrongful Death, Solatium
1847.   Darren Ondocin and                                                     Personal Injury, Loss of
        ADELE ONDOCIN              Self/Spouse     NY           US             Consortium
1848.   Alexander O'Neal and                                                   Personal Injury, Loss of
        Maureen O'Neal             Self/Spouse     PA           US             Consortium
1849.   Michael O'Neal and                                                     Personal Injury, Loss of
        Jennifer O'Neal            Self/Spouse     PA           US             Consortium
1850.   Daniel O'Neill             Self            NY           US             Personal Injury
1851.   Timothy O'Neill and                                                    Personal Injury, Loss of
        Michelle Lambert           Self/Spouse     NY           US             Consortium
1852.   Joyce O Otteng, as
        Administratrix of the
        estate of Evans Oppong,
        and Joyce O Otteng         PR/Spouse       NY           US             Wrongful Death, Solatium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 129 of 159


        Individually
1853.   Ketty Orellana             Self            NY           US             Personal Injury
1854.   Thomas O'Riordan and                                                   Personal Injury, Loss of
        Mary C O'Riordan           Self/Spouse     NY           US             Consortium
1855.   Luis Orsini                Self            NY           US             Personal Injury
1856.   Edgar Ortega and Janeth                                                Personal Injury, Loss of
        Ortega                     Self/Spouse     NY           US             Consortium
1857.   Daisy Ortiz and Edwin                                                  Personal Injury, Loss of
        Ortiz                      Self/Spouse     NY           US             Consortium
1858.   Roberto Ortiz and Erica                                                Personal Injury, Loss of
        Ortiz                      Self/Spouse     NY           US             Consortium
1859.   Patrick O'Shaughnessy
        and Christa                                                            Personal Injury, Loss of
        O'Shaughnessy              Self/Spouse     NY           US             Consortium
1860.   Alicia Osorio              Self            NY           US             Personal Injury
1861.   Lewis Ostrander and                                                    Personal Injury, Loss of
        Dorothy Ostrander          Self/Spouse     NJ           US             Consortium
1862.   Wladyslaw Ostrzycki and                                                Personal Injury, Loss of
        Wieslawa Ostrzycka         Self/Spouse     NY           US             Consortium
1863.   Frank Otero and Lillian                                                Personal Injury, Loss of
        M Otero                    Self/Spouse     FL           US             Consortium
1864.   Victor Otero and                                                       Personal Injury, Loss of
        Jacquelin Otero            Self/Spouse     NJ           US             Consortium
1865.   Clayton Othiossinir        Self            NY           US             Personal Injury
1866.   Joseph Ottilo              Self            NJ           US             Personal Injury
1867.   Christopher Outhouse                                                   Personal Injury, Loss of
        and Theresa Outhouse       Self/Spouse     NY           US             Consortium
1868.   Mary Owens and Jerry M                                                 Personal Injury, Loss of
        Owens                      Self/Spouse     NY           US             Consortium
1869.   William J Owens and Lori                                               Personal Injury, Loss of
        Owens                      Self/Spouse     NJ           US             Consortium
1870.   Blanca Oyervide and                                                    Personal Injury, Loss of
        Marcos A Hinchala          Self/Spouse     NY           US             Consortium
1871.   Jaime Ozoria and Carmen                                                Personal Injury, Loss of
        Ozoria                     Self/Spouse     NJ           US             Consortium
1872.   Miguel Pacho and                                                       Personal Injury, Loss of
        Mercedes Y Pacho           Self/Spouse     NY           US             Consortium
1873.   Richard Padgett and                                                    Personal Injury, Loss of
        Frances Padgett            Self/Spouse     NY           US             Consortium
1874.   Noel Lorenzo, as
        Personal Representative
        of the estate of Carmen
        Padilla, and Noel
        Lorenzo Individually       PR/Son          NY           US             Wrongful Death, Solatium
1875.   Richard Padilla and                                                    Personal Injury, Loss of
        Raquel Padilla             Self/Spouse     NY           US             Consortium
1876.   Anthony Padula and                                                     Personal Injury, Loss of
        Maree Padula               Self/Spouse     NJ           US             Consortium
1877.   Jose Pagan and Jeanne                                                  Personal Injury, Loss of
        pagan                      Self/Spouse     NY           US             Consortium
1878.   Charles Pagano and                                                     Personal Injury, Loss of
        Marilyn Pagano             Self/Spouse     FL           US             Consortium
1879.   Christine Pagliuca and                                                 Personal Injury, Loss of
        Joseph Pagliuca            Self/Spouse     FL           US             Consortium
1880.   Joseph Pagliuca and                                                    Personal Injury, Loss of
        Christine Pagliuca         Self/Spouse     FL           US             Consortium
1881.   Joseph Palacino and Rose   Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 130 of 159


        Palacino                                                                Consortium
1882.   Rosa Palaguachi and                                                     Personal Injury, Loss of
        Rigoberto Quito             Self/Spouse     NY           US             Consortium
1883.   Joseph Palasciano           Self            NY           US             Personal Injury
1884.   Guy Palladino and                                                       Personal Injury, Loss of
        Marilynn Palladino          Self/Spouse     NY           US             Consortium
1885.   Michael Pallotto and Lisa                                               Personal Injury, Loss of
        Polloto                     Self/Spouse     NJ           US             Consortium
1886.   Arnold Palmer and                                                       Personal Injury, Loss of
        Margaret Palmer             Self/Spouse     NY           US             Consortium
1887.   Tonya Palmer                Self            NY           US             Personal Injury
1888.   Joseph Palmieri and                                                     Personal Injury, Loss of
        Bonnie Palmieri             Self/Spouse     NY           US             Consortium
1889.   Steven Pambello             Self            NJ           US             Personal Injury
1890.   Miguel Paniss and Sonja                                                 Personal Injury, Loss of
        Paniss                      Self/Spouse     FL           US             Consortium
1891.   Czeslaw Pankiewicz and                                                  Personal Injury, Loss of
        Maria Pankiewicz            Self/Spouse     NY           US             Consortium
1892.   Ray Pannell and Loretta                                                 Personal Injury, Loss of
        Pannell                     Self/Spouse     NY           US             Consortium
1893.   Frank Pantoja               Self            NY           US             Personal Injury
1894.   Anthony Papagni             Self            NY           US             Personal Injury
1895.   Francis Pappalardo          Self            NY           US             Personal Injury
1896.   Anthony Pappalardo, as
        Administrator of the
        estate of Philip
        Pappalardo, and Anthony
        Pappalardo Individually     PR/Son          NY           US             Wrongful Death, Solatium
1897.   Mario Paradiso              Self            NY           US             Personal Injury
1898.   Peter Paramithis and                                                    Personal Injury, Loss of
        Sandra Paramithis           Self/Spouse     NY           US             Consortium
1899.   Joel Paredes and Luz                                                    Personal Injury, Loss of
        Maria Paredes               Self/Spouse     NY           US             Consortium
1900.   Walberto Paredes            Self            NY           US             Personal Injury
1901.   Steven K Parham and                                                     Personal Injury, Loss of
        Juanita Parham              Self/Spouse     VA           US             Consortium
1902.   Frederick Parker and                                                    Personal Injury, Loss of
        Diane Parker                Self/Spouse     NC           US             Consortium
1903.   Felix Parra                 Self            NY           US             Personal Injury
1904.   Leydi Parra                 Self            NY           US             Personal Injury
1905.   Mauricio C Parra            Self            NY           US             Personal Injury
1906.   Brian Parrish and Vicki R                                               Personal Injury, Loss of
        Parrish                     Self/Spouse     NJ           US             Consortium
1907.   Lisa Paskewitz              Self            NY           US             Personal Injury
1908.   Thakoordyal Pasram and                                                  Personal Injury, Loss of
        Marcia Pasram               Self/Spouse     NJ           US             Consortium
1909.   Zoila Pastuizaca and Luis                                               Personal Injury, Loss of
        F Pastuizaca                Self/Spouse     NY           US             Consortium
1910.   Joseph Patriciello and                                                  Personal Injury, Loss of
        Maria Patriciello           Self/Spouse     NY           US             Consortium
1911.                                                                           Personal Injury, Loss of
        Paul Patti and Jean Patti   Self/Spouse     NY           US             Consortium
1912.   Reina Paucar and Edgar                                                  Personal Injury, Loss of
        Paucar                      Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 131 of 159


1913.   John Paulsen               Self            NY           US             Personal Injury
1914.   Rob Paulsen                Self            NY           US             Personal Injury
1915.   Timothy Payden and Yris                                                Personal Injury, Loss of
        Payden                     Self/Spouse     NY           US             Consortium
1916.   Gregory Payne and                                                      Personal Injury, Loss of
        Debra Payne                Self/Spouse     NY           US             Consortium
1917.   Grecia Pazmino and                                                     Personal Injury, Loss of
        Wilson Vaca                Self/Spouse     NJ           US             Consortium
1918.   Richard Pchola             Self            NJ           US             Personal Injury
1919.   Robert Pecoraro and                                                    Personal Injury, Loss of
        Debbie A Pecoraro          Self/Spouse     HI           US             Consortium
1920.   Frank Pedersen             Self            NY           US             Personal Injury
1921.   Maria Pekhnik, as
        Personal Representative
        of the estate of Zinovii
        Pekhnik, and Maria
        Pekhnik Individually       PR/Spouse       CT           US             Wrongful Death, Solatium
1922.   Rolando Pelaez and                                                     Personal Injury, Loss of
        Monica Villamarin          Self/Spouse     NY           US             Consortium
1923.   Stephen Pelan and                                                      Personal Injury, Loss of
        Christine Pelan            Self/Spouse     NY           US             Consortium
1924.   Charles Pellegrino         Self            NY           US             Personal Injury
1925.   Joseph Pellegrino          Self            NY           US             Personal Injury
1926.   Rafael Pena and Corolina                                               Personal Injury, Loss of
        Pena                       Self/Spouse     NY           US             Consortium
1927.   Thomas J Pena and                                                      Personal Injury, Loss of
        Angela Pena                Self/Spouse     NY           US             Consortium
1928.   Jacqueline Pender          Self            NY           US             Personal Injury
1929.   Thomas Pepe and                                                        Personal Injury, Loss of
        Cathleen Pepe              Self/Spouse     NY           US             Consortium
1930.   Kenneth Pepper and                                                     Personal Injury, Loss of
        Rhonda Pepper              Self/Spouse     NY           US             Consortium
1931.   Rafael Antonio Peralta                                                 Personal Injury, Loss of
        and Dinorah Peralta        Self/Spouse     NY           US             Consortium
1932.   Eddie Perez and Gina                                                   Personal Injury, Loss of
        Perez                      Self/Spouse     NY           US             Consortium
1933.   Irma Perez                 Self            NY           US             Personal Injury
1934.   Jose A Perez and Brenda                                                Personal Injury, Loss of
        Perez                      Self/Spouse     NJ           US             Consortium
1935.   Joseph Perez and Rosa                                                  Personal Injury, Loss of
        Petez                      Self/Spouse     NY           US             Consortium
1936.   Raul Perez and Marisol                                                 Personal Injury, Loss of
        Perez                      Self/Spouse     FL           US             Consortium
1937.   Tito Perez and Adeline                                                 Personal Injury, Loss of
        Perez                      Self/Spouse     NY           US             Consortium
1938.   Maria Perkins, as
        Personal Representative
        of the estate of William
        Perkins, and Maria
        Perkins Individually       PR/Spouse       NY           US             Wrongful Death, Solatium
1939.   Willie J Perkins           Self            NY           US             Personal Injury
1940.   Tadeusz Perko              Self            NY           US             Personal Injury
1941.   Fred Perlin and Elyse                                                  Personal Injury, Loss of
        Perlin                     Self/Spouse     NY           US             Consortium
1942.   Andrew Perrella and        Self/Spouse     NJ           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                       Document 1   Filed 05/23/17     Page 132 of 159


        Dana Perrella                                                             Consortium
1943.   Frank Perrotta and JoAnn                                                  Personal Injury, Loss of
        Perrotta                      Self/Spouse     NJ           US             Consortium
1944.   LaDerrick Perry               Self            PA           US             Personal Injury
1945.   Diaram Persaud                Self            NY           US             Personal Injury
1946.   Slawomir Peski and                                                        Personal Injury, Loss of
        Janina Peska                  Self/Spouse     NY           US             Consortium
1947.   Edward Peters                 Self            NY           US             Personal Injury
1948.   Herman Peters and                                                         Personal Injury, Loss of
        Rosemary Peters               Self/Spouse     NJ           US             Consortium
1949.   Junie Peters                  Self            NY           US             Personal Injury
1950.   Stephen Peters and                                                        Personal Injury, Loss of
        Tammy Peters                  Self/Spouse     CT           US             Consortium
1951.   Pat Petito and Theresa                                                    Personal Injury, Loss of
        Petito                        Self/Spouse     NY           US             Consortium
1952.   William Petraglia             Self            NY           US             Personal Injury
1953.   Ivan Petters                  Self            NY           US             Personal Injury
1954.   Neil Pettit and Megan                                                     Personal Injury, Loss of
        Pettit                        Self/Spouse     NY           US             Consortium
1955.   Craig Pettway and                                                         Personal Injury, Loss of
        Marilyn Pettway               Self/Spouse     NY           US             Consortium
1956.   Marcello Pevida and                                                       Personal Injury, Loss of
        Alexandra Pevida              Self/Spouse     NY           US             Consortium
1957.   Maria Iannarelli, as
        Administratrix of the
        estate of Peter Phieffer,
        and Maria Iannarelli
        Individually                  PR/Spouse       NY           US             Wrongful Death, Solatium
1958.   Kurt Philbert and Vieline                                                 Personal Injury, Loss of
        Philbert                      Self/Spouse     NY           US             Consortium
1959.   Serin Philip                  Self            NY           US             Personal Injury
1960.   Harry Phillips and Mary                                                   Personal Injury, Loss of
        Phillips                      Self/Spouse     NJ           US             Consortium
1961.   John M Phillips and                                                       Personal Injury, Loss of
        Harriette Phillips            Self/Spouse     NY           US             Consortium
1962.   Marjorie Phillipson-
        Thompson                      Self            FL           US             Personal Injury
1963.   Joseph Pica and Theresa                                                   Personal Injury, Loss of
        Pica                          Self/Spouse     NY           US             Consortium
1964.   Carol Picarello, as
        Administratrix of the
        estate of Robert Picarello,
        and Carol Picarello
        Individually                  PR/Spouse       NY           US             Wrongful Death, Solatium
1965.   Steven Piccinini              Self            FL           US             Personal Injury
1966.   Richard Picciochi and                                                     Personal Injury, Loss of
        Catherine Picciochi           Self/Spouse     NY           US             Consortium
1967.   John J Piccolo and Ann                                                    Personal Injury, Loss of
        Piccolo                       Self/Spouse     NY           US             Consortium
1968.   Frank Piciullo and Nancy                                                  Personal Injury, Loss of
        Piciullo                      Self/Spouse     NY           US             Consortium
1969.   Hanna Pieczynska              Self            NY           US             Personal Injury
1970.   Daniel Pietranico             Self            NY           US             Personal Injury
1971.   Joseph Pignataro and                                                      Personal Injury, Loss of
        Maria Pignataro               Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 133 of 159


1972.   Richard Pignataro and                                                   Personal Injury, Loss of
        Paula Pignataro             Self/Spouse     NY           US             Consortium
1973.   Pedro Pilarte and Maria                                                 Personal Injury, Loss of
        Pilarte                     Self/Spouse     NY           US             Consortium
1974.   Jose L. Pinanjota and                                                   Personal Injury, Loss of
        Ingrid Pinanjota            Self/Spouse     IL           US             Consortium
1975.   Geovanni Pineda and                                                     Personal Injury, Loss of
        Lilia Pineda                Self/Spouse     FL           US             Consortium
1976.   Hernan Pineda and Sarita                                                Personal Injury, Loss of
        Zambrano                    Self/Spouse     FL           US             Consortium
1977.                                                                           Personal Injury, Loss of
        Jack Pinto and Lori Pinto   Self/Spouse     NV           US             Consortium
1978.   Joseph Pipitone             Self            NY           US             Personal Injury
1979.   Miriam Piretti and Peter                                                Personal Injury, Loss of
        Piretti                     Self/Spouse     NY           US             Consortium
1980.   James Pirrello and Robyn                                                Personal Injury, Loss of
        Pirrello                    Self/Spouse     NY           US             Consortium
1981.   Rodney Pitt                 Self            NY           US             Personal Injury
1982.   Frank Pizzuto and Tara-                                                 Personal Injury, Loss of
        Ann Pizzuto                 Self/Spouse     NY           US             Consortium
1983.   Segundo Pluas               Self            NY           US             Personal Injury
1984.   Zbigniew Plucinski and                                                  Personal Injury, Loss of
        Teodora Plucinska           Self/Spouse     --           Poland         Consortium
1985.   Francisco Poblet            Self            NY           US             Personal Injury
1986.   Harold Pogeweit and                                                     Personal Injury, Loss of
        Virginia S Pogeweit         Self/Spouse     NY           US             Consortium
1987.   Paul Pogozelski and                                                     Personal Injury, Loss of
        Karen Pogozelski            Self/Spouse     NY           US             Consortium
1988.   Edgar Polanco               Self            NJ           US             Personal Injury
1989.   Frank Polito and Patricia                                               Personal Injury, Loss of
        A Polito                    Self/Spouse     NY           US             Consortium
1990.   Richard Polizzi             Self            NJ           US             Personal Injury
1991.   Thomas Pollock              Self            VA           US             Personal Injury
1992.   Francesco Pomilla           Self            NY           US             Personal Injury
1993.   James B Poolt               Self            NC           US             Personal Injury
1994.   David Pope                  Self            NJ           US             Personal Injury
1995.   Gregg Popick and Lee                                                    Personal Injury, Loss of
        Popick                      Self/Spouse     NY           US             Consortium
1996.   Giovanni Porcelli and                                                   Personal Injury, Loss of
        Ruth Porcelli               Self/Spouse     NY           US             Consortium
1997.   Brett Porigow               Self            NJ           US             Personal Injury
1998.   Piotr Porowski and                                                      Personal Injury, Loss of
        Malgorzata Porowski         Self/Spouse     NJ           US             Consortium
1999.   Anthony Porrata and                                                     Personal Injury, Loss of
        Maritza Porrata             Self/Spouse     NY           US             Consortium
2000.   Daryl Porti and Dorothy                                                 Personal Injury, Loss of
        Porti                       Self/Spouse     NY           US             Consortium
2001.   Brian Porzak                Self            NY           US             Personal Injury
2002.   Jean Potter and Dan J                                                   Personal Injury, Loss of
        Potter                      Self/Spouse     NY           US             Consortium
2003.   Dorothy Powell, as
        Personal Representative
        of the estate of Miles
        Powell, and Dorothy         PR/Spouse       NY           US             Wrongful Death, Solatium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 134 of 159


        Powell Individually
2004.   Monty Powell               Self            MD           US             Personal Injury
2005.   Michael Power and                                                      Personal Injury, Loss of
        Marianne Power             Self/Spouse     NJ           US             Consortium
2006.   Brian Powers and                                                       Personal Injury, Loss of
        Maureen Gilroy             Self/Spouse     NY           US             Consortium
2007.   James Powers               Self            NY           US             Personal Injury
2008.   Jere Powers and                                                        Personal Injury, Loss of
        Constance Powers           Self/Spouse     NY           US             Consortium
2009.   Michael Pozolante and                                                  Personal Injury, Loss of
        Beth Pozolante             Self/Spouse     NY           US             Consortium
2010.   Heriberto Pratts           Self            NY           US             Personal Injury
2011.   Bruce Prescod and                                                      Personal Injury, Loss of
        Yvonne Prescod             Self/Spouse     NY           US             Consortium
2012.   Stephen Presuto            Self            NJ           US             Personal Injury
2013.   Thomas Preziosi and                                                    Personal Injury, Loss of
        Kethleen Preziosi          Self/Spouse     NY           US             Consortium
2014.   Wayne Price and Soledad                                                Personal Injury, Loss of
        Price                      Self/Spouse     NY           US             Consortium
2015.   Henry Primus and Sharon                                                Personal Injury, Loss of
        Primus                     Self/Spouse     NY           US             Consortium
2016.   Anthony Prioleau and                                                   Personal Injury, Loss of
        Keena Marie Prioleau       Self/Spouse     NY           US             Consortium
2017.   Glinda Prioleau and                                                    Personal Injury, Loss of
        Dainne Prioleau            Self/Spouse     SC           US             Consortium
2018.   Elio Procaccio             Self            NY           US             Personal Injury
2019.   John Prodromakis and                                                   Personal Injury, Loss of
        Heather A Prodromakis      Self/Spouse     NY           US             Consortium
2020.   Regina Prus, as Personal
        Representative of the
        estate of Andrzej Prus,
        and Regina Prus
        Individually               PR/Spouse       NY           US             Wrongful Death, Solatium
2021.   Anthony Pucciarelli        Self            NY           US             Personal Injury
2022.   Vincent Pugliese and                                                   Personal Injury, Loss of
        Debra Pugliese             Self/Spouse     NY           US             Consortium
2023.   Jerome Puidokas and                                                    Personal Injury, Loss of
        Deana Puidokas             Self/Spouse     NY           US             Consortium
2024.   Ignazio Puleo and Tara                                                 Personal Injury, Loss of
        Puleo                      Self/Spouse     NY           US             Consortium
2025.   Fred Pulice and Michelle                                               Personal Injury, Loss of
        Pulice                     Self/Spouse     NJ           US             Consortium
2026.   Salvatore Pulizzotto and                                               Personal Injury, Loss of
        Bess C Pulizzotto          Self/Spouse     NY           US             Consortium
2027.   Robert Pultorak and                                                    Personal Injury, Loss of
        Violet M Pultorak          Self/Spouse     NY           US             Consortium
2028.   Joseph Puma                Self            NY           US             Personal Injury
2029.   Hamdat Purandat and                                                    Personal Injury, Loss of
        Mekhragie Puranndat        Self/Spouse     NY           US             Consortium
2030.   Dan Purcell and Corry                                                  Personal Injury, Loss of
        Beth Purcell               Self/Spouse     GA           US             Consortium
2031.   Geraldine Purdy and                                                    Personal Injury, Loss of
        Harry Purdy                Self/Spouse     NV           US             Consortium
2032.   Maria M. Pyrcz             Self            NY           US             Personal Injury
2033.   Kenneth Quest and                                                      Personal Injury, Loss of
        Susan Quest                Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 135 of 159


2034.   Wendell Quidley and                                                    Personal Injury, Loss of
        Leslie Quidley             Self/Spouse     NJ           US             Consortium
2035.   James Quilliam and Erika                                               Personal Injury, Loss of
        Quilliam                   Self/Spouse     NY           US             Consortium
2036.   James Quilty and                                                       Personal Injury, Loss of
        Kathleen Quilty            Self/Spouse     NY           US             Consortium
2037.   Scott Quinlan              Self            NY           US             Personal Injury
2038.   William Quinlan and                                                    Personal Injury, Loss of
        Bertha Quinlan             Self/Spouse     NY           US             Consortium
2039.   James Quinn and Ann                                                    Personal Injury, Loss of
        Marie Quinn                Self/Spouse     NJ           US             Consortium
2040.   James Quinn and Lynn                                                   Personal Injury, Loss of
        Quinn                      Self/Spouse     FL           US             Consortium
2041.   Nelson Quinones and                                                    Personal Injury, Loss of
        Emily Quinones             Self/Spouse     NY           US             Consortium
2042.   Roy Quintana and                                                       Personal Injury, Loss of
        Barbara Quintana           Self/Spouse     NY           US             Consortium
2043.   Efrain Quintero            Self            NJ           US             Personal Injury
2044.   Jonathan Quintero and                                                  Personal Injury, Loss of
        Debora Quinero             Self/Spouse     NY           US             Consortium
2045.   James Quirk                Self            NJ           US             Personal Injury
2046.   Sylvester Radcliffe and                                                Personal Injury, Loss of
        Thelma Radcliffe           Self/Spouse     NY           US             Consortium
2047.   David Radi and Myrna                                                   Personal Injury, Loss of
        Radi                       Self/Spouse     NY           US             Consortium
2048.   John R Radoian             Self            NJ           US             Personal Injury
2049.   Mark Rafaniello and                                                    Personal Injury, Loss of
        Olimpia Rafaniello         Self/Spouse     NY           US             Consortium
2050.   John Rafferty and Jean                                                 Personal Injury, Loss of
        Clarke                     Self/Spouse     FL           US             Consortium
2051.   Stephen J Raft and Laura                                               Personal Injury, Loss of
        A Raft                     Self/Spouse     NY           US             Consortium
2052.   Joseph Raimondi            Self            NY           US             Personal Injury
2053.   Robert R Rainey and                                                    Personal Injury, Loss of
        Diane Rainey               Self/Spouse     NY           US             Consortium
2054.                                                                          Personal Injury, Loss of
        Soosai Raj and Susai Raj   Self/Spouse     NY           US             Consortium
2055.   Andrew Rakowsky and                                                    Personal Injury, Loss of
        Roma Rakowsky              Self/Spouse     NY           US             Consortium
2056.   Daniel Raleigh and                                                     Personal Injury, Loss of
        Jeanne Raleigh             Self/Spouse     NY           US             Consortium
2057.   George Rallo               Self            NY           US             Personal Injury
2058.   Ramze Ramadan and                                                      Personal Injury, Loss of
        Barbara Ramadan            Self/Spouse     NJ           US             Consortium
2059.   Harold Ramirez and                                                     Personal Injury, Loss of
        Blanca L Novoa Torres      Self/Spouse     NY           US             Consortium
2060.   Michael Ramirez and                                                    Personal Injury, Loss of
        Dianne D Jackson           Self/Spouse     NY           US             Consortium
2061.   William Ramirez            Self            NJ           US             Personal Injury
2062.   William Ramirez and                                                    Personal Injury, Loss of
        Fabiola Ramirez            Self/Spouse     NJ           US             Consortium
2063.   Francis Ramirez-Valentin   Self            NJ           US             Personal Injury
2064.   Angel Ramos                Self            FL           US             Personal Injury
2065.   Heldon Ramos and                                                       Personal Injury, Loss of
        Jacquelyn Ramos            Self/Spouse     FL           US             Consortium
    Case 1:17-cv-03887-GBD-SN                       Document 1   Filed 05/23/17     Page 136 of 159


2066.   Jose C Ramos                  Self            NY           US             Personal Injury
2067.   Elizabeth Ramos, as
        Personal Representative
        of the estate of Luis
        Ramos, and Elizabeth
        Ramos Individually            PR/Mother       NY           US             Wrongful Death, Solatium
2068.   Manuel Ramos and                                                          Personal Injury, Loss of
        Milagros Ramos                Self/Spouse     FL           US             Consortium
2069.   Roberto Ramos and Janet                                                   Personal Injury, Loss of
        Ramos                         Self/Spouse     NY           US             Consortium
2070.   Angelica Rankin, as
        Executrix of the estate of
        Scott Rankin, and
        Angelica Rankin
        Individually                  PR/Spouse       NY           US             Wrongful Death, Solatium
2071.   Brian Rasa and Regina                                                     Personal Injury, Loss of
        Rasa                          Self/Spouse     NY           US             Consortium
2072.   Leonid Rashkovsky             Self            NY           US             Personal Injury
2073.   John Reade                    Self            NY           US             Personal Injury
2074.   Gigi Reece                    Self            NY           US             Personal Injury
2075.   Robert Reed and Barbara                                                   Personal Injury, Loss of
        Reed                          Self/Spouse     NY           US             Consortium
2076.   Denis Reen                    Self            NY           US             Personal Injury
2077.   Denis Reese and                                                           Personal Injury, Loss of
        Christine M Reese             Self/Spouse     NC           US             Consortium
2078.   Robert Reeves and                                                         Personal Injury, Loss of
        Dianne M Reeves               Self/Spouse     NJ           US             Consortium
2079.   Brendan Regan and                                                         Personal Injury, Loss of
        Kathleen Regan                Self/Spouse     NY           US             Consortium
2080.   Steven J Regina               Self            NY           US             Personal Injury
2081.   Vincent Regina and                                                        Personal Injury, Loss of
        Heather Sulzer-Regina         Self/Spouse     NY           US             Consortium
2082.   Lawrence Regula and                                                       Personal Injury, Loss of
        Diana Regula                  Self/Spouse     NJ           US             Consortium
2083.   Andrew Rehorn and                                                         Personal Injury, Loss of
        Kathryn Alexis-Rehorn         Self/Spouse     NJ           US             Consortium
2084.   Carolyn Reid, as Personal
        Representative of the
        estate of Joseph Reid, and
        Carolyn Reid Individually     PR/Spouse       NY           US             Wrongful Death, Solatium
2085.   Raymond Reid and                                                          Personal Injury, Loss of
        Maureen Reid                  Self/Spouse     NJ           US             Consortium
2086.   Jose Reillo and Anagracia                                                 Personal Injury, Loss of
        Reillo                        Self/Spouse     NY           US             Consortium
2087.   Brenden Reilly and Irene                                                  Personal Injury, Loss of
        Reilly                        Self/Spouse     NY           US             Consortium
2088.   Charles Reilly and Patricia                                               Personal Injury, Loss of
        Reilly                        Self/Spouse     NY           US             Consortium
2089.   John Reilly and Nicole                                                    Personal Injury, Loss of
        Reilly                        Self/Spouse     NJ           US             Consortium
2090.   Mark Reilly and Anastasia                                                 Personal Injury, Loss of
        Reilly                        Self/Spouse     NY           US             Consortium
2091.   Vincent Reilly and Regina                                                 Personal Injury, Loss of
        Reilly                        Self/Spouse     FL           US             Consortium
2092.   Gerard Reimers and                                                        Personal Injury, Loss of
        Anna Reimers                  Self/Spouse     NJ           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 137 of 159


2093.   Donna Reina and                                                          Personal Injury, Loss of
        Nicholas Reina               Self/Spouse     NY           US             Consortium
2094.   Viterbo Reinoso              Self            NY           US             Personal Injury
2095.   Jan Rejment and Anna                                                     Personal Injury, Loss of
        Rejment                      Self/Spouse     PA           US             Consortium
2096.   Roland Renaudin              Self            FL           US             Personal Injury
2097.   Frank Rendina and Maria                                                  Personal Injury, Loss of
        Rendina                      Self/Spouse     NY           US             Consortium
2098.   Thomas Rennes and                                                        Personal Injury, Loss of
        Sonia Rennes                 Self/Spouse     FL           US             Consortium
2099.   George Repetti and Joan                                                  Personal Injury, Loss of
        Repetti                      Self/Spouse     NY           US             Consortium
2100.   Michael Restagno and                                                     Personal Injury, Loss of
        Maria Restagno               Self/Spouse     NY           US             Consortium
2101.   Angel Reyes                  Self            NJ           US             Personal Injury
2102.   Anthony Reyes                Self            NY           US             Personal Injury
2103.   Marilan Reyes                Self            NY           US             Personal Injury
2104.   Pedro Reyes and Sandra                                                   Personal Injury, Loss of
        Reyes                        Self/Spouse     FL           US             Consortium
2105.   Kevin Reynolds and Lisa                                                  Personal Injury, Loss of
        Reynolds                     Self/Spouse     NY           US             Consortium
2106.   Kevin Reynolds and                                                       Personal Injury, Loss of
        Stephanie Reynolds           Self/Spouse     NJ           US             Consortium
2107.   Roger Reynolds and                                                       Personal Injury, Loss of
        Shereen Isaacs-Reynolds      Self/Spouse     NY           US             Consortium
2108.   Francisco Reynoso and                                                    Personal Injury, Loss of
        Gladys Castillo              Self/Spouse     NY           US             Consortium
2109.   Joseph Ribeiro and                                                       Personal Injury, Loss of
        Suzanne J Ribeiro            Self/Spouse     NY           US             Consortium
2110.   Dorothy Riccardi, as
        Administratrix of the
        estate of Joseph Riccardi,
        and Dorothy Riccardi
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
2111.   John Ricciardi and Shirley                                               Personal Injury, Loss of
        Ricciardi                    Self/Spouse     NY           US             Consortium
2112.   Charles Rice and Lois                                                    Personal Injury, Loss of
        Rice                         Self/Spouse     NC           US             Consortium
2113.   Keith Richards               Self            NY           US             Personal Injury
2114.   Kenneth Richardson and                                                   Personal Injury, Loss of
        Lauren Richardson            Self/Spouse     NY           US             Consortium
2115.   Gregory Richie and Mary                                                  Personal Injury, Loss of
        Jean Richie                  Self/Spouse     NY           US             Consortium
2116.   Christopher Rickard          Self            CT           US             Personal Injury
2117.   Aisha Ricks                  Self            NY           US             Personal Injury
2118.   Gregory Ricks                Self            NY           US             Personal Injury
2119.   Paul Rieckhoff and                                                       Personal Injury, Loss of
        Sharon Sim                   Self/Spouse     NY           US             Consortium
2120.   Eric Rieger and Laura                                                    Personal Injury, Loss of
        Rieger                       Self/Spouse     NY           US             Consortium
2121.   Carlos Riera                 Self            NY           US             Personal Injury
2122.   Maximo Riera and Fanny                                                   Personal Injury, Loss of
        Riera                        Self/Spouse     NY           US             Consortium
2123.   John Ring                    Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 138 of 159


2124.   Fabian Ringrisaca            Self            NJ           US             Personal Injury
2125.   Stacy Rink                   Self            NY           US             Personal Injury
2126.                                                                            Personal Injury, Loss of
        John Rios and Elba Rios      Self/Spouse     NY           US             Consortium
2127.   Marques A Rios               Self            NY           US             Personal Injury
2128.   Ruben Rios, Jr. and                                                      Personal Injury, Loss of
        Gricelda Rios                Self/Spouse     NY           US             Consortium
2129.   Barbara Rittenhouse          Self            NY           US             Personal Injury
2130.   Anthony Rivas                Self            NY           US             Personal Injury
2131.   Ramon Rivas and                                                          Personal Injury, Loss of
        Antonia Rivas                Self/Spouse     NY           US             Consortium
2132.   Victor Rivas and Diane                                                   Personal Injury, Loss of
        Rivas                        Self/Spouse     NY           US             Consortium
2133.   Antonio Rivera and                                                       Personal Injury, Loss of
        Lourdes Rivera               Self/Spouse     NY           US             Consortium
2134.   Carlos Rivera and Iris                                                   Personal Injury, Loss of
        Nieves                       Self/Spouse     NY           US             Consortium
2135.   Daniel Rivera and Patricia                                               Personal Injury, Loss of
        Rivera                       Self/Spouse     NY           US             Consortium
2136.   Fernando Rivera              Self            FL           US             Personal Injury
2137.   Joseph Rivera and Janine                                                 Personal Injury, Loss of
        Rivera                       Self/Spouse     NY           US             Consortium
2138.   Norma Rivera                 Self            NY           US             Personal Injury
2139.   Nestor Rivera Sr. and                                                    Personal Injury, Loss of
        Milagros Rivera              Self/Spouse     NY           US             Consortium
2140.   Ismael Rivera, Jr.           Self            TX           US             Personal Injury
2141.   Mercedes Rivera-Habib                                                    Personal Injury, Loss of
        and Jacob Habib              Self/Spouse     NY           US             Consortium
2142.   Gregory Rivers               Self            GA           US             Personal Injury
2143.   Peter Riviezzo and                                                       Personal Injury, Loss of
        Bonnie Riviezzo              Self/Spouse     NY           US             Consortium
2144.   John Rizzi and Deborah                                                   Personal Injury, Loss of
        Rizzi                        Self/Spouse     NY           US             Consortium
2145.   Patrizio Rizzi and Karen                                                 Personal Injury, Loss of
        Rizzi                        Self/Spouse     NY           US             Consortium
2146.   Alvin Roach                  Self            NY           US             Personal Injury
2147.   John Robak and Heidi                                                     Personal Injury, Loss of
        Robak                        Self/Spouse     NJ           US             Consortium
2148.   Bobby Roberts                Self            NY           US             Personal Injury
2149.   Carol Roberts                Self            AZ           US             Personal Injury
2150.   Denia Roberts                Self            NY           US             Personal Injury
2151.   Godwin Roberts               Self            NY           US             Personal Injury
2152.   Ronald Roberts and Tina                                                  Personal Injury, Loss of
        Roberts                      Self/Spouse     PA           US             Consortium
2153.   Shaun Roberts                Self            NY           US             Personal Injury
2154.   Claudia Robichaud            Self            NY           US             Personal Injury
2155.   Arronious Robinson           Self            NY           US             Personal Injury
2156.   Herman Robinson              Self            PA           US             Personal Injury
2157.   John Robinson                Self            NY           US             Personal Injury
2158.   Orlando Robinson and                                                     Personal Injury, Loss of
        Deborah                      Self/Spouse     NJ           US             Consortium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 139 of 159


2159.   William K Robinson and                                                 Personal Injury, Loss of
        Carol Robinson             Self/Spouse     NC           US             Consortium
2160.   Maria Robles               Self            NY           US             Personal Injury
2161.   Michael A. Robles and                                                  Personal Injury, Loss of
        Tillie-Ann Robles          Self/Spouse     NY           US             Consortium
2162.   Timothy Roche and                                                      Personal Injury, Loss of
        Lorraine Roche             Self/Spouse     NY           US             Consortium
2163.   Jose Rodas and Maria                                                   Personal Injury, Loss of
        Rodas                      Self/Spouse     NY           US             Consortium
2164.   Patricio Rodas             Self            NY           US             Personal Injury
2165.   Dana Rogers, as Personal
        Representative of the
        estate of Carolyn
        Rodgers, and Dana
        Rogers Individually        PR/Daughter     NY           US             Wrongful Death, Solatium
2166.   Michael Rodolico and                                                   Personal Injury, Loss of
        Melissa Rodolico           Self/Spouse     NC           US             Consortium
2167.   Angelo Rodriguez           Self            NY           US             Personal Injury
2168.   Douglas Rodriguez          Self            NY           US             Personal Injury
2169.   Eugenio Rodriguez and                                                  Personal Injury, Loss of
        Blanca Ortiz               Self/Spouse     NY           US             Consortium
2170.   James Rodriguez and Lisa                                               Personal Injury, Loss of
        Rodriguez                  Self/Spouse     NJ           US             Consortium
2171.   Lino R Rodriguez and                                                   Personal Injury, Loss of
        Ileana rodriguez           Self/Spouse     CT           US             Consortium
2172.   Luis Rodriguez             Self            NY           US             Personal Injury
2173.   Mercedes Rodriguez and                                                 Personal Injury, Loss of
        Rene Rodriguez             Self/Spouse     NY           US             Consortium
2174.   Napoleon Rodriguez and                                                 Personal Injury, Loss of
        Maria Lopez                Self/Spouse     NJ           US             Consortium
2175.   Olga Rodriguez             Self            FL           US             Personal Injury
2176.   Richard Rodriguez and                                                  Personal Injury, Loss of
        Jeanette Rodriguez         Self/Spouse     NY           US             Consortium
2177.   Ruben Rodriguez            Self            NY           US             Personal Injury
2178.   Stanley Rodriguez and                                                  Personal Injury, Loss of
        Vanessa A Rodriguez        Self/Spouse     NJ           US             Consortium
2179.   James Roemer               Self            NY           US             Personal Injury
2180.   Michael Rogers             Self            NY           US             Personal Injury
2181.   Diana Rohan and Robert                                                 Personal Injury, Loss of
        Emmett-Rohan               Self/Spouse     NY           US             Consortium
2182.   Alexander R Rojas and                                                  Personal Injury, Loss of
        Elizabeth Rojas            Self/Spouse     NY           US             Consortium
2183.   Rafael Rojas               Self            IN           US             Personal Injury
2184.   Richard Rojas and Tricia                                               Personal Injury, Loss of
        Ann Rojas                  Self/Spouse     NY           US             Consortium
2185.   Eligio Roldan and Gloria                                               Personal Injury, Loss of
        Roldan                     Self/Spouse     FL           US             Consortium
2186.   Eddie Roman                Self            NY           US             Personal Injury
2187.   Fasar Roman                Self            NY           US             Personal Injury
2188.   Mieczyslaw Romaniuk        Self            NY           US             Personal Injury
2189.   Andrew Romano              Self            NY           US             Personal Injury
2190.   Salvatore Romano and                                                   Personal Injury, Loss of
        Raquel Romano              Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 140 of 159


2191.   Dalia Romero and Luis                                                   Personal Injury, Loss of
        Romero                      Self/Spouse     NY           US             Consortium
2192.   Barbara Rons and                                                        Personal Injury, Loss of
        Edward Smith                Self/Spouse     FL           US             Consortium
2193.   John Rosa and Cheryl                                                    Personal Injury, Loss of
        Rosa                        Self/Spouse     NY           US             Consortium
2194.   Angel Rosado and Lydia                                                  Personal Injury, Loss of
        Rosado                      Self/Spouse     NY           US             Consortium
2195.   Joel Rosado                 Self            NY           US             Personal Injury
2196.   Cesar Rosales and Vilma                                                 Personal Injury, Loss of
        Rosales                     Self/Spouse     NY           US             Consortium
2197.   Michael Rosano and                                                      Personal Injury, Loss of
        Lillian Rosano              Self/Spouse     NY           US             Consortium
2198.   Braulio Rosario and                                                     Personal Injury, Loss of
        Beatriz Rosario             Self/Spouse     NY           US             Consortium
2199.   Bobby Rose and Pamela                                                   Personal Injury, Loss of
        Rose                        Self/Spouse     NY           US             Consortium
2200.   Dominick Roselli and                                                    Personal Injury, Loss of
        Jennifer Roselli            Self/Spouse     NJ           US             Consortium
2201.   Mitchel Rosen and Iris                                                  Personal Injury, Loss of
        Rosen                       Self/Spouse     NY           US             Consortium
2202.   Robert Rosen and Sylvia                                                 Personal Injury, Loss of
        Rosen                       Self/Spouse     NY           US             Consortium
2203.   Jason Rosenthal and                                                     Personal Injury, Loss of
        Alison Rosenthal            Self/Spouse     NY           US             Consortium
2204.   Wayne Roser and                                                         Personal Injury, Loss of
        Kathleen Roser              Self/Spouse     NY           US             Consortium
2205.   Sandra Roses, as Personal
        Representative of the
        estate of Esteban Roses,
        and Sandra Roses
        Individually                PR/Daughter     NY           US             Wrongful Death, Solatium
2206.   Matthew Roskwitalski        Self            NY           US             Personal Injury
2207.   Gary Rouxel and Sandra J                                                Personal Injury, Loss of
        Rouxel                      Self/Spouse     FL           US             Consortium
2208.   Clyde Rowe                  Self            NY           US             Personal Injury
2209.   Julio Rozon and Nancy                                                   Personal Injury, Loss of
        Rozon                       Self/Spouse     NY           US             Consortium
2210.   Jerzy Rozpedowski           Self            NY           US             Personal Injury
2211.   Ruth Ruales                 Self            NY           US             Personal Injury
2212.   Craig Rudiger and Debbie                                                Personal Injury, Loss of
        Rudiger                     Self/Spouse     NY           US             Consortium
2213.   Eddie Ruggiero and Gina                                                 Personal Injury, Loss of
        Ruggiero                    Self/Spouse     NY           US             Consortium
2214.   John Ruggiero               Self            NY           US             Personal Injury
2215.   Arley Ruiz                  Self            NY           US             Personal Injury
2216.   Rafaela Ruiz                Self            NY           US             Personal Injury
2217.   Joseph Ruocco and Alina                                                 Personal Injury, Loss of
        Ruocco                      Self/Spouse     NY           US             Consortium
2218.   Mark Ruocco and Kerry                                                   Personal Injury, Loss of
        Ruocco                      Self/Spouse     NY           US             Consortium
2219.   Randy Ruocco and                                                        Personal Injury, Loss of
        Nicole Ruocco               Self/Spouse     NY           US             Consortium
2220.   Anthony Russo and                                                       Personal Injury, Loss of
        Karen Russo                 Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 141 of 159


2221.   James Russo and Lynda                                                    Personal Injury, Loss of
        Russo                        Self/Spouse     NJ           US             Consortium
2222.   Thomas Russo and                                                         Personal Injury, Loss of
        Nancy Russo                  Self/Spouse     NJ           US             Consortium
2223.   Christopher Ryan and                                                     Personal Injury, Loss of
        Erin P Ryan                  Self/Spouse     NY           US             Consortium
2224.   Joseph Ryan and Norah                                                    Personal Injury, Loss of
        M Ryan                       Self/Spouse     NY           US             Consortium
2225.   Robert Ryan and Donna                                                    Personal Injury, Loss of
        Ryan                         Self/Spouse     NY           US             Consortium
2226.   Terrence Ryan and Lola                                                   Personal Injury, Loss of
        Ryan                         Self/Spouse     NJ           US             Consortium
2227.   Thomas Ryan and Marie                                                    Personal Injury, Loss of
        Ryan                         Self/Spouse     NY           US             Consortium
2228.   Jorge Saavedra               Self            NJ           US             Personal Injury
2229.   Glenn A Sabillon and                                                     Personal Injury, Loss of
        Rocio Sabillon               Self/Spouse     NY           US             Consortium
2230.   Carlotta Sadler              Self            NY           US             Personal Injury
2231.   Donald Sadowy and                                                        Personal Injury, Loss of
        Kathleen Sadowy              Self/Spouse     NY           US             Consortium
2232.   Blanca Saeteros              Self            NY           US             Personal Injury
2233.   Susan Sala                   Self            NY           US             Personal Injury
2234.   Vincenzo Salamone            Self            NY           US             Personal Injury
2235.   Peter Salatino               Self            NY           US             Personal Injury
2236.   Victor Salazar               Self            NJ           US             Personal Injury
2237.   John A Salcedo               Self            NY           US             Personal Injury
2238.   Calinda Salgado              Self            NY           US             Personal Injury
2239.   Evelyn Salgado-Clavijo,
        as Personal
        Representative of the
        estate of Lorraine
        Salgado, and Evelyn
        Salgado-Clavijo
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
2240.   Scot Saliani, as Executor
        of the estate of Francis
        Saliani, and Scot Saliani
        Individually                 PR/Son          NY           US             Wrongful Death, Solatium
2241.   Sam Salimian and Anna                                                    Personal Injury, Loss of
        Marie Salimian               Self/Spouse     NY           US             Consortium
2242.   Angela Salinas               Self            NY           US             Personal Injury
2243.   Jack Saltarella and Sandra                                               Personal Injury, Loss of
        Saltarella                   Self/Spouse     NY           US             Consortium
2244.   Sotereos Samothrakis and                                                 Personal Injury, Loss of
        Marianne Samothrakis         Self/Spouse     NY           US             Consortium
2245.   Consuelo Sampoll and                                                     Personal Injury, Loss of
        Jose Sampoll                 Self/Spouse     NY           US             Consortium
2246.   Antwi Samuel                 Self            NY           US             Personal Injury
2247.   Mabel Samuel                 Self            NY           US             Personal Injury
2248.   Barbara A San Roman          Self            NY           US             Personal Injury
2249.   Elizabeth Sanchez            Self            NY           US             Personal Injury
2250.   Jorge Sanchez                Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 142 of 159


2251.   Jose Sanchez and Johana                                                 Personal Injury, Loss of
        Sanchez                     Self/Spouse     NY           US             Consortium
2252.   Janny Sanchez, as
        Personal Representative
        of the estate of Juan C
        Sanchez, and Janny
        Sanchez Individually        PR/Spouse       NY           US             Wrongful Death, Solatium
2253.   Juan Sanchez and                                                        Personal Injury, Loss of
        Elizabeth Sanchez           Self/Spouse     NY           US             Consortium
2254.   Luis Sanchez and                                                        Personal Injury, Loss of
        Margaret Sanchez            Self/Spouse     NJ           US             Consortium
2255.   Manuel Sanchez and                                                      Personal Injury, Loss of
        Patricia Sanchez            Self/Spouse     FL           US             Consortium
2256.   Marisol Sanchez             Self            FL           US             Personal Injury
2257.   Eric Sandhovel and Maria                                                Personal Injury, Loss of
        Sandhovel                   Self/Spouse     NY           US             Consortium
2258.   Henry Sandoya and                                                       Personal Injury, Loss of
        Gloria Alvarez              Self/Spouse     NY           US             Consortium
2259.   Joseph Sanfilippo and                                                   Personal Injury, Loss of
        Patricia Sanfilippo         Self/Spouse     NY           US             Consortium
2260.   Robert Sangiorgio and                                                   Personal Injury, Loss of
        Marie                       Self/Spouse     NJ           US             Consortium
2261.   Richard Sanicola and                                                    Personal Injury, Loss of
        Hilda Sanicola              Self/Spouse     NY           US             Consortium
2262.   Emanuel Santamaria and                                                  Personal Injury, Loss of
        Blanca Santamaria           Self/Spouse     NY           US             Consortium
2263.   Miquel Santana              Self            NJ           US             Personal Injury
2264.   Irene Santana-Rivera        Self            NY           US             Personal Injury
2265.   Charles Santantonio         Self            FL           US             Personal Injury
2266.   Tammy Santapau and                                                      Personal Injury, Loss of
        Enrique Cuevas              Self/Spouse     NY           US             Consortium
2267.   Manuel Santiago and                                                     Personal Injury, Loss of
        Wilma Santiago              Self/Spouse     NY           US             Consortium
2268.   Martin Santiago             Self            FL           US             Personal Injury
2269.   Nora Santiago               Self            FL           US             Personal Injury
2270.   Wilma Santiago and                                                      Personal Injury, Loss of
        Manuel Santiago             Self/Spouse     NY           US             Consortium
2271.   Michael Santore and                                                     Personal Injury, Loss of
        Nicole Santore              Self/Spouse     NJ           US             Consortium
2272.   Bienvenido Santos and                                                   Personal Injury, Loss of
        Dorothy Iavarone            Self/Spouse     NY           US             Consortium
2273.   David Santos and Ivelisse                                               Personal Injury, Loss of
        Santos                      Self/Spouse     NY           US             Consortium
2274.   Vincent Santucci and                                                    Personal Injury, Loss of
        Helen Santucci              Self/Spouse     NY           US             Consortium
2275.   James Sarandrea             Self            NY           US             Personal Injury
2276.   Edwin Sarmiento and                                                     Personal Injury, Loss of
        Nora Sarmiento              Self/Spouse     NY           US             Consortium
2277.   Gerardo Sarmiento           Self            NY           US             Personal Injury
2278.   Jose Sarmiento              Self            NY           US             Personal Injury
2279.   Maydi Sarmiento             Self            NY           US             Personal Injury
2280.   Pedro Sarmiento and                                                     Personal Injury, Loss of
        Melanea Sarmiento           Self/Spouse     NY           US             Consortium
2281.   Antonio Sarra and                                                       Personal Injury, Loss of
        Antoinette Sarra            Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 143 of 159


2282.   Elizabeth Trippodo, as
        Administratrix of the
        estate of Charles Sasso,
        and Elizabeth Trippodo
        Individually                PR/Sibling      NY           US             Wrongful Death, Solatium
2283.   Michael Sasson and Lisa                                                 Personal Injury, Loss of
        Sasson                      Self/Spouse     FL           US             Consortium
2284.   Rodney Satterfield and                                                  Personal Injury, Loss of
        Cheryl Satterfield          Self/Spouse     FL           US             Consortium
2285.   Donald Savarese and                                                     Personal Injury, Loss of
        Rose Ann Savarese           Self/Spouse     NY           US             Consortium
2286.   Robert Sbarra               Self            NJ           US             Personal Injury
2287.   Jeannette Sbordone and                                                  Personal Injury, Loss of
        Thomas Sbordone             Self/Spouse     NY           US             Consortium
2288.   Giuseppe Scalici            Self            NY           US             Personal Injury
2289.   Joseph Scalogna             Self            NY           US             Personal Injury
2290.   John Schaefer and Mary                                                  Personal Injury, Loss of
        Schaefer                    Self/Spouse     NY           US             Consortium
2291.   Daniel Schafer and Ruth                                                 Personal Injury, Loss of
        A Schafer                   Self/Spouse     NJ           US             Consortium
2292.   Joseph Schafer and Cindy                                                Personal Injury, Loss of
        Schafer                     Self/Spouse     NY           US             Consortium
2293.   Edward Scharfberg and                                                   Personal Injury, Loss of
        Marylee Scharfberg          Self/Spouse     NY           US             Consortium
2294.   Charles Schilling and Ann                                               Personal Injury, Loss of
        Marie Schilling             Self/Spouse     NY           US             Consortium
2295.   James Schiraldi             Self            NY           US             Personal Injury
2296.   Robert Schlossberg and                                                  Personal Injury, Loss of
        Joan E Rudner               Self/Spouse     NY           US             Consortium
2297.   Charles Schmidt             Self            NY           US             Personal Injury
2298.   Fred Schmidt and Karen                                                  Personal Injury, Loss of
        Schmidt                     Self/Spouse     NY           US             Consortium
2299.   Michael Schmidt and                                                     Personal Injury, Loss of
        Diana Schmidt               Self/Spouse     NY           US             Consortium
2300.   Robert Schmidt and                                                      Personal Injury, Loss of
        Eileen Schmidt              Self/Spouse     NY           US             Consortium
2301.   Mark Schmittzeh and                                                     Personal Injury, Loss of
        Wendy Schmittzett           Self/Spouse     NY           US             Consortium
2302.   Kurt Schneeberg             Self            NY           US             Personal Injury
2303.   Ernest Schneider and                                                    Personal Injury, Loss of
        Rosemarie Schneider         Self/Spouse     NY           US             Consortium
2304.   Matthew Schoffel            Self            NJ           US             Personal Injury
2305.   John Schroeder              Self            FL           US             Personal Injury
2306.   John Schrynemakers and                                                  Personal Injury, Loss of
        Paula T Schrynemakers       Self/Spouse     NY           US             Consortium
2307.   Adam Schuler and Donna                                                  Personal Injury, Loss of
        M Schuler                   Self/Spouse     NJ           US             Consortium
2308.   Dale Schultz and                                                        Personal Injury, Loss of
        Christine Schultz           Self/Spouse     NY           US             Consortium
2309.   Michaelene Schultz          Self            MI           US             Personal Injury
2310.   Walter Schumann             Self            NY           US             Personal Injury
2311.   Lawrence Schurek and                                                    Personal Injury, Loss of
        Frances Schurek             Self/Spouse     NY           US             Consortium
2312.   John Schwartz               Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 144 of 159


2313.   Steve Schwartz and Rosa                                                  Personal Injury, Loss of
        Schwartz                     Self/Spouse     Fl           US             Consortium
2314.   Edward J Schwendemann
        and Grace                                                                Personal Injury, Loss of
        Schwendemann                 Self/Spouse     NY           US             Consortium
2315.   Kenneth Schwicke and                                                     Personal Injury, Loss of
        Mary Schwicke                Self/Spouse     NY           US             Consortium
2316.   Ronald Scimone and                                                       Personal Injury, Loss of
        Susan Scimone                Self/Spouse     NY           US             Consortium
2317.   Steven Sciuto and Tara                                                   Personal Injury, Loss of
        Sciuto                       Self/Spouse     NJ           US             Consortium
2318.   Dean Sclafani                Self            NY           US             Personal Injury
2319.   David Scott and Kim                                                      Personal Injury, Loss of
        Marie Scott                  Self/Spouse     NY           US             Consortium
2320.   James Scott and Debra A                                                  Personal Injury, Loss of
        Scott                        Self/Spouse     NY           US             Consortium
2321.   Joseph Scotti and Lisa                                                   Personal Injury, Loss of
        Scotti                       Self/Spouse     FL           US             Consortium
2322.   Dianna Scotto                Self            NY           US             Personal Injury
2323.   Dennis Scudera and                                                       Personal Injury, Loss of
        Antonia Scudera              Self/Spouse     NC           US             Consortium
2324.   Charles Scuderi and                                                      Personal Injury, Loss of
        Densie Scuderi               Self/Spouse     NY           US             Consortium
2325.   John Scully and Charleen                                                 Personal Injury, Loss of
        A Scully                     Self/Spouse     NJ           US             Consortium
2326.   John Seagriff and Patty                                                  Personal Injury, Loss of
        Seagriff                     Self/Spouse     NY           US             Consortium
2327.   James Secreto and                                                        Personal Injury, Loss of
        Stephaine Secreto            Self/Spouse     NY           US             Consortium
2328.   Mary Seiferheld and                                                      Personal Injury, Loss of
        Lawrence Kirwin              Self/Spouse     NJ           US             Consortium
2329.   Bruce Selja and Diane                                                    Personal Injury, Loss of
        Selja                        Self/Spouse     NJ           US             Consortium
2330.   Mark Semiday and Nilda                                                   Personal Injury, Loss of
        Luz Semiday                  Self/Spouse     PA           US             Consortium
2331.   Carlos Semidey, Jr., as
        Administrator of the
        estate of Carlos Semidey,
        and Carlos Semidey, Jr.
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
2332.   Adams Sepulveda and                                                      Personal Injury, Loss of
        Monica Sepulveda             Self/Spouse     NY           US             Consortium
2333.   Allan Serpenti               Self            NY           US             Personal Injury
2334.   Jeffrey Serra and Patricia                                               Personal Injury, Loss of
        Serra                        Self/Spouse     NY           US             Consortium
2335.   Angel R Serrano and                                                      Personal Injury, Loss of
        Tanny Sarmiento              Self/Spouse     NJ           US             Consortium
2336.   Angellica Merk-Serrano,
        as Administratrix of the
        estate of Edwin F
        Serrano, and Angellica
        Merk-Serrano
        Individually                 PR/Spouse       NJ           US             Wrongful Death, Solatium
2337.   Fitzgerald Serrano and                                                   Personal Injury, Loss of
        Belzaida Serrano             Self/Spouse     NY           US             Consortium
2338.   Jose Serrano                 Self            NY           US             Personal Injury
2339.   Yury Sery and Tatyana        Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 145 of 159


        Sery                                                                     Consortium
2340.   Robert Sesny                 Self            NY           US             Personal Injury
2341.   Syed S Shahzad and                                                       Personal Injury, Loss of
        Nasreen Aktar                Self/Spouse     NY           US             Consortium
2342.   Edward Shakes and                                                        Personal Injury, Loss of
        Monique Shakes               Self/Spouse     NY           US             Consortium
2343.   Stanislav Shalomov and                                                   Personal Injury, Loss of
        Vera Shalomova               Self/Spouse     NY           US             Consortium
2344.   Vladimir Shalomov and                                                    Personal Injury, Loss of
        Irina Shalomova              Self/Spouse     NY           US             Consortium
2345.   Janine Shank                 Self            NY           US             Personal Injury
2346.   Ryan Shapiro and Kristie                                                 Personal Injury, Loss of
        A Shapiro                    Self/Spouse     PA           US             Consortium
2347.   Paul Shargani and                                                        Personal Injury, Loss of
        Rosario Shargani             Self/Spouse     NY           US             Consortium
2348.   Robert Sharp and Rena                                                    Personal Injury, Loss of
        Sharp                        Self/Spouse     NY           US             Consortium
2349.   Belinda M Shaw               Self            NY           US             Personal Injury
2350.   Reuben Shaw and Dana                                                     Personal Injury, Loss of
        Shaw                         Self/Spouse     NY           US             Consortium
2351.   Dermot Shea and Serena                                                   Personal Injury, Loss of
        Shea                         Self/Spouse     NY           US             Consortium
2352.   William Shea and                                                         Personal Injury, Loss of
        Stephanie Shea               Self/Spouse     NY           US             Consortium
2353.   Daniel Sheridan and                                                      Personal Injury, Loss of
        Joyce A Sheridan             Self/Spouse     NY           US             Consortium
2354.   Farije Sheridan and                                                      Personal Injury, Loss of
        Thomas Sheridan              Self/Spouse     NY           US             Consortium
2355.   Ralph Sherlock and
        Noreen McGuiness-                                                        Personal Injury, Loss of
        Sherlock                     Self/Spouse     NY           US             Consortium
2356.   Jesse Sherrod                Self            NY           US             Personal Injury
2357.   Steven Shields               Self            NY           US             Personal Injury
2358.   Ulysses Shingles             Self            NY           US             Personal Injury
2359.   James Short                  Self            NY           US             Personal Injury
2360.   Roseann Shubert Cimino,
        as Administratrix of the
        estate of Anthony
        Shubert, and Roseann
        Shubert Cimino
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
2361.   Martha Sibrian               Self            NJ           US             Personal Injury
2362.   Daniel Sica and Dawn                                                     Personal Injury, Loss of
        Sica                         Self/Spouse     NY           US             Consortium
2363.   Carol Siciliato, as
        Executrix of the estate of
        John A Siciliato, and
        Carol Siciliato
        Individually                 PR/Spouse       NJ           US             Wrongful Death, Solatium
2364.   Glenn Sieber and Patricia                                                Personal Injury, Loss of
        Sieber                       Self/Spouse     NY           US             Consortium
2365.   Daniel Siguachi and                                                      Personal Injury, Loss of
        Narcisa Z Siguachi           Self/Spouse     NY           US             Consortium
2366.   Manuel Siguencia             Self            NY           US             Personal Injury
2367.   Peter Sikora and Janina      Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 146 of 159


        Sikora                                                                  Consortium
2368.   Timothy L Sikorski and                                                  Personal Injury, Loss of
        Aileen Sikorski             Self/Spouse     NY           US             Consortium
2369.   Henry Sileo and Teresa                                                  Personal Injury, Loss of
        Sileo                       Self/Spouse     NJ           US             Consortium
2370.   Richard Sileo and                                                       Personal Injury, Loss of
        Maureen Sileo               Self/Spouse     NY           US             Consortium
2371.   Mark Sillaro and Monica                                                 Personal Injury, Loss of
        Sillaro                     Self/Spouse     NY           US             Consortium
2372.   Carlos Silva and Maricela                                               Personal Injury, Loss of
        Silva                       Self/Spouse     NY           US             Consortium
2373.   Fredy Silva and Martha                                                  Personal Injury, Loss of
        Silva                       Self/Spouse     NJ           US             Consortium
2374.   Enrique Silva Leal          Self            NY           US             Personal Injury
2375.   Steven Silver               Self            NJ           US             Personal Injury
2376.   Gaetano Silvestro and                                                   Personal Injury, Loss of
        Veronica Silvestro          Self/Spouse     NY           US             Consortium
2377.   Larry Simes and Kim L                                                   Personal Injury, Loss of
        Simes                       Self/Spouse     NJ           US             Consortium
2378.   Jason Simone and Caryn                                                  Personal Injury, Loss of
        Simone                      Self/Spouse     NY           US             Consortium
2379.   Basilio Simons and Doris                                                Personal Injury, Loss of
        Simons                      Self/Spouse     NY           US             Consortium
2380.   Bobby Simpkins and                                                      Personal Injury, Loss of
        Lucille Simpkins            Self/Spouse     PA           US             Consortium
2381.   Clyde Simpson               Self            NY           US             Personal Injury
2382.   Victor Simpson and                                                      Personal Injury, Loss of
        Naomi Simpson               Self/Spouse     PA           US             Consortium
2383.   William Simpson and                                                     Personal Injury, Loss of
        Karen L Simpson             Self/Spouse     NY           US             Consortium
2384.   Francis Sinatra and                                                     Personal Injury, Loss of
        Patricia Sinatra            Self/Spouse     NY           US             Consortium
2385.   George Sinerco and                                                      Personal Injury, Loss of
        Theresa Sinerco             Self/Spouse     NY           US             Consortium
2386.   Lavorn Singleton            Self            NY           US             Personal Injury
2387.   Robert Sinishtaj and Jodi                                               Personal Injury, Loss of
        M Sinishtaj                 Self/Spouse     NY           US             Consortium
2388.   George Sinopidis            Self            NY           US             Personal Injury
2389.   Edward Skorupa, as
        Personal Representative
        of the estate of Albert
        Skorupa, and Edward
        Skorupa Individually        PR/Spouse       NY           US             Wrongful Death, Solatium
2390.   Robert Skretkowicz and                                                  Personal Injury, Loss of
        Carolin Skretkowicz         Self/Spouse     NY           US             Consortium
2391.   Robert Slavkovsky and                                                   Personal Injury, Loss of
        Lori Ann Slavkovsky         Self/Spouse     NY           US             Consortium
2392.   Marion Slawinski and                                                    Personal Injury, Loss of
        Marie Slawinski             Self/Spouse     NJ           US             Consortium
2393.   John Sliva                  Self            HI           US             Personal Injury
2394.   Michael Sloan and Mary                                                  Personal Injury, Loss of
        E Sloan                     Self/Spouse     NY           US             Consortium
2395.   Tyree Smallwood and                                                     Personal Injury, Loss of
        Carolyn Smallwood           Self/Spouse     NY           US             Consortium
2396.   Carol Smith                 Self            NY           US             Personal Injury
2397.   Deborah Smith               Self            NY           US             Personal Injury
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 147 of 159


2398.   Eric Smith and Lisa                                                    Personal Injury, Loss of
        Smith                      Self/Spouse     SC           US             Consortium
2399.   Frank Smith                Self            NY           US             Personal Injury
2400.   Gary Smith and Patricia                                                Personal Injury, Loss of
        Smith                      Self/Spouse     NY           US             Consortium
2401.   Kevin Smith and Gail C                                                 Personal Injury, Loss of
        Smith                      Self/Spouse     NY           US             Consortium
2402.   Melvin Smith and Seroge                                                Personal Injury, Loss of
        Smith                      Self/Spouse     NY           US             Consortium
2403.   Oscar Smith                Self            NY           US             Personal Injury
2404.   Warren Smith and                                                       Personal Injury, Loss of
        Khadijah Smith             Self/Spouse     NY           US             Consortium
2405.   Valerie Smithwick          Self            NY           US             Personal Injury
2406.   Marie Snadecky, as
        Administratrix of the
        estate of Mark Snadecky,
        and Marie Snadecky
        Individually               PR/Spouse       NY           US             Wrongful Death, Solatium
2407.   Timothy Snickles and                                                   Personal Injury, Loss of
        Melissa M Snickles         Self/Spouse     NY           US             Consortium
2408.   Thomas Snyder              Self            NY           US             Personal Injury
2409.   Jerzy Sokol and Jadwiga                                                Personal Injury, Loss of
        Sokol                      Self/Spouse     NY           US             Consortium
2410.   Oscar Solis                Self            NY           US             Personal Injury
2411.   Joseph Sollecito           Self            NY           US             Personal Injury
2412.   Bruce Solomon and                                                      Personal Injury, Loss of
        Grace D Solomon            Self/Spouse     NY           US             Consortium
2413.   John Sondey                Self            NY           US             Personal Injury
2414.   Michael Sontag             Self            NY           US             Personal Injury
2415.   Rodney Soodan and Nora                                                 Personal Injury, Loss of
        Soodan                     Self/Spouse     NY           US             Consortium
2416.   John Sorrentino and                                                    Personal Injury, Loss of
        Laurie Ann Sorrentino      Self/Spouse     NY           US             Consortium
2417.   Joseph Sorrentino and                                                  Personal Injury, Loss of
        Joan Sorrentino            Self/Spouse     NY           US             Consortium
2418.   Vincent Sorrentino and                                                 Personal Injury, Loss of
        Mary Sorrentino            Self/Spouse     NY           US             Consortium
2419.   Audie Soto and Milagros                                                Personal Injury, Loss of
        Soto                       Self/Spouse     NY           US             Consortium
2420.   Beatriz Soto               Self            NY           US             Personal Injury
2421.   Mayie I Soto               Self            NY           US             Personal Injury
2422.   Americo Spagnuolo          Self            NY           US             Personal Injury
2423.   Carmine & Marc
        Sparacio, as Executor of
        the estate of Joseph
        Sparacio, and Carmine &
        Marc Sparacio
        Individually               PR/Spouse       NY           US             Wrongful Death, Solatium
2424.   Robert Sparano and                                                     Personal Injury, Loss of
        Theresa Sparano            Self/Spouse     NY           US             Consortium
2425.   Gary Sparapani and                                                     Personal Injury, Loss of
        Beatrice Sparapani         Self/Spouse     NY           US             Consortium
2426.   Robert Spero, as
        Administrator of the
        estate of Michael Spero,   PR/Spouse       NJ           US             Wrongful Death, Solatium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 148 of 159


        and Robert Spero
        Individually
2427.   Steve Sperrazza and                                                      Personal Injury, Loss of
        Marguerite Sperrazza         Self/Spouse     CT           US             Consortium
2428.   Warren Spielberg and                                                     Personal Injury, Loss of
        Rine Spielberg               Self/Spouse     NY           US             Consortium
2429.   Sally Spinosa and Richard                                                Personal Injury, Loss of
        Spinosa                      Self/Spouse     NY           US             Consortium
2430.   David Spitzer                Self            NJ           US             Personal Injury
2431.   David Sprouse                Self            NY           US             Personal Injury
2432.   Lester Squires and Diane                                                 Personal Injury, Loss of
        Squires                      Self/Spouse     NY           US             Consortium
2433.   Robert St. Clair and                                                     Personal Injury, Loss of
        Robin St. Clair              Self/Spouse     FL           US             Consortium
2434.   Zachary Stamatakis and                                                   Personal Injury, Loss of
        Bernice Stamatakis           Self/Spouse     FL           US             Consortium
2435.   Frank Stark                  Self            NY           US             Personal Injury
2436.   Andrew Steckler              Self            NY           US             Personal Injury
2437.   Victor Steele                Self            NY           US             Personal Injury
2438.   William Stefandel and                                                    Personal Injury, Loss of
        Danille Stefandel            Self/Spouse     NY           US             Consortium
2439.   Peter Steffen                Self            NY           US             Personal Injury
2440.   Joseph Steil                 Self            NY           US             Personal Injury
2441.   Florence Steinbrecher        Self            NY           US             Personal Injury
2442.   Marian Stelmach              Self            NY           US             Personal Injury
2443.   Eddy Stelter and                                                         Personal Injury, Loss of
        Genevieve Stelter            Self/Spouse     NJ           US             Consortium
2444.   Howard Sterinbach and                                                    Personal Injury, Loss of
        Amy Sterinbach               Self/Spouse     NY           US             Consortium
2445.   Basilio Stewart and Irene                                                Personal Injury, Loss of
        Stewart                      Self/Spouse     NY           US             Consortium
2446.   Libor Stipek and Sandra                                                  Personal Injury, Loss of
        L Stipek                     Self/Spouse     NY           US             Consortium
2447.   Dana Stockman and                                                        Personal Injury, Loss of
        David E Stockman             Self/Spouse     TN           US             Consortium
2448.   Joseph W Stoll and                                                       Personal Injury, Loss of
        Nazmoun Stoll                Self/Spouse     NY           US             Consortium
2449.   Robert Stone and Maria                                                   Personal Injury, Loss of
        Stone                        Self/Spouse     NJ           US             Consortium
2450.   Eric Straker and Chtistine                                               Personal Injury, Loss of
        Straker                      Self/Spouse     NY           US             Consortium
2451.   Robert Straube and Lilla                                                 Personal Injury, Loss of
        Straube                      Self/Spouse     NY           US             Consortium
2452.   Robert Strommer and                                                      Personal Injury, Loss of
        Lucille Strommer             Self/Spouse     NY           US             Consortium
2453.   Laura Stuart                 Self            NY           US             Personal Injury
2454.   Louisa A Stuck, as
        Executrix of the estate of
        Frederick Stuck, and
        Louisa A Stuck
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
2455.   Henry Stucken and                                                        Personal Injury, Loss of
        Fernanda Stucken             Self/Spouse     FL           US             Consortium
2456.   Isidro Suarez and Jessie                                                 Personal Injury, Loss of
        Suarez                       Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 149 of 159


2457.   Wieslaw Sudnik and                                                       Personal Injury, Loss of
        Maria Bednarekv              Self/Spouse     NY           US             Consortium
2458.   Maria Sumba                  Self            NY           US             Personal Injury
2459.   Lawrence Summerhill and                                                  Personal Injury, Loss of
        Cynthia Summerhill           Self/Spouse     AL           US             Consortium
2460.   Daniel Sumpter and                                                       Personal Injury, Loss of
        Regina Sumpter               Self/Spouse     SC           US             Consortium
2461.   James Sutter and Michelle                                                Personal Injury, Loss of
        Sutter                       Self/Spouse     NY           US             Consortium
2462.   Karl E Sutter and Judith                                                 Personal Injury, Loss of
        Sutter                       Self/Spouse     NY           US             Consortium
2463.   Kenneth Sutton               Self            NC           US             Personal Injury
2464.   Robert Sutton and                                                        Personal Injury, Loss of
        Carmen Sutton                Self/Spouse     FL           US             Consortium
2465.   John Sweeney and Ann                                                     Personal Injury, Loss of
        Anderson                     Self/Spouse     NY           US             Consortium
2466.   David Swenson and                                                        Personal Injury, Loss of
        Kimberly Swenson             Self/Spouse     NY           US             Consortium
2467.   Theodore Swift and                                                       Personal Injury, Loss of
        Debra A Swift                Self/Spouse     NY           US             Consortium
2468.   Stanislaw Swistak and                                                    Personal Injury, Loss of
        Jawiga Swistak               Self/Spouse     NY           US             Consortium
2469.   Jeffrey Szalkowski and                                                   Personal Injury, Loss of
        Rachel E Szalkowski          Self/Spouse     NY           US             Consortium
2470.   Miroslaw Szpanelewski
        and Aleksandra                                                           Personal Injury, Loss of
        Szpanelewska                 Self/Spouse     NY           US             Consortium
2471.   Edward Szubski               Self            NJ           US             Personal Injury
2472.   Zbigniew Szynkowski          Self            NY           US             Personal Injury
2473.   Janeth Tabares               Self            NH           US             Personal Injury
2474.   Kelly Tafe                   Self            NY           US             Personal Injury
2475.   John F Taggart and                                                       Personal Injury, Loss of
        Theresa Taggart              Self/Spouse     NJ           US             Consortium
2476.   Salvatore Tagliamonte, Jr.
        and Coleen A                                                             Personal Injury, Loss of
        Tagliamonte                  Self/Spouse     NY           US             Consortium
2477.   Frank Tagliavia and                                                      Personal Injury, Loss of
        Maryellen Tagliavia          Self/Spouse     NY           US             Consortium
2478.   Derrick Taitt and Pamela                                                 Personal Injury, Loss of
        W Taitt                      Self/Spouse     NY           US             Consortium
2479.   Pakkong Tang                 Self            NY           US             Personal Injury
2480.   Ciro Taormina and                                                        Personal Injury, Loss of
        Cheryl Taormina              Self/Spouse     NY           US             Consortium
2481.   Carol Tappen                 Self            NY           US             Personal Injury
2482.   James Tarry and Rosalie                                                  Personal Injury, Loss of
        Tarry                        Self/Spouse     NY           US             Consortium
2483.   Michael Taveras              Self            NY           US             Personal Injury
2484.   Felicia Taylor               Self            NY           US             Personal Injury
2485.   Kenneth G Taylor             Self            NY           US             Personal Injury
2486.   Robert Taylor and Donna                                                  Personal Injury, Loss of
        Taylor                       Self/Spouse     NY           US             Consortium
2487.   Wanda Taylor                 Self            NY           US             Personal Injury
2488.   Adam Tegan and Pattie-                                                   Personal Injury, Loss of
        Ann Tegan                    Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 150 of 159


2489.   Anthony Tenaglia and                                                     Personal Injury, Loss of
        Ann Marie Tenaglia           Self/Spouse     NY           US             Consortium
2490.   Robert Texidor               Self            PA           US             Personal Injury
2491.   Eric Theiss and Frances                                                  Personal Injury, Loss of
        Schwab theiss                Self/Spouse     NY           US             Consortium
2492.   Kevin Thomas and                                                         Personal Injury, Loss of
        Sherilla Thomas              Self/Spouse     NY           US             Consortium
2493.   Valrie Thomas and                                                        Personal Injury, Loss of
        Steadman Brown               Self/Spouse     NY           US             Consortium
2494.   Mary Ann Thompson, as
        Executrix of the estate of
        Victor Thompson, and
        Mary Ann Thompson
        Individually                 PR/Spouse       NY           US             Wrongful Death, Solatium
2495.   Jeanne Thorpe                Self            NJ           US             Personal Injury
2496.   Charles Thuilot and                                                      Personal Injury, Loss of
        Claudine Thuilot             Self/Spouse     NY           US             Consortium
2497.   Brian P Tierney and                                                      Personal Injury, Loss of
        Denise Tierney               Self/Spouse     NJ           US             Consortium
2498.   Daniel Tierney               Self            NY           US             Personal Injury
2499.   Judith Tirado                Self            NY           US             Personal Injury
2500.   Miguel Tobar                 Self            NY           US             Personal Injury
2501.   Brendan Tobin and Sheila                                                 Personal Injury, Loss of
        Tobin                        Self/Spouse     NY           US             Consortium
2502.   Maribel Tobon                Self            NY           US             Personal Injury
2503.   William Toelstedt and                                                    Personal Injury, Loss of
        Nan P William                Self/Spouse     NY           US             Consortium
2504.   Jorge Toledo                 Self            NY           US             Personal Injury
2505.   Rosalia Toledo               Self            NY           US             Personal Injury
2506.   Victor Toledo and Dilia                                                  Personal Injury, Loss of
        Canar                        Self/Spouse     NY           US             Consortium
2507.   Aracely M Toledo
        Naranjo                      Self            NY           US             Personal Injury
2508.   Cecilia Tomala               Self            NY           US             Personal Injury
2509.   Dariusz Tomczyk and                                                      Personal Injury, Loss of
        Joanna Tomczyk               Self/Spouse     NY           US             Consortium
2510.   Raphael Tomich and                                                       Personal Injury, Loss of
        Francine Tomich              Self/Spouse     NY           US             Consortium
2511.   Kenneth Tomlinson and                                                    Personal Injury, Loss of
        Josephine Tomlinson          Self/Spouse     NY           US             Consortium
2512.   Brian Toohey and Tara                                                    Personal Injury, Loss of
        Toohey                       Self/Spouse     NJ           US             Consortium
2513.   Clair Toppins                Self            NY           US             Personal Injury
2514.   Aida Torres and Bolivar                                                  Personal Injury, Loss of
        Torres                       Self/Spouse     NY           US             Consortium
2515.   Lili Torres                  Self            NY           US             Personal Injury
2516.   Lionel Torres and Lucy                                                   Personal Injury, Loss of
        Torres                       Self/Spouse     NJ           US             Consortium
2517.   Moses Torres and Ivette                                                  Personal Injury, Loss of
        M Zelaya                     Self/Spouse     NY           US             Consortium
2518.   Roberto Torres               Self            NY           US             Personal Injury
2519.   Leonardo Tortorici and                                                   Personal Injury, Loss of
        Lisa Tortorici               Self/Spouse     NY           US             Consortium
2520.   Adam Traina and Sandra       Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 151 of 159


        Traina                                                                  Consortium
2521.   Michael Trance and                                                      Personal Injury, Loss of
        Evelyn Trance               Self/Spouse     NY           US             Consortium
2522.   John Trapani                Self            NY           US             Personal Injury
2523.   John Travaglia              Self            NY           US             Personal Injury
2524.   Brian Traynor               Self            NY           US             Personal Injury
2525.   Wayne Treibish and                                                      Personal Injury, Loss of
        Kathy Treibish              Self/Spouse     NY           US             Consortium
2526.   Esperanza Trejos            Self            NY           US             Personal Injury
2527.   Maria Trembone, as
        Administratrix of the
        estate of Joseph
        Trembone, and Maria
        Trembone Individually       PR/Spouse       NY           US             Solatium
2528.   Edward Trentacosta          Self            FL           US             Personal Injury
2529.   Robert Trigili and Lisa K                                               Personal Injury, Loss of
        Trigili                     Self/Spouse     PA           US             Consortium
2530.   Edictor Trinidad and                                                    Personal Injury, Loss of
        Diana Trinidad              Self/Spouse     NY           US             Consortium
2531.   Albert Troche and Isabel                                                Personal Injury, Loss of
        Troche                      Self/Spouse     NY           US             Consortium
2532.   Joseph Troina               Self            NY           US             Personal Injury
2533.   Philip Tropp                Self            NY           US             Personal Injury
2534.   Joseph Trotta               Self            NY           US             Personal Injury
2535.   Joseph Truglio and Sara                                                 Personal Injury, Loss of
        Truglio                     Self/Spouse     NY           US             Consortium
2536.   Steven Truglio and                                                      Personal Injury, Loss of
        Aleksandra Truglio          Self/Spouse     NJ           US             Consortium
2537.   Blair Trujillo and Nancy                                                Personal Injury, Loss of
        Trujillo                    Self/Spouse     NY           US             Consortium
2538.   Marek Truskolaski           Self            NY           US             Personal Injury
2539.   Timothy Trypuc and                                                      Personal Injury, Loss of
        Victoria Ingram             Self/Spouse     NY           US             Consortium
2540.   Peter Tse                   Self            NY           US             Personal Injury
2541.   Kathleen Tubridy, as
        Administratrix of the
        estate of Eamon Tubridy,
        and Kathleen Tubridy
        Individually                PR/Spouse       NY           US             Wrongful Death, Solatium
2542.   Bobby Tucker and Margo                                                  Personal Injury, Loss of
        Tucker                      Self/Spouse     FL           US             Consortium
2543.   Jose A Tud and                                                          Personal Injury, Loss of
        Antonieta B Tud             Self/Spouse     MD           US             Consortium
2544.   Thomas Turitto              Self            NY           US             Personal Injury
2545.   Steve Tuzzo and                                                         Personal Injury, Loss of
        Deborah F Tuzzo             Self/Spouse     NJ           US             Consortium
2546.   Kenneth Tymeck and                                                      Personal Injury, Loss of
        Rosalie Tymeck              Self/Spouse     NY           US             Consortium
2547.   Cyril Tyson and                                                         Personal Injury, Loss of
        Kimberley A Tyson           Self/Spouse     GA           US             Consortium
2548.   Charles Unger and                                                       Personal Injury, Loss of
        Loretta Unger               Self/Spouse     NY           US             Consortium
2549.   Madeline Urena and John                                                 Personal Injury, Loss of
        Urena                       Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 152 of 159


2550.   Luis Urgilez                 Self            NY           US             Personal Injury
2551.   Frank Urrico and Sonja                                                   Personal Injury, Loss of
        Urrico                       Self/Spouse     NY           US             Consortium
2552.   Manuel Uzhca                 Self            NY           US             Personal Injury
2553.   Miguel Uzhca and                                                         Personal Injury, Loss of
        Esperanza Cabrera            Self/Spouse     NY           US             Consortium
2554.   John Vaccarella              Self            NY           US             Personal Injury
2555.   Frank Vacchio                Self            NY           US             Personal Injury
2556.   Albert M Vajda and                                                       Personal Injury, Loss of
        Elizabeth Vajda              Self/Spouse     NJ           US             Consortium
2557.   Gaetano Valastro and                                                     Personal Injury, Loss of
        Letty Valastro               Self/Spouse     NY           US             Consortium
2558.   Rosa Valdez and Andres                                                   Personal Injury, Loss of
        Mora                         Self/Spouse     NY           US             Consortium
2559.   Aida Valdiviezo-Nieto        Self            NY           US             Personal Injury
2560.   Joseph Valdora               Self            NJ           US             Personal Injury
2561.   Joseph Valentin              Self            NY           US             Personal Injury
2562.   William Valentin and                                                     Personal Injury, Loss of
        Xaomara Pena                 Self/Spouse     NJ           US             Consortium
2563.   Johnny Valentine             Self            NY           US             Personal Injury
2564.   Jose Valera, as
        Administrator of the
        estate of Luis Valera, and
        Jose Valera Individually     PR/Son          MA           US             Wrongful Death, Solatium
2565.   Vincent Valerio and                                                      Personal Injury, Loss of
        Patricia Valerio             Self/Spouse     NY           US             Consortium
2566.   Rainel Valladares            Self            NY           US             Personal Injury
2567.   James Vanacore and                                                       Personal Injury, Loss of
        Geralyn Vanacore             Self/Spouse     NY           US             Consortium
2568.   Mark Vanbelle                Self            NY           US             Personal Injury
2569.   Michael VanRoten and                                                     Personal Injury, Loss of
        Dianne VanRoten              Self/Spouse     NY           US             Consortium
2570.   James Varga and Aliza                                                    Personal Injury, Loss of
        Varga                        Self/Spouse     NY           US             Consortium
2571.   Edwin Vargas                 Self            NY           US             Personal Injury
2572.   Richard Varipapa and                                                     Personal Injury, Loss of
        Joanne Varippa               Self/Spouse     NY           US             Consortium
2573.   Andres Vasquez and                                                       Personal Injury, Loss of
        Sonia Vasquez                Self/Spouse     NY           US             Consortium
2574.   Camilo Vasquez and Rose                                                  Personal Injury, Loss of
        Ortega                       Self/Spouse     NY           US             Consortium
2575.   Jose Vasquez and Liliana                                                 Personal Injury, Loss of
        G Vasquez                    Self/Spouse     FL           US             Consortium
2576.   Joseph Vasquez               Self            NY           US             Personal Injury
2577.   Klever Vasquez and                                                       Personal Injury, Loss of
        Blanca                       Self/Spouse     NY           US             Consortium
2578.   Nancy Vasquez                Self            NY           US             Personal Injury
2579.   Vincent Vasta and Biagia                                                 Personal Injury, Loss of
        G Vasta                      Self/Spouse     NY           US             Consortium
2580.   Senice Vaughan               Self            NY           US             Personal Injury
2581.   Loretta Vaughan-Walsh                                                    Personal Injury, Loss of
        and Glen R Walsh             Self/Spouse     NY           US             Consortium
2582.   Andy Vazquez and             Self/Spouse     FL           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                      Document 1   Filed 05/23/17     Page 153 of 159


        Barbara Vazquez                                                          Consortium
2583.   Angel R Vazquez and                                                      Personal Injury, Loss of
        Carmen Vazquez               Self/Spouse     PA           US             Consortium
2584.   Edgardo Vazquez and                                                      Personal Injury, Loss of
        Pamela Vazquez               Self/Spouse     NY           US             Consortium
2585.   Edwin Vazquez                Self            NY           US             Personal Injury
2586.   Felix Vazquez and                                                        Personal Injury, Loss of
        Milagros Vazquez             Self/Spouse     FL           US             Consortium
2587.   Francisco Vazquez            Self            NY           US             Personal Injury
2588.   Grace Vazquez                Self            NY           US             Personal Injury
2589.   Kattia Vazquez and Peter                                                 Personal Injury, Loss of
        Vazquez                      Self/Spouse     NJ           US             Consortium
2590.   Peter Vazquez                Self            NY           US             Personal Injury
2591.   Peter Vazquez and Kattia                                                 Personal Injury, Loss of
        Vazquez                      Self/Spouse     NJ           US             Consortium
2592.   Robert Vazquez and                                                       Personal Injury, Loss of
        Bernice Vazquez              Self/Spouse     NY           US             Consortium
2593.   Jeffrey Vecchione and                                                    Personal Injury, Loss of
        Debra Vecchione              Self/Spouse     NJ           US             Consortium
2594.   Sheila Veerapen and Sean                                                 Personal Injury, Loss of
        Veerapen                     Self/Spouse     GA           US             Consortium
2595.   Armando Vega                 Self            NY           US             Personal Injury
2596.   Henry Vega                   Self            NY           US             Personal Injury
2597.   Jose Vega and Carmen                                                     Personal Injury, Loss of
        Vega                         Self/Spouse     NY           US             Consortium
2598.   Myriam Vega                  Self            NY           US             Personal Injury
2599.   Orlando Vega and Luz                                                     Personal Injury, Loss of
        Vega                         Self/Spouse     NY           US             Consortium
2600.   Jorge Velasquez and                                                      Personal Injury, Loss of
        Susan Tuccillo               Self/Spouse     NY           US             Consortium
2601.   Jose Velasquez               Self            NY           US             Personal Injury
2602.   Ricardo Velasquez            Self            NY           US             Personal Injury
2603.   Ricardo Velasquez and                                                    Personal Injury, Loss of
        Juana Velasquez              Self/Spouse     NY           US             Consortium
2604.   Jose Velesaca and                                                        Personal Injury, Loss of
        Marciolina Quishpe           Self/Spouse     NY           US             Consortium
2605.   David Velez                  Self            NY           US             Personal Injury
2606.   Jose Velez and Catherine                                                 Personal Injury, Loss of
        Velez                        Self/Spouse     NJ           US             Consortium
2607.   Lucrecia Velez               Self            NY           US             Personal Injury
2608.   Nelson Velez and Judith                                                  Personal Injury, Loss of
        Velez                        Self/Spouse     NY           US             Consortium
2609.   Phillip Velez                Self            NJ           US             Personal Injury
2610.   Wilfredo Velez               Self            NY           US             Personal Injury
2611.   William Velez                Self            NY           US             Personal Injury
2612.   Louis Vena and Eleanor                                                   Personal Injury, Loss of
        Vena                         Self/Spouse     SC           US             Consortium
2613.   Anthony Venezia              Self            NY           US             Personal Injury
2614.   Frank Ventimiglia and                                                    Personal Injury, Loss of
        Marie Ventimiglia            Self/Spouse     NY           US             Consortium
2615.   Robert Venturella, Jr. and                                               Personal Injury, Loss of
        Karen Venturella             Self/Spouse     NJ           US             Consortium
    Case 1:17-cv-03887-GBD-SN                     Document 1   Filed 05/23/17     Page 154 of 159


2616.   Emilio Vera and Brenda                                                  Personal Injury, Loss of
        Vera                        Self/Spouse     PA           US             Consortium
2617.   Brian Verardi and                                                       Personal Injury, Loss of
        Jennifer Verardi            Self/Spouse     NJ           US             Consortium
2618.   Virgen Veras                Self            NY           US             Personal Injury
2619.   Juan Verdesoto              Self            NY           US             Personal Injury
2620.   Vincent W Verdisco and                                                  Personal Injury, Loss of
        Josephine Ann Verdisco      Self/Spouse     DE           US             Consortium
2621.   Viviana Vergara and                                                     Personal Injury, Loss of
        Verter Vergara              Self/Spouse     NY           US             Consortium
2622.   Robert J Verhelst and                                                   Personal Injury, Loss of
        Krista Verhelst             Self/Spouse     WI           US             Consortium
2623.   John Verme                  Self            NY           US             Personal Injury
2624.   James Vernicek              Self            NY           US             Personal Injury
2625.   Israel Vicente, Jr. and                                                 Personal Injury, Loss of
        Virginia Vicente            Self/Spouse     NY           US             Consortium
2626.   Eric Victor                 Self            CT           US             Personal Injury
2627.   Martin Viera and Dalila E                                               Personal Injury, Loss of
        Viera                       Self/Spouse     NY           US             Consortium
2628.   Wally Vila and Eusebio                                                  Personal Injury, Loss of
        Perez                       Self/Spouse     NY           US             Consortium
2629.   John Villanova              Self            NY           US             Personal Injury
2630.   Harold Villarroel           Self            NJ           US             Personal Injury
2631.   Segundo Villarroel and                                                  Personal Injury, Loss of
        Martha L Villarroel         Self/Spouse     NJ           US             Consortium
2632.   Eric Vincent and                                                        Personal Injury, Loss of
        Dorothy D Vincent           Self/Spouse     NY           US             Consortium
2633.   John Vinciguerra and                                                    Personal Injury, Loss of
        Leeann Vinciguerra          Self/Spouse     FL           US             Consortium
2634.   Rosalia Vintimilla and                                                  Personal Injury, Loss of
        Vicente Campoverde          Self/Spouse     NY           US             Consortium
2635.   Thomas Vinton and Nery                                                  Personal Injury, Loss of
        Vinton                      Self/Spouse     NY           US             Consortium
2636.   Arthur Violetta and                                                     Personal Injury, Loss of
        Diane Violetta              Self/Spouse     NY           US             Consortium
2637.   Robert Visakay              Self            NJ           US             Personal Injury
2638.   Pedro Viscaino and                                                      Personal Injury, Loss of
        Diana Viscaino              Self/Spouse     NY           US             Consortium
2639.   John Vitale                 Self            NY           US             Personal Injury
2640.   Michael Vitale              Self            DE           US             Personal Injury
2641.   Andrew Vitiello and                                                     Personal Injury, Loss of
        Sylvia D Vitiello           Self/Spouse     NY           US             Consortium
2642.   Louis J Vito                Self            NJ           US             Personal Injury
2643.   Brian Vittorini             Self            OH           US             Personal Injury
2644.   Thomas Vitulano and                                                     Personal Injury, Loss of
        Maritza Vitulano            Self/Spouse     NJ           US             Consortium
2645.   Rosa Vivar and Chalco                                                   Personal Injury, Loss of
        Rodas                       Self/Spouse     NY           US             Consortium
2646.   Catherine Viverito          Self            NY           US             Personal Injury
2647.   Patrick Vogt                Self            NY           US             Personal Injury
2648.   Peter Volpe and Adriana                                                 Personal Injury, Loss of
        Volpe                       Self/Spouse     NY           US             Consortium
2649.   Kenneth Von Werne and       Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 155 of 159


        Ann Von Werne                                                          Consortium
2650.   John Vornfett              Self            NY           US             Personal Injury
2651.   Debra Wagner               Self            ME           US             Personal Injury
2652.   Bernard Waites             Self            NY           US             Personal Injury
2653.   Arthur Waldhelm and                                                    Personal Injury, Loss of
        Joan Waldhelm              Self/Spouse     NY           US             Consortium
2654.   Emerald Johnson-Walker,
        as Administratrix of the
        estate of Donald Walker,
        and Emerald Johnson-
        Walker Individually        PR/Spouse       NY           US             Solatium
2655.   James Walker               Self            SC           US             Personal Injury
2656.   Michael J Walker and                                                   Personal Injury, Loss of
        Lorraine M Walker          Self/Spouse     NY           US             Consortium
2657.   Glen Wallace               Self            NY           US             Personal Injury
2658.   Cliff Walling and Kim                                                  Personal Injury, Loss of
        Walling                    Self/Spouse     NJ           US             Consortium
2659.   George Walsh               Self            NY           US             Personal Injury
2660.   Kevin Walsh and                                                        Personal Injury, Loss of
        Kathleen Walsh             Self/Spouse     NY           US             Consortium
2661.   Kevin Walsh and Susan                                                  Personal Injury, Loss of
        Walsh                      Self/Spouse     NY           US             Consortium
2662.   Mark Walsh and Lisa                                                    Personal Injury, Loss of
        Walsh                      Self/Spouse     NY           US             Consortium
2663.   Thomas Walsh               Self            NY           US             Personal Injury
2664.   Bonnie Wan                 Self            NY           US             Personal Injury
2665.   Terrance Wansley and                                                   Personal Injury, Loss of
        Lisa Wansley               Self/Spouse     NY           US             Consortium
2666.   James Ward and Carole                                                  Personal Injury, Loss of
        Ward                       Self/Spouse     NY           US             Consortium
2667.   George Ware and                                                        Personal Injury, Loss of
        Maureen B Ware             Self/Spouse     NJ           US             Consortium
2668.   Richard Ware and                                                       Personal Injury, Loss of
        Kathleen Ware              Self/Spouse     NY           US             Consortium
2669.   John Warren and Sheryl                                                 Personal Injury, Loss of
        Warren                     Self/Spouse     KY           US             Consortium
2670.   Irene Washington           Self            GA           US             Personal Injury
2671.   Mannix Washington          Self            NJ           US             Personal Injury
2672.   Rudy Washington and                                                    Personal Injury, Loss of
        Deborah Washington         Self/Spouse     NY           US             Consortium
2673.   William Washington         Self            PA           US             Personal Injury
2674.   Nicholas Waslyn and                                                    Personal Injury, Loss of
        Diane Waslyn               Self/Spouse     FL           US             Consortium
2675.   Joseph Waters and Lucy                                                 Personal Injury, Loss of
        Waters                     Self/Spouse     FL           US             Consortium
2676.   Carlton Watson and                                                     Personal Injury, Loss of
        Alexis Watson              Self/Spouse     NC           US             Consortium
2677.   Joseph J Watson and Joy                                                Personal Injury, Loss of
        Watson                     Self/Spouse     NY           US             Consortium
2678.   Roy Wayson                 Self            NY           US             Personal Injury
2679.   Eric Weber                 Self            NY           US             Personal Injury
2680.   William Weber              Self            NJ           US             Personal Injury
2681.   Thomas Webster and         Self/Spouse     NY           US             Personal Injury, Loss of
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 156 of 159


        Michelle J Webster                                                     Consortium
2682.   Anthony Weekes and                                                     Personal Injury, Loss of
        Audra L Weekes             Self/Spouse     NY           US             Consortium
2683.   Gerald Weimer and                                                      Personal Injury, Loss of
        Christine Weimer           Self/Spouse     NJ           US             Consortium
2684.   Evan Weinberg              Self            NY           US             Personal Injury
2685.   Michael Weiser and                                                     Personal Injury, Loss of
        Theresa Dunn               Self/Spouse     NY           US             Consortium
2686.   Stacy Weiss                Self            NY           US             Personal Injury
2687.   Theophilus Wells III       Self            NY           US             Personal Injury
2688.   Joseph Welsh and                                                       Personal Injury, Loss of
        Jennifer Welsh             Self/Spouse     NY           US             Consortium
2689.   Richard Wendelken and                                                  Personal Injury, Loss of
        Marianne Wendelken         Self/Spouse     NY           US             Consortium
2690.   Richard Werner and Kelly                                               Personal Injury, Loss of
        Werner                     Self/Spouse     NY           US             Consortium
2691.   Mariusz Westfal and                                                    Personal Injury, Loss of
        Zamia Westfal              Self/Spouse     NY           US             Consortium
2692.   David Whelan and                                                       Personal Injury, Loss of
        Rosemarie Whelan           Self/Spouse     NY           US             Consortium
2693.   James Whelan and Nancy                                                 Personal Injury, Loss of
        Whelan                     Self/Spouse     NJ           US             Consortium
2694.   Gary White                 Self            NY           US             Personal Injury
2695.   James White and Niccole                                                Personal Injury, Loss of
        M White                    Self/Spouse     PA           US             Consortium
2696.   Joseph White and Lisa                                                  Personal Injury, Loss of
        White                      Self/Spouse     NY           US             Consortium
2697.   Sydney White and Gail J                                                Personal Injury, Loss of
        White                      Self/Spouse     NY           US             Consortium
2698.   Alphius Whyte              Self            NY           US             Personal Injury
2699.   Romuald Wieliczko and                                                  Personal Injury, Loss of
        Krystyna Kaminska          Self/Spouse     NY           US             Consortium
2700.   David Wildner and Anna                                                 Personal Injury, Loss of
        Wildner                    Self/Spouse     NJ           US             Consortium
2701.   Edward Wilkowski and                                                   Personal Injury, Loss of
        Kathy Wilkowski            Self/Spouse     NY           US             Consortium
2702.   Joseph Willett and Lori                                                Personal Injury, Loss of
        Willet                     Self/Spouse     NY           US             Consortium
2703.   Drusilla Williams          Self            NY           US             Personal Injury
2704.   Edward Williams and                                                    Personal Injury, Loss of
        Lisa Williams              Self/Spouse     NJ           US             Consortium
2705.   Ezekiel Williams and                                                   Personal Injury, Loss of
        yvette y Williams          Self/Spouse     NY           US             Consortium
2706.   Glen Williams              Self            CT           US             Personal Injury
2707.   James Williams and                                                     Personal Injury, Loss of
        Karen Williams             Self/Spouse     FL           US             Consortium
2708.   Lisa Williams              Self            NY           US             Personal Injury
2709.   Martin Williams and                                                    Personal Injury, Loss of
        Crystal Williams           Self/Spouse     NY           US             Consortium
2710.   Stephen Williams and                                                   Personal Injury, Loss of
        Germoy Williams            Self/Spouse     NY           US             Consortium
2711.   Terrence Williams and                                                  Personal Injury, Loss of
        Ramona Williams            Self/Spouse     NJ           US             Consortium
2712.   Kenneth Willisch and                                                   Personal Injury, Loss of
        Colleen Willisch           Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                       Document 1   Filed 05/23/17     Page 157 of 159


2713.   Allegra Wilson and                                                        Personal Injury, Loss of
        Douglas Wilson                Self/Spouse     GA           US             Consortium
2714.   Clarice Wilson                Self            PA           US             Personal Injury
2715.   Cleate R Wilson               Self            NY           US             Personal Injury
2716.   Nancy Wilson, as
        Personal Representative
        of the estate of Douglas
        Wilson, and Nancy
        Wilson Individually           PR/Spouse       FL           US             Wrongful Death, Solatium
2717.   Timothy Wilson                Self            NY           US             Personal Injury
2718.   William Wilson and                                                        Personal Injury, Loss of
        Sherri A Wilson               Self/Spouse     NJ           US             Consortium
2719.   Chevalo WilsonDeBriano
        and Monique                                                               Personal Injury, Loss of
        WilsonDeBriano                Self/Spouse     SC           US             Consortium
2720.   Gwendolyn Wilson-                                                         Personal Injury, Loss of
        Phillips and Perry Phillips   Self/Spouse     NY           US             Consortium
2721.   David Wittman and                                                         Personal Injury, Loss of
        Stacie L Wittman              Self/Spouse     NY           US             Consortium
2722.   Stanley Wojis and Matilde                                                 Personal Injury, Loss of
        Wojis                         Self/Spouse     NY           US             Consortium
2723.   Jan Wolkowicz and Grace                                                   Personal Injury, Loss of
        Wolkowicz                     Self/Spouse     NY           US             Consortium
2724.   Clifford Woods and Tina                                                   Personal Injury, Loss of
        Woods                         Self/Spouse     NY           US             Consortium
2725.   Barrington Woody              Self            GA           US             Personal Injury
2726.   Paul Worker and Joyce                                                     Personal Injury, Loss of
        Worker                        Self/Spouse     FL           US             Consortium
2727.   Adrienne Worrell and                                                      Personal Injury, Loss of
        Garvin Worrell                Self/Spouse     NY           US             Consortium
2728.   Ereton Worrell and                                                        Personal Injury, Loss of
        Patricia A Worrell            Self/Spouse     NJ           US             Consortium
2729.   Isaac Wright and Laci                                                     Personal Injury, Loss of
        Wright                        Self/Spouse     NY           US             Consortium
2730.   Rickey Wright                 Self            NJ           US             Personal Injury
2731.   Russell Wroblewski and                                                    Personal Injury, Loss of
        Sabrina Wroblewski            Self/Spouse     NC           US             Consortium
2732.   Marian Wronkowski and                                                     Personal Injury, Loss of
        Danuta Wronkowska             Self/Spouse     NY           US             Consortium
2733.   James Wynne and Denise                                                    Personal Injury, Loss of
        Wynne                         Self/Spouse     NY           US             Consortium
2734.   David Xavier and Sandra                                                   Personal Injury, Loss of
        Hess-Xavier                   Self/Spouse     NY           US             Consortium
2735.   Eugene Yee and Narcisa                                                    Personal Injury, Loss of
        Losa-Yee                      Self/Spouse     NY           US             Consortium
2736.                                                                             Personal Injury, Loss of
        Gin Yee and Miriam Yee        Self/Spouse     NY           US             Consortium
2737.   Margie Yee and Richard                                                    Personal Injury, Loss of
        Santa Ana                     Self/Spouse     NY           US             Consortium
2738.   Yu Sing Yee and Shen Na                                                   Personal Injury, Loss of
        Sun                           Self/Spouse     NY           US             Consortium
2739.   Marlon Young                  Self            NY           US             Personal Injury
2740.   Damon Youngblood              Self            NY           US             Personal Injury
2741.   Alcibar Yumbla                Self            NY           US             Personal Injury
2742.   Octavio Yumiguano and                                                     Personal Injury, Loss of
        Carmen Brito                  Self/Spouse     MA           US             Consortium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 158 of 159


2743.   Andrew Zabroni and                                                     Personal Injury, Loss of
        Patricia Zabroni           Self/Spouse     NY           US             Consortium
2744.   Kenneth Zachar             Self            NY           US             Personal Injury
2745.   Jan Zajac and Krystyna                                                 Personal Injury, Loss of
        Zajac                      Self/Spouse     NJ           US             Consortium
2746.   Richard Zajac and                                                      Personal Injury, Loss of
        Kathryn Zajac              Self/Spouse     NY           US             Consortium
2747.   John Zambito and Dawn                                                  Personal Injury, Loss of
        Marie Zambito              Self/Spouse     NY           US             Consortium
2748.   Ramon Zambrana             Self            NJ           US             Personal Injury
2749.   Rogelio Zambrana           Self            NY           US             Personal Injury
2750.   Guy Zammit and Deanna                                                  Personal Injury, Loss of
        Zammitt                    Self/Spouse     NJ           US             Consortium
2751.   Bolivar Zamora and                                                     Personal Injury, Loss of
        Fanny Huiracocha           Self/Spouse     NY           US             Consortium
2752.   Jairo Zamora and Gloria                                                Personal Injury, Loss of
        Perez                      Self/Spouse     NY           US             Consortium
2753.   Christopher Zapata and                                                 Personal Injury, Loss of
        Denise Zapata              Self/Spouse     NY           US             Consortium
2754.   Karl Zarr                  Self            NY           US             Personal Injury
2755.   Zofia Zawadzki, as
        Personal Representative
        of the estate of Wieslaw
        Zawadzki, and Zofia
        Zawadzki Individually      PR/Spouse       NY           US             Wrongful Death, Solatium
2756.   Luis M Zayas               Self            NY           US             Personal Injury
2757.   Boris Zaydfudim and                                                    Personal Injury, Loss of
        Galene Zaydfiedin          Self/Spouse     NY           US             Consortium
2758.   Ronald Zdeb and Laura                                                  Personal Injury, Loss of
        Zdeb                       Self/Spouse     NY           US             Consortium
2759.   Angelo Zecca and Ann-                                                  Personal Injury, Loss of
        Marie Zecca                Self/Spouse     NJ           US             Consortium
2760.   Jorge Zelaya and Maria                                                 Personal Injury, Loss of
        Zelaya                     Self/Spouse     NY           US             Consortium
2761.   Jeffrey Zelli              Self            NY           US             Personal Injury
2762.   Valerie Zeppelin           Self            NY           US             Personal Injury
2763.   Robert Zerilli             Self            NY           US             Personal Injury
2764.   Raymond Zgaljardic         Self            NY           US             Personal Injury
2765.   Joseph Zichelli and                                                    Personal Injury, Loss of
        Christine Zichelli         Self/Spouse     NJ           US             Consortium
2766.   Marek Zieba and Inna                                                   Personal Injury, Loss of
        Zeiba                      Self/Spouse     PA           US             Consortium
2767.   Gil Zimet and Ivett                                                    Personal Injury, Loss of
        Zimet                      Self/Spouse     NY           US             Consortium
2768.   Iris Zimmerman             Self            NY           US             Personal Injury
2769.   Joseph Zimmermann and                                                  Personal Injury, Loss of
        Carolyn Zimmermann         Self/Spouse     NY           US             Consortium
2770.   Gerald Zino and Joann                                                  Personal Injury, Loss of
        Zino                       Self/Spouse     NJ           US             Consortium
2771.   Salvatore Zito and Nancy                                               Personal Injury, Loss of
        Zito                       Self/Spouse     NY           US             Consortium
2772.   Joseph Zogbi and Susan                                                 Personal Injury, Loss of
        Zogbi                      Self/Spouse     NY           US             Consortium
2773.   William Zoller and                                                     Personal Injury, Loss of
        Roberta Zoller             Self/Spouse     NY           US             Consortium
    Case 1:17-cv-03887-GBD-SN                    Document 1   Filed 05/23/17     Page 159 of 159


2774.   Petro Zonovyak and                                                     Personal Injury, Loss of
        Nadiya Zonovyak            Self/Spouse     NY           US             Consortium
2775.   Mario Zorovic and                                                      Personal Injury, Loss of
        Bianca Zorovic             Self/Spouse     NY           US             Consortium
2776.   Michael Zuccarello         Self            NJ           US             Personal Injury
2777.   Darren Zuiduma             Self            NJ           US             Personal Injury
2778.   John Zultanky              Self            NJ           US             Personal Injury
2779.   Maurice T Zuniga and                                                   Personal Injury, Loss of
        Denise Zuniga              Self/Spouse     NJ           US             Consortium
2780.   Vincent Zupo and Joan                                                  Personal Injury, Loss of
        Zupo                       Self/Spouse     NY           US             Consortium
2781.   Jon Zweigbaum and                                                      Personal Injury, Loss of
        Mariana Zweigbaum          Self/Spouse     NY           US             Consortium
2782.   Jerzy Zygmunt and Janina                                               Personal Injury, Loss of
        Zygmunt                    Self/Spouse     NY           US             Consortium
